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David A. Rosenberg, Trustee
David A. Rosenberg, Trustee
5030 Paradise Rd. STE 215B
Las Vegas, NV 89119
(702) 405-7312
         Chapter 7 Trustee



                                    UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEVADA


            In re: THE POWELL LITIGATION GROUP, P.C.                     §   Case No. 12-15555
                                                                         §
                                                                         §
        Debtor(s)                                                        §
              CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
       REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

              David A. Rosenberg, Trustee, chapter 7 trustee, submits this Final Account,
     Certification that the Estate has been Fully Administered and Application to be Discharged.

              1) All funds on hand have been distributed in accordance with the Trustee's Final Report
     and, if applicable, any order of the Court modifying the Final Report. The case is fully
     administered and all assets and funds which have come under the trustee's control in this case
     have been properly accounted for as provided by law. The trustee hereby requests to be
     discharged from further duties as a trustee.

             2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
     discharged without payment, and expenses of administration is provided below:


      Assets Abandoned: $156,764.56                        Assets Exempt: N/A
      (without deducting any secured claims)
      Total Distribution to Claimants:$1,292,537.03       Claims Discharged
                                                          Without Payment: N/A

      Total Expenses of Administration:$869,091.68


              3) Total gross receipts of $ 5,869,064.20 (see Exhibit 1 ), minus funds paid to the debtor
      and third parties of $3,707,435.49 (see Exhibit 2 ), yielded net receipts of $2,161,628.71
     from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $1,994,153.58      $3,503,482.36      $1,244,327.89      $1,244,327.89

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         859,377.38        869,091.68         869,091.68

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00          34,639.37          34,639.37         34,639.37
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  2,170,602.10       2,330,575.93       2,330,575.93         13,569.77

                                        $4,164,755.68      $6,728,075.04      $4,478,634.87      $2,161,628.71
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on May 09, 2012.
  The case was pending for 67 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/12/2017                 By: /s/David A. Rosenberg, Trustee
                                        Trustee, Bar No.: 10738


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                            $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                        RECEIVED
     Returned checks - 10575, 11200, 11131, 10899                                       1280-002                               33,370.83

     Stale dated checks 11131 $2857.12; 11200 $960.00                                   1221-000                               -33,370.83

     Bank of Nevada, General Acct. 7403                                                 1129-000                               11,163.13

     Bank of Nevada, Trust Acct. 5853                                                   1129-000                             3,659,064.66

     Meadows Bank, Operating Acct. 9657                                                 1129-000                               11,227.81

     Accounts Receivable                                                                1221-000                             1,417,733.23

     Tax refund - 941                                                                   1224-000                                 2,002.49

     Noel v. Cannery Casino Resorts A-09-596778-C                                       1249-000                               63,372.89

     Milee Powell and Kristen Waina Settlement                                          1249-000                               70,000.00

     GLEN J. LERNER Settlement (13-01142)                                               1249-000                              633,999.99

     Bond Refunds                                                                       1249-000                                  500.00


    TOTAL GROSS RECEIPTS                                                                                                    $5,869,064.20

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                            $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                             PAID
 Ann Johnson                                      Ann Johnson - Partial
                                                  Settlement Payment                     8500-000                              15,000.00

 Sunrise Mountain View                            Jinnett - Medical Provider             8500-000                                5,196.70
 Hospital, Inc.
 City of Las Vegas - Fire &                       Jinnett - Medical Provider             8500-000                                 587.13
 Rescue
 Canyon Medical Billing                           Jinnett - Medical Provider             8500-000                                1,938.59

 Integrated Pain Specialists                      Jinnett - Medical Provider             8500-000                                1,064.74

 David Rosenberg - Powell                         Jinnett - Fees and Costs               8500-000                                6,212.84
 Litigation Group
 Bank of Nevada Account                           IOLTA Trust Account                    8500-000                                1,004.34
 Interest
 Preferred Capital Lending                        Patrick Alex - Medical
                                                  Provider                               8500-000                                2,537.69



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 BJN, Inc.                        Patrick Alex - Medical
                                  Provider                      8500-000                 51,211.06

 Las Vegas Neurosurgery, Ortho    Patrick Alex - Medical
 & Rehab                          Provider                      8500-000                  8,212.63

 Med Care Solutions               Patrick Alex - Medical
                                  Provider                      8500-000                  2,136.34

 Key Health Medical Solutions     Patrick Alex - Medical
                                  Provider                      8500-000                  2,366.88

 Las Vegas Pharmacy Inc.          Patrick Alex - Medical
                                  Provider                      8500-000                  2,632.30

 Integrated Pain Specialists      Patrick Alex - Medical
                                  Provider                      8500-000                  4,070.44

 Valley Hospital                  Patrick Alex - Medical
                                  Provider                      8500-000                 67,897.94

 Louis F. Mortillaro, PHD         Patrick Alex - Medical
                                  Provider                      8500-000                   178.72

 Medical Associates of S.         Patrick Alex - Medical
 Nevada                           Provider                      8500-000                   520.15

 David Rosenberg - Powell         Patrick Alex - Fees and
 Litigation Group                 Costs                         8500-000                  8,235.88

 David Rosenberg - Powell         Tasha McLeod - Fees and
 Litigation Group                 Costs                         8500-000                 84,248.46

 Clerk of the Court               Tasha McLeod - Disbursement
                                  of Interpleader Funds         8500-000                158,951.54

 Bank of Nevada Interest          IOLTA Trust Account Interest 8500-000                    939.16

 AnaBelle Sevilla                 Settlement - Anabelle
                                  Sevilla Miranda               8500-000                  2,250.00

 Anabelle Sevilla                 Settlement - Estate of Ana
                                  Itzelic Miranda               8500-000                  2,250.00

 Melissa Leyva                    Leyva - Interpleader Funds    8500-000                        0.00

 David A. Rosenberg, Trustee -    Leyva - Interpleader Funds    8500-000                  6,894.38
 Powell Litigation Group
 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   724.88

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   649.06

 Barney C. Ales, LTD., on         McCulloch, Margaret -
 behalf of Medstar                Interpleader Funds            8500-000                 13,283.58

 Preferred Capital Lending        McCulloch, Margaret -
                                  Interpleader Funds            8500-000                  7,694.91

 David A. Rosenberg, Trustee -    McCulloch, Margaret -
 The Powell Litigation Group      Interpleader Funds            8500-000                 30,000.00

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   562.16

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   517.14



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 Perferred Capital Lending of     A-12658894-C Slater, Bruce -
 Nevada, LLC                      Interpleader Funds           8500-000                      4,851.76

 Tenaya Surgical Center           A-12658894-C Slater, Bruce -
                                  Interpleader Funds           8500-000                            0.00

 Spring Valley Hospital Medical   A-12658894-C Slater, Bruce -
 Center                           Interpleader Funds           8500-000                            0.00

 Catholic Healthcare West         A-12658894-C Slater, Bruce -
                                  Interpleader Funds           8500-000                     10,392.93

 David A. Rosenberg, Trustee -    A-12658894-C Slater, Bruce -
 The Powell Litigation Group      Interpleader Funds           8500-000                     11,785.65

 Parker Nelson & Associates       A-12658894-C Slater, Bruce -
 Trust Account                    Interpleader Funds           8500-000                      6,088.28

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                      561.66

 Wal-Mart Stores, Inc.            Shelton, Maryann -
 Associates' Health and Welfare   Interpleader Funds
                                  A-09-592338-C                 8500-000                     7,000.00

 Parker Nelson & Associates       Shelton, Maryann -
 Client Trust Account             Interpleader Funds
                                  A-09-592338-C                 8500-000                      497.00

 Flamingo-Pecos Surgery Center    Shelton, Maryann -
 LLC                              Interpleader Funds
                                  A-09-592338-C                 8500-000                           0.00

 David A. Rosenberg, Trustee -    Shelton, Maryann -
 The Powell Litigation Group      Interpleader Funds
                                  A-09-592338-C                 8500-000                      634.44

 Preferred Capital Lending        Shelton, Maryann -
                                  Interpleader Funds -
                                  A-09-592338-C                 8500-000                     1,386.70

 Clerk of the Court               Cowley, Mary - Interpleader
                                  Funds - A-12-668237-C         8500-000                    15,585.71

 David A. Rosenberg, Trustee -    Cowley, Mary - Interpleader
 Powell Litigation                Funds - A-12-668237-C         8500-000                     9,414.29

 Clerk of the Court               Vanucci, Pamela -
                                  Interpleader Funds            8500-000                     5,000.00

 David A. Rosenberg, Trustee -    Ann Johnson Settlement        8500-000                    68,000.00
 Powell Litigation Group
 Behavioral & Vocational          Ann Johnson Settlement        8500-000                           0.00
 Consultants - Dr. Baker
 Dr. David Oliveri                Ann Johnson Settlement        8500-000                      135.00

 Red Rock Radiology               Ann Johnson Settlement        8500-000                       88.43

 Select Physical Therapy          Ann Johnson Settlement        8500-000                     2,343.60

 Desert Radiology                 Ann Johnson Settlement        8500-000                           8.97

 Nevada Medicaid                  Ann Johnson Settlement        8500-000                     5,557.04

 Ann Johnson                      Ann Johnson Settlement -


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                                  Full and Final                8500-000                 55,781.57

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    524.20

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    492.89

 Jason D Pati                     Check Paid                    8500-000                    690.00

 Michael J Berg                   Check Paid                    8500-000                  2,129.98

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    521.83

 Karen C Graham                   Check Paid                    8500-000                    730.00

 Returned Check # 2598            Returned Check #2598
 Fraudulent                       Fraudulent                    8500-000                  -2,129.98

 Returned Check #14432 Altered    Returned Check #14432
 or Fictitious                    ALtered or Fictitious         8500-000                   -730.00

 Returned Check #2587 Altered     Returned Check #2587 Altered
 or Fictitious                    or Fictitious                8500-000                    -690.00

 The Powell Litigation Group      Paul Caldwell Sr. -
                                  Interpleader Funds            8500-000                 11,541.34

 The Powell Litigation Group      Steve Swanson - Interpleader
                                  Funds                        8500-000                   7,957.30

 University Medical Center        Steve Swanson - Interpleader
                                  Funds                        8500-000                   9,039.72

 BJN, Inc.                        Steve Swanson - Interpleader
                                  Funds                        8500-000                   8,001.98

 United States Attorney -         A-12-657868-C Carmen Santana
 District of Nevada               - Medicare Lien              8500-000                  57,298.29

 David A. Rosenberg, Trustee -    A-15-714146-C John Grantz -
 The Powell Litigation Group      Interpleader Funds            8500-000                  4,691.69

 Clerk of the Court               A-15-714146-C John Grantz -
                                  Interpleader Funds            8500-000                 10,308.31

 Clerk of the Court               A-14-A714145-C William
                                  Brewton                       8500-000                  1,272.43

 The Powell Litigation Group PC   A-14-A714145-C William
                                  Brewton                       8500-000                  1,727.57

 Chime ACH Credit                 Chime                         8500-000                        0.78

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    417.92

 Bank of Nevada Stop Payment      Bank of Nevada Stop Payment
 Fee                              Fee #11533 & #11539           8500-002                     56.00

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    370.01

 State of Nevada, Dept. of        Interpleader Funds -
 Health and Human Services        Gonzales, Blanca
                                  A-12-658126-C                 8500-000                  1,000.00

 Agata/Venger Partnership LLP     A-12-658126-C Gonzalez,
                                  Blanca                        8500-000                  1,000.00


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 David A. Rosenberg, Trustee      A-12-658126-C Gonzales,
                                  Blanca                        8500-000                    31,000.00

 David A. Rosenberg, Trustee      A-13-689177-C Tebbs, Janice   8500-000                     4,903.69

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                      344.19

 Bank of Nevada Stop Pay Fee      Bank of Nevada Stop Pay Fee
                                  - #11546                      8500-000                       28.00

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                      331.60

 Discover E-Payment 0645          Discover E-Payment 0645       8500-000                      712.07

 Discover E-Payment 0645          Discover E-Payment 0645       8500-000                      500.00

 Barclaycard US creditcard        Barclaycard US creditcard
 337011552                        337011552                     8500-000                      942.00

 Advanced Pre-Settlement          Donicht, Jenny -
 Funding                          Interpleader Funds
                                  A-09-591987-C                 8500-000                    10,000.00

 Bank of Nevada Iolta Interest    Bank of Nevada Iolta
                                  Interest                      8500-000                      332.99

 Las Vegas Fire & Rescue          Interpleader Funds -
                                  Vannucci, Pamela;
                                  A-13-689178-C                 8500-000                      245.80

 University Medical Center        Interpleader Funds -
                                  Vannucci, Pamela;
                                  A-13-689178-C                 8500-000                     2,311.96

 David A. Rosenberg, Trustee -    Interpleader Funds
 The Powell Litigation Group      Vannucci, Pamela;
                                  A-13-689178-C                 8500-000                     2,442.24

 Dr. Jeff Baker                   Ann Johnson Settlement        8500-000                     2,492.00

 Red Rock Diagnostics, LLC        Calalay Settlement            8500-000                           0.00

 Green Valley Neck & Back         Antonio Calalay Settlement    8500-000                           0.00

 Primary Care Consultants         Antonio Calalay Settlment     8500-000                      479.50

 Spinal Rehabilitation            Austin Bean Settlement        8500-000                      249.00

 David A. Rosenberg, Trustee -    Austin Bean Settlement        8500-000                      250.00
 The Powell Litigation Group
 Austin Bean                      Austin Bean Settlement        8500-000                           0.00

 Dr. Jeff Fine                    Bradley Fettig Settlement     8500-000                     2,143.60

 Cameron Medical Center           Bradley Fettig Settlement     8500-000                      144.00

 Centennial Spine & Pain Center   Bradley Fettig Settlement     8500-000                      400.00

 Nevada Imaging Center            Bradley Fettig Settlement     8500-000                      705.38

 Sahara Surgery Center            Bradley Fettig Settlement     8500-000                      584.87

 Brittany McGinnes                Brittany McGinnes Settlement 8500-000                            0.00

 UMC Quickcare                    Brittany McGinnes Settlement 8500-000                       468.50



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 David A. Rosenberg, Trustee -    Brittany McGinnes Settlement 8500-000                       512.07
 The Powell Litigation Group
 Brittany McGinnes                Brittany McGinnes Settlement 8500-000                            0.00

 Achieve Physical Therapy         Carmela Olvera Settlement     8500-000                     1,693.17

 Bay Area Credit                  Carmela Olvera Settlement     8500-000                      120.00

 Radiology Associates             Carmela Overa Settlement      8500-000                           0.00

 Medicare                         Carmela Overa Settlement      8500-000                     7,711.48

 Ingenix Subrogation              Carmela Overa Settlement      8500-000                      300.00

 Champva                          Carmela Overa Settlement      8500-000                           0.00

 David A. Rosenberg, Trustee -    Carmela Overa Settlement      8500-000                     6,495.78
 The Powell Litigation Group
 Estate of Carmela Olvera         Carmela Overa Settlement      8500-000                           0.00

 Christopher M Stutte             Christopher Stutte
                                  Settlement                    8500-000                           0.00

 Assisted Home Care               Clarissa Robles Settlement    8500-000                       69.00

 Desert Radiologists              Clarissa Robles Settlement    8500-000                       40.92

 University Medical Center        Clarissa Robles Settlement    8500-000                           0.00

 Meridian Resource Company        Clarissa Robles Settlement    8500-000                     6,000.00

 Clarissa Robles                  Clarissa Robles Settlement    8500-000                      116.28

 David A. Rosenberg, Trustee -    Clarissa Robles Settlement    8500-000                      523.80
 The Powell Litigation Group
 David A. Rosenberg, Trustee -    Cuc Tinder Attorney Expenses 8500-000                        63.65
 The Powell Litigation Group
 Preferred Capital Lending        Cuc Tinder Settlement         8500-000                     2,600.00

 Spring Valley Hospital Medical   A-12658894-C Slater, Bruce    8500-000                      733.38
 Center
 Bank of Nevada interest          Bank of Nevada Interets       8500-000                      333.11

 Xpress Care                      Medical Provider - Anthony
                                  Lucero                        8500-000                           0.00

 Xpress Care                      Medical Provider - Brent
                                  Carlson                       8500-000                           0.00

 Xpress Care                      Medical Provider - Carlos
                                  Carrion                       8500-000                           0.00

 Xpress Care                      Medical Provider - Christian
                                  Cisneros                     8500-000                            0.00

 Xpress Care                      Medical Provider - Crystal
                                  Rodriguez                     8500-000                           0.00

 Xpress Care                      Medical Provider - Debra
                                  Pinkney                       8500-000                           0.00

 Xpress Care                      Medical Provider - Donald
                                  Wilde                         8500-000                           0.00

 Xpress Care                      Medical Provider - Marco
                                  Diaz-Guerra                   8500-000                           0.00



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 Xpress Care                      Medical Provider - Ramon
                                  Rodriguez-Chavez              8500-000                           0.00

 Xpress Care                      Medical Provider - Samantha
                                  Hames                         8500-000                           0.00

 Xpress Care                      Medical Provider - Sergio
                                  Garcia                        8500-000                           0.00

 Xpress Care                      Medical Provider - Victor
                                  Peraza-Mendez                 8500-000                           0.00

 David A. Rosenberg, Trustee -    Attorney Fees and Costs       8500-000                     5,527.11
 The Powell Litigation Group
 Howard William Merhar            Interpleader Funds            8500-000                           0.00

 Allied Collection Services,      Interpleader Funds            8500-000                       82.89
 Inc.
 David R Golan, MD                Medical Provider -
                                  Hernandez; Alindog            8500-000                     1,917.58

 Bank of Nevada Iolta Interest    Bank of Nevada Iolta
                                  Interest                      8500-000                      309.04

 Advanced Paincare                Medical Provider - Michelle
                                  Theroux                       8500-000                           0.00

 Teamsters Security Fund for      Medical Provider - Christina
 Southern Nevada                  Rollf                        8500-000                       219.54

 Strehlow Radiology               Medical Provider - David
                                  Lopez                         8500-000                       80.00

 Dr. David R. Golan               Medical Provider - Debra
                                  Webster                       8500-000                      710.50

 Industrial Pharmacy Management   Earnest Pitre-Medical
                                  Provider                      8500-000                           0.00

 Anthem BCBS Partnership Plan,    Eddie Sarpong - Medical
 Inc                              Provider                      8500-000                           0.00

 HMS AAF UHC Arizona Physicians   Frank Ricca - Medical
 IPA, Inc.                        Provider                      8500-000                       11.37

 Meridian Resource Compay         Freddie Taylor - Medical
 (Empire BC/BS)                   Provider                      8500-000                       89.07

 Escallate Collections            Isaias Monge-Bonilla -
                                  Medical Provider              8500-000                           0.00

 UMR                              Jerrod Gunning - Medical
                                  Provider                      8500-000                      295.74

 Account Recovery Services        Jovanna Sandoval - Medical
                                  Provider                      8500-000                           0.00

 Strehlow Radiology               Juan Vargas - Medical
                                  Provider                      8500-000                       96.00

 Desert Inn Chiropractic Center   Justin Owens - Medical
                                  Provider                      8500-000                           0.00

 Desert Inn Chiropractic Center   Krystle Kelly - Medical


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                                 Provider                      8500-000                     0.00

 Dr. David B. Cohen              Linda Cooter - Medical
                                 Provider                      8500-000                   245.00

 Zenith Administrators           Lisa Marie DiBernardo -
                                 Medical Provider              8500-000                     0.00

 Nevada Imaging Center           Maria Pena - Medical
                                 Provider                      8500-000                     0.00

 Mclean Radiology                Moniqua Whitmore - Medical
                                 Provider                      8500-000                    45.00

 Las Vegas Specialty Surgery     Paul Cho - Medical Provider   8500-000                     0.00
 Center
 Nevada Imaging Centers          Paul Cho - Medical Provider   8500-000                     0.00

 PBS Anesthesia                  Sharon Ayers - Medical
                                 Provider                      8500-000                   313.74

 Summerlin Medical Tower         Sharon Ayers - Medical
                                 Provider                      8500-000                     4.32

 Xpress Care - Dr. Barney        Sharon Ayers - Medical
                                 Provider                      8500-000                     0.00

 Strehlow Radiology              Steven Marvel - Medical
                                 Provider                      8500-000                   124.00

 Comprehensive Pain Management   Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 North Valley Surgery Center     Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Simonmed Imaging                Susan Rathunde - Medical
                                 Provider                      8500-000                   242.89

 Dr. Carol Reed                  Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Ingenix Subrogation Services    Susan Rathunde - Medical
                                 Provider                      8500-000                   536.21

 Susan & Roland Rathunde         Susan Rathunde - Final
                                 Settlement                    8500-000                     0.00

 Southwest Emergency Services    Teodulo Nuno-Orozco -
                                 Medical Provider              8500-000                     0.00

 Teodulo Nuno-Orozco             Teodulo Nuno-Orozco - Final
                                 Settlement                    8500-000                     0.00

 Lab Medicine Consultants        Terry Fulton - Medical
                                 Provider                      8500-000                     0.00

 Dr. Rajeev Khamamkar            Thomas Chavez - Medical
                                 Provider                      8500-000                     0.00

 Dr. Russell J Shah              Timothy Campbell - Medical
                                 Provider                      8500-000                 1,632.38

 Allstate Financial Services     Joyce Lucero - Medical


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                                  Provider                     8500-000                          0.00

 Credit Bureau Central            Joyce Lucero - Medical
                                  Provider                     8500-000                          0.00

 Innovative Pain Care Center      Joyce Lucero - Medical
                                  Provider                     8500-000                      1,818.00

 Integrated Pain Specialists      Joyce Lucero - Medical
                                  Provider                     8500-000                       276.00

 Nevada Imaging Center            Joyce Lucero - Medical
                                  Provider                     8500-000                          0.00

 Village east drugs now cvs       Joyce Lucero - Medical
 pharmacy                         Provider                     8500-000                          0.00

 Flamingo-Pecos Surgery Center    Maryann Shelton;
 LLC                              A-09-592338-C Settlement     8500-000                          0.00

 UMC Quick Care - Craig           Lana Prieto - Medical
                                  Provider                     8500-000                          0.00

 UMC                              Cecil & Rachel Davis -
                                  Medical Provider             8500-000                          0.00

 Medicare                         Cecil & Rachel Davis -
                                  Medical Provider             8500-000                          0.00

 United Healthcare                Marceil Cassidy;
                                  A-14-705017-C Stipulation    8500-000                     18,313.87

 Desert Orthopaedic Center        Marceil Cassidy;
                                  A-14-705017-C Stipulation    8500-000                       404.94

 Center for Surgical              Marceil Cassidy;
 Intervention                     A-14-705017-C Stipulation    8500-000                       269.06

 Brian A Lemper DO                Marceil Cassidy;
                                  A-14-705017-C Stipulation    8500-000                       240.44

 Bank of Nevada Interest          Bank of Nevada Interest      8500-000                       319.97

 Centennial Hills Hospital        Medical Provider             8500-000                          0.00
 Medical Center
 Radiology Associates of Nevada   Medical Provider             8500-000                       209.94

 Lucky Investors                  Medical Providers            8500-000                          0.00

 Nevada Imaging Center            Medical Provider             8500-000                          0.00

 Dr. TJ Allen                     Medical Provider             8500-000                          0.00

 Health Plan of Nevada            Medical Provider             8500-000                       155.00

 Village East Drugs               Medical Provider             8500-000                          0.00

 Industrial Pharmacy Management   Medical Provider             8500-000                          0.00

 Credit Bureau Central            Medical Provider             8500-000                          0.00

 Spinal Rehabilitation Centers    Medical Provider             8500-000                       960.00

 The Pain Clinic                  Mecical Provider             8500-000                       172.50




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 Wang Medical                    Medical Provider              8500-000                       75.00

 Escallate Collections           Medical Providers             8500-000                         0.00

 Medicare                        Medical Provider              8500-000                         0.00

 Village East Drugs              Medical Provider              8500-000                         0.00

 Oasis Legal Finance             Medical Provider              8500-000                         0.00

 Health Plan of Nevada           Medical Provider              8500-000                      324.00

 Desert Radiologists             Medical Provider              8500-000                      196.00

 Nevada Imaging Centers          Medical Provider              8500-000                         0.00

 Lake Mead Radiologists          Medical Provider              8500-000                         0.00

 Radiology Associates Nevada     Medical Provider              8500-000                      134.54

 Southwest Emergency Services    Medical Provider              8500-000                         0.00

 Phillips & Lyon PLC             Medical Provider              8500-000                         0.00

 Pasquale Villardi JR            Settlement funds              8500-000                       75.36

 Nevada Imaging Center           Medical Provider              8500-000                         0.00

 Karla Luna-Dominguez            Settlement Proceeds           8500-000                     2,250.00

 Katherine Revalcaba-Luna        Settlement Proceeds           8500-000                         0.00

 Karon Thedford                  Settlement Proceeds           8500-000                         0.00

 Bank of Nevada Iolta Interest   Bank of Nevada Iolta
                                 Interest                      8500-000                      306.12

 Bank of Nevada Iolta Interest   Bank of Nevada Iolta
                                 Interest                      8500-000                      279.30

 Green Valley Neck    & Back     Medical Provider - Green
                                 Valley Neck & Back            8500-000                     3,000.00

 Radiology Associates            Medical Provider - Carmella
                                 Olvera                        8500-000                       33.00

 Champva                         Medical Provider - Carmella
                                 Olvera                        8500-000                      247.82

 Karla Luna Dominguez            Settlment Proceeds            8500-000                     2,250.00

 Bank of Nevada Iolta Interest   Bank of Nevada Iolta
                                 Interest                      8500-000                      293.94

 Venice N Yaldo-Jarmusz          Venice N Yaldo-Jarmusz funds 8500-000                      9,000.00

 Centennial Medical Group        Sanatana Interpleader Funds   8500-000                    40,390.85

 Medicaid                        Sanatana Interpleader Funds   8500-000                    13,831.00

 Las Vegas Neurosurgery, Ortho   Sanatana Interpleader Funds   8500-000                      674.13
 & Rehab
 Center for Surgical             Sanatana Interpleader Funds   8500-000                    45,297.38
 Intervention
 Brian A Lemper DO LTD           Sanatana Interpleader Funds   8500-000                    16,274.91

 Gary J LaTourette MD            Sanatana Interpleader Funds   8500-000                      714.69


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 Oasis Wellness Center            Sanatana Interpleader Funds   8500-000                 13,194.86

 Comprehensive Injury Institute   Sanatana Interpleader Funds   8500-000                  1,006.75

 Matt Smith Physical Therapy      Sanatana Interpleader Funds   8500-000                  3,961.69

 Red Rock Diagnostics             Sanatana Interpleader Funds   8500-000                      0.00

 Allied Collection Services       Sanatana Interpleader Funds   8500-000                   897.10

 Key Health Medical Solutions     Sanatana Interpleader Funds   8500-000                  7,104.54

 Sunset Neck & Back Clinic        Sanatana Interpleader Funds   8500-000                  2,696.29

 David A Rosenberg, Trustee The   Sanatana Interpleader Funds   8500-000                 15,703.45
 Powell Litigation Group
 Red Rock Diagnostics             Sanatana Interpleader Funds   8500-000                  2,242.75

 Bank of Nevada Iolta Interest    Bank of Nevada Iolta
                                  Interest                      8500-000                   273.13

 Bank of Nevada Iolta Interest    Bank of Nevada Iolta
                                  Interest                      8500-000                   262.65

 Iolta Bank of Nevada Interest    Iolta Bank of Nevada
                                  Interest                      8500-002                   294.07

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   225.21

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    80.36

 Summerlin Hospital Medical       Disbursement                  8500-000                    50.00
 Center
 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                    97.56

 Bank of Nevada Interest          Bank of Nevada Interest       8500-000                   172.15

 Mary Cowly                       Case Funds                    8500-000                      0.00

 Susan Parker                     Case Funds                    8500-000                 46,412.21

 Susan Parker                     Case Funds                    8500-000                 30,000.00

 Joseph Allison                   Case Funds                    8500-000                 45,000.00

 LaShaun Thomas                   Case Funds                    8500-000                 15,666.66

 Jose Angel Bocanegra             Case Funds                    8500-000                 15,000.00

 Nancy Limpias                    Case Funds                    8500-000                      0.00

 Lori Owens                       Case Funds                    8500-000                      0.00

 Paul Cho                         Case Funds                    8500-000                  5,973.66

 Susan & Roland Rathunde          Case Funds                    8500-000                  5,534.68

 Siraj Habib                      Case Funds                    8500-000                  5,488.70

 Martha Navarro                   Case Funds                    8500-000                  5,209.90

 Florence Dangelo                 Case Funds                    8500-000                      0.00

 David Laughlin                   Case Funds                    8500-000                      0.00

 Eleanor H St John                Case Funds                    8500-000                      0.00




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 Jackie & Herbert Mack            Case Funds                   8500-000                       0.00

 Valerie Johnston                 Case Funds                   8500-000                   3,033.00

 Justin Owens                     Case Funds                   8500-000                       0.00

 Krystle Kelly                    Case Funds                   8500-000                       0.00

 Daryl Leftault                   Case Funds                   8500-000                   2,288.86

 James Johnson                    Case Funds                   8500-000                       0.00

 Judy Fisher                      Case Funds                   8500-000                   2,000.00

 Melissa Leyba                    Case Funds                   8500-000                       0.00

 Hernestina Villanueva            Case Funds                   8500-000                       0.00

 Evelyn Thomas                    Case Funds                   8500-000                       0.00

 Michael Angel                    Case Funds                   8500-000                       0.00

 Ursula Thomas-Green              Case Funds                   8500-000                       0.00

 Eileen Lucero                    Case Funds                   8500-000                       0.00

 BANK OF NEVADA INTEREST IOLTA    BANK OF NEVADA INTEREST
 ACCOUNT                          IOLTA ACCOUNT                8500-000                    172.78

 BANK OF NEVADA INTEREST IOLTA    BANK OF NEVADA INTEREST
 ACCOUNT                          IOLTA ACCOUNT                8500-000                    124.02

 BANK OF NEVADA INTEREST IOLTA    BANK OF NEVADA INTEREST
 ACCOUNT                          IOLTA ACCOUNT                8500-000                     71.28

 BANK OF NEVADA INTEREST IOLTA    BANK OF NEVADA INTEREST
 ACCOUNT                          IOLTA ACCOUNT                8500-000                     70.72

 State of Nevada Office of the    Unclaimed Property           8500-000                 112,569.56
 State Treasurer
 State of Nevada Office of the    Unclaimed property           8500-002                   3,563.72
 State Treasurer
 State of Pennsylvania            Unclaimed Property           8500-002                   1,467.33
 Secretary of State
 Comprehensive Physical Therapy   Katherine Helm - Medical
                                  Provider                     8500-000                       0.00

 Margarita Vasquez                Margarita Vasquez -
                                  Settlement                   8500-000                       0.00

 The Powell Litigation Group,     Ahmad Quassani - 15% Costs   8500-000                    795.91
 PC
 The Powell Litigation Group,     Glen & Lisa Muise - 15%
 PC                               Costs                        8500-000                    126.92

 The Powell Litigation Group,     Deral Smith - 15% Costs      8500-000                     97.60
 PC
 The Powell Litigation Group,     Rae-Shanda Paige - 15% Costs 8500-000                     18.92
 PC
 The Powell Litigation Group,     Ruth Schmeglar - 15% Costs   8500-000                    102.75
 PC
 Strehlow Radiology               Steven Marvel - Medical
                                  Provider                     8500-000                       0.00

 The Powell Litigation Group,     Steven Wyatt - 15% Costs     8500-000                    152.16
 PC



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 The   Powell Litigation Group,   John Werner - 15% Costs       8500-000                    87.70
 PC
 The   Powell Litigation Group,   Manuel Arvarez - 15% Costs    8500-000                   104.41
 PC
 The   Powell Litigation Group,   Renee Ramirez - 15% Costs     8500-000                    27.75
 PC
 The   Powell Litigation Group,   Madeline James - 15% Costs    8500-000                    81.96
 PC
 The   Powell Litigation Group,   Tricia Tennant - 15% Costs    8500-000                 1,140.01
 PC
 Dr.   David B. Cohen             Linda Cooter - Medical
                                  Provider                      8500-000                     0.00

 Account Recovery Services        Jovanna Sandoval - Medical
                                  Provider                      8500-000                     0.00

 Glen J. Lerner & Associates      Pasquale Villardi - Advanced
                                  Costs                        8500-000                    818.76

 Xpress Care                      Christian Cisneros-Martinez
                                  - Medical Provider            8500-000                     0.00

 Xpress Care                      Debra Pinkney - Medical
                                  Provider                      8500-000                     0.00

 Las Vegas Special Surgery        Paul Cho - Medical Provider   8500-000                     0.00
 Center
 Nevada Imaging                   Paul Cho - Medical Provider   8500-000                     0.00

 Dr. Rajeev Khamamkar             Thomas Chavez - Medical
                                  Provider                      8500-000                     0.00

 Teodulo Nunez-Orozco             Teodulo Nuno-Orozco - Full &
                                  Final Settlement             8500-000                      0.00

 The Powell Litigation Group,     Anissa Robles - Attorney
 PC                               Fees                          8500-000                   150.00

 David R. Golan MD                Gilberto Hernandez - Medical
                                  Provider                     8500-000                      0.00

 Xpress Care                      Samantha Hames - Medical
                                  Provider                      8500-000                     0.00

 Strehlow Radiology               David Lopez - Medical
                                  Provider                      8500-000                     0.00

 Powell Naqvi                     Cindy Vincich - Advanced
                                  Costs                         8500-000                    20.00

 The Powell Litigation Group,     Howard Merhar -Attorney Fees
 PC                               & Costs                      8500-000                      0.00

 Howard Merhar                    Howard Merhar - Full & Final
                                  Settlement                   8500-000                      0.00

 Dr. Jeff Fine                    Bradley Fettig - Medical
                                  Provider                      8500-000                     0.00

 Cameron Medical Center           Bradley Fettig - Medical
                                  Provider                      8500-000                     0.00

 Centennial Spine & Pain Center   Bradley Fettig - Medical
                                  Provider                      8500-000                     0.00



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 Nevada Imaging                  Bradley Fettig - Medical
                                 Provider                      8500-000                     0.00

 Wakefield & Associates          Bradley Fettig - Medical
                                 Provider                      8500-000                     0.00

 Glen J. Lerner & Associates     Hernestina Villanueva -
                                 Advanced Costs                8500-000                   528.51

 Industrial Pharmacy             Hernestina Villanueva -
                                 Medical Provider              8500-000                     0.00

 CBC Radiology Specialists LTD   Hernestina Villanueva -
                                 Medical Provider              8500-000                     0.00

 Spinal Rehabilitation           Hernestina Villanueva -
                                 Medical Provider              8500-000                     0.00

 The Pain Clinic, Inc.           Hernestina Villanueva -
                                 Medical Provider              8500-000                     0.00

 Wang Medical                    Hernestina Villanueva -
                                 Medical Provider              8500-000                     0.00

 Industrial Pharmacy             Earnest Pitre - Medical
                                 Provider                      8500-000                     0.00

 Teamsters Security Fund         Christina Rollf - Medical
                                 Provider                      8500-000                     0.00

 Xpress Care                     Crystal Rodriguez - Medical
                                 Provider                      8500-000                     0.00

 Lab Corp                        Maria Salgado - Medical
                                 Provider                      8500-000                     0.00

 Escallate Collections           Isaias Monge-Bonilla -
                                 Medical Provider              8500-000                     0.00

 Xpress Care                     Sergio Garcia - Medical
                                 Provider                      8500-000                     0.00

 Xpress Care                     Ramon Rodriguez-Chavez -
                                 Medical Provider              8500-000                     0.00

 Lana Prieto                     Lana Proeto - Overpayment to
                                 Provider                     8500-000                      0.00

 Lab Medicine Consultants        Terry Fulton - Medical
                                 Provider                      8500-000                     0.00

 Xpress Care                     Donald Wilde - Medical
                                 Provider                      8500-000                     0.00

 Strehlow Radiology              Juan Vargas - Medical
                                 Provider                      8500-000                     0.00

 Dr. David R. Golan              Debra Webster - Medical
                                 Provider                      8500-000                     0.00

 David R. Golan MD               Jaime Alindog - Medical
                                 Provider                      8500-000                     0.00




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 Xpress Care                      Brent Carlson - Medical
                                  Provider                      8500-000                     0.00

 Glen J. Lerner & Associates      Eddie Sarpong - Advanced
                                  Costs                         8500-000                   208.10

 Paul D. Powell                   Teresa Ziegler - 15% Costs    8500-000                    35.52

 Paul D. Powell                   Krystle Kelly - 15% Costs     8500-000                    29.12

 Wayne Mantel                     Krystle Kelly - Medical
                                  Provider                      8500-000                     0.00

 Paul D. Powell                   Jerrod Gunning - 15% Costs    8500-000                 1,883.27

 UMR                              Jerrod Gunning - Medical
                                  Provider                      8500-000                     0.00

 Paul D. Powell                   Floyd Marsden - 15%   Costs   8500-000                     1.57

 Xpress Care                      Victor Peraza-Mendez -
                                  Medical Provider              8500-000                     0.00

 Xpress Care                      Marco Diaz-Guerra - Medical
                                  Provider                      8500-000                     0.00

 Xpress Care                      Carlos Carrion - Medical
                                  Provider                      8500-000                     0.00

 Paul D. Powell                   Brittany Koutsoubos - 15%
                                  Costs                         8500-000                    22.63

 Glen J. Lerner & Associates      Robert Bussy - Advanced
                                  Costs                         8500-000                     0.00

 Paul D. Powell                   Robert Bussy - 15% Costs      8500-000                    95.38

 Paul D. Powell                   Marilyn Burton - 15% Costs    8500-000                   107.87

 Paul D. Powell                   Ricky Cannon - %15 Costs      8500-000                     0.75

 Paul D. Powell                   Leo Archambault - 15% Costs   8500-000                     5.57

 Paul D. Powell                   Rafael Gutierrez - 15% Costs 8500-000                     71.97

 Paul D. Powell                   James Bucknell - Advanced
                                  Costs                         8500-000                    82.34

 Paul D. Powell                   Myong Ryals - 15% Costs       8500-000                    60.43

 HMS AAF UHC Arizona Physicians   Frank Ricca - Medical
 IPA, Inc                         Provider                      8500-000                     0.00

 Paul D. Powell                   Moniqua Whitmore - 15% Costs 8500-000                     45.54

 McLean Radiology                 Moniqua Whitmore - Medical
                                  Provider                      8500-000                     0.00

 Southwest Emergency Services     Teodulo Nuno-Orozco -
                                  Medical Provider              8500-000                     0.00

 Paul D. Powell                   Katherine Ruvalcaba- Luna -
                                  15% Costs                     8500-000                     3.75

 Paul D. Powell                   Edgar Salazar - 15% Costs     8500-000                    86.14


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 Paul D. Powell                  Keshia Rashada-Davis - 15%
                                 Costs                         8500-000                     51.80

 Paul D. Powell                  Suzette   Silvestre - 15%
                                 Costs                         8500-000                     25.55

 Paul D. Powell                  Terence Kinser - 15% Costs    8500-000                    154.04

 Paul D. Powell                  Thomas Denton - 15% Costs     8500-000                      5.04

 Paul D. Powell                  Michelle Theroux - 15% Costs 8500-000                     101.93

 Advanced Paincare               Michelle Theroux - Medical
                                 Provider                      8500-000                      0.00

 Paul D. Powell                  Shirley Williams - 15% Costs 8500-000                       1.20

 Paul D. Powell                  Karla Luna-Dominguez - 15%
                                 Costs                         8500-000                     96.82

 Paul D. Powell                  Marlon Haynes - 15% Costs     8500-000                    127.14

 Paul D. Powell                  Diana Carnivalli - 15% Costs 8500-000                      11.00

 Paul D. Powell                  Crystal Denton - 15% Costs    8500-000                      4.77

 Paul D. Powell                  Sylvester Thomas - 15%        8500-000                    271.45

 Paul D. Powell                  Diep Woodard - 15% Costs      8500-000                      4.11

 Meridian Resource Company       Freddie Taylor - Medical
 (Empire BC/BS)                  Provicer                      8500-000                      0.00

 Sprenz & Associates             Dorothy Kelley - Advanced
                                 Costs                         8500-000                      0.00

 Paul D. Powell                  Darlene Villalba-Hawkins -
                                 15% Costs                     8500-000                     41.82

 Paul D. Powell                  Michele Redmond - 15% Costs   8500-000                     50.29

 Paul D. Powell                  Claudia Miramontes - 15%
                                 Costs                         8500-000                     20.87

 Paul D. Powell                  Linda Webster - 15% Costs     8500-000                      7.79

 Paul D. Powell                  William Sterling - 15% Costs 8500-000                      49.09

 Paul D. Powell                  James Mead - 15% Costs        8500-000                     83.50

 Paul D. Powell                  Anthoney Lucero - 15% Costs   8500-000                      8.07

 Xpress Care                     Anthoney Lucero - Medical
                                 Provider                      8500-000                      0.00

 Paul D. Powell                  Lydia Lynch - Advanced Costs 8500-000                      42.26

 Paul D. Powell                  Carolyn Castro - 15% Costs    8500-000                     75.00

 Paul D. Powell                  Justin Owens - 15% Costs      8500-000                    112.62

 Desert Inn Chiro Center         Justin Owens - Medical
                                 Provider                      8500-000                      0.00

 Paul D. Powell                  Maria Gomez - 15% Costs       8500-000                    136.71




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 Paul D. Powell                  Maria Pena - 15% Costs        8500-000                   124.38

 Credit Bureau Central           Maria Pena - Medical
                                 Provider                      8500-000                     0.00

 Phillips & Lyon                 Orlando Vigil - Advanced
                                 Costs                         8500-000                     0.00

 Southwest Emergency Services    Maria Cumba-Richards -
                                 Medical Provider              8500-000                     0.00

 Glen J. Lerner & Associates     Sonia Barajas - Advanced
                                 Costs                         8500-000                     0.00

 Paul D. Powell                  Royale Robinson - 15% Costs   8500-000                     1.68

 Sprenz & Associates             Roland Devio - Advanced
                                 Costs                         8500-000                     0.00

 Paul D. Powell                  Carole Campagna - 15% Costs   8500-000                    16.38

 Sprenz & Associates             Cuc Tinder - Advanced Costs   8500-000                     0.00

 Paul D. Powell                  Robert Merkosky - 15% Costs   8500-000                     2.85

 Susan & Roland Rathunde         Susan Rathunde - Full &
                                 Final Settlement              8500-000                     0.00

 Red Rock Diagnostics            Antonio Calalay - Medical
                                 Provider                      8500-000                     0.00

 Green Valley Neck & Back        Antonio Calalay - Medical
                                 Provider                      8500-000                     0.00

 Primary Care Consultants        Antonio Calalay - Medical
                                 Provider                      8500-000                     0.00

 Paul D. Powell                  Anabel Sevilla - 15% Costs    8500-000                   214.65

 Health Plan of Nevada           Donald Martinez - Medical
                                 Provider                      8500-000                     0.00

 Health Plan of Nevada           Jessie Owens - Medical
                                 Provider                      8500-000                     0.00

 Glen J. Lerner & Associates     Susan Rathunde - Advanced
                                 Costs                         8500-000                   256.18

 Comprehensive Pain Management   Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 North Valley Surgery Center     Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Simonmed Inaging                Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Dr. Carol Reed                  Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Ingenix Subrogation             Susan Rathunde - Medical
                                 Provider                      8500-000                     0.00

 Glen J. Lerner & Associates     Danny Killpatrick - Advanced
                                 Costs                        8500-000                     15.95

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 Preferred Capital Lending       Danny Killpatrick - Advanced
                                 Costs                        8500-000                      0.00

 Paul D. Powell                  James Quinn - 15% Costs       8500-000                   595.36

 Paul D. Powell                  Kevin Corbid - 15% Costs      8500-000                    22.14

 Integrated Pain Specialists     Michelle Paonessa - Medical
                                 Provider                      8500-000                 3,678.50

 Mario Tarquino, M.D.            Michelle Paonessa - Medical
                                 Provider                      8500-000                   504.00

 Zenith Admin (Electrical        Lisa Marie DiBernardo -
 Workers)                        Medical Provider              8500-000                     0.00

 Paul D. Powell                  Diane Stuessy - 15% Costs     8500-000                    16.41

 Paul D. Powell                  Otho Ray Howard - 15Costs %   8500-000                    27.75

 Glen J. Lerner & Associates     Mary Cowley - Advanced Costs 8500-000                    447.56

 Peachtree Pre-Settlement        Mary Cowley - Financial Lien 8500-000                      0.00
 Funding
 Canyon Medical Billing          Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Credit Bureau Central           Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Denham Ortho & Prosthetics      Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Dr. Russel J. Shah              Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 EPMG                            Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Grant & Weber                   Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Grant & Weber                   Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Grant & Weber                   Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Las Vegas Pharmacy Inc.         Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Nevada Spine Clinic             Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Nevada Spine Clinic-Hans Jorg   Mary Cowley - Medical
 Rosler                          Provider                      8500-000                     0.00

 Primary Care Consultants        Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Red Rock Diagnostics            Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

 Village East Drugs              Mary Cowley - Medical
                                 Provider                      8500-000                     0.00

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 Health Plan of Nevada           Mary Cowley - Medical
                                 Provider                      8500-000                      0.00

 Paul D. Powell                  Gerald Howell - 15% Costs     8500-000                      0.24

 Glen J. Lerner & Associates     Ana Miranda - Advanced Costs 8500-000                     34.00

 Paul D. Powell                  Ana Miranda - 15% Costs       8500-000                      6.00

 Mary Cowley                     Mary Cowely - Full & Final
                                 Settlement                    8500-000                      0.00

 Glen J. Lerner & Associates     Jackie Mack - Advanced Costs 8500-000                  28,958.35

 Paul D. Powell                  Jackie Mack - 15% Costs       8500-000                  1,917.10

 Glen J. Lerner & Associates     Nichole Anderson - Advanced
                                 Costs                         8500-000                   786.60

 Radiology Associates            Nichole Anderson - Medical
                                 Provider                      8500-000                      0.00

 Omar Cabahug, M.D.,             Jackie Mack - Medical
                                 Provider                      8500-000                   180.00

 Village East Drugs              Jackie Mack - Medical
                                 Provider                      8500-000                      0.00

 Medicare                        Jackie Mack - Medical
                                 Provider                      8500-000                      0.00

 Glen J. Lerner & Associates     Roberta Dulfon - Advanced
                                 Costs                         8500-000                    27.75

 Glen J. Lerner & Associates     Heather Dean-Murray -
                                 Advanced Costs                8500-000                   290.65

 Paul D. Powell                  Heather Dean-Murray - 15%
                                 Costs                         8500-000                    48.53

 Village East Drugs              Heather Dean-Murray -
                                 Medical Provider              8500-000                      0.00

 Glen J. Lerner & Associates     Sharon Ayers - Advanced
                                 Costs                         8500-000                   330.20

 PBS Anesthesia                  Sharon Ayers - Medical
                                 Provider                      8500-000                      0.00

 summerlin Medical Tower         Sharon Ayers - Medical
                                 Provider                      8500-000                      0.00

 Michael W. Barney, Inc          Sharon Ayers - Medical
                                 Provider                      8500-000                      0.00

 Paul D. Powell                  Mae Ruth Byrd - 15% Costs     8500-000                    46.67

 Glen J. Lerner & Associates     Ana Miranda - Advanced Costs 8500-000                     40.00

 Nationwide Insurance            Daryl Lefault - DOL 07/03/09 8500-000                       0.00

 Transworld Systems Inc.         Doris Fernandez - Medical
                                 Provider                      8500-000                   129.15

 The Powell Litigation Group,    Frank Feldhouse - Advanced
 PC

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                                  Costs                        8500-000                    2,468.25

 Compass Care                     Martha Navarro - Medical
                                  Provider                     8500-000                     624.32

 Desert Institute Of Spine Care   Martha Navarro - Medical
                                  Provider                     8500-000                     487.50

 Nevada Imaging                   Martha Navarro - Medical
                                  Provider                     8500-000                        0.00

 Tenaya Surgical Center           Martha Navarro - Medical
                                  Provider                     8500-000                   29,190.00

 Lake Mead Radiologists           Martha Navarro - Medical
                                  Provider                     8500-000                        0.00

 Advanced Pre-Settlement          Martha Navarro - Medical
 Funding                          Provider                     8500-000                   21,576.00

 Las Vegas Fire & Rescue          Charlene Triplet - Medical
                                  Provider                     8500-000                     886.19

 Southwest Neck & Back            Charlene Triplet - Medical
                                  Provider                     8500-000                    1,929.00

 Glen J. Lerner & Associates      David Laughlin - Attorney
                                  Fees                         8500-000                    2,857.12

 Glen J. Lerner & Associates      David Laughlin - Advanced
                                  Costs                        8500-000                     193.80

 Paul D. Powell                   David Laughlin - 15% Costs   8500-000                      34.19

 Lucky Investers                  David Laughlin - Lien        8500-000                        0.00

 Compass Care                     David Laughlin - Medical
                                  Provider                     8500-000                    1,196.30

 Nevada Imaging                   David Laughlin - Medical
                                  Provider                     8500-000                        0.00

 Dr. TJ Allen                     David Laughlin - Medical
                                  Provider                     8500-000                        0.00

 Oasis Legal Finance              James Johnson - Lien         8500-000                        0.00

 Department of Vetrans Affairs    Herb Apfel - Subro           8500-000                    3,500.00

 Glen J. Lerner & Associates      Shemese Omar - Advanced
                                  Costs                        8500-000                      11.58

 Paul D. Powell                   Shemese Omar - 15% Costs     8500-000                        2.04

 Nevada Imaging                   Shemese Omar - Medical
                                  Provider                     8500-000                        0.00

 Health Plan of Nevada            Shemese Omar - Medical
                                  Provider                     8500-000                     231.50

 Glen J. Lerner & Associates      Maria Becerra - Advanced
                                  Costs                        8500-000                     272.48

 Compass Care                     Maria Becerra - Medical
                                  Provider                     8500-000                     426.60

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 Sierra - HPN                    Maria Becerra - Medical
                                 Provider                      8500-000                    24.18

 NW Neck & Back Clinic           Jacob Davis - Medical
                                 Provider                      8500-000                  2,661.00

 Glen J. Lerner & Associates     Kamesha McClinton - Attorney
                                 Fees                         8500-000                   1,649.21

 BJN, Inc.                       Kamesha McClinton - Lien      8500-000                  2,000.00

 Industrial Pharmacy             Kamesha McClinton - Medical
                                 Provider                      8500-000                   575.00

 Michael W. Barney, Inc          Kamesha McClinton - Medical
                                 Provider                      8500-000                    73.00

 Northeast Neck & Back Clinic    Kamesha McClinton - Medical
                                 Provider                      8500-000                   433.00

 Red Rock Imaging Services,      Kamesha McClinton - Medical
 Inc.                            Provider                      8500-000                    15.00

 Glen J. Lerner & Associates     Reynaldo Garcia-Lopez -
                                 Advanced Costs                8500-000                      0.00

 Glen J. Lerner & Associates     Carlos Duran-Beltran -
                                 Advanced Costs                8500-000                      0.00

 Glen J. Lerner & Associates     Shemse Omar - Attorney Fees   8500-000                   960.00

 Glen J. Lerner & Associates     K'daya Fuller - Attorney
                                 Fees                          8500-000                   333.33

 Glen J. Lerner & Associates     Kamesha McClinton - Attorney
                                 Fees                         8500-000                   2,400.00

 Glen J. Lerner & Associates     Ashley Bangs - Advanced
                                 Costs                         8500-000                    37.25

 Glen J. Lerner & Associates     Antonio Caldwell - Advanced
                                 Costs                         8500-000                    19.75

 Bond Pediatrics                 Antonio Caldwell - Medical
                                 Provider                      8500-000                    25.00

 Plus Four                       Christian Jacinto - Medical
                                 Provider                      8500-000                    90.96

 Desert Radiolgists              Christian Jacinto - Medical
                                 Provider                      8500-000                    15.23

 Pinnacle Financial Group        Christian Jacinto - Medical
                                 Provider                      8500-000                      0.00

 Blue Cross Blue Shield          Christian Jacinto - Medical
                                 Provider                      8500-000                 95,000.00

 Rawlings Co.                    Christian Jacinto - Medical
                                 Provider                      8500-000                  2,069.34

 Glen J. Lerner & Associates     Christian Jacinto - Advanced
                                 Costs                        8500-000                     19.75



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 NW Neck & Back Clinic            Zachary Fassio - Medical
                                  Provider                     8500-000                   1,770.00

 Centennial Hills Hospital        Christina Gallagher -
                                  Medical Provider             8500-000                       0.00

 Interventional Pain Medicine     Christina Gallagher -
 of Nevada                        Medical Provider             8500-000                       8.89

 Las Vegas Fire & Rescue          Christina Gallagher -
                                  Medical Provider             8500-000                    100.00

 Las Vegas Neurosurgery, Ortho,   Christina Gallagher -
 & Rehab                          Medical Provider             8500-000                   2,387.88

 Louis F. Mortillaro, PHD         Christina Gallagher -
                                  Medical Provider             8500-000                   1,640.00

 NW Neck & Back Clinic            Christina Gallagher -
                                  Medical Provider             8500-000                   2,327.00

 Quest Diagnostics                Christina Gallagher -
                                  Medical Provider             8500-000                     23.39

 Center For Surgical              Christina Gallagher -
 Intervention                     Medical Provider             8500-000                    444.80

 Radiology Associates             Christina Gallager - Medical
                                  Provider                     8500-000                       0.00

 Ingenix Subrogation              Christina Gallagher -
                                  Medical Provider             8500-000                  11,210.70

 Canyon Medical Billing           Erin Gallagher - Medical
                                  Provider                     8500-000                     72.00

 NW Neck & Back Clinic            Erin Gallagher - Medical
                                  Provider                     8500-000                   2,100.00

 Canyon Medical Billing           Scott Brown - Medical
                                  Provider                     8500-000                     60.00

 NW Neck & Back Clinic            Scott Brown - Medical
                                  Provider                     8500-000                   4,000.00

 Scott Brown                      Scott Brown - Full & Final
                                  Settlement                   8500-000                   5,562.50

 The Powell Litigation Group,     John Dunston - Advanced
 PC                               Costs                        8500-000                    158.10

 NW Neck & Back Clinic            John Dunston - Medical
                                  Provider                     8500-000                   1,996.00

 Hospital Lien Strategies         John Dunston - Medical
                                  Provider                     8500-000                   5,000.00

 NCO Financial, Inc.              John Dunston - Medical
                                  Provider                     8500-000                       0.00

 Desert Radiolgists               John Dunston - Medical
                                  Provider                     8500-000                    170.50




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 Las Vegas Pharmacy Inc.         John Dunston - Medical
                                 Provider                      8500-000                      199.66

 Primary Care Consultants        John Dunston - Medical
                                 Provider                      8500-000                      312.00

 Oasis Legal Finance             Diane Stuessy - Lien          8500-000                     9,000.00

 Lemper Pain Center              Christina Gallagher -
                                 Medical Provider              8500-000                     1,267.35

 The Powell Litigation Group,    Cynthia Mendez - Payment of
 PC                              Lien                          8500-000                     2,928.95

 The Powell Litigation Group,    Kathryn Gaefe - Advanced
 PC                              Costs                         8500-000                      500.00

 The Powell Litigation Group,    Kevin Barrett - Advanced
 PC                              Costs                         8500-000                         0.01

 Bank of Nevada Account          IOLTA Trust Account           8500-000                     2,280.77
 Interest
 Yolanda Rodriguez               Armondo Rodriguez             8500-000                    12,014.45

 Wells Fargo FBO Jackilyn        Jackilyn Ruelas - Full &
 Ruelas                          Final Settlement              8500-000                     9,080.58

 The Powell Litigation Group,    Ann Johnson - Advanced Costs
 PC                              5.17.07                      8500-000                      3,086.24

 Glen J. Lerner & Associates     Doris Fernandez - Advanced
                                 Costs                         8500-000                      950.00

 Glen J. Lerner & Associates     Manuel Beverra - Advanced
                                 Costs                         8500-000                      279.96

 Glen J. Lerner & Associates     Mar Ruth Byrd - Advanced
                                 Costs                         8500-000                      304.44

 The Powell Litigation Group,    Alexis Caldwell - Attorney
 PC                              Fees                          8500-000                     2,581.30

 The Powell Litigation Group,    Alexis Caldwell - Attorney
 PC                              Costs                         8500-000                     4,094.55

 The Powell Litigation Group,    Rachel Davis - Advanced
 PC                              Costs                         8500-000                    43,853.01

 Alexis Caldwell                 Alexis Caldwell Full and
                                 Final Settlement              8500-000                      728.46

 The Powell Litigation Group,    Jeradina Perez-Fuentes -
 PC                              Attorney Fees                 8500-000                    14,800.00

 The Powell Litigation Group,    Linda Remer - Advanced Costs 8500-000                      2,241.23
 PC
 Legacy Surgical Services        Gerald Howell - Medical
                                 Provider                      8500-000                    14,378.16

 Centennial Medical Group        Timothy Campbell - Medical
                                 Providers                     8500-000                     2,004.10

 DL-Jt Management                Timothy Campbell - Medical
                                 Providers                     8500-000                     1,785.59


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 Russell J. Shah, MD             Timothy Campbell - Medical
                                 Providers                     8500-000                       0.00

 Preferred Capital Lending       Timothy Campbell - Medical
                                 Providers                     8500-000                  12,040.24

 Hans-Jorg Rosler, MD            Timothy Campbell - Medical
                                 Providers                     8500-000                  24,973.54

 West Las Vegas Surgery Center   Timothy Campbell - Medical
                                 Providers                     8500-000                  23,058.64

 Steven B. Andracki              Timothy Campbell - Medical
                                 Providers                     8500-000                    499.74

 Ian Yamane, DC                  Timothy Campbell - Medical
                                 Providers                     8500-000                   1,187.35

 JNAAA Holdings                  Timothy Campbell - Medical
                                 Providers                     8500-000                   3,465.42

 David Rosenberg-Powell          Jeradina Perez-Fuentes -
 Litigation Group                Attorney Fees                 8500-000                  13,200.00

 David Rosenberg-Powell          Jeradina Perez-Fuentes -
 Litigation Group                Attorney Fees                 8500-000                  10,024.00

 Wells Fargo FBO Austin Bean     Austin Bean - Full & Final
                                 Settlement                    8500-000                       0.00

 Wells Fargo FBO Roxanna Lopez   Roxanna Lopez - Full & Final
                                 Settlement                   8500-000                    1,682.44

 Spring Mountian Chiropractic    Carolle Martindale - Medical
                                 Provider                     8500-000                        0.00

 Bank of Nevada Account          IOLTA Trust Account           8500-000                   2,082.41
 Interest
 Bank of Nevada Account          IOLTA Trust Account           8500-000                   1,874.72
 Interest
 wells Fargo FBO Ashley Bangs    Ashley Bangs - Full & Final
                                 settlement                    8500-000                    466.88

 Wells Fargo FBO Antonio         Antonio Caldwell - Full &
 Caldwell                        Final Settlement              8500-000                   2,155.52

 Bank of Nevada Account          IOLTA Trust Account           8500-000                   2,039.88
 Interest
 Clerk of the Court              Charlyne Cutler               8500-000                  90,220.00

 Glen J. Lerner & Associates     Fransisco Ayala - Advanced
                                 Costs                         8500-000                       0.00

 Bone & Joint Specialists        Fransisco Ayala - Medical
                                 Provider                      8500-000                   3,730.00

 Industrial Pharmacy             Fransisco Ayala - Medical
                                 Provider                      8500-000                   3,700.00

 Las Vegas Pharmacy Inc.         Fransisco Ayala - Medical
                                 Provider                      8500-000                   5,441.99

 Lemper Pain Center              Fransisco Ayala - Medical
                                 Provider                      8500-000                  18,417.45


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 Key Health Management            Fransisco Ayala - Medical
                                  Provider                     8500-000                   1,104.92

 McLean Radiology                 Francisco Ayala - Medical
                                  Provider                     8500-000                     45.00

 Nevada Imaging                   Francisco Ayala - Medical
                                  Provider                     8500-000                   1,620.86

 NW Neck & Back Clinic            Francisco Ayala - Medical
                                  Provider                     8500-000                   4,700.00

 Primary Care Consultants         Francisco Ayala - Medical
                                  Provider                     8500-000                    192.50

 Raxo Drugs                       Francisco Ayala - Medical
                                  Provider                     8500-000                   3,265.89

 Red Rock Diagnostics             Francisco Ayala - Medical
                                  Provider                     8500-000                   2,280.60

 Center For Surgical              Francisco Ayala - Medical
 Intervention                     Provider                     8500-000                  17,281.25

 Oasis Wellness Center            Francisco Ayala - Medical
                                  Provider                     8500-000                   2,400.00

 The Powell Litigation Group,     Holly Marquardt - Attorney
 PC                               Fees                         8500-000                  14,285.26

 Desert Oasis Clinic              Holly Marquardt - Medical
                                  Provider                     8500-000                   5,166.00

 Las Vegas Neurosurgery, Ortho,   Holly Marquardt - Medical
 & Rehab                          Provider                     8500-000                    600.00

 Las Vegas Pain Relieve Center    Holly Marquardt - Medical
                                  Provider                     8500-000                   1,875.00

 McKenna Pain Specialists         Holly Marquardt - Medical
                                  Provider                     8500-000                    155.02

 Rapid Rehab                      Holly Marquardt - Medical
                                  Provider                     8500-000                   5,318.50

 Russell J. Shah, MD              Holly Marquardt - Medical
                                  Provider                     8500-000                   7,000.00

 Theodore Thorpe, MD              Holly Marquardt - Medical
                                  Provider                     8500-000                    330.25

 The Rawlings Company             Holly Marquardt - Medical
                                  Provider                     8500-000                   1,730.97

 Sierra Health & Life             Holly Marquardt - Medical
                                  Provider                     8500-000                     40.00

 Holly Marquardt                  Holly Marquardt - Full &
                                  Final Settlement             8500-000                   3,500.00

 Bank of Nevada Account           IOLTA Trust Account          8500-000                   1,969.67
 Interest
 Bank of Nevada Account           IOLTA Trust Account          8500-000                   1,746.69
 Interest


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 Bank of Nevada Account           IOLTA Trust Account           8500-000                     1,877.14
 Interest
 Canyon Medical Billing           Bruce Lee - Medical Provider
                                  (Crovetti Bone & Joint)      8500-000                       185.00

 Canyon Medical Billing           Bruce Lee - Medical Provider
                                  ( LV Rad)                    8500-000                       825.00

 NW Neck & Back Clinic            Bruce Lee - Medical Provider 8500-000                      2,226.00

 Primary Care Consultants         Bruce Lee - Medical Provider 8500-000                       536.40

 Shadow Emergency Physicians      Bruce Lee - Medical Provider 8500-000                       406.20

 Humana                           Bruce Lee - Medical Provider 8500-000                       582.33

 Bruce Lee                        Bruce Lee - Full and final
                                  Settlement                    8500-000                     7,548.66

 Clerk of the Court               Amerios Villareal - A642673   8500-000                    66,591.68

 The Powell Litigation Group,     Bruce Lee - Costs             8500-000                       60.24
 PC
 Dr. Mario Tarqino                Jackilyn Ruelas - Medical
                                  Provider                      8500-000                      270.00

 Raxo Drugs                       Jackilyn Ruelas - Medical
                                  Provider                      8500-000                       89.95

 Spinal Rehabilitation            Jackilyn Ruelas - Medical
                                  Provider                      8500-000                     3,294.00

 Strehlow Radiology               Jackilyn Ruelas - Medical
                                  Provider                      8500-000                       96.00

 Health Plan of Nevada            Jackilyn Ruelas - Medical
                                  Provider                      8500-000                      644.00

 Bank of Nevada Account           IOLTA Trust Account           8500-000                     1,672.05
 Interest
 John Klock and The Cottle Firm   John Klock                    8500-000                     6,961.37

 Glen J. Lerner & Associates      John Klock                    8500-000                         0.00

 Centennial Back Center           Quincee Billew - Medical
                                  Provider                      8500-000                      587.70

 Cameron Medical Center           Quincee Billew - Medical
                                  Provider                      8500-000                      108.00

 Sierra - HPN                     Quincee Billew - Medical
                                  Provider                      8500-000                       97.42

 Wells Fargo FBO Quincee Billew   Quincee Billew - Full &
                                  Final Settlement              8500-000                     4,176.85

 Bank of Nevada Account           IOLTA Trust Account           8500-000                     1,654.93
 Interest
 Sprenz & Associates              Stephanie Vivirito - Funds
                                  in trust                      8500-000                     4,050.46

 The Powell Litigation Group,     Stephanie Vivirito -
 PC                               Attorney Fees                 8500-000                      810.09

 Anesthesia Associates            Irineo Marquez - Medical
                                  Provider                      8500-000                     1,105.00

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 Canyon Medical Billing          Irineo Marquez - Medical
                                 Provider                      8500-000                   500.00

 Center For Surgical             Irineo Marquez - Medical
 Intervention                    Provider                      8500-000                  3,346.88

 Escallate Collections           Irineo Marquez - Medical
                                 Provider                      8500-000                      0.00

 Jurani Clinic                   Irineo Marquez - Medical
                                 Provider                      8500-000                    37.20

 Lemper Pain Center              Irineo Marquez - Medical
                                 Provider                      8500-000                 13,284.50

 Med Care Solutions              Irineo Marquez - Medical
                                 Provider                      8500-000                  2,404.50

 Nevada Imaging                  Irineo Marquez - Medical
                                 Provider                      8500-000                  1,762.40

 Oasis Wellness Center           Irineo Marquez - Medical
                                 Provider                      8500-000                   825.00

 University Medical Center       Irineo Marquez - Medical
                                 Provider                      8500-000                   150.00

 Allied Collections              Irineo Marquez - Medical
                                 Provider                      8500-000                   112.75

 WRCBSS                          Irineo Marquez - Medical
                                 Provider                      8500-000                    20.00

 Culinary Health Fund            Irineo Marquez - Medical
                                 Provider                      8500-000                    97.84

 Irineo Marquez                  Irineo Marquez - Full &
                                 Final Settlement              8500-000                 14,543.43

 Martha Navarro                  Martha Navarro - Full and
                                 final Settlement (PLG)        8500-000                233,731.35

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,606.55
 Interest
 Preferred Capital Lending       Ann Johnson - Loan Payoff
                                 (5/15/07/Findlay)             8500-000                 65,000.00

 Sprenz & Associates             Russel Smith - Funds in
                                 Trust                         8500-000                 16,004.95

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,336.02
 Interest
 Ann Johnson                     DOL 5/15/07 - Partial pay
                                 out                           8500-000                 25,000.00

 Lily Becerra                    Lily Becerra - Minor's Comp
                                 final payout                  8500-000                      0.00

 Lily Becerra                    Lily Becerra - Minor's Comp
                                 Final Payout                  8500-000                  1,068.29

 Bruce Lee                       Bruce Lee - UIM Final Payout 8500-000                  16,454.35

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,347.54
 Interest

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 Advanced Pre-Settlement          Wilfredo Hall - Lien         8500-000                   8,000.00
 Funding
 Centennial Spine & Pain Center   Wilfredo Hall - Medical
                                  Proveider                    8500-000                    186.60

 Canyon Medical Billing           Wilfredo Hall - Medical
                                  Proveider                    8500-000                   1,100.00

 McLean Radiology                 Wilfredo Hall - Medical
                                  Proveider                    8500-000                     54.00

 Primary Care Consultants         Wilfredo Hall - Medical
                                  Proveider                    8500-000                    351.00

 Neck & Back Clinic               Wilfredo Hall - Medical
                                  Proveider                    8500-000                   2,574.00

 us Airforce Claims               Wilfredo Hall - Medical
                                  Proveider                    8500-000                   1,034.82

 Bank of Nevada Account           IOLTA Trust Account          8500-000                   1,457.84
 Interest
 Ann Johnson                      Ann Johnson - 5/3/2009       8500-000                    540.00

 Bank of Nevada Account           IOLTA Trust Account          8500-000                   1,407.08
 Interest
 Eddie Sarpong                    Eddie Sarpong - Full & Final
                                  Settlement                   8500-000                    304.18

 North Las Vegas Neck & Back      Eddie Sarpong - Medical
 Clinic                           Provider                     8500-000                    797.50

 Primary Care Consultants         Eddie Sarpong - Medical
                                  Provider                     8500-000                     96.25

 Shadow Emergency Physicians      Eddie Sarpong - Medical
                                  Provider                     8500-000                    750.00

 Michael W. Barney, Inc           Eddie Sarpong - Medical
                                  Provider                     8500-000                     70.00

 Anthem Blue Cross Blue Shield    Eddie Sarpong - Medical
                                  Provider                     8500-000                       0.00

 The Powell Litigation Group,     Lynn Kerecman - Case Costs   8500-000                    816.71
 PC
 Lynn Kerecman                    Lynn Kerecman - Full & Final
                                  Settlement                   8500-000                  14,183.29

 wells Fargo FBO Jaylin           Jaylin Burdette - Full &
 Burdette                         Final Settlement             8500-000                  55,035.90

 William S. Muir, MD              Joyce Lucero - Medical
                                  Provider                     8500-000                    324.00

 Desert Inn Medical Center        Joyce Lucero - Medical
                                  Provider                     8500-000                   3,950.40

 Innovative Pain Care Center      Joyce Lucero - Medical
                                  Provider                     8500-000                       0.00

 Integrated Pain Specialists      Joyce Lucero - Medical
                                  Provider                     8500-000                       0.00




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 Nevada Imaging                  Joyce Lucero - Medical
                                 Provider                      8500-000                      0.00

 Credit Bureau Central           Joyce Lucero - Medical
                                 Provider                      8500-000                      0.00

 Allstate Financial Services     Joyce Lucero - Medical
                                 Provider                      8500-000                      0.00

 NCO Financial, Inc.             Joyce Lucero - Medical
                                 Provider                      8500-000                  2,078.50

 Surgery Center of Southern      Joyce Lucero - Medical
 Nevada                          Provider                      8500-000                  4,357.18

 Village East Drugs              Joyce Lucero - Medical
                                 Provider                      8500-000                      0.00

 The Estate of Joyce Lucero      Joyce Lucero - Full & Final
                                 Settlement                    8500-000                  6,906.96

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,265.21
 Interest
 Mariah West                     Mariah West - Full and Final
                                 Settlement                   8500-000                   9,188.55

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,466.08
 Interest
 The Powell Litigation Group,    Joseph Murin - Trust Balance 8500-000                  32,080.00
 PC
 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,301.30
 Interest
 The Powell Litigation Group,    Ann Johnson - Partial
 PC                              Settlement Payout             8500-000                 15,000.00

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,317.51
 Interest
 The Powell Litigation Group,    Quinn - 15% Costs; Mack -
 PC                              Advanced Costs; Laughlin &
                                 Omar - Attorney Fees          8500-000                 33,370.83

 Bank of Nevada   Account        IOLTA Trust Account           8500-000                  1,293.40
 Interest
 Bank of Nevada   Account        IOLTA Trust Account           8500-000                  1,200.38
 Interest
 Bank of Nevada   Account        IOLTA Trust Account           8500-000                  1,324.60
 Interest
 Bank of Nevada   Account        IOLTA Trust Account           8500-000                  1,283.19
 Interest
 Shook & Stone                   Shannon Harger- Atty
                                 Priority Lien
                                 Case#A-11-652160-C            8500-000                   700.00

 Clerk of the Court              Shannon Harger -
                                 Case#A-11-652160-C            8500-000                 26,453.70

 The Powell Litigation Group,    Shannon Harger -
 PC                              Case#A-11-652160-C Remaining
                                 Fees and Costs               8500-000                  34,158.83

 Clerk of the Court              Case No: A-12-657988-C        8500-000                 25,000.00

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,142.09
 Interest
 Advanced Pre-Settlement         Barbara Lambert - Medical
 Funding

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                                 Provider                      8500-000                 32,173.07

 Advanced Surgical Associates    Barbara Lambert - Medical
                                 Provider                      8500-000                  3,381.44

 Allied Collections              Barbara Lambert - Medical
                                 Provider                      8500-000                      0.00

 Centennial Surgery Center       Barbara Lambert - Medical
                                 Provider                      8500-000                 11,182.21

 Centennial Upright MRI          Barbara Lambert - Medical
                                 Provider                      8500-000                  8,108.39

 Center for Disease & Surgery    Barbara Lambert - Medical
 of the Spine                    Provider                      8500-000                  1,689.60

 City of Henderson Ambulance     Barbara Lambert - Medical
                                 Provider                      8500-000                    54.49

 David Lanzkowsky MD             Barbara Lambert - Medical
                                 Provider                      8500-000                   235.56

 William S. Muir, MD             VOID: Barbara Lambert -
                                 Medical Provider              8500-000                      0.00

 Medical Associates of S.        Barbara Lambert - Medical
 Nevada                          Provider                      8500-000                   219.78

 Grant & Weber                   Barbara Lambert - Medical
                                 Provider                      8500-000                   531.25

 Key Health Medical Soulutions   Barbara Lambert - Medical
                                 Provider                      8500-000                 22,348.72

 Las Vegas Pharmacy Inc.         Barbara Lambert - Medical
                                 Provider                      8500-000                   242.22

 Primary Care Consultants        Barbara Lambert - Medical
                                 Provider                      8500-000                   219.78

 University Urgent Care          Barbara Lambert - Medical
                                 Provider                      8500-000                   591.32

 Russell J. Shah, MD             Barbara Lambert - Medical
                                 Provider                      8500-000                   591.32

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,256.68
 Interest
 Richard Harris Law Firm Iolta   Case#A-10-630887-C Lambert,
 Trust Acct                      Barbara                       8500-000                  1,933.48

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,218.01
 Interest
 Cohen-Johnson, LLC              Case#A-12-660322-C            8500-000                  5,000.00

 David A. Rosenberg              Case#A-12-600322-C            8500-000                 26,200.00

 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,195.88
 Interest
 Bank of Nevada Account          IOLTA Trust Account           8500-000                  1,222.88
 Interest
 BJN, Inc.                       Sottosanti order -
                                 Case#A-13-689176-C            8500-000                      0.00



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 Ann Johnson                      Ann Johnson - Advance        8500-000                  15,000.00

 Central Neck & Back              Alexis Caldwell - Provider   8500-000                   2,133.50

 Integrated Pain Specialists      Alexis Caldwell - Provider   8500-000                    153.00

 Aprial Health Care               Alexis Caldwell - Provider   8500-000                     15.53

 CIGNA                            Alexis Caldwell - Provider   8500-000                   1,442.04

 Healthsouth    Rehabilitation    Cecil & Rachel Davis -
                                  Provider                     8500-000                    143.00

 Tom Brooks Physical Therapy      Cecil & Rachel Davis -
                                  Provider                     8500-000                     82.23

 UMC Quickcare                    Cecil & Rachel Davis -
                                  Provider                     8500-000                       0.00

 Oasis Wellness Center            Cecil & Rachel Davis -
                                  Provider                     8500-000                    750.00

 comprehensive Injury Institute   Cecil & Rachel Davis -
                                  Provider                     8500-000                    245.00

 Ameritox, LTD                    Cecil & Rachel Davis -
                                  Provider                     8500-000                    370.84

 Orthofix                         Cecil & Rachel Davis -
                                  Provider                     8500-000                    606.14

 Prosthetics Center of            Cecil & Rachel Davis -
 Excellence                       Provider                     8500-000                    211.86

 Medicare                         Cecil & Rachel Davis -
                                  Provider                     8500-000                       0.00

 Medic West Ambulance, Inc.       Hortensia Ayala - Provider   8500-000                     85.83

 Michael W. Barney, Inc           Hortensia Ayala - Provider   8500-000                    112.00

 North Las Vegas Neck & Back      Hortensia Ayala - Provider   8500-000                   2,057.76
 Clinic
 Medicaid                         Hortensia Ayala - Provider   8500-000                     39.13

 Spinal Rehabilitation            Lily Becerra - Provider      8500-000                    417.50

 Strehlow Radiology               Lily Becerra - Provider      8500-000                     80.00

 Cameron Medical Center           Linda Remer - Provider       8500-000                    216.64

 Centennial Spine & Pain Center   Linda Remer - Provider       8500-000                    304.50

 Dr. Russel J. Shah               Linda Remer - Provider       8500-000                   2,975.00

 Dr. Jeff Fine                    Linda Remer - Provider       8500-000                   3,304.60

 Wellcare Pharmacy II, LLC        Linda Remer - Provider       8500-000                    104.00

 Nevada Imaging                   Linda Remer - Provider       8500-000                   1,331.90

 Compass Care                     Roxanna Lopez - Medical
                                  Provider                     8500-000                    230.75

 North Las Vegas Neck & Back      Roxanna Lopez - Medical
 Clinic                           Provider                     8500-000                    230.00


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 Spinal Rehabilitation           Roxanna Lopez - Medical
                                 Provider                      8500-000                    1,261.25

 Bone & Joint Specialists        Victoria Harahus - Medical
                                 Provider                      8500-000                     138.89

 Forte Family Practice           Victoria Harahus - Medical
                                 Provider                      8500-000                      60.00

 Blue Cross BLue Shield          Victoria Harahus - Medical
                                 Provider                      8500-000                     215.00

 division of Child Support       Wondwosen Tamarat - Medical
 Enforcement                     Provider                      8500-000                     543.14

 Cameron Medical Center          Wondwosen Tamarat - Medical
                                 Provider                      8500-000                      66.00

 Dr. Jeff Fine                   Wondwosen Tamarat - Medical
                                 Provider                      8500-000                     568.20

 Nevada Imaging                  Wondwosen Tamarat - Medical
                                 Provider                      8500-000                      50.00

 Spring Valley Hospital          Wondwosen Tamarat - Medical
                                 Provider                      8500-000                     175.00

 HEREIU Welfare Fund             Wondwosen Tamarat - Medical
                                 Provider                      8500-000                    1,100.36

 Antonina Gustilo                Antonina Gustilo              8500-000                     666.67

 The Hartford                    Evelyn Thomas - Return funds
                                 to carrier                   8500-000                         0.00

 The Hartford                    Ursula Thomas-Green - Return
                                 funds to carrier             8500-000                         0.00

 Christopher Stutte              Return funds to client        8500-000                        0.00

 Karon Thedford                  Return funds to client        8500-000                        0.00

 Mary Cowley                     Return funds to client        8500-000                        0.00

 Pasquale & Patricia Villardi    Return funds to client        8500-000                        0.00

 Patricia Graham                 Return funds to client        8500-000                     474.59

 Rodolfo Romero                  Return funds to client        8500-000                    4,000.00

 Suzette D Silvestre             Return funds to client        8500-000                        0.00

 Teodulo Nunez-Orozco            Return funds to client        8500-000                        0.00

 Clark County Social Services    Linda Remer                   8500-000                    7,286.43

 The Powell Litigation Group,    Disbursement of Funds         8500-000                  186,951.67
 PC
 Juan Pedro Miranda              Juan Pedro Miranda Order
                                 setting up blocked trust
                                 account                       8500-000                   12,501.87

 Advanced Pre-Settlement         Theresa Sottosanti order -
 Funding                         Case#A-13-689176-C            8500-000                    7,000.00



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 Vicctims of Crime               Juan Pedro Miranda - Case
                                 #A589709                     8500-000                   1,913.06

 Desert Radiolgists              Juan Pedro Miranda - Case
                                 #A589709                     8500-000                       0.00

 State of NV Div of HCFandP      Juan Pedro Miranda - Case
 (Medicaid)                      #A589709                     8500-000                  12,500.00

 Credit Bureau Central           Juan Pedro Miranda - Case
                                 #A589709                     8500-000                    969.87

 David Rosenberg-Powell          Juan Pedro Miranda - Case
 Litigation Group                #A589709                     8500-000                  13,169.20

 Bank of Nevada Account          IOLTA Trust Account          8500-000                   1,192.09
 Interest
 Karla Luna-Dominguez            Karla Luna-Dominguez
                                 Settlement                   8500-000                       0.00

 Karla Luna-Dominguez            Settlement - Rep of the
                                 estate of Katherine
                                 Rubalcava Luna               8500-000                       0.00

 Anabelle Sevilla                Anabel Sevilla Miranda -
                                 Settlement                   8500-000                       0.00

 Anabelle Sevilla                Settlement - Rep of the
                                 estate of Ana Itzelic
                                 Miranda Sevilla              8500-000                       0.00

 David Rosenberg-Powell          Fees and Costs for
 Litigation Group                Sevilla/Santacruz case       8500-000                       0.00

 David Rosenberg-Powell          Fees and Costs for
 Litigation Group                Sevilla/Santacruz Case       8500-000                   6,000.00

 Rosalyn Harrison                Rosalyn Harrison -
                                 Settlement                   8500-000                   7,539.66

 Advanced Pre-Settlement         Rosalyn Harrison - Medical
 Funding                         Provider                     8500-000                  58,640.00

 Centennial Upright MRI          Rosalyn Harrison - Medical
                                 Provider                     8500-000                   6,000.00

 Lemper Pain Center              Rosalyn Harrison - Medical
                                 Provider                     8500-000                    128.18

 Louis F. Mortillaro, PHD        Rosalyn Harrison - Medical
                                 Provider                     8500-000                   4,922.00

 Matt Smith Physical Therapy     Rosalyn Harrison - Medical
                                 Provider                     8500-000                    560.00

 McKenna Pain Specialists        Rosalyn Harrison - Medical
                                 Provider                     8500-000                   1,475.51

 Northeast Neck & Back Clinic    Rosalyn Harrison - Medical
                                 Provider                     8500-000                   3,935.00

 Rapid Rehab                     Rosalyn Harrison - Medical
                                 Provider                     8500-000                    720.00



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 Surgical Arts Center                 Rosalyn Harrison - Medical
                                      Provider                            8500-000                               430.00

 Xpress Care                          Rosalyn Harrison - Medical
                                      Provider                            8500-000                               580.00

 Oasis Wellness Center                Rosalyn Harrison - Medical
                                      Provider                            8500-000                              4,755.00

 Health Plan of Nevada                Rosalyn Harrison - Medical
                                      Provider                            8500-000                              1,667.00

 Teachers Health Trust                Rosalyn Harrison - Medical
                                      Provider                            8500-000                             13,603.81

 David Rosenberg-Powell               Rosalyn Harrison - Fees and
 Litigation Group                     Costs                               8500-000                             47,043.84

 Bank of Nevada Account               IOLTA Trust Account                 8500-000                               985.06
 Interest
 Harland Clarke Check Order           Check re-order                      8500-000                               139.79

 David Rosenberg-Powell               Mary & Baffour Adusei - Fees 8500-000                                    94,977.15
 Litigation Group
 US Department of the Treasury        Ann Johnson - Debt
                                      ID#2014103465A                      8500-000                              2,979.15

 Clerk of the Court                   Adusei - A-12-657989-C
                                      Disbursement                        8500-000                             40,078.85

 David Rosenberg-Powell               Lambert - Fees and Costs            8500-000                             82,414.48
 Litigation Group
 David Rosenberg-Powell               Thomas Bacon - Fees and
 Litigation Group                     Costs                               8500-000                              9,000.00

 David Rosenberg-Powell               Adusei - Costs                      8500-000                              8,944.00
 Litigation Group
 TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                      $3,707,435.49
 PARTIES

EXHIBIT 3 SECURED CLAIMS


                                        UNIFORM         CLAIMS
   CLAIM                                               SCHEDULED              CLAIMS             CLAIMS           CLAIMS
    NO.           CLAIMANT               TRAN.         (from Form            ASSERTED           ALLOWED            PAID
                                         CODE              6D)
      3    BRIAN A. LEMPER, D.O., LTD. 4110-000               8,690.75          772,292.43             0.00                0.00

      4    OASIS WELLNESS CENTER, INC. 4110-000            N/A                   27,825.00             0.00                0.00

      5    COMPREHENSIVE INJURY          4110-000          N/A                       2,495.00          0.00                0.00
           INSTITUTE, INC.
      8 -2 BANK OF NEVADA                4210-000          1,900,000.00        1,905,659.96     1,244,327.89      1,244,327.89

     12    LAS VEGAS PHARMACY, INC.      4110-000          N/A                   17,975.57             0.00                0.00

     21    MEDSTAR FUNDING               4110-000                10.00           79,856.09             0.00                0.00

     22    GLEN J. LERNER & ASSOCIATES 4110-000            unknown              423,483.23             0.00                0.00

     23    THE NECK AND BACK CLINICS,    4110-000          N/A                  243,220.08             0.00                0.00
           LLP
     25S   US BANK NA DBA US BANK        4110-000             2,331.84               4,750.00          0.00                0.00
           EQUIPMENT FINANCE


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     26     PEACHTREE FUNDING NORTHEAST, 4110-000      N/A               25,925.00              0.00            0.00
            LLC
 NOTFILED   Ally                         4110-000         9,271.60      N/A                  N/A                0.00

 NOTFILED   Audi Financial Services     4110-000          6,429.53      N/A                  N/A                0.00

 NOTFILED   CIT                         4110-000          2,919.19      N/A                  N/A                0.00

 NOTFILED   Dell Financial Services     4110-000          5,118.33      N/A                  N/A                0.00

 NOTFILED   Infiniti Financial Services 4110-000         49,689.44      N/A                  N/A                0.00

 NOTFILED   Mecedes Benz Financial      4110-000          6,022.15      N/A                  N/A                0.00

 NOTFILED   Mercedes Benz Financial     4110-000          1,754.75      N/A                  N/A                0.00

 NOTFILED   Pitney Bowes Global         4110-000          1,916.00      N/A                  N/A                0.00
            Financial

 TOTAL SECURED CLAIMS                                $1,994,153.58   $3,503,482.36     $1,244,327.89   $1,244,327.89



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                            CLAIMS           CLAIMS            CLAIMS          CLAIMS
                                        TRAN.
                                                    SCHEDULED        ASSERTED          ALLOWED           PAID
                                        CODE
 David A. Rosenberg, Trustee            2100-000      N/A                88,549.91         88,549.91      88,549.91

 David A. Rosenberg, Trustee            2200-000      N/A                     754.62         754.62          754.62

 Leah A. Martin, Esq., P.C.             3210-600      N/A                 7,947.50          7,947.50        7,947.50

 Howard Kim & Associates                3210-000      N/A               440,970.00        440,970.00     440,970.00

 Howard Kim & Associates                3220-000      N/A                28,217.80         28,217.80      28,217.80

 Leah A. Martin, Esq., P.C.             3220-610      N/A                     636.70         636.70          636.70

 Paul M. Healey & Sons CPA's Ltd.       3410-000      N/A                 3,495.00          3,495.00        3,495.00

 International Sureties, LTD.           2300-000      N/A                 1,148.34          1,148.34        1,148.34

 Cody Spencer                           2690-000      N/A                26,740.08         26,740.08      26,740.08

 Hannah Zahn                            2690-000      N/A                 3,750.00          3,750.00        3,750.00

 Inger Echeverria                       2690-000      N/A                29,965.10         29,965.10      29,965.10

 United States Treasury                 2690-000      N/A                       0.00        3,970.70        3,970.70

 United States Treasury                 2690-000      N/A                       0.00        3,431.11        3,431.11

 PULIZ RECORDS MGT LV                   2410-000      N/A                 5,549.39          5,549.39        5,549.39

 United States Treasury                 2690-000      N/A                       0.00        1,107.21        1,107.21

 Department of Employment, Training     2690-000      N/A                       0.00        1,205.28        1,205.28
 and Rehabilitation
 ISU Insurance Services - JPG           2690-000      N/A                     504.00         504.00          504.00

 Aetna                                  2990-000      N/A                 1,016.00          1,016.00        1,016.00

 Assurant Employee Benefits             2990-000      N/A                     194.35         194.35          194.35




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 Sprenz & Associates                 2990-000   N/A              175.33        175.33         175.33

 Vision Service Plan - (NV)          2990-000   N/A               22.59         22.59          22.59

 The Bank of New York Mellon         2600-000   N/A               39.80         39.80          39.80

 Sprenz & Associates                 2410-000   N/A             1,200.00      1,200.00       1,200.00

 StorageOne @ Grand Canyon           2410-000   N/A              208.00        208.00         208.00

 Puliz Records MGT LV                2410-000   N/A              419.42        419.42         419.42

 The Bank of New York Mellon         2600-000   N/A              304.54        304.54         304.54

 Sprenz & Associates                 2410-000   N/A             1,598.90      1,598.90       1,598.90

 Clerk of the Court                  2690-000   N/A             1,500.00      1,500.00       1,500.00

 Puliz Records Mgt LV                2410-000   N/A              419.42        419.42         419.42

 StorageOne @ Grand Canyon           2410-000   N/A              436.00        436.00         436.00

 The Bank of New York Mellon         2600-000   N/A              522.98        522.98         522.98

 Inger Echeverria                    2690-000   N/A               10.00         10.00          10.00

 Sprenz & Associates                 2410-000   N/A             1,325.02      1,325.02       1,325.02

 Puliz Records MGT LV                2690-000   N/A              419.42        419.42         419.42

 StorageOne @ Grand Canyon           2410-000   N/A              208.00        208.00         208.00

 Aetna                               2690-000   N/A             1,369.00      1,369.00       1,369.00

 Aetna                               2690-000   N/A             2,554.00      2,554.00       2,554.00

 VSP                                 2690-000   N/A               21.18         21.18          21.18

 Assurant Employee Benefits          2690-000   N/A              812.90        812.90         812.90

 The Bank of New York Mellon         2600-000   N/A              604.88        604.88         604.88

 Sprenz & Associates                 2410-000   N/A             1,327.84      1,327.84       1,327.84

 StorageOne @ Grand Canyon           2410-000   N/A              208.00        208.00         208.00

 The Bank of New York Mellon         2600-000   N/A              546.20        546.20         546.20

 Puliz Records MGT LV                2410-000   N/A              419.42        419.42         419.42

 Sprenz & Associates                 2410-000   N/A             1,286.66      1,286.66       1,286.66

 VSP                                 2690-000   N/A               31.17         31.17          31.17

 Aetna                               2690-000   N/A             1,268.00      1,268.00       1,268.00

 Assurant Employee Benefits          2690-000   N/A              235.92        235.92         235.92

 LEGAL EXPRESS                       2690-000   N/A             3,813.07      3,813.07       3,813.07

 Inger Echeverria                    2990-000   N/A              119.07        119.07         119.07

 StorageOne @ Grand Canyon           2410-000   N/A              208.00        208.00         208.00

 Vision Service Plan-NV              2690-000   N/A               31.17         31.17          31.17

 The Bank of New York Mellon         2600-000   N/A              610.71        610.71         610.71




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 Puliz Records MGT LV                  2410-000   N/A              419.42        419.42         419.42

 Assurant   Employee Benefits          2990-000   N/A              235.92        235.92         235.92

 StorageOne @ Grand Canyon             2410-000   N/A              208.00        208.00         208.00

 Aetna                                 2690-000   N/A             2,586.00      2,586.00       2,586.00

 The Bank of New York Mellon           2600-000   N/A              513.41        513.41         513.41

 Vision Service Plan - (NV)            2690-000   N/A               31.17         31.17          31.17

 Puliz Records Mgt LV                  2410-000   N/A              419.42        419.42         419.42

 StorageOne @ Grand Canyon             2410-000   N/A              208.00        208.00         208.00

 Michael Steadman                      2420-000   N/A              400.00        400.00         400.00

 Legal Express                         2990-000   N/A             1,041.00      1,041.00       1,041.00

 Rabobank, N.A.                        2600-000   N/A              321.77        321.77         321.77

 Puliz Records MGT LV                  2410-000   N/A              419.42        419.42         419.42

 Aetna                                 2690-000   N/A             1,278.00      1,278.00       1,278.00

 Nevada Employment Security Division   2690-000   N/A              554.60        554.60         554.60

 United States Treasury                2690-000   N/A             5,059.34      5,059.34       5,059.34

 United States Treasury                2690-000   N/A              527.12        527.12         527.12

 United States Treasury                2690-000   N/A              420.00        420.00         420.00

 StorageOne @ Grand Canyon             2410-000   N/A              208.00        208.00         208.00

 Assurant Employee Benefits            2990-000   N/A              471.84        471.84         471.84

 Vision Service Plan NV                2990-000   N/A               31.17         31.17          31.17

 Sprenz & Associates                   2410-000   N/A             3,864.59      3,864.59       3,864.59

 Rabobank, N.A.                        2600-000   N/A              446.41        446.41         446.41

 Paychex                               2690-000   N/A              976.73        976.73         976.73

 Paychex                               2690-000   N/A              277.26        277.26         277.26

 Paychex Reversal                      2690-000   N/A              -277.26       -277.26        -277.26

 Paychex                               2690-000   N/A              277.26        277.26         277.26

 StorageOne @ Grand Canyon             2410-000   N/A              208.00        208.00         208.00

 Paychex                               2690-000   N/A             3,080.67      3,080.67       3,080.67

 Paychex                               2690-720   N/A               77.26         77.26          77.26

 Sprenz & Associates                   2410-000   N/A             1,347.19      1,347.19       1,347.19

 Legal Express                         2690-000   N/A             1,036.50      1,036.50       1,036.50

 Assurant Employee Benefits            2420-750   N/A              471.84        471.84         471.84

 Aetna Life Insurance Company          2420-750   N/A             2,556.00      2,556.00       2,556.00

 Rabobank, N.A.                        2600-000   N/A              411.08        411.08         411.08




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 Paychex                              2690-000   N/A               911.87        911.87         911.87

 Paychex                              2690-000   N/A             2,911.97      2,911.97       2,911.97

 Paychex                              2690-000   N/A               152.26        152.26         152.26

 Pay Chex                             2690-000   N/A             -3,080.67     -3,080.67      -3,080.67

 Sprenz & Associates                  2410-000   N/A             1,282.79      1,282.79       1,282.79

 Legal Express                        2990-000   N/A                89.50         89.50          89.50

 United States Treasury               2690-000   N/A               505.92        505.92         505.92

 Puliz Records MGT LV                 2410-000   N/A             1,749.73      1,749.73       1,749.73

 Paychex                              2690-000   N/A             2,525.46      2,525.46       2,525.46

 Paychex                              2690-000   N/A               227.26        227.26         227.26

 StorageOne @ Grand Canyon            2410-000   N/A               208.00        208.00         208.00

 Paychex                              2690-000   N/A               767.94        767.94         767.94

 Paychex                              2690-000   N/A             1,794.82      1,794.82       1,794.82

 Vision Service Plan - (NV)           2990-000   N/A                93.51         93.51          93.51

 Assurant Employee Benefits           2690-000   N/A               235.92        235.92         235.92

 Aetna Life Insurance Company         2690-000   N/A             1,611.00      1,611.00       1,611.00

 Paychex                              2690-000   N/A               615.47        615.47         615.47

 Rabobank, N.A.                       2600-000   N/A               407.57        407.57         407.57

 Paychex                              2690-000   N/A               302.26        302.26         302.26

 Sprenz & Associates                  2410-000   N/A             1,288.04      1,288.04       1,288.04

 Puliz Records MGT LV                 2410-000   N/A               419.42        419.42         419.42

 FirstComp                            2990-000   N/A               519.00        519.00         519.00

 Paychex                              2690-000   N/A             2,036.04      2,036.04       2,036.04

 Paychex                              2690-000   N/A               621.74        621.74         621.74

 StorageOne @ Grand Canyon            2410-000   N/A               208.00        208.00         208.00

 Paychex                              2690-000   N/A               161.76        161.76         161.76

 Vision Service Plan - (NV)           2990-000   N/A                22.30         22.30          22.30

 Paychex                              2690-000   N/A             2,377.56      2,377.56       2,377.56

 Rabobank, N.A.                       2600-000   N/A               431.39        431.39         431.39

 Paychex                              2690-000   N/A             2,222.94      2,222.94       2,222.94

 Paychex                              2690-000   N/A               705.65        705.65         705.65

 Paychex                              2690-000   N/A               302.26        302.26         302.26

 Paychex                              2690-000   N/A               738.74        738.74         738.74

 Puliz Records MGT LV                 2410-000   N/A               419.42        419.42         419.42




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 Sprenz & Associates                  2410-000   N/A             1,290.80      1,290.80       1,290.80

 Legal Express                        2990-000   N/A              306.50        306.50         306.50

 StorageOne @ Grand Canyon            2410-000   N/A              208.00        208.00         208.00

 Paychex                              2690-000   N/A              350.81        350.81         350.81

 Paychex                              2690-000   N/A              125.81        125.81         125.81

 Paychex                              2690-000   N/A              783.95        783.95         783.95

 Paychex                              2690-000   N/A             2,626.05      2,626.05       2,626.05

 Rabobank, N.A.                       2600-000   N/A              449.67        449.67         449.67

 Aetna Life Insurance Company         2990-000   N/A              804.00        804.00         804.00

 Vision Service Plan - (NV)           2990-000   N/A               22.30         22.30          22.30

 Puliz Records MGT LV                 2410-000   N/A              419.42        419.42         419.42

 Paychex                              2690-000   N/A             2,743.68      2,743.68       2,743.68

 Sprenz & Associates                  2410-000   N/A             1,285.94      1,285.94       1,285.94

 StorageOne @ Grand Canyon            2410-000   N/A              208.00        208.00         208.00

 Aetna Life Insurance Company         2990-000   N/A             1,790.00      1,790.00       1,790.00

 Paychex                              2690-000   N/A              840.92        840.92         840.92

 Paychex                              2690-000   N/A              230.81        230.81         230.81

 Paychex                              2690-000   N/A             2,797.03      2,797.03       2,797.03

 Paychex                              2690-000   N/A              305.81        305.81         305.81

 Rabobank, N.A.                       2600-000   N/A              434.00        434.00         434.00

 Paychex                              2690-000   N/A              859.29        859.29         859.29

 Paychex                              2690-000   N/A             2,852.19      2,852.19       2,852.19

 Puliz Records Management LV          2410-000   N/A              419.42        419.42         419.42

 StorageOne @ Grand Canyon            2410-000   N/A              208.00        208.00         208.00

 Paychex                              2690-000   N/A              856.13        856.13         856.13

 Paychex                              2690-000   N/A              270.81        270.81         270.81

 Paychex                              2690-000   N/A              838.84        838.84         838.84

 Paychex                              2690-000   N/A             2,942.11      2,942.11       2,942.11

 Aetna Life Insurance Company         2990-000   N/A             1,582.00      1,582.00       1,582.00

 Rabobank, N.A.                       2600-000   N/A              494.24        494.24         494.24

 Paychex                              2690-000   N/A             2,974.91      2,974.91       2,974.91

 Paychex                              2690-000   N/A              854.64        854.64         854.64

 Paychex                              2690-000   N/A              170.81        170.81         170.81

 Sprenz & Associates                  2410-000   N/A             1,317.19      1,317.19       1,317.19




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 Paychex                               2690-000   N/A             3,037.16      3,037.16       3,037.16

 Paychex                               2690-000   N/A              305.81        305.81         305.81

 Paychex                               2690-000   N/A              305.81        305.81         305.81

 Puliz Records Mgt LV                  2410-000   N/A              419.42        419.42         419.42

 Aetna Life Insurance Company          2990-000   N/A             2,499.00      2,499.00       2,499.00

 Sprenz & Associates                   2410-000   N/A             1,315.08      1,315.08       1,315.08

 Vision Service Plan - (NV)            2990-000   N/A               22.30         22.30          22.30

 Paychex                               2690-000   N/A             3,077.18      3,077.18       3,077.18

 Paychex                               2690-000   N/A              881.79        881.79         881.79

 Paychex                               2690-000   N/A               80.81         80.81          80.81

 Rabobank, N.A.                        2600-000   N/A              434.67        434.67         434.67

 Cody S. Spencer                       2690-000   N/A               75.60         75.60          75.60

 Reversal of Deposit Rev. #57- entry   2690-000   N/A              -305.81       -305.81        -305.81
 entered in twice
 Paychecx                              2690-000   N/A               80.81         80.81          80.81

 Paychex                               2690-000   N/A              876.05        876.05         876.05

 Paychex                               2690-000   N/A               80.81         80.81          80.81

 Paychex                               2690-000   N/A              870.44        870.44         870.44

 Paychex                               2690-000   N/A             3,059.80      3,059.80       3,059.80

 Clerk of the Court                    2690-000   N/A             1,500.00      1,500.00       1,500.00

 Rabobank, N.A.                        2600-000   N/A              435.99        435.99         435.99

 Rabobank, N.A.                        2600-000   N/A              526.49        526.49         526.49

 Cody Spencer                          2990-000   N/A              226.80        226.80         226.80

 Clerk of the Court                    2690-000   N/A              500.00        500.00         500.00

 Legal Process Service                 2990-000   N/A             3,180.00      3,180.00       3,180.00

 Sprenz & Associates                   2410-000   N/A              562.33        562.33         562.33

 Puliz Records MGT LV                  2410-000   N/A             1,933.47      1,933.47       1,933.47

 Legal Express                         2990-000   N/A              579.00        579.00         579.00

 Leah Martin Law                       2700-000   N/A              336.00        336.00         336.00

 Paychex                               2690-000   N/A              179.00        179.00         179.00

 Cody Spencer                          2990-000   N/A              594.00        594.00         594.00

 Cody Spencer                          2990-000   N/A              183.60        183.60         183.60

 Rabobank, N.A.                        2600-000   N/A              468.88        468.88         468.88

 Cody Spencer                          2990-000   N/A              410.40        410.40         410.40

 Puliz Records MGT LV                  2410-000   N/A              474.72        474.72         474.72




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 Legal Process Service                2990-000   N/A             9,571.80      9,571.80        9,571.80

 Clerk of the Court                   2690-000   N/A              200.00        200.00          200.00

 Rabobank, N.A.                       2600-000   N/A              540.52        540.52          540.52

 Paychex                              2990-000   N/A               49.00         49.00           49.00

 Cody Spencer                         2690-000   N/A               81.00         81.00           81.00

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Paychex                              2690-000   N/A               49.00         49.00           49.00

 Legal Process Service                2990-000   N/A             2,122.45      2,122.45        2,122.45

 Rabobank, N.A.                       2600-000   N/A              510.01        510.01          510.01

 Cody Spencer                         2990-000   N/A              864.00        864.00          864.00

 Rabobank, N.A.                       2600-000   N/A              501.02        501.02          501.02

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Cody Spencer                         2990-000   N/A              216.00        216.00          216.00

 Paychex                              2690-000   N/A                -0.02         -0.02           -0.02

 Paychex                              2690-000   N/A               86.50         86.50           86.50

 Clerk of the Court                   2690-000   N/A              500.00        500.00          500.00

 Legal Process Service                2990-000   N/A             1,034.50      1,034.50        1,034.50

 Cody Spencer                         2990-000   N/A              432.00        432.00          432.00

 Rabobank, N.A.                       2600-000   N/A              549.27        549.27          549.27

 Rabobank, N.A.                       2600-000   N/A              612.61        612.61          612.61

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Cody Spencer                         2990-000   N/A              270.00        270.00          270.00

 Rabobank, N.A.                       2600-000   N/A              573.78        573.78          573.78

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Cody Spencer                         2990-000   N/A              216.00        216.00          216.00

 City of San Jacinto                  2990-000   N/A              148.00        148.00          148.00

 City of San Jacinto                  2990-000   N/A              148.00        148.00          148.00

 Cody Spencer                         2990-000   N/A              216.00        216.00          216.00

 Rabobank, N.A.                       2600-000   N/A              580.72        580.72          580.72

 Leah A. Martin, Esq.                 3210-600   N/A            22,055.18     22,055.18       22,055.18

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72          474.72

 Cody Spencer                         2990-000   N/A              324.00        324.00          324.00

 Rabobank, N.A.                       2600-000   N/A              342.72        342.72          342.72




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 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Clerk of the Court                   2690-000   N/A             1,000.00      1,000.00       1,000.00

 Cody Spencer                         2990-000   N/A              421.20        421.20         421.20

 Rabobank, N.A.                       2600-000   N/A              656.12        656.12         656.12

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Rabobank, N.A.                       2600-000   N/A              884.87        884.87         884.87

 Cody Spencer                         2990-000   N/A              356.40        356.40         356.40

 Clerk of the Court                   2690-000   N/A             1,000.00      1,000.00       1,000.00

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Cody Spencer                         2990-000   N/A              378.00        378.00         378.00

 Rabobank, N.A.                       2600-000   N/A              446.88        446.88         446.88

 Cody Spencer                         2990-000   N/A              388.80        388.80         388.80

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Rabobank, N.A.                       2600-000   N/A              523.41        523.41         523.41

 Cody Spencer                         2990-000   N/A              345.60        345.60         345.60

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Rabobank, N.A.                       2600-000   N/A              252.36        252.36         252.36

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Rabobank, N.A.                       2600-000   N/A               65.89         65.89          65.89

 Cody Spencer                         2990-000   N/A              367.20        367.20         367.20

 Cody Spencer                         2990-000   N/A              432.00        432.00         432.00

 Rabobank, N.A.                       2600-000   N/A               69.67         69.67          69.67

 Cody Spencer                         2990-000   N/A              221.40        221.40         221.40

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Cody Spencer                         2990-000   N/A              226.80        226.80         226.80

 Cody Spencer                         2990-000   N/A              199.80        199.80         199.80

 Rabobank, N.A.                       2600-000   N/A               94.88         94.88          94.88

 International Sureties Bond Refund   2300-000   N/A              -427.24       -427.24        -427.24

 Cody Spencer                         2990-000   N/A              194.40        194.40         194.40

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72         474.72

 Cody Spencer                         2990-000   N/A              302.40        302.40         302.40

 Shield Fire and Security             2410-000   N/A               40.00         40.00          40.00




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 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A               82.89         82.89         82.89

 Cody Spencer                         2990-000   N/A              108.00        108.00        108.00

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Cody Spencer                         2990-000   N/A              399.60        399.60        399.60

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A               95.16         95.16         95.16

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              139.02        139.02        139.02

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              156.35        156.35        156.35

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              173.44        173.44        173.44

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              196.16        196.16        196.16

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              221.54        221.54        221.54

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 Shield Fire and Security             2410-000   N/A               40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              229.77        229.77        229.77

 Puliz Records MGT LV                 2410-000   N/A              474.72        474.72        474.72

 ASM Holdings, LLC                    2410-000   N/A              300.00        300.00        300.00

 Rabobank, N.A.                       2600-000   N/A              258.73        258.73        258.73




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 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 ASM Holdings, LLC                    2410-000   N/A                300.00        300.00       300.00

 Shield Fire and Security             2410-000   N/A                 40.00         40.00         40.00

 Rabobank, N.A.                       2600-000   N/A                224.95        224.95       224.95

 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 Shield Fire and Security             2410-000   N/A                 40.00         40.00         40.00

 ASM Holdings, LLC                    2410-000   N/A                300.00        300.00       300.00

 Rabobank, N.A.                       2600-000   N/A                235.64        235.64       235.64

 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 ASM Holdings, LLC                    2410-000   N/A                300.00        300.00       300.00

 Rabobank, N.A.                       2600-000   N/A                281.69        281.69       281.69

 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 Rabobank, N.A.                       2600-000   N/A                249.02        249.02       249.02

 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 Rabobank, N.A.                       2600-000   N/A                247.97        247.97       247.97

 Puliz Records MGT LV                 2410-000   N/A                474.72        474.72       474.72

 Rabobank, N.A.                       2600-000   N/A                220.41        220.41       220.41

 Puliz Records MGT LV                 2410-000   N/A                504.29        504.29       504.29

 Rabobank, N.A.                       2600-000   N/A                142.37        142.37       142.37

 Rabobank, N.A.                       2600-000   N/A                161.26        161.26       161.26

 Puliz Records MGT LV                 2410-000   N/A                504.29        504.29       504.29

 Rabobank, N.A.                       2600-000   N/A                152.71        152.71       152.71

 Puliz Records MGT LV                 2410-000   N/A                504.49        504.49       504.49

 Rabobank, N.A.                       2600-000   N/A                162.02        162.02       162.02

 Rabobank, N.A.                       2600-000   N/A                177.88        177.88       177.88

 Rabobank, N.A.                       2600-000   N/A                166.50        166.50       166.50

 Rabobank, N.A.                       2600-000   N/A                177.52        177.52       177.52

 Rabobank, N.A.                       2600-000   N/A                154.99        154.99       154.99

 Rabobank, N.A.                       2600-000   N/A                171.36        171.36       171.36

 TOTAL CHAPTER 7 ADMIN. FEES                      N/A          $859,377.38   $869,091.68   $869,091.68
 AND CHARGES




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EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                             CLAIMS                CLAIMS             CLAIMS        CLAIMS
                                        TRAN.
                                                     SCHEDULED             ASSERTED           ALLOWED         PAID
                                        CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                                N/A                        $0.00         $0.00          $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                       UNIFORM        CLAIMS                CLAIMS
   CLAIM                                             SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.          CLAIMANT               TRAN.         (from Form          (from Proofs of     ALLOWED         PAID
                                        CODE              6E)                  Claim)
     27    INTERNAL REVENUE SERVICE    5800-000            N/A                     6,702.90      6,702.90        6,702.90

           Paychex                     5800-000            N/A                     1,269.80      1,269.80        1,269.80

           Joseph Murrin               5910-000            N/A                   26,666.67      26,666.67       26,666.67

 TOTAL PRIORITY UNSECURED                                        $0.00          $34,639.37     $34,639.37      $34,639.37
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                       UNIFORM        CLAIMS                CLAIMS
   CLAIM                                             SCHEDULED             ASSERTED            CLAIMS        CLAIMS
    NO.          CLAIMANT               TRAN.         (from Form          (from Proofs of     ALLOWED         PAID
                                        CODE              6F)                  Claim)
      1    CIT TECHNOLOGY FINANCING     7100-000           N/A                     6,778.77      6,778.77          54.11
           SERVICES, INC
      2    FEDEX TECH CONNECT INC AS    7100-000                 296.47              260.06        260.06            2.08
           ASSIGNEE
      6    JEFFREY D. GROSS, M.D., INC. 7100-000           N/A                   15,425.00      15,425.00            0.00

      7    PITNEY BOWES GLOBAL         7100-000              7,099.67            18,048.06      18,048.06         144.05
           FINANCIAL SERVICES
      9    CENTENNIAL MEDICAL GROUP,   7100-000            N/A                   59,695.48      59,695.48         476.47
           LLP.
     10    NEVADA STATE BANK           7100-000            100,000.00            89,976.08      89,976.08         718.16

     11    AMERICAN EXPRESS TRAVEL     7100-000              1,326.60              1,326.60      1,326.60          10.59
           RELATED SERVICES CO INC
     13    PITNEY BOWES INC            7100-000            N/A                     7,099.67      7,099.67            0.00

     14    RETAIL LITIGATION            7100-000             1,125.00              1,125.00      1,125.00            8.98
           CONSULTANTS, LLC
     15    DIANA LUTZ-CLARK, LITIGATION 7100-000           N/A                        97.00         97.00            0.77
           CASE MANAGER
     16    ELITE INVESTIGATION          7100-000             6,545.24            11,241.52      11,241.52          89.73

     17    RANDAZZO PARTIES, LLC       7100-000            900,000.00         1,396,513.90    1,396,513.90           0.00

     18    BELLAGIO                    7100-000                   80.40               80.40         80.40            0.64




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     19     GOULD AND LAMB, LLC          7100-000    N/A              2,500.00      2,500.00        0.00

     20     CHRIS PAULBICK C/O REDROCK   7100-000    N/A             89,939.34     89,939.34      717.87
            DIAGNOSTICS, LLC
     24     FARHAN R. NAQVI, ESQ.        7200-000    600,000.00     600,000.00    600,000.00        0.00

     25U    US BANK NA DBA US BANK       7200-000    N/A             19,122.73     19,122.73        0.00
            EQUIPMENT FINANCE
 NOTFILED   1st Choice Legal Services    7100-000           40.00   N/A               N/A           0.00

 NOTFILED   Accelerated Process Service 7100-000            60.00   N/A               N/A           0.00

 NOTFILED   Active Body Chiropractic     7100-000           65.75   N/A               N/A           0.00

 NOTFILED   Advanced Orthopedic & Sports 7100-000           48.01   N/A               N/A           0.00
            Medicine
 NOTFILED   Advanced Pain Consultants    7100-000      5,539.45     N/A               N/A           0.00

 NOTFILED   Advanced Spine & Pain        7100-000           45.60   N/A               N/A           0.00

 NOTFILED   Aflac                        7100-000    unknown        N/A               N/A           0.00

 NOTFILED   Alicia G. Herrera            7100-000          270.00   N/A               N/A           0.00

 NOTFILED   All American Court Reporters 7100-000      2,081.00     N/A               N/A           0.00

 NOTFILED   Ambassador Legal Services    7100-000          260.25   N/A               N/A           0.00

 NOTFILED   American Express c/o Becket 7100-000     100,000.00     N/A               N/A           0.00
            & Lee
 NOTFILED   American Medical Collection 7100-000           177.25   N/A               N/A           0.00
            Agency
 NOTFILED   AMPM Process Service        7100-000      11,132.00     N/A               N/A           0.00

 NOTFILED   Anesthesia and Intensice     7100-000          840.00   N/A               N/A           0.00
            Care
 NOTFILED   Angelica Frey Interpreting   7100-000          400.00   N/A               N/A           0.00
            Services
 NOTFILED   Apex Medical Center          7100-000           56.40   N/A               N/A           0.00

 NOTFILED   Apria Healthcare             7100-000           45.10   N/A               N/A           0.00

 NOTFILED   Attorney's Process           7100-000          120.00   N/A               N/A           0.00

 NOTFILED   Axiom Imaging                7100-000          780.00   N/A               N/A           0.00

 NOTFILED   Bactes                       7100-000          963.60   N/A               N/A           0.00

 NOTFILED   Bank of Nevada Bankcard      7100-000     10,114.37     N/A               N/A           0.00
            Dept.
 NOTFILED   Bank of Nevada Bankcard      7100-000      9,802.14     N/A               N/A           0.00
            Dept.
 NOTFILED   Bank of Nevada Bankcard      7100-000      7,402.14     N/A               N/A           0.00
            Dept.
 NOTFILED   Bankcard Dept.               7100-000     27,515.71     N/A               N/A           0.00

 NOTFILED   Barkley Court Reporters      7100-000          266.75   N/A               N/A           0.00

 NOTFILED   Betty Yao, MD                7100-000           10.70   N/A               N/A           0.00

 NOTFILED   Boster Kobayashi & Assoc.    7100-000          687.50   N/A               N/A           0.00

 NOTFILED   BTI Consultants              7100-000      1,862.25     N/A               N/A           0.00

 NOTFILED   Calendonia Financial         7100-000           18.02   N/A               N/A           0.00
            Services
 NOTFILED   California Medical           7100-000           88.52   N/A               N/A           0.00
            Consultation



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 NOTFILED   Cameo Kayser & Assoc.         7100-000      4,853.33    N/A             N/A           0.00

 NOTFILED   Canyon Court Reporting        7100-000     89,107.00    N/A             N/A           0.00

 NOTFILED   Cardiovascular Consultant of 7100-000         17.40     N/A             N/A           0.00
            NV
 NOTFILED   Centennial Pain Relief       7100-000        360.00     N/A             N/A           0.00
            Network
 NOTFILED   Center for Disease & Surgery 7100-000         79.20     N/A             N/A           0.00
            of the Spin
 NOTFILED   Center for Spinal Disorders 7100-000          15.00     N/A             N/A           0.00

 NOTFILED   Century Court Reporters,      7100-000       454.40     N/A             N/A           0.00
            Inc.
 NOTFILED   Century Link                  7100-000      1,809.21    N/A             N/A           0.00

 NOTFILED   Centurylink c/o Pinnacle      7100-000      2,370.48    N/A             N/A           0.00
            Group
 NOTFILED   Cheyenne Medical Imaging      7100-000        25.58     N/A             N/A           0.00

 NOTFILED   Clark County Clerk            7100-000        30.00     N/A             N/A           0.00

 NOTFILED   Clark County Law Library      7100-000      1,000.00    N/A             N/A           0.00

 NOTFILED   Clark County Pro Bono        7100-000        311.00     N/A             N/A           0.00
            Project
 NOTFILED   Clark County Treasurer       7100-000        139.20     N/A             N/A           0.00
            Fiscal Services Attn: Kim Oc
 NOTFILED   Clerk of the Supreme Court 7100-000          900.00     N/A             N/A           0.00

 NOTFILED   Clinical Pathology            7100-000       177.25     N/A             N/A           0.00
            Laboratories
 NOTFILED   Clinical Pathology            7100-000        25.00     N/A             N/A           0.00
            Laboratory, Inc.
 NOTFILED   Coash & Coash                 7100-000       292.20     N/A             N/A           0.00

 NOTFILED   Colorado Casualty Ins.        7100-000      6,682.69    N/A             N/A           0.00

 NOTFILED   Compex Legal Services         7100-000      1,606.90    N/A             N/A           0.00

 NOTFILED   Complete Care Medical Center 7100-000         58.80     N/A             N/A           0.00

 NOTFILED   Comprehensive Neurosurgery    7100-000        19.00     N/A             N/A           0.00
            Network
 NOTFILED   Comprehensive Primary Care    7100-000       102.00     N/A             N/A           0.00

 NOTFILED   Consultant Medical Group      7100-000      1,500.00    N/A             N/A           0.00

 NOTFILED   Copper View Medical Center,   7100-000        20.00     N/A             N/A           0.00
            LLC
 NOTFILED   Court Reporters               7100-000       582.15     N/A             N/A           0.00
            Clearinghouse
 NOTFILED   Craig H. Lichtblau, M.D.      7100-000     12,489.00    N/A             N/A           0.00
            P.A.
 NOTFILED   CVS Pharmacy One CVS Drive    7100-000       850.00     N/A             N/A           0.00

 NOTFILED   Daniel Carvalho, Esq.         7100-000       250.00     N/A             N/A           0.00

 NOTFILED   David J. Oliveri, M.D.        7100-000      7,170.00    N/A             N/A           0.00

 NOTFILED   David Lanzkowsky, M.D.        7100-000       250.00     N/A             N/A           0.00

 NOTFILED   Deanna M. Lee, M.D.           7100-000        29.40     N/A             N/A           0.00

 NOTFILED   Decatur & Craig Chiropractic 7100-000         17.40     N/A             N/A           0.00

 NOTFILED   Depo International, LLC       7100-000      1,967.90    N/A             N/A           0.00




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 NOTFILED   Desert Canyon Medical Rehab 7100-000         172.80    N/A             N/A           0.00
            Hospital
 NOTFILED   Desert Cardiology           7100-000          24.00    N/A             N/A           0.00

 NOTFILED   Desert Institute of Spine    7100-000         41.15    N/A             N/A           0.00
            Care
 NOTFILED   Desert Orthopedic Center     7100-000      7,150.00    N/A             N/A           0.00

 NOTFILED   Desert Valley Therapy        7100-000         18.00    N/A             N/A           0.00

 NOTFILED   Desert View Regional Medical 7100-000        213.60    N/A             N/A           0.00
            Center
 NOTFILED   DeVinney & Dinneen Career    7100-000     17,542.76    N/A             N/A           0.00
            and VOC
 NOTFILED   Diagnostic Imaging of        7100-000        132.15    N/A             N/A           0.00
            Southern NV
 NOTFILED   Dipti R. Shah, M.D.          7100-000         61.85    N/A             N/A           0.00

 NOTFILED   Discovery Health Record      7100-000    unknown       N/A             N/A           0.00
            Solutions
 NOTFILED   Discovery Support Services   7100-000        146.47    N/A             N/A           0.00

 NOTFILED   Doc Request LLC              7100-000        616.55    N/A             N/A           0.00

 NOTFILED   Dr. David Lanzkowsky, M.D.   7100-000        500.00    N/A             N/A           0.00

 NOTFILED   Dr. Joseph Schifini          7100-000         42.84    N/A             N/A           0.00

 NOTFILED   Dr. Mary Angela Thomas       7100-000         66.61    N/A             N/A           0.00

 NOTFILED   Ensign Family Medicine       7100-000         18.00    N/A             N/A           0.00

 NOTFILED   Esquire                      7100-000      8,353.23    N/A             N/A           0.00

 NOTFILED   Executive Reporting Services 7100-000      7,449.00    N/A             N/A           0.00

 NOTFILED   Eye Clinic of Las Vegas      7100-000          6.00    N/A             N/A           0.00

 NOTFILED   Firooz Mashhood, M.D.        7100-000         64.20    N/A             N/A           0.00

 NOTFILED   First America                7100-000        102.60    N/A             N/A           0.00

 NOTFILED   Forensics Engineering, Inc. 7100-000         414.93    N/A             N/A           0.00

 NOTFILED   Forensics International      7100-000        225.30    N/A             N/A           0.00

 NOTFILED   Francis E. Jimenez, M.D.     7100-000         63.60    N/A             N/A           0.00

 NOTFILED   Fremont Medical Center       7100-000        127.80    N/A             N/A           0.00

 NOTFILED   Frias Management             7100-000         21.60    N/A             N/A           0.00

 NOTFILED   Gary J. LaTourette, M.D.     7100-000        826.00    N/A             N/A           0.00

 NOTFILED   Gastrointestinal Specialist, 7100-000         32.06    N/A             N/A           0.00
            A.M.C.
 NOTFILED   General Vascular Specialists 7100-000    unknown       N/A             N/A           0.00

 NOTFILED   George D. Greenberg, Esq.    7100-000        250.00    N/A             N/A           0.00

 NOTFILED   Gracia M. Fledman            7100-000        160.00    N/A             N/A           0.00

 NOTFILED   Green Valley OB/GYN          7100-000         54.00    N/A             N/A           0.00

 NOTFILED   Green Valley Primary Care    7100-000         58.15    N/A             N/A           0.00

 NOTFILED   Gregory T. Hafen             7100-000        790.00    N/A             N/A           0.00




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 NOTFILED   Guadalupe Medical Center      7100-000         20.00    N/A             N/A           0.00

 NOTFILED   Harmony Health Care           7100-000    unknown       N/A             N/A           0.00

 NOTFILED   Headache Specialist           7100-000         90.80    N/A             N/A           0.00

 NOTFILED   Healthmark Group              7100-000         90.19    N/A             N/A           0.00

 NOTFILED   Healthport                    7100-000      6,127.45    N/A             N/A           0.00

 NOTFILED   Healthport Collections        7100-000        418.01    N/A             N/A           0.00

 NOTFILED   Healthsouth Corporation       7100-000         15.18    N/A             N/A           0.00

 NOTFILED   Healthsouth Rehabilitation    7100-000        240.60    N/A             N/A           0.00

 NOTFILED   Hiset Inc.                    7100-000        270.00    N/A             N/A           0.00

 NOTFILED   Howard Tung, MD               7100-000        350.00    N/A             N/A           0.00

 NOTFILED   IDS, Inc                      7100-000         44.01    N/A             N/A           0.00

 NOTFILED   Innovative Pain Care Center 7100-000           66.60    N/A             N/A           0.00

 NOTFILED   Institute of Orthopedic       7100-000        135.32    N/A             N/A           0.00
            Surgery
 NOTFILED   Integrity Home Health Care    7100-000         85.20    N/A             N/A           0.00

 NOTFILED   Intergrity Document           7100-000      5,020.01    N/A             N/A           0.00
            Solutions, Inc.
 NOTFILED   IOD Inc.                      7100-000        171.52    N/A             N/A           0.00

 NOTFILED   Iron Mountain Health          7100-000        191.45    N/A             N/A           0.00
            Information Service
 NOTFILED   Irving Scher, Ph.D., P.E.     7100-000        325.00    N/A             N/A           0.00
            Guidance Engineering &
 NOTFILED   J & R Medical Records         7100-000      1,619.53    N/A             N/A           0.00

 NOTFILED   Jack D. Close & Associates    7100-000         11.24    N/A             N/A           0.00

 NOTFILED   Jacobs & Modabar MDS Ltd      7100-000         17.75    N/A             N/A           0.00

 NOTFILED   Janney &   Janney Attorney    7100-000        125.00    N/A             N/A           0.00
            Service
 NOTFILED   Jay Earl   Smith Hills Center 7100-000        250.00    N/A             N/A           0.00
            Business   Park
 NOTFILED   Jorge Y.   Burgos, M.D. P.C. 7100-000          29.40    N/A             N/A           0.00

 NOTFILED   Joseph Schifini, MD., LTD     7100-000        234.82    N/A             N/A           0.00

 NOTFILED   Kerr & Associates             7100-000        175.98    N/A             N/A           0.00

 NOTFILED   Kibler Copying, Inc           7100-000         30.50    N/A             N/A           0.00

 NOTFILED   Kirvin Doak Communications    7100-000      7,612.50    N/A             N/A           0.00

 NOTFILED   Knight & Associates           7100-000         27.98    N/A             N/A           0.00

 NOTFILED   L.F. Mortillaro, Ph.D, LTD. 7100-000          194.33    N/A             N/A           0.00

 NOTFILED   Laboratory Corporation of     7100-000         25.00    N/A             N/A           0.00
            America
 NOTFILED   Laboratory Sciences of        7100-000         18.50    N/A             N/A           0.00
            Arizona Sonora Quest
 NOTFILED   Labwest, Inc.                 7100-000         70.00    N/A             N/A           0.00

 NOTFILED   Las Vegas Healthcare & Rehab 7100-000         178.20    N/A             N/A           0.00
            Center



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 NOTFILED   Las Vegas Metropolitan       7100-000        139.00    N/A             N/A           0.00
            Police Dept.
 NOTFILED   Las Vegas Neurosurgery       7100-000        650.00    N/A             N/A           0.00

 NOTFILED   Las Vegas Neurosurgery       7100-000      3,422.00    N/A             N/A           0.00

 NOTFILED   Las Vegas Pain Institute &   7100-000         38.40    N/A             N/A           0.00
            Medical Cente
 NOTFILED   Las Vegas Pro Serve          7100-000        223.75    N/A             N/A           0.00
            Holdings, LLC
 NOTFILED   Las Vegas Surgery Center     7100-000        202.07    N/A             N/A           0.00

 NOTFILED   Legal Document Solutions     7100-000      1,059.84    N/A             N/A           0.00

 NOTFILED   Legal Express                7100-000      1,100.00    N/A             N/A           0.00

 NOTFILED   Lewis Brisbois Bisgaard &    7100-000        350.00    N/A             N/A           0.00
            Smith LLP
 NOTFILED   Lexis Nexis/Martindale       7100-000        516.88    N/A             N/A           0.00
            Hubble
 NOTFILED   Litigation Document Group    7100-000      4,864.50    N/A             N/A           0.00

 NOTFILED   Litigation Services          7100-000        391.60    N/A             N/A           0.00

 NOTFILED   LMC Pathology Services       7100-000          5.40    N/A             N/A           0.00

 NOTFILED   Lubna Ahmad, M.D.            7100-000         17.60    N/A             N/A           0.00

 NOTFILED   Ludwig Klein Reporters &    7100-000         366.00    N/A             N/A           0.00
            Video, Inc.
 NOTFILED   M. Lee Smith Publishers LLC 7100-000         311.95    N/A             N/A           0.00

 NOTFILED   Manning Hall & Salisbury     7100-000      2,718.50    N/A             N/A           0.00

 NOTFILED   Mario Torres Ochoa           7100-000        160.00    N/A             N/A           0.00

 NOTFILED   Mark W. Doubrava M.D.        7100-000         12.60    N/A             N/A           0.00

 NOTFILED   Matt Smith Physical Therapy 7100-000         346.08    N/A             N/A           0.00

 NOTFILED   Mayo Clinic                  7100-000        128.65    N/A             N/A           0.00

 NOTFILED   McKenna & Ruggerilo          7100-000        187.01    N/A             N/A           0.00

 NOTFILED   Med-R                        7100-000      1,537.46    N/A             N/A           0.00

 NOTFILED   Medic West Ambulance Inc.    7100-000    unknown       N/A             N/A           0.00

 NOTFILED   Medical Records Retrieval    7100-000         67.74    N/A             N/A           0.00
            Service
 NOTFILED   Medical Strategy Mgt/        7100-000      8,180.00    N/A             N/A           0.00

 NOTFILED   MedRec Services, Inc.        7100-000         89.63    N/A             N/A           0.00

 NOTFILED   Mehdi Asarinia               7100-000         48.00    N/A             N/A           0.00

 NOTFILED   Mendrei Leelin               7100-000         28.00    N/A             N/A           0.00

 NOTFILED   MML Physical Therapy         7100-000         88.20    N/A             N/A           0.00

 NOTFILED   myEHIM                       7100-000         51.00    N/A             N/A           0.00

 NOTFILED   Nelson Mackenna              7100-000        360.00    N/A             N/A           0.00

 NOTFILED   Nevada Heart & Vascular      7100-000         61.20    N/A             N/A           0.00
            Center
 NOTFILED   Nevada Imaging               7100-000         70.00    N/A             N/A           0.00




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 NOTFILED   North Valley Internal        7100-000         14.75    N/A             N/A           0.00
            Medicine
 NOTFILED   Northwest Imaging            7100-000         38.00    N/A             N/A           0.00

 NOTFILED   NV Energy                    7100-000        539.93    N/A             N/A           0.00

 NOTFILED   NV Sleep Diagnostics         7100-000         21.00    N/A             N/A           0.00

 NOTFILED   Officer David Schvaneve      7100-000         31.00    N/A             N/A           0.00

 NOTFILED   Olson Cannon Gormley &       7100-000        325.00    N/A             N/A           0.00
            Desruisseaux
 NOTFILED   Open Sided MRI               7100-000        260.00    N/A             N/A           0.00

 NOTFILED   Orthofix                     7100-000         65.00    N/A             N/A           0.00

 NOTFILED   Orthopedic and Sports       7100-000          15.60    N/A             N/A           0.00
            Medicine Institute
 NOTFILED   Orthosport Physical Therapy 7100-000          94.80    N/A             N/A           0.00

 NOTFILED   P.A.C.                       7100-000         15.00    N/A             N/A           0.00

 NOTFILED   P.M.S.I.                     7100-000         15.00    N/A             N/A           0.00

 NOTFILED   Paradise Valley Pain         7100-000         13.60    N/A             N/A           0.00
            Management
 NOTFILED   Per-se Technologies          7100-000    unknown       N/A             N/A           0.00

 NOTFILED   Performance Physical Therapy 7100-000         15.08    N/A             N/A           0.00

 NOTFILED   Physicians Medical Center    7100-000         13.20    N/A             N/A           0.00

 NOTFILED   Physicians Pain Management   7100-000        124.95    N/A             N/A           0.00

 NOTFILED   Pollock, Sakon, & Southern 7100-000           45.00    N/A             N/A           0.00
            Hills Women's
 NOTFILED   Professional Eye Care Center 7100-000         12.60    N/A             N/A           0.00

 NOTFILED   Professional Investigators   7100-000        224.00    N/A             N/A           0.00
            Inc.
 NOTFILED   Professional Investigators   7100-000        250.00    N/A             N/A           0.00
            Inc.
 NOTFILED   Progressive Business         7100-000        299.00    N/A             N/A           0.00
            Publications
 NOTFILED   Prosthetic Center of         7100-000         34.80    N/A             N/A           0.00
            Excellence
 NOTFILED   Puliz Moving and Storage     7100-000      1,181.50    N/A             N/A           0.00

 NOTFILED   Puliz Records MGT LV         7100-000      1,181.50    N/A             N/A           0.00

 NOTFILED   Quest Diagnostics            7100-000         61.25    N/A             N/A           0.00

 NOTFILED   Radar Medical Group LLP      7100-000         16.73    N/A             N/A           0.00

 NOTFILED   Rainbow Medical Centers      7100-000         24.60    N/A             N/A           0.00

 NOTFILED   Ralph J. Rohay Trust Account 7100-000        750.00    N/A             N/A           0.00

 NOTFILED   Ram K. Singh, M.D., Ltd.     7100-000         34.60    N/A             N/A           0.00

 NOTFILED   Rancho Chiropractic          7100-000         66.10    N/A             N/A           0.00

 NOTFILED   Red Rock Diagnostics         7100-000         50.08    N/A             N/A           0.00

 NOTFILED   Red Rock Radiology           7100-000        256.20    N/A             N/A           0.00

 NOTFILED   Reimbursement Technologies, 7100-000         205.00    N/A             N/A           0.00
            Inc.



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 NOTFILED   Rejuvenation Medical Group, 7100-000      13,350.00    N/A             N/A           0.00
            Inc.
 NOTFILED   Reno/Carson Messenger       7100-000        331.50     N/A             N/A           0.00
            Service, Inc
 NOTFILED   Reporters, Inc.             7100-000        468.90     N/A             N/A           0.00

 NOTFILED   Richard A. Cestkowski DO,    7100-000       607.75     N/A             N/A           0.00
            LTD
 NOTFILED   Richard Sipan                7100-000       250.00     N/A             N/A           0.00

 NOTFILED   Rite Aid Corporation         7100-000       100.00     N/A             N/A           0.00

 NOTFILED   RMS                          7100-000       214.45     N/A             N/A           0.00

 NOTFILED   Robert Bien, M.D.            7100-000       100.80     N/A             N/A           0.00

 NOTFILED   Robert English               7100-000       250.00     N/A             N/A           0.00

 NOTFILED   Robert Marshall, Esq.        7100-000       250.00     N/A             N/A           0.00

 NOTFILED   Rocket Reporting             7100-000      2,293.00    N/A             N/A           0.00

 NOTFILED   Rogers, Mastrangelo,         7100-000       600.00     N/A             N/A           0.00
            Carvalho, Mithcell
 NOTFILED   Rueben Cervantes, RPT        7100-000      3,162.60    N/A             N/A           0.00

 NOTFILED   Russel J. Shah, M.D.         7100-000      5,400.00    N/A             N/A           0.00

 NOTFILED   RW Lynch Company, Inc.       7100-000      9,240.00    N/A             N/A           0.00

 NOTFILED   Saggio Harlan Gonzalez c/o   7100-000       250.00     N/A             N/A           0.00
            Nancy L. Allf, Esq.
 NOTFILED   Sahara Surgery Center        7100-000       245.81     N/A             N/A           0.00

 NOTFILED   Salutory Services            7100-000     51,240.00    N/A             N/A           0.00

 NOTFILED   Salvatore C. Gugino, Esq.    7100-000       250.00     N/A             N/A           0.00

 NOTFILED   Schleusner Chiropractic      7100-000        24.00     N/A             N/A           0.00
            Center
 NOTFILED   Secure Documents Inc.        7100-000       210.80     N/A             N/A           0.00

 NOTFILED   Set Depo, LLC                7100-000       318.49     N/A             N/A           0.00

 NOTFILED   Shawn Mapelton, M.D.         7100-000       111.00     N/A             N/A           0.00

 NOTFILED   Siems Advanced Lasik         7100-000        19.80     N/A             N/A           0.00

 NOTFILED   Silber Creek Family         7100-000         40.00     N/A             N/A           0.00
            Practice, PC
 NOTFILED   Smith Economics Group, Ltd. 7100-000       4,135.60    N/A             N/A           0.00

 NOTFILED   Snow Medical Center, LLC     7100-000        87.00     N/A             N/A           0.00

 NOTFILED   Solomon N. Javier, MD        7100-000       165.75     N/A             N/A           0.00

 NOTFILED   Sonoran Medical Imaging      7100-000        25.00     N/A             N/A           0.00

 NOTFILED   SOS Litigation Services      7100-000       248.25     N/A             N/A           0.00

 NOTFILED   SOUSA Court Reporters        7100-000       397.20     N/A             N/A           0.00

 NOTFILED   Southern Nevada Medical     7100-000         21.00     N/A             N/A           0.00
            Group
 NOTFILED   Southern Nevada Pain Center 7100-000         58.20     N/A             N/A           0.00

 NOTFILED   Southern Nevada Pain         7100-000        20.60     N/A             N/A           0.00
            Specialists



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 NOTFILED   Specialized Pain Management 7100-000         207.60    N/A             N/A           0.00

 NOTFILED   Spring Mountain Women's     7100-000          23.40    N/A             N/A           0.00
            Health
 NOTFILED   St. Rose Dominican Hospital 7100-000         384.00    N/A             N/A           0.00

 NOTFILED   Steinberg Diagonostic        7100-000        403.60    N/A             N/A           0.00
            Medical Imaging
 NOTFILED   StoneRiver Pharmacy          7100-000         15.00    N/A             N/A           0.00
            Solutions
 NOTFILED   SuperValu Drug Division      7100-000        100.00    N/A             N/A           0.00

 NOTFILED   Surgery Center of Southern   7100-000        327.60    N/A             N/A           0.00
            Nevada
 NOTFILED   Surgical Arts Center         7100-000         16.80    N/A             N/A           0.00

 NOTFILED   Tenaya Surgical Center, LLC 7100-000          19.20    N/A             N/A           0.00

 NOTFILED   Terrence M. Clauretie, Phd, 7100-000       5,250.00    N/A             N/A           0.00
            CPA
 NOTFILED   THC of Nevada               7100-000          16.20    N/A             N/A           0.00

 NOTFILED   The Cobeaga Law Firm         7100-000        800.00    N/A             N/A           0.00

 NOTFILED   The Hartford                 7100-000        543.00    N/A             N/A           0.00

 NOTFILED   The Litigation Document      7100-000     19,043.90    N/A             N/A           0.00
            Group
 NOTFILED   The Nevada Community         7100-000         57.80    N/A             N/A           0.00
            Enrichment Program
 NOTFILED   The Reporter Group           7100-000         97.15    N/A             N/A           0.00

 NOTFILED   Thompson West                7100-000      1,017.22    N/A             N/A           0.00

 NOTFILED   Thorndal Armstrong, et al.   7100-000      1,650.00    N/A             N/A           0.00

 NOTFILED   Total Metropolitan Court     7100-000    unknown       N/A             N/A           0.00
            Reporters
 NOTFILED   Tri State Orthopedic         7100-000         62.75    N/A             N/A           0.00
            Institute
 NOTFILED   Trialvantage                 7100-000        623.65    N/A             N/A           0.00

 NOTFILED   Troy E. Peyton, Esq.         7100-000      1,593.56    N/A             N/A           0.00

 NOTFILED   Turner Reporting &           7100-000        288.40    N/A             N/A           0.00
            Captioning Services
 NOTFILED   United Healthcare            7100-000         55.50    N/A             N/A           0.00

 NOTFILED   US Legal Support             7100-000        953.85    N/A             N/A           0.00

 NOTFILED   USC Neurologists Inc.        7100-000         15.00    N/A             N/A           0.00

 NOTFILED   USC University Hospital      7100-000         20.00    N/A             N/A           0.00

 NOTFILED   Veritext Coporate Services   7100-000      1,281.93    N/A             N/A           0.00
            Inc
 NOTFILED   Verizon                      7100-000        567.81    N/A             N/A           0.00

 NOTFILED   Wa-Mart Stores, Inc. Bank of 7100-000    unknown       N/A             N/A           0.00
            America
 NOTFILED   Walgreen Company             7100-000      1,155.00    N/A             N/A           0.00

 NOTFILED   Wayne Jacobs, M.D.           7100-000        500.00    N/A             N/A           0.00

 NOTFILED   West Valley Imaging          7100-000        202.00    N/A             N/A           0.00

 NOTFILED   Western Home Care            7100-000         38.25    N/A             N/A           0.00




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 NOTFILED   Western Regional Center   7100-000        1,863.80      N/A                 N/A              0.00
            Brain/Spine
 NOTFILED   William S. Muir, M.D.     7100-000           17.40      N/A                 N/A              0.00

 NOTFILED   Willis-Knighton Health    7100-000           19.00      N/A                 N/A              0.00
            Systems
 NOTFILED   Yesna Jamborcic, M.D      7100-000           41.60      N/A                 N/A              0.00

            U.S. Bankruptcy Court     7100-000     N/A               11,346.32       11,346.32      11,346.32

 TOTAL GENERAL UNSECURED                         $2,170,602.10   $2,330,575.93   $2,330,575.93     $13,569.77
 CLAIMS




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                                                                                                                                                            Exhibit 8


                                                                        Form 1                                                                              Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-15555                                                           Trustee:         (480023)    David A. Rosenberg, Trustee
Case Name:        THE POWELL LITIGATION GROUP, P.C.                             Filed (f) or Converted (c): 05/09/12 (f)
                                                                                §341(a) Meeting Date:        06/08/12
Period Ending: 12/12/17                                                         Claims Bar Date:             01/10/13

                                1                                2                          3                     4                5                    6

                    Asset Description                         Petition/           Estimated Net Value         Property        Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled      (Value Determined By Trustee,   Abandoned        Received by       Administered (FA)/
                                                               Values           Less Liens, Exemptions,      OA=§554(a)        the Estate        Gross Value of
Ref. #                                                                              and Other Costs)                                            Remaining Assets

 1       Bank of Nevada, General Acct. 7403                      6,146.30                       6,146.30                           11,163.13                    FA

 2       Bank of Nevada, Trust Acct. 5853 (u)                3,286,303.69                  3,286,303.69                         3,659,064.66                    FA

 3       Bank of Nevada, Case Cost Acct. 4954                    5,063.00                       5,063.00                                 0.00                   FA
          No value to estate

 4       Nevada State Bank, Trust Acct. 1077                     9,304.82                       9,304.82                                 0.00                   FA
          No value to estate

 5       Meadows Bank, Operating Acct. 9657                     24,695.46                    24,695.46                             11,227.81                    FA

 6       Client files, shelves, a scanner and a few monit        Unknown                            0.00                                 0.00                   FA
          No value to estate

 7       Office furniture, computer.                             1,000.00                       1,000.00                                 0.00                   FA
          No value to estate

 8       Office furniture for approx. 5 offices Planes Mo       12,500.00                    12,500.00                                   0.00                   FA
          No value to estate

 9       Accounts Receivable (u)                                     0.00                           0.00                        1,417,733.23                    FA

10       Tax refund - 941 (u)                                        0.00                           0.00                            2,002.49                    FA

11       Noel v. Cannery Casino Resorts A-09-596778-C (u)            0.00                           0.00                           63,372.89                    FA

12       Fraudulent Conveyance - Adversary employee (u)         50,000.00                    50,000.00                                   0.00                   FA
          Adversary filed 10/11/12 [Doc 86]

13       Fraudulent Conveyance - Adversary Ring (u)             78,896.74                    78,896.74                                   0.00                   FA
          Adversary filed 10/11/12 [Doc 86]

14       Milee Powell and Kristen Waina Settlement (u)               0.00                           0.00                           70,000.00                    FA
          Order approving settlement agreement 12/16/2013
         [Doc 136]

15       GLEN J. LERNER Settlement (13-01142) (u)                    0.00                           0.00                          633,999.99                    FA
          Settlment agreement approved by court order
         entered 5/20/2014 [Doc 175]

16       Bond Refunds (u)                                            0.00                           0.00                               500.00                   FA
          Reiter, Robert & Deborah - $500

 16      Assets      Totals (Excluding unknown values)       $3,473,910.01              $3,473,910.01                          $5,869,064.20                 $0.00




                                                                                                                             Printed: 12/12/2017 12:12 PM    V.13.29
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                                                                                                                                                                       Exhibit 8


                                                                                  Form 1                                                                               Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-15555                                                                       Trustee:       (480023)     David A. Rosenberg, Trustee
Case Name:       THE POWELL LITIGATION GROUP, P.C.                                          Filed (f) or Converted (c): 05/09/12 (f)
                                                                                            §341(a) Meeting Date:       06/08/12
Period Ending: 12/12/17                                                                     Claims Bar Date:            01/10/13

                               1                                             2                         3                      4               5                   6

                    Asset Description                                 Petition/              Estimated Net Value         Property        Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,   Abandoned        Received by      Administered (FA)/
                                                                       Values              Less Liens, Exemptions,      OA=§554(a)        the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                           Remaining Assets


     Major Activities Affecting Case Closing:

                Approval of TDR by USTO
                Approval of TFR by USTO
                10/26/2016 - t/w KGE to regarding motion to abandon and contacting state bar
                10/6/2016 - t/w KGE regarding motion to abandon - provide accounting of trust account.
                9/12/2016 - t/w KGE regarding status of motion to abandon
                7/27/2016 - email with KGE regarding cutting check
                7/25/2016 - email with KGE regarding Powell Reprimand
                7/5/2016 - email with KGE regarding Yaldo
                5/11/2016 - email with KGE regarding motion to abandon
                5/5/2016 - emails with KGE regarding case update and follow up with remaining cases.
                2/25/2016 - Final payment recieved for the Milee Powell A/R
                2/24/2016 - emails with KGE regarding Milee Powell A/R
                2/23/2016 - emails with KGE regarding various PI cases
                2/8/2016 - emails with KGE regarding Milee Powell A/R - Thought it was paid off
                1/14/16 - Conference call with attorney to initiate unclaimed property to the state
                11/16/15 - Conference call with attorney for interpleaders
                3/30/15 - Applications for fees filed.
                5/9/14- Negotiating with secured creditor to take over intepleaders
                3/7/14 - Amended MOR's
                12/16/13 - Order approving settlement agreement
                11/5/13 - Motion to approve settlement agreement POWELL WAINA
                10/16/13 - MOR 8/2013 - Final Operating report.
                10/9/13 - Amended complaint v. Glen A. Lerner
                8/8/13 - MOR 7/2013
                8/5/13 - Order allowing employment of CPA
                7/30/13 - Ex Parte application to employ CPA
                7/20/13 - MOR 6/2013
                6/26/13 - MOR 5/2013
                5/28/13 - MOR 4/2013
                4/9/13 - MOR 3/2013
                3/19/13 - MOR 2/2013
                2/22/13 - MOR 1/2013
                1/16/13 - MOR 12/2012
                Waiting for court rulings regarding petitions for compromise
                Waiting for court rulings on interpleaders to dispurse proceeds
                Waiting for Estate tax return


                                                                                                                                        Printed: 12/12/2017 12:12 PM    V.13.29
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                                                                           Form 1                                                                                  Page: 3

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 12-15555                                                           Trustee:       (480023)      David A. Rosenberg, Trustee
Case Name:       THE POWELL LITIGATION GROUP, P.C.                              Filed (f) or Converted (c): 05/09/12 (f)
                                                                                §341(a) Meeting Date:        06/08/12
Period Ending: 12/12/17                                                         Claims Bar Date:             01/10/13

                              1                                        2                   3                       4                    5                      6

                    Asset Description                            Petition/        Estimated Net Value         Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled   (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                  Values        Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                              and Other Costs)                                                Remaining Assets

     Initial Projected Date Of Final Report (TFR):   October 5, 2014              Current Projected Date Of Final Report (TFR):       June 16, 2017 (Actual)




                                                                                                                                  Printed: 12/12/2017 12:12 PM      V.13.29
                                Case 12-15555-mkn                  Doc 351              Entered 12/21/17 12:05:45                           Page 60 of 131

                                                                                                                                                                                 Exhibit 9


                                                                                   Form 2                                                                                        Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                        Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:          Bank of Nevada
                                                                                                     Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                           3                                       4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                 T-Code              $                  $       Account Balance
05/01/01       {2}        Balance Forward                    Funds in Account at beginning of case              1129-002          3,359,961.67                         3,359,961.67
10/02/09      3875        Comprehensive Physical Therapy     Katherine Helm - Medical Provider                  8500-000                                        0.00   3,359,961.67
                                                             Stopped on 10/31/14
10/08/09      4008        Margarita Vasquez                  Margarita Vasquez - Settlement                     8500-000                                        0.00   3,359,961.67
                                                             Stopped on 10/31/14
10/12/09      4018        The Powell Litigation Group, PC    Ahmad Quassani - 15% Costs                         8500-000                                      795.91   3,359,165.76
10/12/09      4036        The Powell Litigation Group, PC    Glen & Lisa Muise - 15% Costs                      8500-000                                      126.92   3,359,038.84
10/24/09      4091        The Powell Litigation Group, PC    Deral Smith - 15% Costs                            8500-000                                       97.60   3,358,941.24
10/24/09      4116        The Powell Litigation Group, PC    Rae-Shanda Paige - 15% Costs                       8500-000                                       18.92   3,358,922.32
10/25/09      4140        The Powell Litigation Group, PC    Ruth Schmeglar - 15% Costs                         8500-000                                      102.75   3,358,819.57
10/25/09      4150        Strehlow Radiology                 Steven Marvel - Medical Provider                   8500-000                                        0.00   3,358,819.57
                                                             Stopped on 10/31/14
11/02/09      4183        The Powell Litigation Group, PC    Steven Wyatt - 15% Costs                           8500-000                                      152.16   3,358,667.41
11/03/09      4216        The Powell Litigation Group, PC    John Werner - 15% Costs                            8500-000                                       87.70   3,358,579.71
11/16/09      4261        The Powell Litigation Group, PC    Manuel Arvarez - 15% Costs                         8500-000                                      104.41   3,358,475.30
11/30/09      4336        The Powell Litigation Group, PC    Renee Ramirez - 15% Costs                          8500-000                                       27.75   3,358,447.55
12/09/09      4362        The Powell Litigation Group, PC    Madeline James - 15% Costs                         8500-000                                       81.96   3,358,365.59
12/11/09      4389        The Powell Litigation Group, PC    Tricia Tennant - 15% Costs                         8500-000                                   1,140.01    3,357,225.58
12/21/09      5012        Dr. David B. Cohen                 Linda Cooter - Medical Provider                    8500-000                                        0.00   3,357,225.58
                                                             Stopped on 10/31/14
01/09/10      5194        Account Recovery Services          Jovanna Sandoval - Medical Provider                8500-000                                        0.00   3,357,225.58
                                                             Stopped on 10/31/14
01/18/10      5352        Glen J. Lerner & Associates        Pasquale Villardi - Advanced Costs                 8500-000                                      818.76   3,356,406.82
02/18/10      5729        Xpress Care                        Christian Cisneros-Martinez - Medical Provider     8500-000                                        0.00   3,356,406.82
                                                             Stopped on 10/31/14
03/03/10      5958        Xpress Care                        Debra Pinkney - Medical Provider                   8500-000                                        0.00   3,356,406.82
                                                             Stopped on 10/31/14
03/19/10      6119        Las Vegas Special Surgery Center   Paul Cho - Medical Provider                        8500-000                                        0.00   3,356,406.82
                                                             Stopped on 10/31/14
03/19/10      6120        Nevada Imaging                     Paul Cho - Medical Provider                        8500-000                                        0.00   3,356,406.82
                                                             Stopped on 10/31/14
03/22/10      6144        Dr. Rajeev Khamamkar               Thomas Chavez - Medical Provider                   8500-000                                        0.00   3,356,406.82
                                                             Stopped on 10/31/14
03/22/10      6180        Teodulo Nunez-Orozco               Teodulo Nuno-Orozco - Full & Final Settlement 8500-000                                             0.00   3,356,406.82
                                                             Stopped on 10/31/14
04/19/10      6404        The Powell Litigation Group, PC    Anissa Robles - Attorney Fees                      8500-000                                      150.00   3,356,256.82
04/28/10      6438        David R. Golan MD                  Gilberto Hernandez - Medical Provider              8500-000                                        0.00   3,356,256.82
                                                             Stopped on 10/31/14

                                                                                                     Subtotals :                $3,359,961.67             $3,704.85
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                  Form 2                                                                                        Page: 2

                                                   Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:              David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:            Bank of Nevada
                                                                                                  Account:              ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                           3                                      4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                  T-Code              $                   $       Account Balance
05/17/10      6703       Xpress Care                       Samantha Hames - Medical Provider                  8500-000                                          0.00   3,356,256.82
                                                           Stopped on 10/31/14
06/23/10      7062       Strehlow Radiology                David Lopez - Medical Provider                     8500-000                                          0.00   3,356,256.82
                                                           Stopped on 10/31/14
07/16/10      7247       Powell Naqvi                      Cindy Vincich - Advanced Costs                     8500-000                                         20.00   3,356,236.82
07/16/10      7255       The Powell Litigation Group, PC   Howard Merhar -Attorney Fees & Costs               8500-000                                          0.00   3,356,236.82
                                                           Stopped on 10/31/14
07/16/10      7256       Howard Merhar                     Howard Merhar - Full & Final Settlement            8500-000                                          0.00   3,356,236.82
                                                           Stopped on 10/31/14
07/17/10      7408       Glen J. Lerner & Associates       Hernestina Villanueva - Advanced Costs             8500-000                                        528.51   3,355,708.31
07/17/10      7401       Dr. Jeff Fine                     Bradley Fettig - Medical Provider                  8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7402       Cameron Medical Center            Bradley Fettig - Medical Provider                  8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7403       Centennial Spine & Pain Center    Bradley Fettig - Medical Provider                  8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7404       Nevada Imaging                    Bradley Fettig - Medical Provider                  8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7405       Wakefield & Associates            Bradley Fettig - Medical Provider                  8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7413       Industrial Pharmacy               Hernestina Villanueva - Medical Provider           8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7414       CBC Radiology Specialists LTD     Hernestina Villanueva - Medical Provider           8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7415       Spinal Rehabilitation             Hernestina Villanueva - Medical Provider           8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7416       The Pain Clinic, Inc.             Hernestina Villanueva - Medical Provider           8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
07/17/10      7417       Wang Medical                      Hernestina Villanueva - Medical Provider           8500-000                                          0.00   3,355,708.31
                                                           Voided on 10/31/14
08/13/10      7545       Industrial Pharmacy               Earnest Pitre - Medical Provider                   8500-000                                          0.00   3,355,708.31
                                                           Stopped on 10/31/14
08/18/10      7631       Teamsters Security Fund           Christina Rollf - Medical Provider                 8500-000                                          0.00   3,355,708.31
                                                           Stopped on 10/31/14
08/27/10      7785       Xpress Care                       Crystal Rodriguez - Medical Provider               8500-000                                          0.00   3,355,708.31
                                                           Stopped on 10/31/14
09/10/10      7919       Lab Corp                          Maria Salgado - Medical Provider                   8500-000                                          0.00   3,355,708.31
                                                           Stopped on 10/31/14


                                                                                                      Subtotals :                        $0.00               $548.51
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                                                                                                               Exhibit 9


                                                                                Form 2                                                                                         Page: 3

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Bank of Nevada
                                                                                                   Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                          3                                     4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                   T-Code              $                   $       Account Balance
09/20/10      8005       Escallate Collections           Isaias Monge-Bonilla - Medical Provider              8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/05/10      8356       Xpress Care                     Sergio Garcia - Medical Provider                     8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/05/10      8357       Xpress Care                     Ramon Rodriguez-Chavez - Medical Provider            8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/05/10      8360       Lana Prieto                     Lana Proeto - Overpayment to Provider                8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/09/10      8444       Lab Medicine Consultants        Terry Fulton - Medical Provider                      8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/09/10      8466       Xpress Care                     Donald Wilde - Medical Provider                      8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/10/10      8382       Strehlow Radiology              Juan Vargas - Medical Provider                       8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
11/29/10      8584       Dr. David R. Golan              Debra Webster - Medical Provider                     8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
12/02/10      8636       David R. Golan MD               Jaime Alindog - Medical Provider                     8500-000                                        0.00   3,355,708.31
                                                         Stopped on 10/31/14
12/07/10      8686       Glen J. Lerner & Associates     Eddie Sarpong - Advanced Costs                       8500-000                                      208.10   3,355,500.21
12/07/10      8675       Xpress Care                     Brent Carlson - Medical Provider                     8500-000                                        0.00   3,355,500.21
                                                         Stopped on 10/31/14
12/27/10      8798       Paul D. Powell                  Teresa Ziegler - 15% Costs                           8500-000                                       35.52   3,355,464.69
01/06/11      8822       Paul D. Powell                  Krystle Kelly - 15% Costs                            8500-000                                       29.12   3,355,435.57
01/06/11      8824       Wayne Mantel                    Krystle Kelly - Medical Provider                     8500-000                                        0.00   3,355,435.57
                                                         Stopped on 10/31/14
01/10/11      8835       Paul D. Powell                  Jerrod Gunning - 15% Costs                           8500-000                                   1,883.27    3,353,552.30
01/10/11      8867       UMR                             Jerrod Gunning - Medical Provider                    8500-000                                        0.00   3,353,552.30
                                                         Stopped on 10/31/14
01/26/11      8893       Paul D. Powell                  Floyd Marsden - 15% Costs                            8500-000                                        1.57   3,353,550.73
01/30/11      8957       Paul D. Powell                  Brittany Koutsoubos - 15% Costs                      8500-000                                       22.63   3,353,528.10
01/30/11      8924       Xpress Care                     Victor Peraza-Mendez - Medical Provider              8500-000                                        0.00   3,353,528.10
                                                         Stopped on 10/31/14
01/30/11      8937       Xpress Care                     Marco Diaz-Guerra - Medical Provider                 8500-000                                        0.00   3,353,528.10
                                                         Stopped on 10/31/14
01/30/11      8953       Xpress Care                     Carlos Carrion - Medical Provider                    8500-000                                        0.00   3,353,528.10
                                                         Stopped on 10/31/14
01/31/11      8992       Paul D. Powell                  Robert Bussy - 15% Costs                             8500-000                                       95.38   3,353,432.72
01/31/11      9020       Paul D. Powell                  Marilyn Burton - 15% Costs                           8500-000                                      107.87   3,353,324.85

                                                                                                   Subtotals :                          $0.00           $2,383.46
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                Doc 351              Entered 12/21/17 12:05:45                           Page 63 of 131

                                                                                                                                                                             Exhibit 9


                                                                                Form 2                                                                                       Page: 4

                                                   Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Bank of Nevada
                                                                                                 Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                          Separate Bond: N/A

   1            2                         3                                      4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                T-Code              $                   $       Account Balance
01/31/11      8991       Glen J. Lerner & Associates      Robert Bussy - Advanced Costs                     8500-000                                        0.00   3,353,324.85
                                                          Stopped on 10/31/14
02/08/11      9052       Paul D. Powell                   Ricky Cannon - %15 Costs                          8500-000                                        0.75   3,353,324.10
02/12/11      9105       Paul D. Powell                   Leo Archambault - 15% Costs                       8500-000                                        5.57   3,353,318.53
02/12/11      9139       Paul D. Powell                   Rafael Gutierrez - 15% Costs                      8500-000                                       71.97   3,353,246.56
02/12/11      9159       Paul D. Powell                   James Bucknell - Advanced Costs                   8500-000                                       82.34   3,353,164.22
02/23/11      9216       Paul D. Powell                   Myong Ryals - 15% Costs                           8500-000                                       60.43   3,353,103.79
02/25/11      9230       HMS AAF UHC Arizona Physicians   Frank Ricca - Medical Provider                    8500-000                                        0.00   3,353,103.79
                         IPA, Inc                         Stopped on 10/31/14
03/03/11      9260       Paul D. Powell                   Moniqua Whitmore - 15% Costs                      8500-000                                       45.54   3,353,058.25
03/03/11      9264       McLean Radiology                 Moniqua Whitmore - Medical Provider               8500-000                                        0.00   3,353,058.25
                                                          Stopped on 10/31/14
03/22/11      9323       Southwest Emergency Services     Teodulo Nuno-Orozco - Medical Provider            8500-000                                        0.00   3,353,058.25
                                                          Stopped on 10/31/14
03/24/11      9349       Paul D. Powell                   Katherine Ruvalcaba- Luna - 15% Costs             8500-000                                        3.75   3,353,054.50
03/24/11      9362       Paul D. Powell                   Edgar Salazar - 15% Costs                         8500-000                                       86.14   3,352,968.36
04/05/11      9443       Paul D. Powell                   Keshia Rashada-Davis - 15% Costs                  8500-000                                       51.80   3,352,916.56
04/05/11      9463       Paul D. Powell                   Suzette Silvestre - 15% Costs                     8500-000                                       25.55   3,352,891.01
04/05/11      9464       Paul D. Powell                   Terence Kinser - 15% Costs                        8500-000                                      154.04   3,352,736.97
04/05/11      9481       Paul D. Powell                   Thomas Denton - 15% Costs                         8500-000                                        5.04   3,352,731.93
04/18/11      9515       Paul D. Powell                   Michelle Theroux - 15% Costs                      8500-000                                      101.93   3,352,630.00
04/18/11      9516       Advanced Paincare                Michelle Theroux - Medical Provider               8500-000                                        0.00   3,352,630.00
                                                          Stopped on 10/31/14
04/19/11      9536       Paul D. Powell                   Shirley Williams - 15% Costs                      8500-000                                        1.20   3,352,628.80
04/20/11      9555       Paul D. Powell                   Karla Luna-Dominguez - 15% Costs                  8500-000                                       96.82   3,352,531.98
04/20/11      9561       Paul D. Powell                   Marlon Haynes - 15% Costs                         8500-000                                      127.14   3,352,404.84
05/03/11      9632       Paul D. Powell                   Diana Carnivalli - 15% Costs                      8500-000                                       11.00   3,352,393.84
05/03/11      9653       Paul D. Powell                   Crystal Denton - 15% Costs                        8500-000                                        4.77   3,352,389.07
05/06/11      9675       Paul D. Powell                   Sylvester Thomas - 15%                            8500-000                                      271.45   3,352,117.62
05/06/11      9677       Paul D. Powell                   Diep Woodard - 15% Costs                          8500-000                                        4.11   3,352,113.51
05/06/11      9685       Meridian Resource Company        Freddie Taylor - Medical Provicer                 8500-000                                        0.00   3,352,113.51
                         (Empire BC/BS)                   Stopped on 10/31/14
05/10/11      9724       Sprenz & Associates              Dorothy Kelley - Advanced Costs                   8500-000                                        0.00   3,352,113.51
                                                          Stopped on 10/31/14
05/11/11      9747       Paul D. Powell                   Darlene Villalba-Hawkins - 15% Costs              8500-000                                       41.82   3,352,071.69
05/11/11      9794       Paul D. Powell                   Michele Redmond - 15% Costs                       8500-000                                       50.29   3,352,021.40
05/17/11      9827       Paul D. Powell                   Claudia Miramontes - 15% Costs                    8500-000                                       20.87   3,352,000.53


                                                                                                   Subtotals :                        $0.00           $1,324.32
{} Asset reference(s)                                                                                                                     Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn               Doc 351              Entered 12/21/17 12:05:45                          Page 64 of 131

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                                                                               Form 2                                                                                      Page: 5

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                   Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                          Bank Name:          Bank of Nevada
                                                                                               Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                      Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                        Separate Bond: N/A

   1            2                          3                                    4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction               T-Code              $                   $       Account Balance
05/23/11      9856       Paul D. Powell                  Linda Webster - 15% Costs                        8500-000                                         7.79   3,351,992.74
05/26/11      9952       Paul D. Powell                  William Sterling - 15% Costs                     8500-000                                        49.09   3,351,943.65
05/27/11      9967       Paul D. Powell                  James Mead - 15% Costs                           8500-000                                        83.50   3,351,860.15
05/27/11      9978       Paul D. Powell                  Anthoney Lucero - 15% Costs                      8500-000                                         8.07   3,351,852.08
05/27/11      9989       Paul D. Powell                  Lydia Lynch - Advanced Costs                     8500-000                                        42.26   3,351,809.82
05/27/11      9986       Xpress Care                     Anthoney Lucero - Medical Provider               8500-000                                         0.00   3,351,809.82
                                                         Stopped on 10/31/14
05/31/11      9999       Paul D. Powell                  Carolyn Castro - 15% Costs                       8500-000                                        75.00   3,351,734.82
06/03/11     10018       Paul D. Powell                  Justin Owens - 15% Costs                         8500-000                                       112.62   3,351,622.20
06/03/11     10024       Desert Inn Chiro Center         Justin Owens - Medical Provider                  8500-000                                         0.00   3,351,622.20
                                                         Stopped on 10/31/14
06/17/11     10114       Paul D. Powell                  Maria Gomez - 15% Costs                          8500-000                                       136.71   3,351,485.49
06/17/11     10125       Paul D. Powell                  Maria Pena - 15% Costs                           8500-000                                       124.38   3,351,361.11
06/17/11     10128       Credit Bureau Central           Maria Pena - Medical Provider                    8500-000                                         0.00   3,351,361.11
                                                         Stopped on 10/31/14
07/10/11     10222       Phillips & Lyon                 Orlando Vigil - Advanced Costs                   8500-000                                         0.00   3,351,361.11
                                                         Voided on 10/31/14
07/10/11     10233       Southwest Emergency Services    Maria Cumba-Richards - Medical Provider          8500-000                                         0.00   3,351,361.11
                                                         Voided on 10/31/14
07/10/11     10264       Glen J. Lerner & Associates     Sonia Barajas - Advanced Costs                   8500-000                                         0.00   3,351,361.11
                                                         Stopped on 10/31/14
07/12/11     10276       Paul D. Powell                  Royale Robinson - 15% Costs                      8500-000                                         1.68   3,351,359.43
07/25/11     10340       Paul D. Powell                  Carole Campagna - 15% Costs                      8500-000                                        16.38   3,351,343.05
07/25/11     10330       Sprenz & Associates             Roland Devio - Advanced Costs                    8500-000                                         0.00   3,351,343.05
                                                         Voided on 10/31/14
07/25/11     10358       Sprenz & Associates             Cuc Tinder - Advanced Costs                      8500-000                                         0.00   3,351,343.05
                                                         Voided on 10/31/14
07/26/11     10380       Paul D. Powell                  Robert Merkosky - 15% Costs                      8500-000                                         2.85   3,351,340.20
08/01/11     10451       Susan & Roland Rathunde         Susan Rathunde - Full & Final Settlement         8500-000                                         0.00   3,351,340.20
                                                         Stopped on 10/31/14
08/03/11     10483       Paul D. Powell                  Anabel Sevilla - 15% Costs                       8500-000                                       214.65   3,351,125.55
08/03/11     10477       Red Rock Diagnostics            Antonio Calalay - Medical Provider               8500-000                                         0.00   3,351,125.55
                                                         Voided on 10/31/14
08/03/11     10478       Green Valley Neck & Back        Antonio Calalay - Medical Provider               8500-000                                         0.00   3,351,125.55
                                                         Voided on 10/31/14
08/03/11     10479       Primary Care Consultants        Antonio Calalay - Medical Provider               8500-000                                         0.00   3,351,125.55
                                                         Voided on 10/31/14
08/03/11     10518       Health Plan of Nevada           Donald Martinez - Medical Provider               8500-000                                         0.00   3,351,125.55

                                                                                                Subtotals :                         $0.00               $874.98
{} Asset reference(s)                                                                                                                   Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                   Doc 351              Entered 12/21/17 12:05:45                           Page 65 of 131

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 6

                                                       Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                        Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:          Bank of Nevada
                                                                                                    Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                             Separate Bond: N/A

   1            2                          3                                        4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
                                                             Voided on 10/31/14
08/03/11     10519       Health Plan of Nevada               Jessie Owens - Medical Provider                   8500-000                                        0.00   3,351,125.55
                                                             Voided on 10/31/14
08/04/11     10533       Glen J. Lerner & Associates         Susan Rathunde - Advanced Costs                   8500-000                                      256.18   3,350,869.37
08/04/11     10534       Comprehensive Pain Management       Susan Rathunde - Medical Provider                 8500-000                                        0.00   3,350,869.37
                                                             Voided on 10/31/14
08/04/11     10535       North Valley Surgery Center         Susan Rathunde - Medical Provider                 8500-000                                        0.00   3,350,869.37
                                                             Voided on 10/31/14
08/04/11     10536       Simonmed Inaging                    Susan Rathunde - Medical Provider                 8500-000                                        0.00   3,350,869.37
                                                             Voided on 10/31/14
08/04/11     10537       Dr. Carol Reed                      Susan Rathunde - Medical Provider                 8500-000                                        0.00   3,350,869.37
                                                             Voided on 10/31/14
08/04/11     10538       Ingenix Subrogation                 Susan Rathunde - Medical Provider                 8500-000                                        0.00   3,350,869.37
                                                             Voided on 10/31/14
08/05/11     10545       Glen J. Lerner & Associates         Danny Killpatrick - Advanced Costs                8500-000                                       15.95   3,350,853.42
08/05/11     10546       Preferred Capital Lending           Danny Killpatrick - Advanced Costs                8500-000                                        0.00   3,350,853.42
                                                             Voided on 10/31/14
08/15/11     10575       Paul D. Powell                      James Quinn - 15% Costs                           8500-000                                      595.36   3,350,258.06
08/17/11     10577       Paul D. Powell                      Kevin Corbid - 15% Costs                          8500-000                                       22.14   3,350,235.92
09/12/11     10696       Integrated Pain Specialists         Michelle Paonessa - Medical Provider              8500-000                                   3,678.50    3,346,557.42
09/12/11     10697       Mario Tarquino, M.D.                Michelle Paonessa - Medical Provider              8500-000                                      504.00   3,346,053.42
09/28/11     10768       Paul D. Powell                      Diane Stuessy - 15% Costs                         8500-000                                       16.41   3,346,037.01
09/28/11     10766       Zenith Admin (Electrical Workers)   Lisa Marie DiBernardo - Medical Provider          8500-000                                        0.00   3,346,037.01
                                                             Stopped on 10/31/14
09/30/11     10780       Paul D. Powell                      Otho Ray Howard - 15Costs %                       8500-000                                       27.75   3,346,009.26
09/30/11     10781       Glen J. Lerner & Associates         Mary Cowley - Advanced Costs                      8500-000                                      447.56   3,345,561.70
09/30/11     10801       Paul D. Powell                      Gerald Howell - 15% Costs                         8500-000                                        0.24   3,345,561.46
09/30/11     10808       Glen J. Lerner & Associates         Ana Miranda - Advanced Costs                      8500-000                                       34.00   3,345,527.46
09/30/11     10809       Paul D. Powell                      Ana Miranda - 15% Costs                           8500-000                                        6.00   3,345,521.46
09/30/11     10782       Peachtree Pre-Settlement Funding    Mary Cowley - Financial Lien                      8500-000                                        0.00   3,345,521.46
                                                             Voided on 10/31/14
09/30/11     10783       Canyon Medical Billing              Mary Cowley - Medical Provider                    8500-000                                        0.00   3,345,521.46
                                                             Voided on 10/31/14
09/30/11     10784       Credit Bureau Central               Mary Cowley - Medical Provider                    8500-000                                        0.00   3,345,521.46
                                                             Voided on 10/31/14
09/30/11     10785       Denham Ortho & Prosthetics          Mary Cowley - Medical Provider                    8500-000                                        0.00   3,345,521.46
                                                             Voided on 10/31/14
09/30/11     10786       Dr. Russel J. Shah                  Mary Cowley - Medical Provider                    8500-000                                        0.00   3,345,521.46

                                                                                                    Subtotals :                          $0.00           $5,604.09
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn               Doc 351              Entered 12/21/17 12:05:45                            Page 66 of 131

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                                                                               Form 2                                                                                        Page: 7

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Bank of Nevada
                                                                                                 Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                          Separate Bond: N/A

   1            2                         3                                     4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
                                                         Voided on 10/31/14
09/30/11     10787       EPMG                            Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10788       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10789       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10790       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10792       Las Vegas Pharmacy Inc.         Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10793       Nevada Spine Clinic             Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10794       Nevada Spine Clinic-Hans Jorg   Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                         Rosler                          Voided on 10/31/14
09/30/11     10795       Primary Care Consultants        Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10796       Red Rock Diagnostics            Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10797       Village East Drugs              Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
09/30/11     10798       Health Plan of Nevada           Mary Cowley - Medical Provider                     8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
10/22/11     10837       Mary Cowley                     Mary Cowely - Full & Final Settlement              8500-000                                         0.00   3,345,521.46
                                                         Voided on 10/31/14
11/04/11     10899       Glen J. Lerner & Associates     Jackie Mack - Advanced Costs                       8500-000                                   28,958.35    3,316,563.11
11/04/11     10900       Paul D. Powell                  Jackie Mack - 15% Costs                            8500-000                                    1,917.10    3,314,646.01
11/15/11     10903       Glen J. Lerner & Associates     Nichole Anderson - Advanced Costs                  8500-000                                       786.60   3,313,859.41
11/15/11     10916       Omar Cabahug, M.D.,             Jackie Mack - Medical Provider                     8500-000                                       180.00   3,313,679.41
11/15/11     10945       Glen J. Lerner & Associates     Roberta Dulfon - Advanced Costs                    8500-000                                        27.75   3,313,651.66
11/15/11     10912       Radiology Associates            Nichole Anderson - Medical Provider                8500-000                                         0.00   3,313,651.66
                                                         Voided on 10/31/14
11/15/11     10930       Village East Drugs              Jackie Mack - Medical Provider                     8500-000                                         0.00   3,313,651.66
                                                         Voided on 10/31/14
11/15/11     10943       Medicare                        Jackie Mack - Medical Provider                     8500-000                                         0.00   3,313,651.66
                                                         Voided on 10/31/14
11/16/11     10947       Glen J. Lerner & Associates     Heather Dean-Murray - Advanced Costs               8500-000                                       290.65   3,313,361.01
11/16/11     10948       Paul D. Powell                  Heather Dean-Murray - 15% Costs                    8500-000                                        48.53   3,313,312.48

                                                                                                 Subtotals :                          $0.00           $32,208.98
{} Asset reference(s)                                                                                                                     Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                 Doc 351               Entered 12/21/17 12:05:45                          Page 67 of 131

                                                                                                                                                                              Exhibit 9


                                                                                 Form 2                                                                                       Page: 8

                                                   Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Bank of Nevada
                                                                                                  Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                          3                                       4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                   $       Account Balance
11/16/11     10970       Glen J. Lerner & Associates       Sharon Ayers - Advanced Costs                     8500-000                                       330.20   3,312,982.28
11/16/11     10988       Paul D. Powell                    Mae Ruth Byrd - 15% Costs                         8500-000                                        46.67   3,312,935.61
11/16/11     10956       Village East Drugs                Heather Dean-Murray - Medical Provider            8500-000                                         0.00   3,312,935.61
                                                           Voided on 10/31/14
11/16/11     10977       PBS Anesthesia                    Sharon Ayers - Medical Provider                   8500-000                                         0.00   3,312,935.61
                                                           Stopped on 10/31/14
11/16/11     10980       summerlin Medical Tower           Sharon Ayers - Medical Provider                   8500-000                                         0.00   3,312,935.61
                                                           Stopped on 10/31/14
11/16/11     10981       Michael W. Barney, Inc            Sharon Ayers - Medical Provider                   8500-000                                         0.00   3,312,935.61
                                                           Voided on 10/31/14
03/09/12     11058       Glen J. Lerner & Associates       Ana Miranda - Advanced Costs                      8500-000                                        40.00   3,312,895.61
03/09/12     11059       Nationwide Insurance              Daryl Lefault - DOL 07/03/09                      8500-000                                         0.00   3,312,895.61
                                                           Voided on 10/31/14
03/16/12     10864       Transworld Systems Inc.           Doris Fernandez - Medical Provider                8500-000                                       129.15   3,312,766.46
04/09/12     11100       The Powell Litigation Group, PC   Frank Feldhouse - Advanced Costs                  8500-000                                    2,468.25    3,310,298.21
04/10/12     11106       Compass Care                      Martha Navarro - Medical Provider                 8500-000                                       624.32   3,309,673.89
04/10/12     11107       Desert Institute Of Spine Care    Martha Navarro - Medical Provider                 8500-000                                       487.50   3,309,186.39
04/10/12     11116       Tenaya Surgical Center            Martha Navarro - Medical Provider                 8500-000                                   29,190.00    3,279,996.39
04/10/12     11120       Advanced Pre-Settlement Funding   Martha Navarro - Medical Provider                 8500-000                                   21,576.00    3,258,420.39
04/10/12     11126       Las Vegas Fire & Rescue           Charlene Triplet - Medical Provider               8500-000                                       886.19   3,257,534.20
04/10/12     11129       Southwest Neck & Back             Charlene Triplet - Medical Provider               8500-000                                    1,929.00    3,255,605.20
04/10/12     11131       Glen J. Lerner & Associates       David Laughlin - Attorney Fees                    8500-000                                    2,857.12    3,252,748.08
04/10/12     11133       Glen J. Lerner & Associates       David Laughlin - Advanced Costs                   8500-000                                       193.80   3,252,554.28
04/10/12     11134       Paul D. Powell                    David Laughlin - 15% Costs                        8500-000                                        34.19   3,252,520.09
04/10/12     11136       Compass Care                      David Laughlin - Medical Provider                 8500-000                                    1,196.30    3,251,323.79
04/10/12     11156       Department of Vetrans Affairs     Herb Apfel - Subro                                8500-000                                    3,500.00    3,247,823.79
04/10/12     11158       Glen J. Lerner & Associates       Shemese Omar - Advanced Costs                     8500-000                                        11.58   3,247,812.21
04/10/12     11159       Paul D. Powell                    Shemese Omar - 15% Costs                          8500-000                                         2.04   3,247,810.17
04/10/12     11164       Health Plan of Nevada             Shemese Omar - Medical Provider                   8500-000                                       231.50   3,247,578.67
04/10/12     11165       Glen J. Lerner & Associates       Maria Becerra - Advanced Costs                    8500-000                                       272.48   3,247,306.19
04/10/12     11168       Compass Care                      Maria Becerra - Medical Provider                  8500-000                                       426.60   3,246,879.59
04/10/12     11171       Sierra - HPN                      Maria Becerra - Medical Provider                  8500-000                                        24.18   3,246,855.41
04/10/12     11176       NW Neck & Back Clinic             Jacob Davis - Medical Provider                    8500-000                                    2,661.00    3,244,194.41
04/10/12     11179       Glen J. Lerner & Associates       Kamesha McClinton - Attorney Fees                 8500-000                                    1,649.21    3,242,545.20
04/10/12     11180       BJN, Inc.                         Kamesha McClinton - Lien                          8500-000                                    2,000.00    3,240,545.20
04/10/12     11184       Industrial Pharmacy               Kamesha McClinton - Medical Provider              8500-000                                       575.00   3,239,970.20
04/10/12     11186       Michael W. Barney, Inc            Kamesha McClinton - Medical Provider              8500-000                                        73.00   3,239,897.20

                                                                                                    Subtotals :                        $0.00           $73,415.28
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                  Doc 351               Entered 12/21/17 12:05:45                            Page 68 of 131

                                                                                                                                                                                 Exhibit 9


                                                                                    Form 2                                                                                       Page: 9

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                     Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                          3                                        4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
04/10/12     11187       Northeast Neck & Back Clinic       Kamesha McClinton - Medical Provider                8500-000                                      433.00   3,239,464.20
04/10/12     11189       Red Rock Imaging Services, Inc.    Kamesha McClinton - Medical Provider                8500-000                                       15.00   3,239,449.20
04/10/12     11110       Nevada Imaging                     Martha Navarro - Medical Provider                   8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11118       Lake Mead Radiologists             Martha Navarro - Medical Provider                   8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11135       Lucky Investers                    David Laughlin - Lien                               8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11137       Nevada Imaging                     David Laughlin - Medical Provider                   8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11141       Dr. TJ Allen                       David Laughlin - Medical Provider                   8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11143       Oasis Legal Finance                James Johnson - Lien                                8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11162       Nevada Imaging                     Shemese Omar - Medical Provider                     8500-000                                        0.00   3,239,449.20
                                                            Voided on 10/31/14
04/10/12     11190       Glen J. Lerner & Associates        Reynaldo Garcia-Lopez - Advanced Costs              8500-000                                        0.00   3,239,449.20
                                                            Stopped on 10/31/14
04/11/12     11192       Glen J. Lerner & Associates        Carlos Duran-Beltran - Advanced Costs               8500-000                                        0.00   3,239,449.20
                                                            Stopped on 10/31/14
04/13/12     11200       Glen J. Lerner & Associates        Shemse Omar - Attorney Fees                         8500-000                                      960.00   3,238,489.20
04/13/12     11202       Glen J. Lerner & Associates        K'daya Fuller - Attorney Fees                       8500-000                                      333.33   3,238,155.87
04/13/12     11203       Glen J. Lerner & Associates        Kamesha McClinton - Attorney Fees                   8500-000                                   2,400.00    3,235,755.87
04/17/12     11206       Glen J. Lerner & Associates        Ashley Bangs - Advanced Costs                       8500-000                                       37.25   3,235,718.62
04/17/12     11209       Glen J. Lerner & Associates        Antonio Caldwell - Advanced Costs                   8500-000                                       19.75   3,235,698.87
04/17/12     11211       Bond Pediatrics                    Antonio Caldwell - Medical Provider                 8500-000                                       25.00   3,235,673.87
04/23/12     11215       Plus Four                          Christian Jacinto - Medical Provider                8500-000                                       90.96   3,235,582.91
04/23/12     11216       Desert Radiolgists                 Christian Jacinto - Medical Provider                8500-000                                       15.23   3,235,567.68
04/23/12     11218       Blue Cross Blue Shield             Christian Jacinto - Medical Provider                8500-000                                  95,000.00    3,140,567.68
04/23/12     11219       Rawlings Co.                       Christian Jacinto - Medical Provider                8500-000                                   2,069.34    3,138,498.34
04/23/12     11220       Glen J. Lerner & Associates        Christian Jacinto - Advanced Costs                  8500-000                                       19.75   3,138,478.59
04/23/12     11225       NW Neck & Back Clinic              Zachary Fassio - Medical Provider                   8500-000                                   1,770.00    3,136,708.59
04/23/12     11228       Interventional Pain Medicine of    Christina Gallagher - Medical Provider              8500-000                                        8.89   3,136,699.70
                         Nevada
04/23/12     11229       Las Vegas Fire & Rescue            Christina Gallagher - Medical Provider              8500-000                                      100.00   3,136,599.70
04/23/12     11230       Las Vegas Neurosurgery, Ortho, &   Christina Gallagher - Medical Provider              8500-000                                   2,387.88    3,134,211.82
                         Rehab
04/23/12     11232       Louis F. Mortillaro, PHD           Christina Gallagher - Medical Provider              8500-000                                   1,640.00    3,132,571.82

                                                                                                     Subtotals :                          $0.00       $107,325.38
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                    Form 2                                                                                         Page: 10

                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:             David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:           Bank of Nevada
                                                                                                      Account:             ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                   T-Code              $                  $       Account Balance
04/23/12     11233        NW Neck & Back Clinic              Christina Gallagher - Medical Provider              8500-000                                     2,327.00    3,130,244.82
04/23/12     11235        Quest Diagnostics                  Christina Gallagher - Medical Provider              8500-000                                         23.39   3,130,221.43
04/23/12     11236        Center For Surgical Intervention   Christina Gallagher - Medical Provider              8500-000                                        444.80   3,129,776.63
04/23/12     11238        Ingenix Subrogation                Christina Gallagher - Medical Provider              8500-000                                    11,210.70    3,118,565.93
04/23/12     11241        Canyon Medical Billing             Erin Gallagher - Medical Provider                   8500-000                                         72.00   3,118,493.93
04/23/12     11242        NW Neck & Back Clinic              Erin Gallagher - Medical Provider                   8500-000                                     2,100.00    3,116,393.93
04/23/12     11244        Canyon Medical Billing             Scott Brown - Medical Provider                      8500-000                                         60.00   3,116,333.93
04/23/12     11245        NW Neck & Back Clinic              Scott Brown - Medical Provider                      8500-000                                     4,000.00    3,112,333.93
04/23/12     11247        Scott Brown                        Scott Brown - Full & Final Settlement               8500-000                                     5,562.50    3,106,771.43
04/23/12     11257        The Powell Litigation Group, PC    John Dunston - Advanced Costs                       8500-000                                        158.10   3,106,613.33
04/23/12     11258        NW Neck & Back Clinic              John Dunston - Medical Provider                     8500-000                                     1,996.00    3,104,617.33
04/23/12     11259        Hospital Lien Strategies           John Dunston - Medical Provider                     8500-000                                     5,000.00    3,099,617.33
04/23/12     11261        Desert Radiolgists                 John Dunston - Medical Provider                     8500-000                                        170.50   3,099,446.83
04/23/12     11262        Las Vegas Pharmacy Inc.            John Dunston - Medical Provider                     8500-000                                        199.66   3,099,247.17
04/23/12     11263        Primary Care Consultants           John Dunston - Medical Provider                     8500-000                                        312.00   3,098,935.17
04/23/12     11217        Pinnacle Financial Group           Christian Jacinto - Medical Provider                8500-000                                          0.00   3,098,935.17
                                                             Voided on 10/31/14
04/23/12     11227        Centennial Hills Hospital          Christina Gallagher - Medical Provider              8500-000                                          0.00   3,098,935.17
                                                             Voided on 10/31/14
04/23/12     11237        Radiology Associates               Christina Gallager - Medical Provider               8500-000                                          0.00   3,098,935.17
                                                             Voided on 10/31/14
04/23/12     11260        NCO Financial, Inc.                John Dunston - Medical Provider                     8500-000                                          0.00   3,098,935.17
                                                             Stopped on 10/31/14
04/24/12     11248        Oasis Legal Finance                Diane Stuessy - Lien                                8500-000                                     9,000.00    3,089,935.17
04/25/12     11264        Lemper Pain Center                 Christina Gallagher - Medical Provider              8500-000                                     1,267.35    3,088,667.82
05/01/12     11254        The Powell Litigation Group, PC    Cynthia Mendez - Payment of Lien                    8500-000                                     2,928.95    3,085,738.87
05/01/12     11255        The Powell Litigation Group, PC    Kathryn Gaefe - Advanced Costs                      8500-000                                        500.00   3,085,238.87
05/01/12     11256        The Powell Litigation Group, PC    Kevin Barrett - Advanced Costs                      8500-000                                          0.01   3,085,238.86
05/01/12                  Bank of Nevada Account Interest    IOLTA Trust Account                                 8500-000                                     2,280.77    3,082,958.09
05/02/12     11251        Yolanda Rodriguez                  Armondo Rodriguez                                   8500-000                                    12,014.45    3,070,943.64
05/02/12     11252        Wells Fargo FBO Jackilyn Ruelas    Jackilyn Ruelas - Full & Final Settlement           8500-000                                     9,080.58    3,061,863.06
05/03/12     11253        The Powell Litigation Group, PC    Ann Johnson - Advanced Costs 5.17.07                8500-000                                     3,086.24    3,058,776.82
05/04/12       {2}        Deposit - Alexis Caldwell          Alexis Caldwell                                     1129-002              12,906.50                          3,071,683.32
05/04/12     11265        Glen J. Lerner & Associates        Doris Fernandez - Advanced Costs                    8500-000                                        950.00   3,070,733.32
05/04/12     11266        Glen J. Lerner & Associates        Manuel Beverra - Advanced Costs                     8500-000                                        279.96   3,070,453.36
05/04/12     11267        Glen J. Lerner & Associates        Mar Ruth Byrd - Advanced Costs                      8500-000                                        304.44   3,070,148.92
05/04/12     11269        The Powell Litigation Group, PC    Alexis Caldwell - Attorney Fees                     8500-000                                     2,581.30    3,067,567.62

                                                                                                         Subtotals :                 $12,906.50             $77,910.70
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:             David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:           Bank of Nevada
                                                                                                       Account:             ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                              3                                      4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                  $       Account Balance
05/04/12     11270        The Powell Litigation Group, PC     Alexis Caldwell - Attorney Costs                    8500-000                                    4,094.55    3,063,473.07
05/04/12     11271        The Powell Litigation Group, PC     Rachel Davis - Advanced Costs                       8500-000                                   43,853.01    3,019,620.06
05/07/12     11268        Alexis Caldwell                     Alexis Caldwell Full and Final Settlement           8500-000                                       728.46   3,018,891.60
05/07/12     11273        The Powell Litigation Group, PC     Jeradina Perez-Fuentes - Attorney Fees              8500-000                                   14,800.00    3,004,091.60
05/07/12     11275        The Powell Litigation Group, PC     Linda Remer - Advanced Costs                        8500-000                                    2,241.23    3,001,850.37
05/08/12       {2}        Deposit - Steve Swanson             Steve Swanson                                       1129-002              29,999.00                         3,031,849.37
05/09/12       {2}        Deposit - Jackilyn Ruelas           Jackilyn Ruelas Miramontes                          1129-002               2,000.00                         3,033,849.37
                          Miramontes
05/23/12     11276        Legacy Surgical Services            Gerald Howell - Medical Provider                    8500-000                                   14,378.16    3,019,471.21
05/24/12     11277        Centennial Medical Group            Timothy Campbell - Medical Providers                8500-000                                    2,004.10    3,017,467.11
05/24/12     11278        DL-Jt Management                    Timothy Campbell - Medical Providers                8500-000                                    1,785.59    3,015,681.52
05/24/12     11280        Preferred Capital Lending           Timothy Campbell - Medical Providers                8500-000                                   12,040.24    3,003,641.28
05/24/12     11281        Hans-Jorg Rosler, MD                Timothy Campbell - Medical Providers                8500-000                                   24,973.54    2,978,667.74
05/24/12     11282        West Las Vegas Surgery Center       Timothy Campbell - Medical Providers                8500-000                                   23,058.64    2,955,609.10
05/24/12     11283        Steven B. Andracki                  Timothy Campbell - Medical Providers                8500-000                                       499.74   2,955,109.36
05/24/12     11284        Ian Yamane, DC                      Timothy Campbell - Medical Providers                8500-000                                    1,187.35    2,953,922.01
05/24/12     11285        JNAAA Holdings                      Timothy Campbell - Medical Providers                8500-000                                    3,465.42    2,950,456.59
05/24/12     11279        Russell J. Shah, MD                 Timothy Campbell - Medical Providers                8500-000                                         0.00   2,950,456.59
                                                              Stopped on 10/31/14
05/30/12     11286        David Rosenberg-Powell Litigation   Jeradina Perez-Fuentes - Attorney Fees              8500-000                                   13,200.00    2,937,256.59
                          Group
05/30/12     11287        David Rosenberg-Powell Litigation   Jeradina Perez-Fuentes - Attorney Fees              8500-000                                   10,024.00    2,927,232.59
                          Group
05/31/12       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                 1129-002               2,082.41                         2,929,315.00
05/31/12     11289        Wells Fargo FBO Roxanna Lopez       Roxanna Lopez - Full & Final Settlement             8500-000                                    1,682.44    2,927,632.56
05/31/12     11288        Wells Fargo FBO Austin Bean         Austin Bean - Full & Final Settlement               8500-000                                         0.00   2,927,632.56
                                                              Voided on 10/31/14
05/31/12     11290        Spring Mountian Chiropractic        Carolle Martindale - Medical Provider               8500-000                                         0.00   2,927,632.56
                                                              Stopped on 10/31/14
06/01/12                  Bank of Nevada Account Interest     IOLTA Trust Account                                 8500-000                                    2,082.41    2,925,550.15
06/29/12       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                 1129-002               1,874.72                         2,927,424.87
07/02/12                  Bank of Nevada Account Interest     IOLTA Trust Account                                 8500-000                                    1,874.72    2,925,550.15
07/03/12     11291        wells Fargo FBO Ashley Bangs        Ashley Bangs - Full & Final settlement              8500-000                                       466.88   2,925,083.27
07/03/12     11292        Wells Fargo FBO Antonio Caldwell    Antonio Caldwell - Full & Final Settlement          8500-000                                    2,155.52    2,922,927.75
07/31/12       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                 1129-002               2,039.88                         2,924,967.63
08/01/12                  Bank of Nevada Account Interest     IOLTA Trust Account                                 8500-000                                    2,039.88    2,922,927.75
08/07/12     11293        Clerk of the Court                  Charlyne Cutler                                     8500-000                                   90,220.00    2,832,707.75

                                                                                                          Subtotals :                 $37,996.01         $272,855.88
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                   Form 2                                                                                          Page: 12

                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:             David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:           Bank of Nevada
                                                                                                      Account:             ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code              $                  $       Account Balance
08/10/12     11295        Bone & Joint Specialists           Fransisco Ayala - Medical Provider                  8500-000                                    3,730.00    2,828,977.75
08/10/12     11296        Industrial Pharmacy                Fransisco Ayala - Medical Provider                  8500-000                                    3,700.00    2,825,277.75
08/10/12     11297        Las Vegas Pharmacy Inc.            Fransisco Ayala - Medical Provider                  8500-000                                    5,441.99    2,819,835.76
08/10/12     11298        Lemper Pain Center                 Fransisco Ayala - Medical Provider                  8500-000                                   18,417.45    2,801,418.31
08/10/12     11299        Key Health Management              Fransisco Ayala - Medical Provider                  8500-000                                    1,104.92    2,800,313.39
08/10/12     11300        McLean Radiology                   Francisco Ayala - Medical Provider                  8500-000                                        45.00   2,800,268.39
08/10/12     11301        Nevada Imaging                     Francisco Ayala - Medical Provider                  8500-000                                    1,620.86    2,798,647.53
08/10/12     11302        NW Neck & Back Clinic              Francisco Ayala - Medical Provider                  8500-000                                    4,700.00    2,793,947.53
08/10/12     11303        Primary Care Consultants           Francisco Ayala - Medical Provider                  8500-000                                       192.50   2,793,755.03
08/10/12     11304        Raxo Drugs                         Francisco Ayala - Medical Provider                  8500-000                                    3,265.89    2,790,489.14
08/10/12     11305        Red Rock Diagnostics               Francisco Ayala - Medical Provider                  8500-000                                    2,280.60    2,788,208.54
08/10/12     11306        Center For Surgical Intervention   Francisco Ayala - Medical Provider                  8500-000                                   17,281.25    2,770,927.29
08/10/12     11307        Oasis Wellness Center              Francisco Ayala - Medical Provider                  8500-000                                    2,400.00    2,768,527.29
08/10/12     11308        The Powell Litigation Group, PC    Holly Marquardt - Attorney Fees                     8500-000                                   14,285.26    2,754,242.03
08/10/12     11294        Glen J. Lerner & Associates        Fransisco Ayala - Advanced Costs                    8500-000                                         0.00   2,754,242.03
                                                             Stopped on 10/31/14
08/14/12     11309        Desert Oasis Clinic                Holly Marquardt - Medical Provider                  8500-000                                    5,166.00    2,749,076.03
08/14/12     11310        Las Vegas Neurosurgery, Ortho, &   Holly Marquardt - Medical Provider                  8500-000                                       600.00   2,748,476.03
                          Rehab
08/14/12     11311        Las Vegas Pain Relieve Center      Holly Marquardt - Medical Provider                  8500-000                                    1,875.00    2,746,601.03
08/14/12     11312        McKenna Pain Specialists           Holly Marquardt - Medical Provider                  8500-000                                       155.02   2,746,446.01
08/14/12     11313        Rapid Rehab                        Holly Marquardt - Medical Provider                  8500-000                                    5,318.50    2,741,127.51
08/14/12     11314        Russell J. Shah, MD                Holly Marquardt - Medical Provider                  8500-000                                    7,000.00    2,734,127.51
08/14/12     11315        Theodore Thorpe, MD                Holly Marquardt - Medical Provider                  8500-000                                       330.25   2,733,797.26
08/14/12     11316        The Rawlings Company               Holly Marquardt - Medical Provider                  8500-000                                    1,730.97    2,732,066.29
08/14/12     11317        Sierra Health & Life               Holly Marquardt - Medical Provider                  8500-000                                        40.00   2,732,026.29
08/14/12     11318        Holly Marquardt                    Holly Marquardt - Full & Final Settlement           8500-000                                    3,500.00    2,728,526.29
08/31/12       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                 1129-002               1,969.67                         2,730,495.96
09/01/12                  Bank of Nevada Account Interest    IOLTA Trust Account                                 8500-000                                    1,969.67    2,728,526.29
09/28/12       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                 1129-002               1,746.69                         2,730,272.98
10/01/12                  Bank of Nevada Account Interest    IOLTA Trust Account                                 8500-000                                    1,746.69    2,728,526.29
10/31/12       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                 1129-002               1,877.14                         2,730,403.43
11/01/12                  Bank of Nevada Account Interest    IOLTA Trust Account                                 8500-000                                    1,877.14    2,728,526.29
11/27/12     11319        Canyon Medical Billing             Bruce Lee - Medical Provider (Crovetti Bone &       8500-000                                       185.00   2,728,341.29
                                                             Joint)
11/27/12     11320        Canyon Medical Billing             Bruce Lee - Medical Provider ( LV Rad)              8500-000                                       825.00   2,727,516.29
11/27/12     11321        NW Neck & Back Clinic              Bruce Lee - Medical Provider                        8500-000                                    2,226.00    2,725,290.29

                                                                                                         Subtotals :                   $5,593.50        $113,010.96
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                  Doc 351                Entered 12/21/17 12:05:45                            Page 72 of 131

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                                                                                    Form 2                                                                                          Page: 13

                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                              3                                      4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                    T-Code              $                  $       Account Balance
11/27/12     11322        Primary Care Consultants           Bruce Lee - Medical Provider                          8500-000                                      536.40   2,724,753.89
11/27/12     11323        Shadow Emergency Physicians        Bruce Lee - Medical Provider                          8500-000                                      406.20   2,724,347.69
11/27/12     11324        Humana                             Bruce Lee - Medical Provider                          8500-000                                      582.33   2,723,765.36
11/27/12     11325        Bruce Lee                          Bruce Lee - Full and final Settlement                 8500-000                                   7,548.66    2,716,216.70
11/30/12       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,672.05                         2,717,888.75
11/30/12     11326        Clerk of the Court                 Amerios Villareal - A642673                           8500-000                                  66,591.68    2,651,297.07
12/03/12     11327        The Powell Litigation Group, PC    Bruce Lee - Costs                                     8500-000                                       60.24   2,651,236.83
12/03/12     11330        Dr. Mario Tarqino                  Jackilyn Ruelas - Medical Provider                    8500-000                                      270.00   2,650,966.83
12/03/12     11331        Raxo Drugs                         Jackilyn Ruelas - Medical Provider                    8500-000                                       89.95   2,650,876.88
12/03/12     11332        Spinal Rehabilitation              Jackilyn Ruelas - Medical Provider                    8500-000                                   3,294.00    2,647,582.88
12/03/12     11333        Strehlow Radiology                 Jackilyn Ruelas - Medical Provider                    8500-000                                       96.00   2,647,486.88
12/03/12     11334        Health Plan of Nevada              Jackilyn Ruelas - Medical Provider                    8500-000                                      644.00   2,646,842.88
12/03/12                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                   1,672.05    2,645,170.83
12/04/12       {2}        Deposit - Quincee Billew           Quincee Billew                                        1129-002              7,500.00                         2,652,670.83
12/10/12     11328        John Klock and The Cottle Firm     John Klock                                            8500-000                                   6,961.37    2,645,709.46
12/10/12     11329        Glen J. Lerner & Associates        John Klock                                            8500-000                                        0.00   2,645,709.46
                                                             Stopped on 10/31/14
12/31/12       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,654.93                         2,647,364.39
01/02/13     11335        Centennial Back Center             Quincee Billew - Medical Provider                     8500-000                                      587.70   2,646,776.69
01/02/13     11336        Cameron Medical Center             Quincee Billew - Medical Provider                     8500-000                                      108.00   2,646,668.69
01/02/13     11337        Sierra - HPN                       Quincee Billew - Medical Provider                     8500-000                                       97.42   2,646,571.27
01/02/13     11338        Wells Fargo FBO Quincee Billew     Quincee Billew - Full & Final Settlement              8500-000                                   4,176.85    2,642,394.42
01/02/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                   1,654.93    2,640,739.49
01/23/13     11339        Sprenz & Associates                Stephanie Vivirito - Funds in trust                   8500-000                                   4,050.46    2,636,689.03
01/23/13     11340        The Powell Litigation Group, PC    Stephanie Vivirito - Attorney Fees                    8500-000                                      810.09   2,635,878.94
01/29/13     11342        Anesthesia Associates              Irineo Marquez - Medical Provider                     8500-000                                   1,105.00    2,634,773.94
01/29/13     11343        Canyon Medical Billing             Irineo Marquez - Medical Provider                     8500-000                                      500.00   2,634,273.94
01/29/13     11344        Center For Surgical Intervention   Irineo Marquez - Medical Provider                     8500-000                                   3,346.88    2,630,927.06
01/29/13     11346        Jurani Clinic                      Irineo Marquez - Medical Provider                     8500-000                                       37.20   2,630,889.86
01/29/13     11347        Lemper Pain Center                 Irineo Marquez - Medical Provider                     8500-000                                  13,284.50    2,617,605.36
01/29/13     11348        Med Care Solutions                 Irineo Marquez - Medical Provider                     8500-000                                   2,404.50    2,615,200.86
01/29/13     11349        Nevada Imaging                     Irineo Marquez - Medical Provider                     8500-000                                   1,762.40    2,613,438.46
01/29/13     11350        Oasis Wellness Center              Irineo Marquez - Medical Provider                     8500-000                                      825.00   2,612,613.46
01/29/13     11351        University Medical Center          Irineo Marquez - Medical Provider                     8500-000                                      150.00   2,612,463.46
01/29/13     11352        Allied Collections                 Irineo Marquez - Medical Provider                     8500-000                                      112.75   2,612,350.71
01/29/13     11353        WRCBSS                             Irineo Marquez - Medical Provider                     8500-000                                       20.00   2,612,330.71
01/29/13     11354        Culinary Health Fund               Irineo Marquez - Medical Provider                     8500-000                                       97.84   2,612,232.87
                                                                                                        Subtotals :                   $10,826.98         $123,884.40
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                    Doc 351              Entered 12/21/17 12:05:45                            Page 73 of 131

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                                                                                    Form 2                                                                                          Page: 14

                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                           3                                         4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                    T-Code              $                  $       Account Balance
01/29/13     11355        Irineo Marquez                     Irineo Marquez - Full & Final Settlement              8500-000                                   14,543.43    2,597,689.44
01/29/13     11345        Escallate Collections              Irineo Marquez - Medical Provider                     8500-000                                         0.00   2,597,689.44
                                                             Voided on 10/31/14
01/31/13       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,606.55                          2,599,295.99
01/31/13     11341        Martha Navarro                     Martha Navarro - Full and final Settlement            8500-000                                  233,731.35    2,365,564.64
                                                             (PLG)
02/01/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                    1,606.55    2,363,958.09
02/13/13     11357        Preferred Capital Lending          Ann Johnson - Loan Payoff (5/15/07/Findlay)           8500-000                                   65,000.00    2,298,958.09
02/20/13       {2}        Deposit - Joyce Lucero             Joyce Lucero                                          1129-002             38,000.00                          2,336,958.09
02/22/13     11358        Sprenz & Associates                Russel Smith - Funds in Trust                         8500-000                                   16,004.95    2,320,953.14
02/28/13       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,336.02                          2,322,289.16
03/01/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                    1,336.02    2,320,953.14
03/06/13     11359        Ann Johnson                        DOL 5/15/07 - Partial pay out                         8500-000                                   25,000.00    2,295,953.14
03/06/13     11361        Lily Becerra                       Lily Becerra - Minor's Comp final payout              8500-000                                         0.00   2,295,953.14
                                                             Voided on 10/31/14
03/12/13       {2}        Deposit - Bruce Lee                Bruce Lee                                             1129-002             25,000.00                          2,320,953.14
03/28/13     11362        Lily Becerra                       Lily Becerra - Minor's Comp Final Payout              8500-000                                    1,068.29    2,319,884.85
03/28/13     11364        Bruce Lee                          Bruce Lee - UIM Final Payout                          8500-000                                   16,454.35    2,303,430.50
03/29/13       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,347.54                          2,304,778.04
04/01/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                    1,347.54    2,303,430.50
04/19/13       {2}        Deposit - Mariah West              Mariah West                                           1129-002              9,200.00                          2,312,630.50
04/29/13     11365        Advanced Pre-Settlement Funding    Wilfredo Hall - Lien                                  8500-000                                    8,000.00    2,304,630.50
04/29/13     11366        Centennial Spine & Pain Center     Wilfredo Hall - Medical Proveider                     8500-000                                       186.60   2,304,443.90
04/29/13     11367        Canyon Medical Billing             Wilfredo Hall - Medical Proveider                     8500-000                                    1,100.00    2,303,343.90
04/29/13     11368        McLean Radiology                   Wilfredo Hall - Medical Proveider                     8500-000                                        54.00   2,303,289.90
04/29/13     11369        Primary Care Consultants           Wilfredo Hall - Medical Proveider                     8500-000                                       351.00   2,302,938.90
04/29/13     11370        Neck & Back Clinic                 Wilfredo Hall - Medical Proveider                     8500-000                                    2,574.00    2,300,364.90
04/29/13     11371        us Airforce Claims                 Wilfredo Hall - Medical Proveider                     8500-000                                    1,034.82    2,299,330.08
04/30/13       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,457.84                          2,300,787.92
05/01/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                    1,457.84    2,299,330.08
05/02/13       {2}        Deposit - Mariah West              Mariah West                                           1129-002              5,460.00                          2,304,790.08
05/31/13       {2}        Bank of Nevada Account Interest    IOLTA Trust Account                                   1129-002              1,407.08                          2,306,197.16
06/03/13     11372        Ann Johnson                        Ann Johnson - 5/3/2009                                8500-000                                       540.00   2,305,657.16
06/03/13                  Bank of Nevada Account Interest    IOLTA Trust Account                                   8500-000                                    1,407.08    2,304,250.08
06/17/13     11373        Eddie Sarpong                      Eddie Sarpong - Full & Final Settlement               8500-000                                       304.18   2,303,945.90
06/17/13     11374        North Las Vegas Neck & Back Clinic Eddie Sarpong - Medical Provider                      8500-000                                       797.50   2,303,148.40
06/17/13     11375        Primary Care Consultants           Eddie Sarpong - Medical Provider                      8500-000                                        96.25   2,303,052.15

                                                                                                        Subtotals :                   $84,815.03         $393,995.75
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                     Form 2                                                                                           Page: 15

                                                        Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                             Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                    Bank Name:          Bank of Nevada
                                                                                                          Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                   Separate Bond: N/A

   1            2                           3                                         4                                                   5                    6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                     T-Code              $                  $       Account Balance
06/17/13     11376        Shadow Emergency Physicians         Eddie Sarpong - Medical Provider                       8500-000                                      750.00   2,302,302.15
06/17/13     11377        Michael W. Barney, Inc              Eddie Sarpong - Medical Provider                       8500-000                                       70.00   2,302,232.15
06/17/13     11379        The Powell Litigation Group, PC     Lynn Kerecman - Case Costs                             8500-000                                      816.71   2,301,415.44
06/17/13     11380        Lynn Kerecman                       Lynn Kerecman - Full & Final Settlement                8500-000                                  14,183.29    2,287,232.15
06/17/13     11378        Anthem Blue Cross Blue Shield       Eddie Sarpong - Medical Provider                       8500-000                                        0.00   2,287,232.15
                                                              Stopped on 10/31/14
06/26/13     11381        wells Fargo FBO Jaylin Burdette     Jaylin Burdette - Full & Final Settlement              8500-000                                  55,035.90    2,232,196.25
06/26/13     11382        William S. Muir, MD                 Joyce Lucero - Medical Provider                        8500-000                                      324.00   2,231,872.25
06/26/13     11383        Desert Inn Medical Center           Joyce Lucero - Medical Provider                        8500-000                                   3,950.40    2,227,921.85
06/26/13     11389        NCO Financial, Inc.                 Joyce Lucero - Medical Provider                        8500-000                                   2,078.50    2,225,843.35
06/26/13     11390        Surgery Center of Southern Nevada   Joyce Lucero - Medical Provider                        8500-000                                   4,357.18    2,221,486.17
06/26/13     11392        The Estate of Joyce Lucero          Joyce Lucero - Full & Final Settlement                 8500-000                                   6,906.96    2,214,579.21
06/26/13     11384        Innovative Pain Care Center         Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/26/13     11385        Integrated Pain Specialists         Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/26/13     11386        Nevada Imaging                      Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/26/13     11387        Credit Bureau Central               Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/26/13     11388        Allstate Financial Services         Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/26/13     11391        Village East Drugs                  Joyce Lucero - Medical Provider                        8500-000                                        0.00   2,214,579.21
                                                              Stopped on 10/31/14
06/28/13       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                    1129-002              1,265.21                         2,215,844.42
07/01/13                  Bank of Nevada Account Interest     IOLTA Trust Account                                    8500-000                                   1,265.21    2,214,579.21
07/15/13     11393        Mariah West                         Mariah West - Full and Final Settlement                8500-000                                   9,188.55    2,205,390.66
07/31/13       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                    1129-002              1,466.08                         2,206,856.74
08/01/13                  Bank of Nevada Account Interest     IOLTA Trust Account                                    8500-000                                   1,466.08    2,205,390.66
08/27/13     11394        The Powell Litigation Group, PC     Joseph Murin - Trust Balance                           8500-000                                  32,080.00    2,173,310.66
08/30/13       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                    1129-002              1,301.30                         2,174,611.96
09/03/13                  Bank of Nevada Account Interest     IOLTA Trust Account                                    8500-000                                   1,301.30    2,173,310.66
09/16/13                  Returned check - Stale Dated        Returned checks - 10575, 11200, 11131,                 1280-002             33,370.83                         2,206,681.49
                                                              10899
09/18/13     11395        The Powell Litigation Group, PC     Ann Johnson - Partial Settlement Payout                8500-000                                  15,000.00    2,191,681.49
09/30/13       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                    1129-002              1,317.51                         2,192,999.00
10/01/13                  Bank of Nevada Account Interest     IOLTA Trust Account                                    8500-000                                   1,317.51    2,191,681.49


                                                                                                          Subtotals :                   $38,720.93         $150,091.59
{} Asset reference(s)                                                                                                                              Printed: 12/12/2017 12:12 PM        V.13.29
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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                        Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:          Bank of Nevada
                                                                                                     Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                              3                                       4                                             5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction              T-Code              $                  $       Account Balance
10/09/13     11396        The Powell Litigation Group, PC       Quinn - 15% Costs; Mack - Advanced Costs;       8500-000                                  33,370.83    2,158,310.66
                                                                Laughlin & Omar - Attorney Fees
10/31/13       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                             1129-002              1,293.40                         2,159,604.06
11/01/13                  Bank of Nevada Account Interest       IOLTA Trust Account                             8500-000                                   1,293.40    2,158,310.66
11/29/13       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                             1129-002              1,200.38                         2,159,511.04
12/02/13                  Bank of Nevada Account Interest       IOLTA Trust Account                             8500-000                                   1,200.38    2,158,310.66
12/31/13       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                             1129-002              1,324.60                         2,159,635.26
01/02/14                  Bank of Nevada Account Interest       IOLTA Trust Account                             8500-000                                   1,324.60    2,158,310.66
01/31/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                             1129-002              1,283.19                         2,159,593.85
02/03/14                  Bank of Nevada Account Interest       IOLTA Trust Account                             8500-000                                   1,283.19    2,158,310.66
02/05/14     11397        Shook & Stone                         Shannon Harger- Atty Priority Lien              8500-000                                      700.00   2,157,610.66
                                                                Case#A-11-652160-C
02/05/14     11398        Clerk of the Court                    Shannon Harger - Case#A-11-652160-C             8500-000                                  26,453.70    2,131,156.96
02/05/14     11399        The Powell Litigation Group, PC       Shannon Harger - Case#A-11-652160-C             8500-000                                  34,158.83    2,096,998.13
                                                                Remaining Fees and Costs
02/28/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                             1129-002              1,142.09                         2,098,140.22
03/03/14     11400        Clerk of the Court                    Case No: A-12-657988-C                          8500-000                                  25,000.00    2,073,140.22
03/03/14                  Bank of Nevada Account Interest       IOLTA Trust Account                             8500-000                                   1,142.09    2,071,998.13
03/26/14       {2}        Glen J. Lerner & Associates           Barbara & Dennis Lambert                        1129-002             90,000.00                         2,161,998.13
03/26/14     11401        Advanced Pre-Settlement Funding       Barbara Lambert - Medical Provider              8500-000                                  32,173.07    2,129,825.06
03/26/14     11402        Advanced Surgical Associates          Barbara Lambert - Medical Provider              8500-000                                   3,381.44    2,126,443.62
03/26/14     11404        Centennial Surgery Center             Barbara Lambert - Medical Provider              8500-000                                  11,182.21    2,115,261.41
03/26/14     11405        Centennial Upright MRI                Barbara Lambert - Medical Provider              8500-000                                   8,108.39    2,107,153.02
03/26/14     11406        Center for Disease & Surgery of the   Barbara Lambert - Medical Provider              8500-000                                   1,689.60    2,105,463.42
                          Spine
03/26/14     11407        City of Henderson Ambulance           Barbara Lambert - Medical Provider              8500-000                                       54.49   2,105,408.93
03/26/14     11408        David Lanzkowsky MD                   Barbara Lambert - Medical Provider              8500-000                                      235.56   2,105,173.37
03/26/14     11410        Medical Associates of S. Nevada       Barbara Lambert - Medical Provider              8500-000                                      219.78   2,104,953.59
03/26/14     11411        Grant & Weber                         Barbara Lambert - Medical Provider              8500-000                                      531.25   2,104,422.34
03/26/14     11412        Key Health Medical Soulutions         Barbara Lambert - Medical Provider              8500-000                                  22,348.72    2,082,073.62
03/26/14     11413        Las Vegas Pharmacy Inc.               Barbara Lambert - Medical Provider              8500-000                                      242.22   2,081,831.40
03/26/14     11414        Primary Care Consultants              Barbara Lambert - Medical Provider              8500-000                                      219.78   2,081,611.62
03/26/14     11415        University Urgent Care                Barbara Lambert - Medical Provider              8500-000                                      591.32   2,081,020.30
03/26/14     11416        Russell J. Shah, MD                   Barbara Lambert - Medical Provider              8500-000                                      591.32   2,080,428.98
03/26/14     11403        Allied Collections                    Barbara Lambert - Medical Provider              8500-000                                        0.00   2,080,428.98
                                                                Stopped on 10/31/14
03/26/14     11409        William S. Muir, MD                   VOID: Barbara Lambert - Medical Provider        8500-000                                        0.00   2,080,428.98

                                                                                                      Subtotals :                  $96,243.66         $207,496.17
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                     Doc 351                 Entered 12/21/17 12:05:45                        Page 76 of 131

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                                                                                          Form 2                                                                                    Page: 17

                                                        Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                           3                                             4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                 T-Code              $                  $       Account Balance
                                                                Voided on 10/31/14
03/31/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                                1129-002              1,256.68                          2,081,685.66
04/01/14                  Bank of Nevada Account Interest       IOLTA Trust Account                                8500-000                                    1,256.68    2,080,428.98
04/25/14     11417        Richard Harris Law Firm Iolta Trust   Case#A-10-630887-C Lambert, Barbara                8500-000                                    1,933.48    2,078,495.50
                          Acct
04/30/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                                1129-002              1,218.01                          2,079,713.51
05/01/14                  Bank of Nevada Account Interest       IOLTA Trust Account                                8500-000                                    1,218.01    2,078,495.50
05/30/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                                1129-002              1,195.88                          2,079,691.38
06/02/14     11418        Cohen-Johnson, LLC                    Case#A-12-660322-C                                 8500-000                                    5,000.00    2,074,691.38
06/02/14     11419        David A. Rosenberg                    Case#A-12-600322-C                                 8500-000                                   26,200.00    2,048,491.38
06/02/14                  Bank of Nevada Account Interest       IOLTA Trust Account                                8500-000                                    1,195.88    2,047,295.50
06/30/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                                1129-002              1,222.88                          2,048,518.38
07/01/14                  Bank of Nevada Account Interest       IOLTA Trust Account                                8500-000                                    1,222.88    2,047,295.50
07/08/14     11420        BJN, Inc.                             Sottosanti order - Case#A-13-689176-C              8500-000                                         0.00   2,047,295.50
                                                                Voided on 10/31/14
07/16/14     11421        Ann Johnson                           Ann Johnson - Advance                              8500-000                                   15,000.00    2,032,295.50
07/16/14     11422        Central Neck & Back                   Alexis Caldwell - Provider                         8500-000                                    2,133.50    2,030,162.00
07/16/14     11423        Integrated Pain Specialists           Alexis Caldwell - Provider                         8500-000                                       153.00   2,030,009.00
07/16/14     11424        Aprial Health Care                    Alexis Caldwell - Provider                         8500-000                                        15.53   2,029,993.47
07/16/14     11425        CIGNA                                 Alexis Caldwell - Provider                         8500-000                                    1,442.04    2,028,551.43
07/16/14     11426        Healthsouth Rehabilitation            Cecil & Rachel Davis - Provider                    8500-000                                       143.00   2,028,408.43
07/16/14     11427        Tom Brooks Physical Therapy           Cecil & Rachel Davis - Provider                    8500-000                                        82.23   2,028,326.20
07/16/14     11429        Oasis Wellness Center                 Cecil & Rachel Davis - Provider                    8500-000                                       750.00   2,027,576.20
07/16/14     11430        comprehensive Injury Institute        Cecil & Rachel Davis - Provider                    8500-000                                       245.00   2,027,331.20
07/16/14     11431        Ameritox, LTD                         Cecil & Rachel Davis - Provider                    8500-000                                       370.84   2,026,960.36
07/16/14     11432        Orthofix                              Cecil & Rachel Davis - Provider                    8500-000                                       606.14   2,026,354.22
07/16/14     11433        Prosthetics Center of Excellence      Cecil & Rachel Davis - Provider                    8500-000                                       211.86   2,026,142.36
07/16/14     11435        Medic West Ambulance, Inc.            Hortensia Ayala - Provider                         8500-000                                        85.83   2,026,056.53
07/16/14     11436        Michael W. Barney, Inc                Hortensia Ayala - Provider                         8500-000                                       112.00   2,025,944.53
07/16/14     11437        North Las Vegas Neck & Back Clinic Hortensia Ayala - Provider                            8500-000                                    2,057.76    2,023,886.77
07/16/14     11438        Medicaid                              Hortensia Ayala - Provider                         8500-000                                        39.13   2,023,847.64
07/16/14     11439        Spinal Rehabilitation                 Lily Becerra - Provider                            8500-000                                       417.50   2,023,430.14
07/16/14     11440        Strehlow Radiology                    Lily Becerra - Provider                            8500-000                                        80.00   2,023,350.14
07/16/14     11441        Cameron Medical Center                Linda Remer - Provider                             8500-000                                       216.64   2,023,133.50
07/16/14     11442        Centennial Spine & Pain Center        Linda Remer - Provider                             8500-000                                       304.50   2,022,829.00
07/16/14     11443        Dr. Russel J. Shah                    Linda Remer - Provider                             8500-000                                    2,975.00    2,019,854.00
07/16/14     11444        Dr. Jeff Fine                         Linda Remer - Provider                             8500-000                                    3,304.60    2,016,549.40

                                                                                                        Subtotals :                     $4,893.45            $68,773.03
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                  Doc 351                Entered 12/21/17 12:05:45                            Page 77 of 131

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                                                                                     Form 2                                                                                       Page: 18

                                                     Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Bank of Nevada
                                                                                                      Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                             3                                      4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                   T-Code              $                   $       Account Balance
07/16/14     11445       Wellcare Pharmacy II, LLC          Linda Remer - Provider                               8500-000                                       104.00   2,016,445.40
07/16/14     11446       Nevada Imaging                     Linda Remer - Provider                               8500-000                                    1,331.90    2,015,113.50
07/16/14     11447       Compass Care                       Roxanna Lopez - Medical Provider                     8500-000                                       230.75   2,014,882.75
07/16/14     11448       North Las Vegas Neck & Back Clinic Roxanna Lopez - Medical Provider                     8500-000                                       230.00   2,014,652.75
07/16/14     11449       Spinal Rehabilitation              Roxanna Lopez - Medical Provider                     8500-000                                    1,261.25    2,013,391.50
07/16/14     11450       Bone & Joint Specialists           Victoria Harahus - Medical Provider                  8500-000                                       138.89   2,013,252.61
07/16/14     11451       Forte Family Practice              Victoria Harahus - Medical Provider                  8500-000                                        60.00   2,013,192.61
07/16/14     11452       Blue Cross BLue Shield             Victoria Harahus - Medical Provider                  8500-000                                       215.00   2,012,977.61
07/16/14     11453       division of Child Support          Wondwosen Tamarat - Medical Provider                 8500-000                                       543.14   2,012,434.47
                         Enforcement
07/16/14     11454       Cameron Medical Center             Wondwosen Tamarat - Medical Provider                 8500-000                                        66.00   2,012,368.47
07/16/14     11455       Dr. Jeff Fine                      Wondwosen Tamarat - Medical Provider                 8500-000                                       568.20   2,011,800.27
07/16/14     11456       Nevada Imaging                     Wondwosen Tamarat - Medical Provider                 8500-000                                        50.00   2,011,750.27
07/16/14     11457       Spring Valley Hospital             Wondwosen Tamarat - Medical Provider                 8500-000                                       175.00   2,011,575.27
07/16/14     11458       HEREIU Welfare Fund                Wondwosen Tamarat - Medical Provider                 8500-000                                    1,100.36    2,010,474.91
07/16/14     11459       Antonina Gustilo                   Antonina Gustilo                                     8500-000                                       666.67   2,009,808.24
07/16/14     11466       Patricia Graham                    Return funds to client                               8500-000                                       474.59   2,009,333.65
07/16/14     11467       Rodolfo Romero                     Return funds to client                               8500-000                                    4,000.00    2,005,333.65
07/16/14     11470       Clark County Social Services       Linda Remer                                          8500-000                                    7,286.43    1,998,047.22
07/16/14     11471       The Powell Litigation Group, PC    Disbursement of Funds                                8500-000                                  186,951.67    1,811,095.55
07/16/14     11472       Juan Pedro Miranda                 Juan Pedro Miranda Order setting up blocked          8500-000                                   12,501.87    1,798,593.68
                                                            trust account
07/16/14     11473       Advanced Pre-Settlement Funding    Theresa Sottosanti order -                           8500-000                                    7,000.00    1,791,593.68
                                                            Case#A-13-689176-C
07/16/14     11428       UMC Quickcare                      Cecil & Rachel Davis - Provider                      8500-000                                         0.00   1,791,593.68
                                                            Stopped on 10/31/14
07/16/14     11434       Medicare                           Cecil & Rachel Davis - Provider                      8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
07/16/14     11460       The Hartford                       Evelyn Thomas - Return funds to carrier              8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
07/16/14     11461       The Hartford                       Ursula Thomas-Green - Return funds to carrier        8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
07/16/14     11462       Christopher Stutte                 Return funds to client                               8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
07/16/14     11463       Karon Thedford                     Return funds to client                               8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
07/16/14     11464       Mary Cowley                        Return funds to client                               8500-000                                         0.00   1,791,593.68
                                                            Voided on 10/31/14
                                                                                                      Subtotals :                          $0.00       $224,955.72
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                   Doc 351                Entered 12/21/17 12:05:45                          Page 78 of 131

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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Bank of Nevada
                                                                                                       Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                             3                                        4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                T-Code              $                  $       Account Balance
07/16/14     11465        Pasquale & Patricia Villardi        Return funds to client                              8500-000                                        0.00   1,791,593.68
                                                              Voided on 10/31/14
07/16/14     11468        Suzette D Silvestre                 Return funds to client                              8500-000                                        0.00   1,791,593.68
                                                              Voided on 10/31/14
07/16/14     11469        Teodulo Nunez-Orozco                Return funds to client                              8500-000                                        0.00   1,791,593.68
                                                              Stopped on 10/31/14
07/23/14       {2}        Steven D. Grierson                  Deposit                                             1129-002              3,750.00                         1,795,343.68
07/23/14       {2}        Steven D. Grierson                  Deposit                                             1129-002              3,750.00                         1,799,093.68
07/23/14       {2}        Steven D. Grierson                  Deposit                                             1129-002              3,750.00                         1,802,843.68
07/23/14       {2}        Steven D. Grierson                  Deposit                                             1129-002              3,750.00                         1,806,593.68
07/23/14       {2}        Steven D. Grierson                  Deposit                                             1129-002              3,750.00                         1,810,343.68
07/23/14     11474        Vicctims of Crime                   Juan Pedro Miranda - Case #A589709                  8500-000                                   1,913.06    1,808,430.62
07/23/14     11476        State of NV Div of HCFandP          Juan Pedro Miranda - Case #A589709                  8500-000                                  12,500.00    1,795,930.62
                          (Medicaid)
07/23/14     11477        Credit Bureau Central               Juan Pedro Miranda - Case #A589709                  8500-000                                      969.87   1,794,960.75
07/23/14     11478        David Rosenberg-Powell Litigation   Juan Pedro Miranda - Case #A589709                  8500-000                                  13,169.20    1,781,791.55
                          Group
07/23/14     11475        Desert Radiolgists                  Juan Pedro Miranda - Case #A589709                  8500-000                                        0.00   1,781,791.55
                                                              Voided on 10/31/14
07/31/14       {2}        Bank of Nevada Account Interest     IOLTA Trust Account                                 1129-002              1,192.09                         1,782,983.64
08/01/14                  Bank of Nevada Account Interest     IOLTA Trust Account                                 8500-000                                   1,192.09    1,781,791.55
08/15/14     11479        Karla Luna-Dominguez                Karla Luna-Dominguez Settlement                     8500-000                                   2,250.00    1,779,541.55
                                                              Voided on 11/21/14
08/15/14     11480        Karla Luna-Dominguez                Settlement - Rep of the estate of Katherine         8500-000                                   2,250.00    1,777,291.55
                                                              Rubalcava Luna
                                                              Voided on 11/21/14
08/15/14     11481        Anabelle Sevilla                    Anabel Sevilla Miranda - Settlement                 8500-000                                   2,250.00    1,775,041.55
                                                              Voided on 11/21/14
08/15/14     11482        Anabelle Sevilla                    Settlement - Rep of the estate of Ana Itzelic       8500-000                                   2,250.00    1,772,791.55
                                                              Miranda Sevilla
                                                              Voided on 11/21/14
08/15/14     11484        David Rosenberg-Powell Litigation   Fees and Costs for Sevilla/Santacruz Case           8500-000                                   6,000.00    1,766,791.55
                          Group
08/15/14     11485        Rosalyn Harrison                    Rosalyn Harrison - Settlement                       8500-000                                   7,539.66    1,759,251.89
08/15/14     11486        Advanced Pre-Settlement Funding     Rosalyn Harrison - Medical Provider                 8500-000                                  58,640.00    1,700,611.89
08/15/14     11487        Centennial Upright MRI              Rosalyn Harrison - Medical Provider                 8500-000                                   6,000.00    1,694,611.89
08/15/14     11488        Lemper Pain Center                  Rosalyn Harrison - Medical Provider                 8500-000                                      128.18   1,694,483.71
08/15/14     11489        Louis F. Mortillaro, PHD            Rosalyn Harrison - Medical Provider                 8500-000                                   4,922.00    1,689,561.71

                                                                                                        Subtotals :                  $19,942.09         $121,974.06
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
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                                                        Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                      Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                              3                                        4                                             5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction               T-Code              $                   $       Account Balance
08/15/14     11490        Matt Smith Physical Therapy           Rosalyn Harrison - Medical Provider              8500-000                                      560.00   1,689,001.71
08/15/14     11491        McKenna Pain Specialists              Rosalyn Harrison - Medical Provider              8500-000                                   1,475.51    1,687,526.20
08/15/14     11492        Northeast Neck & Back Clinic          Rosalyn Harrison - Medical Provider              8500-000                                   3,935.00    1,683,591.20
08/15/14     11493        Rapid Rehab                           Rosalyn Harrison - Medical Provider              8500-000                                      720.00   1,682,871.20
08/15/14     11494        Surgical Arts Center                  Rosalyn Harrison - Medical Provider              8500-000                                      430.00   1,682,441.20
08/15/14     11495        Xpress Care                           Rosalyn Harrison - Medical Provider              8500-000                                      580.00   1,681,861.20
08/15/14     11496        Oasis Wellness Center                 Rosalyn Harrison - Medical Provider              8500-000                                   4,755.00    1,677,106.20
08/15/14     11497        Health Plan of Nevada                 Rosalyn Harrison - Medical Provider              8500-000                                   1,667.00    1,675,439.20
08/15/14     11498        Teachers Health Trust                 Rosalyn Harrison - Medical Provider              8500-000                                  13,603.81    1,661,835.39
08/15/14     11499        David Rosenberg-Powell Litigation     Rosalyn Harrison - Fees and Costs                8500-000                                  47,043.84    1,614,791.55
                          Group
08/15/14     11483        David Rosenberg-Powell Litigation     Fees and Costs for Sevilla/Santacruz case        8500-000                                        0.00   1,614,791.55
                          Group                                 Voided on 10/31/14
08/31/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                              1129-002                 985.06                        1,615,776.61
09/02/14                  Bank of Nevada Account Interest       IOLTA Trust Account                              8500-000                                      985.06   1,614,791.55
09/03/14                  Harland Clarke Check Order            Check re-order                                   8500-000                                      139.79   1,614,651.76
09/30/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                              1129-002              1,004.34                         1,615,656.10
10/01/14                  Bank of Nevada Account Interest       IOLTA Trust Account                              8500-000                                   1,004.34    1,614,651.76
10/09/14     11500        David Rosenberg-Powell Litigation     Mary & Baffour Adusei - Fees                     8500-000                                  94,977.15    1,519,674.61
                          Group
10/16/14     11501        US Department of the Treasury         Ann Johnson - Debt ID#2014103465A                8500-000                                   2,979.15    1,516,695.46
10/16/14     11502        Clerk of the Court                    Adusei - A-12-657989-C Disbursement              8500-000                                  40,078.85    1,476,616.61
10/20/14     11503        David Rosenberg-Powell Litigation     Lambert - Fees and Costs                         8500-000                                  82,414.48    1,394,202.13
                          Group
10/24/14     11504        David Rosenberg-Powell Litigation     Thomas Bacon - Fees and Costs                    8500-000                                   9,000.00    1,385,202.13
                          Group
10/24/14     11505        David Rosenberg-Powell Litigation     Adusei - Costs                                   8500-000                                   8,944.00    1,376,258.13
                          Group
10/24/14     11506        Sunrise Mountain View Hospital, Inc. Jinnett - Medical Provider                        8500-000                                   5,196.70    1,371,061.43
10/27/14     11507        City of Las Vegas - Fire & Rescue     Jinnett - Medical Provider                       8500-000                                      587.13   1,370,474.30
10/27/14     11508        Canyon Medical Billing                Jinnett - Medical Provider                       8500-000                                   1,938.59    1,368,535.71
10/27/14     11509        Integrated Pain Specialists           Jinnett - Medical Provider                       8500-000                                   1,064.74    1,367,470.97
10/27/14     11510        David Rosenberg - Powell Litigation   Jinnett - Fees and Costs                         8500-000                                   6,212.84    1,361,258.13
                          Group
10/31/14       {2}        Bank of Nevada Account Interest       IOLTA Trust Account                              1129-002                 939.16                        1,362,197.29
10/31/14     10024        Desert Inn Chiro Center               Justin Owens - Medical Provider                  8500-000                                        0.00   1,362,197.29
                                                                Stopped: check issued on 06/03/11


                                                                                                       Subtotals :                    $2,928.56        $330,292.98
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Bank of Nevada
                                                                                                   Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                          3                                        4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
10/31/14     10128       Credit Bureau Central               Maria Pena - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 06/17/11
10/31/14     10222       Phillips & Lyon                     Orlando Vigil - Advanced Costs                   8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/10/11
10/31/14     10233       Southwest Emergency Services        Maria Cumba-Richards - Medical Provider          8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/10/11
10/31/14     10264       Glen J. Lerner & Associates         Sonia Barajas - Advanced Costs                   8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 07/10/11
10/31/14     10330       Sprenz & Associates                 Roland Devio - Advanced Costs                    8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/25/11
10/31/14     10358       Sprenz & Associates                 Cuc Tinder - Advanced Costs                      8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/25/11
10/31/14     10451       Susan & Roland Rathunde             Susan Rathunde - Full & Final Settlement         8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 08/01/11
10/31/14     10477       Red Rock Diagnostics                Antonio Calalay - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/03/11
10/31/14     10478       Green Valley Neck & Back            Antonio Calalay - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/03/11
10/31/14     10479       Primary Care Consultants            Antonio Calalay - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/03/11
10/31/14     10518       Health Plan of Nevada               Donald Martinez - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/03/11
10/31/14     10519       Health Plan of Nevada               Jessie Owens - Medical Provider                  8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/03/11
10/31/14     10534       Comprehensive Pain Management       Susan Rathunde - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/04/11
10/31/14     10535       North Valley Surgery Center         Susan Rathunde - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/04/11
10/31/14     10536       Simonmed Inaging                    Susan Rathunde - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/04/11
10/31/14     10537       Dr. Carol Reed                      Susan Rathunde - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/04/11
10/31/14     10538       Ingenix Subrogation                 Susan Rathunde - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/04/11
10/31/14     10546       Preferred Capital Lending           Danny Killpatrick - Advanced Costs               8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 08/05/11
10/31/14     10766       Zenith Admin (Electrical Workers)   Lisa Marie DiBernardo - Medical Provider         8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 09/28/11
10/31/14     10782       Peachtree Pre-Settlement Funding    Mary Cowley - Financial Lien                     8500-000                                       0.00    1,362,197.29
                                                                                                    Subtotals :                         $0.00               $0.00
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn               Doc 351              Entered 12/21/17 12:05:45                            Page 81 of 131

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                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Bank of Nevada
                                                                                                 Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                          Separate Bond: N/A

   1            2                         3                                     4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
                                                         Voided: check issued on 09/30/11
10/31/14     10783       Canyon Medical Billing          Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10784       Credit Bureau Central           Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10785       Denham Ortho & Prosthetics      Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10786       Dr. Russel J. Shah              Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10787       EPMG                            Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10788       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10789       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10790       Grant & Weber                   Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10792       Las Vegas Pharmacy Inc.         Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10793       Nevada Spine Clinic             Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10794       Nevada Spine Clinic-Hans Jorg   Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                         Rosler                          Voided: check issued on 09/30/11
10/31/14     10795       Primary Care Consultants        Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10796       Red Rock Diagnostics            Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10797       Village East Drugs              Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10798       Health Plan of Nevada           Mary Cowley - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 09/30/11
10/31/14     10837       Mary Cowley                     Mary Cowely - Full & Final Settlement              8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 10/22/11
10/31/14     10912       Radiology Associates            Nichole Anderson - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 11/15/11
10/31/14     10930       Village East Drugs              Jackie Mack - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 11/15/11
10/31/14     10943       Medicare                        Jackie Mack - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                         Voided: check issued on 11/15/11
                                                                                                 Subtotals :                          $0.00               $0.00
{} Asset reference(s)                                                                                                                     Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                Doc 351               Entered 12/21/17 12:05:45                            Page 82 of 131

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                                                                                  Form 2                                                                                       Page: 23

                                                     Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Bank of Nevada
                                                                                                   Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                          3                                      4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                  T-Code              $                   $       Account Balance
10/31/14     10956       Village East Drugs               Heather Dean-Murray - Medical Provider              8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 11/16/11
10/31/14     10977       PBS Anesthesia                   Sharon Ayers - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/16/11
10/31/14     10980       summerlin Medical Tower          Sharon Ayers - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/16/11
10/31/14     10981       Michael W. Barney, Inc           Sharon Ayers - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 11/16/11
10/31/14     11059       Nationwide Insurance             Daryl Lefault - DOL 07/03/09                        8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 03/09/12
10/31/14     11110       Nevada Imaging                   Martha Navarro - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11118       Lake Mead Radiologists           Martha Navarro - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11135       Lucky Investers                  David Laughlin - Lien                               8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11137       Nevada Imaging                   David Laughlin - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11141       Dr. TJ Allen                     David Laughlin - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11143       Oasis Legal Finance              James Johnson - Lien                                8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11162       Nevada Imaging                   Shemese Omar - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/10/12
10/31/14     11190       Glen J. Lerner & Associates      Reynaldo Garcia-Lopez - Advanced Costs              8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 04/10/12
10/31/14     11192       Glen J. Lerner & Associates      Carlos Duran-Beltran - Advanced Costs               8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 04/11/12
10/31/14     11217       Pinnacle Financial Group         Christian Jacinto - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/23/12
10/31/14     11227       Centennial Hills Hospital        Christina Gallagher - Medical Provider              8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/23/12
10/31/14     11237       Radiology Associates             Christina Gallager - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                          Voided: check issued on 04/23/12
10/31/14     11260       NCO Financial, Inc.              John Dunston - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 04/23/12
10/31/14     11279       Russell J. Shah, MD              Timothy Campbell - Medical Providers                8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 05/24/12
10/31/14     11288       Wells Fargo FBO Austin Bean      Austin Bean - Full & Final Settlement               8500-000                                       0.00    1,362,197.29
                                                                                                   Subtotals :                          $0.00               $0.00
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                  Doc 351               Entered 12/21/17 12:05:45                              Page 83 of 131

                                                                                                                                                                                   Exhibit 9


                                                                                  Form 2                                                                                           Page: 24

                                                       Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                       Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                             3                                     4                                                  5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction                    T-Code              $                   $       Account Balance
                                                            Voided: check issued on 05/31/12
10/31/14     11290       Spring Mountian Chiropractic       Carolle Martindale - Medical Provider                 8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 05/31/12
10/31/14     11294       Glen J. Lerner & Associates        Fransisco Ayala - Advanced Costs                      8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 08/10/12
10/31/14     11329       Glen J. Lerner & Associates        John Klock                                            8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 12/10/12
10/31/14     11345       Escallate Collections              Irineo Marquez - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 01/29/13
10/31/14     11361       Lily Becerra                       Lily Becerra - Minor's Comp final payout              8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 03/06/13
10/31/14     11378       Anthem Blue Cross Blue Shield      Eddie Sarpong - Medical Provider                      8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/17/13
10/31/14     11384       Innovative Pain Care Center        Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11385       Integrated Pain Specialists        Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11386       Nevada Imaging                     Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11387       Credit Bureau Central              Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11388       Allstate Financial Services        Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11391       Village East Drugs                 Joyce Lucero - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 06/26/13
10/31/14     11403       Allied Collections                 Barbara Lambert - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 03/26/14
10/31/14     11409       William S. Muir, MD                VOID: Barbara Lambert - Medical Provider              8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 03/26/14
10/31/14     11420       BJN, Inc.                          Sottosanti order - Case#A-13-689176-C                 8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 07/08/14
10/31/14     11428       UMC Quickcare                      Cecil & Rachel Davis - Provider                       8500-000                                       0.00    1,362,197.29
                                                            Stopped: check issued on 07/16/14
10/31/14     11434       Medicare                           Cecil & Rachel Davis - Provider                       8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 07/16/14
10/31/14     11460       The Hartford                       Evelyn Thomas - Return funds to carrier               8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 07/16/14
10/31/14     11461       The Hartford                       Ursula Thomas-Green - Return funds to carrier         8500-000                                       0.00    1,362,197.29
                                                            Voided: check issued on 07/16/14
                                                                                                       Subtotals :                          $0.00               $0.00
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                   Doc 351                Entered 12/21/17 12:05:45                          Page 84 of 131

                                                                                                                                                                                 Exhibit 9


                                                                                      Form 2                                                                                     Page: 25

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                     Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                             3                                       4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
10/31/14     11462       Christopher Stutte                  Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/16/14
10/31/14     11463       Karon Thedford                      Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/16/14
10/31/14     11464       Mary Cowley                         Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/16/14
10/31/14     11465       Pasquale & Patricia Villardi        Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/16/14
10/31/14     11468       Suzette D Silvestre                 Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/16/14
10/31/14     11469       Teodulo Nunez-Orozco                Return funds to client                             8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 07/16/14
10/31/14     11475       Desert Radiolgists                  Juan Pedro Miranda - Case #A589709                 8500-000                                       0.00    1,362,197.29
                                                             Voided: check issued on 07/23/14
10/31/14     11483       David Rosenberg-Powell Litigation   Fees and Costs for Sevilla/Santacruz case          8500-000                                       0.00    1,362,197.29
                         Group                               Voided: check issued on 08/15/14
10/31/14      3875       Comprehensive Physical Therapy      Katherine Helm - Medical Provider                  8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 10/02/09
10/31/14      4008       Margarita Vasquez                   Margarita Vasquez - Settlement                     8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 10/08/09
10/31/14      4150       Strehlow Radiology                  Steven Marvel - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 10/25/09
10/31/14      5012       Dr. David B. Cohen                  Linda Cooter - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 12/21/09
10/31/14      5194       Account Recovery Services           Jovanna Sandoval - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 01/09/10
10/31/14      5729       Xpress Care                         Christian Cisneros-Martinez - Medical Provider     8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 02/18/10
10/31/14      5958       Xpress Care                         Debra Pinkney - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 03/03/10
10/31/14      6119       Las Vegas Special Surgery Center    Paul Cho - Medical Provider                        8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 03/19/10
10/31/14      6120       Nevada Imaging                      Paul Cho - Medical Provider                        8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 03/19/10
10/31/14      6144       Dr. Rajeev Khamamkar                Thomas Chavez - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                             Stopped: check issued on 03/22/10
10/31/14      6180       Teodulo Nunez-Orozco                Teodulo Nuno-Orozco - Full & Final Settlement 8500-000                                            0.00    1,362,197.29
                                                             Stopped: check issued on 03/22/10
10/31/14      6438       David R. Golan MD                   Gilberto Hernandez - Medical Provider              8500-000                                       0.00    1,362,197.29
                                                                                                     Subtotals :                          $0.00               $0.00
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                 Doc 351               Entered 12/21/17 12:05:45                             Page 85 of 131

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                                                   Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                     Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                           3                                      4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                   T-Code              $                   $       Account Balance
                                                           Stopped: check issued on 04/28/10
10/31/14      6703       Xpress Care                       Samantha Hames - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 05/17/10
10/31/14      7062       Strehlow Radiology                David Lopez - Medical Provider                       8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 06/23/10
10/31/14      7255       The Powell Litigation Group, PC   Howard Merhar -Attorney Fees & Costs                 8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 07/16/10
10/31/14      7256       Howard Merhar                     Howard Merhar - Full & Final Settlement              8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 07/16/10
10/31/14      7401       Dr. Jeff Fine                     Bradley Fettig - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7402       Cameron Medical Center            Bradley Fettig - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7403       Centennial Spine & Pain Center    Bradley Fettig - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7404       Nevada Imaging                    Bradley Fettig - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7405       Wakefield & Associates            Bradley Fettig - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7413       Industrial Pharmacy               Hernestina Villanueva - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7414       CBC Radiology Specialists LTD     Hernestina Villanueva - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7415       Spinal Rehabilitation             Hernestina Villanueva - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7416       The Pain Clinic, Inc.             Hernestina Villanueva - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7417       Wang Medical                      Hernestina Villanueva - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                           Voided: check issued on 07/17/10
10/31/14      7545       Industrial Pharmacy               Earnest Pitre - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 08/13/10
10/31/14      7631       Teamsters Security Fund           Christina Rollf - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 08/18/10
10/31/14      7785       Xpress Care                       Crystal Rodriguez - Medical Provider                 8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 08/27/10
10/31/14      7919       Lab Corp                          Maria Salgado - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 09/10/10
10/31/14      8005       Escallate Collections             Isaias Monge-Bonilla - Medical Provider              8500-000                                       0.00    1,362,197.29
                                                           Stopped: check issued on 09/20/10
                                                                                                      Subtotals :                         $0.00               $0.00
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                Doc 351               Entered 12/21/17 12:05:45                           Page 86 of 131

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                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Bank of Nevada
                                                                                                  Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                         3                                       4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
10/31/14      8356       Xpress Care                      Sergio Garcia - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/05/10
10/31/14      8357       Xpress Care                      Ramon Rodriguez-Chavez - Medical Provider          8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/05/10
10/31/14      8360       Lana Prieto                      Lana Proeto - Overpayment to Provider              8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/05/10
10/31/14      8382       Strehlow Radiology               Juan Vargas - Medical Provider                     8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/10/10
10/31/14      8444       Lab Medicine Consultants         Terry Fulton - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/09/10
10/31/14      8466       Xpress Care                      Donald Wilde - Medical Provider                    8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/09/10
10/31/14      8584       Dr. David R. Golan               Debra Webster - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 11/29/10
10/31/14      8636       David R. Golan MD                Jaime Alindog - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 12/02/10
10/31/14      8675       Xpress Care                      Brent Carlson - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 12/07/10
10/31/14      8824       Wayne Mantel                     Krystle Kelly - Medical Provider                   8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/06/11
10/31/14      8867       UMR                              Jerrod Gunning - Medical Provider                  8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/10/11
10/31/14      8924       Xpress Care                      Victor Peraza-Mendez - Medical Provider            8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/30/11
10/31/14      8937       Xpress Care                      Marco Diaz-Guerra - Medical Provider               8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/30/11
10/31/14      8953       Xpress Care                      Carlos Carrion - Medical Provider                  8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/30/11
10/31/14      8991       Glen J. Lerner & Associates      Robert Bussy - Advanced Costs                      8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 01/31/11
10/31/14      9230       HMS AAF UHC Arizona Physicians   Frank Ricca - Medical Provider                     8500-000                                       0.00    1,362,197.29
                         IPA, Inc                         Stopped: check issued on 02/25/11
10/31/14      9264       McLean Radiology                 Moniqua Whitmore - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 03/03/11
10/31/14      9323       Southwest Emergency Services     Teodulo Nuno-Orozco - Medical Provider             8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 03/22/11
10/31/14      9516       Advanced Paincare                Michelle Theroux - Medical Provider                8500-000                                       0.00    1,362,197.29
                                                          Stopped: check issued on 04/18/11
10/31/14      9685       Meridian Resource Company        Freddie Taylor - Medical Provicer                  8500-000                                       0.00    1,362,197.29
                                                                                                    Subtotals :                        $0.00               $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                       Doc 351             Entered 12/21/17 12:05:45                             Page 87 of 131

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                                                                                       Form 2                                                                                         Page: 28

                                                        Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                            Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                   Bank Name:          Bank of Nevada
                                                                                                         Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                  Separate Bond: N/A

   1            2                              3                                        4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                    Description of Transaction                  T-Code              $                    $       Account Balance
                          (Empire BC/BS)                        Stopped: check issued on 05/06/11
10/31/14      9724        Sprenz & Associates                   Dorothy Kelley - Advanced Costs                     8500-000                                         0.00   1,362,197.29
                                                                Stopped: check issued on 05/10/11
10/31/14      9986        Xpress Care                           Anthoney Lucero - Medical Provider                  8500-000                                         0.00   1,362,197.29
                                                                Stopped: check issued on 05/27/11
11/03/14                  Bank of Nevada Interest               IOLTA Trust Account Interest                        8500-000                                       939.16   1,361,258.13
11/11/14     11511        Preferred Capital Lending             Patrick Alex - Medical Provider                     8500-000                                    2,537.69    1,358,720.44
11/11/14     11512        BJN, Inc.                             Patrick Alex - Medical Provider                     8500-000                                   51,211.06    1,307,509.38
11/11/14     11513        Las Vegas Neurosurgery, Ortho &       Patrick Alex - Medical Provider                     8500-000                                    8,212.63    1,299,296.75
                          Rehab
11/11/14     11514        Med Care Solutions                    Patrick Alex - Medical Provider                     8500-000                                    2,136.34    1,297,160.41
11/11/14     11515        Key Health Medical Solutions          Patrick Alex - Medical Provider                     8500-000                                    2,366.88    1,294,793.53
11/11/14     11516        Las Vegas Pharmacy Inc.               Patrick Alex - Medical Provider                     8500-000                                    2,632.30    1,292,161.23
11/11/14     11517        Integrated Pain Specialists           Patrick Alex - Medical Provider                     8500-000                                    4,070.44    1,288,090.79
11/11/14     11518        Valley Hospital                       Patrick Alex - Medical Provider                     8500-000                                   67,897.94    1,220,192.85
11/11/14     11519        Louis F. Mortillaro, PHD              Patrick Alex - Medical Provider                     8500-000                                       178.72   1,220,014.13
11/11/14     11520        Medical Associates of S. Nevada       Patrick Alex - Medical Provider                     8500-000                                       520.15   1,219,493.98
11/11/14     11521        David Rosenberg - Powell Litigation   Patrick Alex - Fees and Costs                       8500-000                                    8,235.88    1,211,258.10
                          Group
11/21/14     11479        Karla Luna-Dominguez                  Karla Luna-Dominguez Settlement                     8500-000                                   -2,250.00    1,213,508.10
                                                                Voided: check issued on 08/15/14
11/21/14     11480        Karla Luna-Dominguez                  Settlement - Rep of the estate of Katherine         8500-000                                   -2,250.00    1,215,758.10
                                                                Rubalcava Luna
                                                                Voided: check issued on 08/15/14
11/21/14     11481        Anabelle Sevilla                      Anabel Sevilla Miranda - Settlement                 8500-000                                   -2,250.00    1,218,008.10
                                                                Voided: check issued on 08/15/14
11/21/14     11482        Anabelle Sevilla                      Settlement - Rep of the estate of Ana Itzelic       8500-000                                   -2,250.00    1,220,258.10
                                                                Miranda Sevilla
                                                                Voided: check issued on 08/15/14
11/21/14     11522        David Rosenberg - Powell Litigation   Tasha McLeod - Fees and Costs                       8500-000                                   84,248.46    1,136,009.64
                          Group
11/21/14     11523        Clerk of the Court                    Tasha McLeod - Disbursement of Interpleader         8500-000                                  158,951.54      977,058.10
                                                                Funds
11/28/14       {2}        Bank of Nevada Interest               IOLTA Trust Account interest                        1129-002                  724.88                          977,782.98
12/01/14                  Bank of Nevada Interest               Bank of Nevada Interest                             8500-000                                       724.88     977,058.10
12/22/14 1011751          International Sureties, LTD.          BOND PREMIUM PAYMENT ON BANK                        2300-000                                        43.99     977,014.11
                                                                BALANCE AS OF 12/22/2014 FOR CASE
                                                                #12-15555, Bond # 016048576

                                                                                                          Subtotals :                        $724.88      $385,908.06
{} Asset reference(s)                                                                                                                              Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                      Doc 351             Entered 12/21/17 12:05:45                           Page 88 of 131

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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Bank of Nevada
                                                                                                       Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                            3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                   $       Account Balance
                                                               Voided on 01/05/15
12/31/14       {2}        Bank of Nevada Interest              Bank of Nevada Interest                            1129-002                 649.06                          977,663.17
01/02/15                  Bank of Nevada Interest              Bank of Nevada Interest                            8500-000                                       649.06    977,014.11
01/05/15 1011751          International Sureties, LTD.         BOND PREMIUM PAYMENT ON BANK                       2300-000                                       -43.99    977,058.10
                                                               BALANCE AS OF 12/22/2014 FOR CASE
                                                               #12-15555, Bond # 016048576
                                                               Voided: check issued on 12/22/14
01/22/15     11524        AnaBelle Sevilla                     Settlement - Anabelle Sevilla Miranda              8500-000                                    2,250.00     974,808.10
01/22/15     11525        Anabelle Sevilla                     Settlement - Estate of Ana Itzelic Miranda         8500-000                                    2,250.00     972,558.10
01/26/15     11526        Melissa Leyva                        Leyva - Interpleader Funds                         8500-000                                    1,467.33     971,090.77
                                                               Voided on 05/22/15
01/26/15     11527        David A. Rosenberg, Trustee -        Leyva - Interpleader Funds                         8500-000                                    6,894.38     964,196.39
                          Powell Litigation Group
01/30/15       {2}        Bank of Nevada Interest              Bank of Nevada Interest                            1129-002                 562.16                          964,758.55
02/02/15                  Bank of Nevada Interest              Bank of Nevada Interest                            8500-000                                       562.16    964,196.39
02/16/15     11528        Barney C. Ales, LTD., on behalf of   McCulloch, Margaret - Interpleader Funds           8500-000                                   13,283.58     950,912.81
                          Medstar
02/16/15     11529        Preferred Capital Lending            McCulloch, Margaret - Interpleader Funds           8500-000                                    7,694.91     943,217.90
02/16/15     11530        David A. Rosenberg, Trustee - The    McCulloch, Margaret - Interpleader Funds           8500-000                                   30,000.00     913,217.90
                          Powell Litigation Group
02/27/15       {2}        Bank of Nevada Interest              IOLTA Trust Account Interest                       1129-002                 517.14                          913,735.04
03/02/15                  Bank of Nevada Interest              Bank of Nevada Interest                            8500-000                                       517.14    913,217.90
03/31/15       {2}        Bank of Nevada Interest              Bank of Nevada Interest                            1129-002                 561.66                          913,779.56
04/01/15                  Bank of Nevada Interest              Bank of Nevada Interest                            8500-000                                       561.66    913,217.90
04/15/15     11531        Perferred Capital Lending of         A-12658894-C Slater, Bruce - Interpleader          8500-000                                    4,851.76     908,366.14
                          Nevada, LLC                          Funds
04/15/15     11532        Tenaya Surgical Center               A-12658894-C Slater, Bruce - Interpleader          8500-000                                    6,088.28     902,277.86
                                                               Funds
                                                               Voided on 04/28/15
04/15/15     11533        Spring Valley Hospital Medical       A-12658894-C Slater, Bruce - Interpleader          8500-000                                       761.38    901,516.48
                          Center                               Funds
                                                               Stopped on 08/24/15
04/15/15     11534        Catholic Healthcare West             A-12658894-C Slater, Bruce - Interpleader          8500-000                                   10,392.93     891,123.55
                                                               Funds
04/15/15     11535        David A. Rosenberg, Trustee - The    A-12658894-C Slater, Bruce - Interpleader          8500-000                                   11,785.65     879,337.90
                          Powell Litigation Group              Funds
04/28/15     11532        Tenaya Surgical Center               A-12658894-C Slater, Bruce - Interpleader          8500-000                                   -6,088.28     885,426.18
                                                               Funds

                                                                                                        Subtotals :                    $2,290.02            $93,877.95
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                     Doc 351              Entered 12/21/17 12:05:45                            Page 89 of 131

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                                                                                    Form 2                                                                                          Page: 30

                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                              3                                       4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                   $       Account Balance
                                                              Voided: check issued on 04/15/15
04/28/15     11536        Parker Nelson & Associates Trust    A-12658894-C Slater, Bruce - Interpleader            8500-000                                   6,088.28      879,337.90
                          Account                             Funds
04/30/15       {2}        Bank of Nevada Interest             Bank of Nevada Interest                              1129-002                 524.20                          879,862.10
05/01/15                  Bank of Nevada Interest             Bank of Nevada Interest                              8500-000                                      524.20     879,337.90
05/22/15     11526        Melissa Leyva                       Leyva - Interpleader Funds                           8500-000                                  -1,467.33      880,805.23
                                                              Voided: check issued on 01/26/15
05/22/15     11537        Wal-Mart Stores, Inc. Associates'   Shelton, Maryann - Interpleader Funds                8500-000                                   7,000.00      873,805.23
                          Health and Welfare Plan             A-09-592338-C
05/22/15     11538        Parker Nelson & Associates Client   Shelton, Maryann - Interpleader Funds                8500-000                                      497.00     873,308.23
                          Trust Account                       A-09-592338-C
05/22/15     11539        Flamingo-Pecos Surgery Center       Shelton, Maryann - Interpleader Funds                8500-000                                      481.86     872,826.37
                          LLC                                 A-09-592338-C
                                                              Stopped on 08/24/15
05/22/15     11540        David A. Rosenberg, Trustee - The   Shelton, Maryann - Interpleader Funds                8500-000                                      634.44     872,191.93
                          Powell Litigation Group             A-09-592338-C
05/22/15     11541        Preferred Capital Lending           Shelton, Maryann - Interpleader Funds -              8500-000                                   1,386.70      870,805.23
                                                              A-09-592338-C
05/26/15     11542        Clerk of the Court                  Cowley, Mary - Interpleader Funds -                  8500-000                                  15,585.71      855,219.52
                                                              A-12-668237-C
05/26/15     11543        David A. Rosenberg, Trustee -       Cowley, Mary - Interpleader Funds -                  8500-000                                   9,414.29      845,805.23
                          Powell Litigation                   A-12-668237-C
05/29/15       {2}        Bank of Nevada Interest             Bank of Nevada Interest                              1129-002                 492.89                          846,298.12
06/01/15     11544        Clerk of the Court                  Vanucci, Pamela - Interpleader Funds                 8500-000                                   5,000.00      841,298.12
06/01/15                  Bank of Nevada Interest             Bank of Nevada Interest                              8500-000                                      492.89     840,805.23
06/23/15     11545        David A. Rosenberg, Trustee -       Ann Johnson Settlement                               8500-000                                  68,000.00      772,805.23
                          Powell Litigation Group
06/23/15     11546        Behavioral & Vocational Consultants Ann Johnson Settlement                               8500-000                                   2,520.00      770,285.23
                          - Dr. Baker                         Stopped on 10/13/15
06/23/15     11547        Dr. David Oliveri                   Ann Johnson Settlement                               8500-000                                      135.00     770,150.23
06/23/15     11548        Red Rock Radiology                  Ann Johnson Settlement                               8500-000                                       88.43     770,061.80
06/23/15     11549        Select Physical Therapy             Ann Johnson Settlement                               8500-000                                   2,343.60      767,718.20
06/23/15     11550        Desert Radiology                    Ann Johnson Settlement                               8500-000                                        8.97     767,709.23
06/23/15     11551        Nevada Medicaid                     Ann Johnson Settlement                               8500-000                                   5,557.04      762,152.19
06/23/15     11552        Ann Johnson                         Ann Johnson Settlement - Full and Final              8500-000                                  55,781.57      706,370.62
06/25/15      2587        Jason D Pati                        Check Paid                                           8500-000                                      690.00     705,680.62
06/26/15       {2}        Bluebird Verify 641042              Bluebird Verify 641042                               1129-002                   0.10                          705,680.72
06/26/15       {2}        Bluebird Verify 641042              Bluebird Verify 641042                               1129-002                   0.14                          705,680.86

                                                                                                        Subtotals :                     $1,017.33        $180,762.65
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                        Doc 351            Entered 12/21/17 12:05:45                             Page 90 of 131

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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                             Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                    Bank Name:          Bank of Nevada
                                                                                                          Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                   Separate Bond: N/A

   1            2                              3                                        4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                                 Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                      Description of Transaction                 T-Code              $                    $       Account Balance
06/26/15      2598        Michael J Berg                         Check Paid                                          8500-000                                   2,129.98       703,550.88
06/30/15       {2}        Bank of Nevada Interest                Bank of Nevada Interest                             1129-002                 521.83                           704,072.71
07/01/15                  Bank of Nevada Interest                Bank of Nevada Interest                             8500-000                                      521.83      703,550.88
07/03/15     11553        The Powell Litigation Group            Paul Caldwell Sr. - Interpleader Funds              8500-000                                  11,541.34       692,009.54
07/03/15     11554        The Powell Litigation Group            Steve Swanson - Interpleader Funds                  8500-000                                   7,957.30       684,052.24
07/03/15     11555        University Medical Center              Steve Swanson - Interpleader Funds                  8500-000                                   9,039.72       675,012.52
07/03/15     11556        BJN, Inc.                              Steve Swanson - Interpleader Funds                  8500-000                                   8,001.98       667,010.54
07/06/15     14432        Karen C Graham                         Check Paid                                          8500-000                                      730.00      666,280.54
07/07/15                  Returned Check # 2598 Fraudulent       Returned Check #2598 Fraudulent                     8500-000                                  -2,129.98       668,410.52
07/08/15                  Returned Check #14432 Altered or       Returned Check #14432 ALtered or Fictitious         8500-000                                      -730.00     669,140.52
                          Fictitious
07/08/15                  Returned Check #2587 Altered or        Returned Check #2587 Altered or Fictitious          8500-000                                      -690.00     669,830.52
                          Fictitious
07/22/15     11557        United States Attorney - District of   A-12-657868-C Carmen Santana - Medicare             8500-000                                  57,298.29       612,532.23
                          Nevada                                 Lien
07/22/15     11558        David A. Rosenberg, Trustee - The      A-15-714146-C John Grantz - Interpleader            8500-000                                   4,691.69       607,840.54
                          Powell Litigation Group                Funds
07/22/15     11559        Clerk of the Court                     A-15-714146-C John Grantz - Interpleader            8500-000                                  10,308.31       597,532.23
                                                                 Funds
07/28/15       {2}        Chime ACH credit                       Chime                                               1129-002                   0.48                           597,532.71
07/28/15       {2}        Chime ACH credit                       Chime                                               1129-002                   0.30                           597,533.01
07/28/15                  Chime ACH Credit                       Chime                                               8500-000                                        0.78      597,532.23
07/29/15     11560        Clerk of the Court                     A-14-A714145-C William Brewton                      8500-000                                   1,272.43       596,259.80
07/29/15     11561        The Powell Litigation Group PC         A-14-A714145-C William Brewton                      8500-000                                   1,727.57       594,532.23
08/03/15       {2}        Bank of Nevada Interest                Bank of Nevada Interest                             1129-002                 417.92                           594,950.15
08/03/15                  Bank of Nevada Interest                Bank of Nevada Interest                             8500-000                                      417.92      594,532.23
08/24/15     11533        Spring Valley Hospital Medical         A-12658894-C Slater, Bruce - Interpleader           8500-000                                      -761.38     595,293.61
                          Center                                 Funds
                                                                 Stopped: check issued on 04/15/15
08/24/15     11539        Flamingo-Pecos Surgery Center          Shelton, Maryann - Interpleader Funds               8500-000                                      -481.86     595,775.47
                          LLC                                    A-09-592338-C
                                                                 Stopped: check issued on 05/22/15
08/24/15                  Bank of Nevada Stop Payment Fee        Bank of Nevada Stop Payment Fee #11533 &            8500-002                                       56.00      595,719.47
                                                                 #11539
08/31/15       {2}        Bank of Nevada Interest                Bank of Nevada Interest                             1129-002                  37.01                           595,756.48
08/31/15       {2}        Bank of Nevada Interest                Bank of Nevada Interest                             1129-002                 370.01                           596,126.49
08/31/15       {2}        Bank of Nevada Interest - correction   Bank of Nevada Interest - corrections               1129-002                  -37.01                          596,089.48
09/01/15                  Bank of Nevada Interest                Bank of Nevada Interest                             8500-000                                      370.01      595,719.47
                                                                                                          Subtotals :                     $1,310.54        $111,271.93
{} Asset reference(s)                                                                                                                               Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                  Doc 351               Entered 12/21/17 12:05:45                            Page 91 of 131

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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                      Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
09/30/15       {2}        Bank of Nevada Interest            Bank of Nevada Interest                             1129-002                 344.19                          596,063.66
09/30/15     11562        State of Nevada, Dept. of Health   Interpleader Funds - Gonzales, Blanca               8500-000                                    1,000.00     595,063.66
                          and Human Services                 A-12-658126-C
09/30/15     11563        Agata/Venger Partnership LLP       A-12-658126-C Gonzalez, Blanca                      8500-000                                    1,000.00     594,063.66
09/30/15     11564        David A. Rosenberg, Trustee        A-12-658126-C Gonzales, Blanca                      8500-000                                   31,000.00     563,063.66
09/30/15     11565        David A. Rosenberg, Trustee        A-13-689177-C Tebbs, Janice                         8500-000                                    4,903.69     558,159.97
10/01/15                  Bank of Nevada Interest            Bank of Nevada Interest                             8500-000                                       344.19    557,815.78
10/13/15     11546        Behavioral & Vocational Consultants Ann Johnson Settlement                             8500-000                                   -2,520.00     560,335.78
                          - Dr. Baker                        Stopped: check issued on 06/23/15
10/13/15                  Bank of Nevada Stop Pay Fee        Bank of Nevada Stop Pay Fee - #11546                8500-000                                        28.00    560,307.78
10/30/15       {2}        Bank of Nevada Interest            Bank of Nevada Interest                             1129-002                 331.60                          560,639.38
11/02/15                  Bank of Nevada Interest            Bank of Nevada Interest                             8500-000                                       331.60    560,307.78
11/20/15                  Discover E-Payment 0645            Discover E-Payment 0645                             8500-000                                       712.07    559,595.71
11/30/15       {2}        Bank of Nevada Interest            Bank of Nevada Interest                             1129-002                 332.99                          559,928.70
11/30/15                  Discover E-Payment 0645            Discover E-Payment 0645                             8500-000                                       500.00    559,428.70
11/30/15                  Barclaycard US creditcard          Barclaycard US creditcard 337011552                 8500-000                                       942.00    558,486.70
                          337011552
12/01/15       {2}        Discover E-Payment 0645            Discover E-Payment 0645                             1129-002                 500.00                          558,986.70
12/01/15       {2}        Discover E-Payment 0645            Discover E-Payment 0645                             1129-002                 712.07                          559,698.77
12/01/15       {2}        Barclaycard US creditcard          Barclaycard US creditcard 337011552                 1129-002                 942.00                          560,640.77
                          337011552
12/01/15                  Bank of Nevada Iolta Interest      Bank of Nevada Iolta Interest                       8500-000                                       332.99    560,307.78
12/14/15     11566        Advanced Pre-Settlement Funding    Donicht, Jenny - Interpleader Funds                 8500-000                                   10,000.00     550,307.78
                                                             A-09-591987-C
12/31/15       {2}        Bank of Nevada Iolta Interest      Bank of Nevada Iolta Interest                       1129-002                 333.11                          550,640.89
12/31/15 1011752          International Sureties, LTD.       BOND PREMIUM PAYMENT ON BANK                        2300-000                                       203.26    550,437.63
                                                             BALANCE AS OF 12/31/2015 FOR CASE
                                                             #12-15555, BOND # 016048576
                                                             Voided on 12/31/15
12/31/15 1011752          International Sureties, LTD.       BOND PREMIUM PAYMENT ON BANK                        2300-000                                       -203.26   550,640.89
                                                             BALANCE AS OF 12/31/2015 FOR CASE
                                                             #12-15555, BOND # 016048576
                                                             Voided: check issued on 12/31/15
01/04/16                  Bank of Nevada interest            Bank of Nevada Interets                             8500-000                                       333.11    550,307.78
01/20/16       {2}        Deposit to Iolta Account           Returned funds                                      1129-000              5,416.08                           555,723.86
01/27/16     11567        Las Vegas Fire & Rescue            Interpleader Funds - Vannucci, Pamela;              8500-000                                       245.80    555,478.06
                                                             A-13-689178-C
01/27/16     11568        University Medical Center          Interpleader Funds - Vannucci, Pamela;              8500-000                                    2,311.96     553,166.10

                                                                                                      Subtotals :                     $8,912.04            $51,465.41
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
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                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                        Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:          Bank of Nevada
                                                                                                    Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                             Separate Bond: N/A

   1            2                          3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
                                                             A-13-689178-C
01/27/16     11569       David A. Rosenberg, Trustee - The   Interpleader Funds Vannucci, Pamela;              8500-000                                    2,442.24     550,723.86
                         Powell Litigation Group             A-13-689178-C
01/27/16     11570       Dr. Jeff Baker                      Ann Johnson Settlement                            8500-000                                    2,492.00     548,231.86
01/27/16     11571       Red Rock Diagnostics, LLC           Calalay Settlement                                8500-000                                       372.00    547,859.86
                                                             Voided on 06/11/16
01/27/16     11572       Green Valley Neck & Back            Antonio Calalay Settlement                        8500-000                                    3,000.00     544,859.86
                                                             Voided on 06/11/16
01/27/16     11572       Green Valley Neck & Back            Medical Provider - Green Valley Neck & Back       8500-000                                    3,000.00     541,859.86
01/27/16     11573       Primary Care Consultants            Antonio Calalay Settlment                         8500-000                                       479.50    541,380.36
01/27/16     11574       Spinal Rehabilitation               Austin Bean Settlement                            8500-000                                       249.00    541,131.36
01/27/16     11575       David A. Rosenberg, Trustee - The   Austin Bean Settlement                            8500-000                                       250.00    540,881.36
                         Powell Litigation Group
01/27/16     11576       Austin Bean                         Austin Bean Settlement                            8500-000                                       251.00    540,630.36
                                                             Voided on 06/11/16
01/27/16     11577       Dr. Jeff Fine                       Bradley Fettig Settlement                         8500-000                                    2,143.60     538,486.76
01/27/16     11578       Cameron Medical Center              Bradley Fettig Settlement                         8500-000                                       144.00    538,342.76
01/27/16     11579       Centennial Spine & Pain Center      Bradley Fettig Settlement                         8500-000                                       400.00    537,942.76
01/27/16     11580       Nevada Imaging Center               Bradley Fettig Settlement                         8500-000                                       705.38    537,237.38
01/27/16     11581       Sahara Surgery Center               Bradley Fettig Settlement                         8500-000                                       584.87    536,652.51
01/27/16     11582       Brittany McGinnes                   Brittany McGinnes Settlement                      8500-000                                       512.07    536,140.44
                                                             Voided on 06/11/16
01/27/16     11583       UMC Quickcare                       Brittany McGinnes Settlement                      8500-000                                       468.50    535,671.94
01/27/16     11584       David A. Rosenberg, Trustee - The   Brittany McGinnes Settlement                      8500-000                                       512.07    535,159.87
                         Powell Litigation Group
01/27/16     11585       Brittany McGinnes                   Brittany McGinnes Settlement                      8500-000                                         7.36    535,152.51
                                                             Voided on 06/11/16
01/27/16     11586       Achieve Physical Therapy            Carmela Olvera Settlement                         8500-000                                    1,693.17     533,459.34
01/27/16     11587       Bay Area Credit                     Carmela Olvera Settlement                         8500-000                                       120.00    533,339.34
01/27/16     11588       Radiology Associates                Carmela Overa Settlement                          8500-000                                        33.00    533,306.34
                                                             Voided on 06/11/16
01/27/16     11588       Radiology Associates                Medical Provider - Carmella Olvera                8500-000                                        33.00    533,273.34
01/27/16     11589       Medicare                            Carmela Overa Settlement                          8500-000                                    7,711.48     525,561.86
01/27/16     11590       Ingenix Subrogation                 Carmela Overa Settlement                          8500-000                                       300.00    525,261.86
01/27/16     11591       Champva                             Carmela Overa Settlement                          8500-000                                       247.82    525,014.04
                                                             Voided on 06/11/16
01/27/16     11591       Champva                             Medical Provider - Carmella Olvera                8500-000                                       247.82    524,766.22
01/27/16     11592       David A. Rosenberg, Trustee - The   Carmela Overa Settlement                          8500-000                                    6,495.78     518,270.44
                                                                                                    Subtotals :                          $0.00           $34,895.66
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn                   Doc 351               Entered 12/21/17 12:05:45                            Page 93 of 131

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                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Bank of Nevada
                                                                                                      Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                         4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                             Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code              $                    $       Account Balance
                          Powell Litigation Group
01/27/16     11593        Estate of Carmela Olvera            Carmela Overa Settlement                           8500-000                                       732.08     517,538.36
                                                              Voided on 06/11/16
01/27/16     11594        Christopher M Stutte                Christopher Stutte Settlement                      8500-000                                       735.49     516,802.87
                                                              Voided on 06/11/16
01/27/16     11595        Assisted Home Care                  Clarissa Robles Settlement                         8500-000                                        69.00     516,733.87
01/27/16     11596        Desert Radiologists                 Clarissa Robles Settlement                         8500-000                                        40.92     516,692.95
01/27/16     11597        University Medical Center           Clarissa Robles Settlement                         8500-000                                       250.00     516,442.95
                                                              Voided on 06/11/16
01/27/16     11598        Meridian Resource Company           Clarissa Robles Settlement                         8500-000                                    6,000.00      510,442.95
01/27/16     11599        Clarissa Robles                     Clarissa Robles Settlement                         8500-000                                       116.28     510,326.67
01/27/16     11600        David A. Rosenberg, Trustee - The   Clarissa Robles Settlement                         8500-000                                       523.80     509,802.87
                          Powell Litigation Group
01/27/16     11601        David A. Rosenberg, Trustee - The   Cuc Tinder Attorney Expenses                       8500-000                                        63.65     509,739.22
                          Powell Litigation Group
01/27/16     11602        Preferred Capital Lending           Cuc Tinder Settlement                              8500-000                                    2,600.00      507,139.22
01/29/16       {2}        Bank of Nevada Interest             Bank of Nevada Interest                            1129-002                  309.04                          507,448.26
02/01/16                  Bank of Nevada Iolta Interest       Bank of Nevada Iolta Interest                      8500-000                                       309.04     507,139.22
02/03/16     11603        Spring Valley Hospital Medical      A-12658894-C Slater, Bruce                         8500-000                                       733.38     506,405.84
                          Center
02/23/16     11604        Xpress Care                         Medical Provider - Anthony Lucero                  8500-000                                       250.00     506,155.84
                                                              Voided on 06/11/16
02/23/16     11605        Xpress Care                         Medical Provider - Brent Carlson                   8500-000                                       618.00     505,537.84
                                                              Voided on 06/11/16
02/23/16     11606        Xpress Care                         Medical Provider - Carlos Carrion                  8500-000                                       406.00     505,131.84
                                                              Voided on 06/11/16
02/23/16     11607        Xpress Care                         Medical Provider - Christian Cisneros              8500-000                                       154.00     504,977.84
                                                              Voided on 06/11/16
02/23/16     11608        Xpress Care                         Medical Provider - Crystal Rodriguez               8500-000                                       279.50     504,698.34
                                                              Voided on 06/11/16
02/23/16     11609        Xpress Care                         Medical Provider - Debra Pinkney                   8500-000                                       465.50     504,232.84
                                                              Voided on 06/11/16
02/23/16     11610        Xpress Care                         Medical Provider - Donald Wilde                    8500-000                                       210.00     504,022.84
                                                              Voided on 06/11/16
02/23/16     11611        Xpress Care                         Medical Provider - Marco Diaz-Guerra               8500-000                                       301.00     503,721.84
                                                              Voided on 06/11/16
02/23/16     11612        Xpress Care                         Medical Provider - Ramon Rodriguez-Chavez          8500-000                                       182.00     503,539.84
                                                              Voided on 06/11/16

                                                                                                      Subtotals :                         $309.04          $15,039.64
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                     Form 2                                                                                          Page: 35

                                                      Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                            3                                        4                                                 5                     6                  7

 Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                    $       Account Balance
02/23/16     11613        Xpress Care                         Medical Provider - Samantha Hames                    8500-000                                       195.00     503,344.84
                                                              Voided on 06/11/16
02/23/16     11614        Xpress Care                         Medical Provider - Sergio Garcia                     8500-000                                       154.00     503,190.84
                                                              Voided on 06/11/16
02/23/16     11615        Xpress Care                         Medical Provider - Victor Peraza-Mendez              8500-000                                       125.00     503,065.84
                                                              Voided on 06/11/16
02/23/16     11616        David A. Rosenberg, Trustee - The   Attorney Fees and Costs                              8500-000                                    5,527.11      497,538.73
                          Powell Litigation Group
02/23/16     11617        Howard William Merhar               Interpleader Funds                                   8500-000                                        22.04     497,516.69
                                                              Voided on 06/11/16
02/23/16     11618        Allied Collection Services, Inc.    Interpleader Funds                                   8500-000                                        82.89     497,433.80
02/23/16     11619        David R Golan, MD                   Medical Provider - Hernandez; Alindog                8500-000                                    1,917.58      495,516.22
02/29/16       {2}        Bank of Nevada Iolta Interest       Bank of Nevada Iolta Interest                        1129-002                  319.97                          495,836.19
03/01/16                  Bank of Nevada Interest             Bank of Nevada Interest                              8500-000                                       319.97     495,516.22
03/08/16     11620        Advanced Paincare                   Medical Provider - Michelle Theroux                  8500-000                                       239.16     495,277.06
                                                              Voided on 06/11/16
03/08/16     11621        Teamsters Security Fund for         Medical Provider - Christina Rollf                   8500-000                                       219.54     495,057.52
                          Southern Nevada
03/08/16     11622        Strehlow Radiology                  Medical Provider - David Lopez                       8500-000                                        80.00     494,977.52
03/08/16     11623        Dr. David R. Golan                  Medical Provider - Debra Webster                     8500-000                                       710.50     494,267.02
03/25/16     11624        Industrial Pharmacy Management      Earnest Pitre-Medical Provider                       8500-000                                       125.00     494,142.02
                                                              Voided on 06/11/16
03/25/16     11625        Anthem BCBS Partnership Plan, Inc   Eddie Sarpong - Medical Provider                     8500-000                                       204.74     493,937.28
                                                              Voided on 06/11/16
03/25/16     11626        HMS AAF UHC Arizona Physicians      Frank Ricca - Medical Provider                       8500-000                                        11.37     493,925.91
                          IPA, Inc.
03/25/16     11627        Meridian Resource Compay (Empire Freddie Taylor - Medical Provider                       8500-000                                        89.07     493,836.84
                          BC/BS)
03/25/16     11628        Escallate Collections               Isaias Monge-Bonilla - Medical Provider              8500-000                                       240.00     493,596.84
                                                              Voided on 06/11/16
03/25/16     11629        UMR                                 Jerrod Gunning - Medical Provider                    8500-000                                       295.74     493,301.10
03/25/16     11630        Account Recovery Services           Jovanna Sandoval - Medical Provider                  8500-000                                        34.86     493,266.24
                                                              Voided on 06/30/16
03/25/16     11631        Strehlow Radiology                  Juan Vargas - Medical Provider                       8500-000                                        96.00     493,170.24
03/25/16     11632        Desert Inn Chiropractic Center      Justin Owens - Medical Provider                      8500-000                                    2,500.00      490,670.24
                                                              Voided on 06/30/16
03/25/16     11633        Desert Inn Chiropractic Center      Krystle Kelly - Medical Provider                     8500-000                                    2,300.00      488,370.24
                                                              Voided on 06/30/16

                                                                                                        Subtotals :                         $319.97          $15,489.57
{} Asset reference(s)                                                                                                                             Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                        Trustee:             David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:           Bank of Nevada
                                                                                                    Account:             ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                           Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                             Separate Bond: N/A

   1            2                           3                                         4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                T-Code              $                   $       Account Balance
03/28/16     11634       Dr. David B. Cohen                   Linda Cooter - Medical Provider                  8500-000                                        245.00    488,125.24
03/28/16     11635       Zenith Administrators                Lisa Marie DiBernardo - Medical Provider         8500-000                                        824.01    487,301.23
                                                              Voided on 06/11/16
03/28/16     11636       Nevada Imaging Center                Maria Pena - Medical Provider                    8500-000                                         50.00    487,251.23
                                                              Voided on 06/30/16
03/28/16     11637       Mclean Radiology                     Moniqua Whitmore - Medical Provider              8500-000                                         45.00    487,206.23
03/28/16     11638       Las Vegas Specialty Surgery Center   Paul Cho - Medical Provider                      8500-000                                     5,268.28     481,937.95
                                                              Voided on 06/11/16
03/28/16     11639       Nevada Imaging Centers               Paul Cho - Medical Provider                      8500-000                                        705.38    481,232.57
                                                              Voided on 06/30/16
03/28/16     11640       PBS Anesthesia                       Sharon Ayers - Medical Provider                  8500-000                                        313.74    480,918.83
03/28/16     11641       Summerlin Medical Tower              Sharon Ayers - Medical Provider                  8500-000                                          4.32    480,914.51
03/28/16     11642       Xpress Care - Dr. Barney             Sharon Ayers - Medical Provider                  8500-000                                        116.00    480,798.51
                                                              Voided on 06/11/16
03/28/16     11643       Strehlow Radiology                   Steven Marvel - Medical Provider                 8500-000                                        124.00    480,674.51
03/29/16     11644       Comprehensive Pain Management        Susan Rathunde - Medical Provider                8500-000                                     2,079.26     478,595.25
                                                              Voided on 06/11/16
03/29/16     11645       North Valley Surgery Center          Susan Rathunde - Medical Provider                8500-000                                     2,531.50     476,063.75
                                                              Voided on 06/11/16
03/29/16     11646       Simonmed Imaging                     Susan Rathunde - Medical Provider                8500-000                                        242.89    475,820.86
03/29/16     11647       Dr. Carol Reed                       Susan Rathunde - Medical Provider                8500-000                                        652.00    475,168.86
                                                              Voided on 06/11/16
03/29/16     11648       Ingenix Subrogation Services         Susan Rathunde - Medical Provider                8500-000                                        536.21    474,632.65
03/29/16     11649       Susan & Roland Rathunde              Susan Rathunde - Final Settlement                8500-000                                        271.92    474,360.73
                                                              Voided on 06/30/16
03/29/16     11650       Southwest Emergency Services         Teodulo Nuno-Orozco - Medical Provider           8500-000                                        201.00    474,159.73
                                                              Voided on 06/11/16
03/29/16     11651       Teodulo Nuno-Orozco                  Teodulo Nuno-Orozco - Final Settlement           8500-000                                        100.60    474,059.13
                                                              Voided on 06/30/16
03/29/16     11652       Lab Medicine Consultants             Terry Fulton - Medical Provider                  8500-000                                        126.00    473,933.13
                                                              Voided on 06/30/16
03/29/16     11653       Dr. Rajeev Khamamkar                 Thomas Chavez - Medical Provider                 8500-000                                     1,020.00     472,913.13
                                                              Voided on 06/30/16
03/29/16     11654       Dr. Russell J Shah                   Timothy Campbell - Medical Provider              8500-000                                     1,632.38     471,280.75
03/29/16     11655       Allstate Financial Services          Joyce Lucero - Medical Provider                  8500-000                                         72.00    471,208.75
                                                              Voided on 06/11/16
03/29/16     11656       Credit Bureau Central                Joyce Lucero - Medical Provider                  8500-000                                        152.58    471,056.17
                                                              Voided on 06/11/16

                                                                                                       Subtotals :                        $0.00           $17,314.07
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
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                                                        Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                             3                                       4                                                 5                     6                  7

 Trans.     {Ref #} /                                                                                                               Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                    $       Account Balance
03/29/16     11657        Innovative Pain Care Center         Joyce Lucero - Medical Provider                      8500-000                                    1,818.00      469,238.17
03/29/16     11658        Integrated Pain Specialists         Joyce Lucero - Medical Provider                      8500-000                                       276.00     468,962.17
03/29/16     11659        Nevada Imaging Center               Joyce Lucero - Medical Provider                      8500-000                                    1,566.60      467,395.57
                                                              Voided on 06/30/16
03/29/16     11660        Village east drugs now cvs          Joyce Lucero - Medical Provider                      8500-000                                       168.99     467,226.58
                          pharmacy                            Voided on 06/11/16
03/30/16     11661        Flamingo-Pecos Surgery Center       Maryann Shelton; A-09-592338-C Settlement            8500-000                                       453.86     466,772.72
                          LLC                                 Voided on 06/11/16
03/30/16     11662        UMC Quick Care - Craig              Lana Prieto - Medical Provider                       8500-000                                         5.00     466,767.72
                                                              Voided on 06/11/16
03/30/16     11663        UMC                                 Cecil & Rachel Davis - Medical Provider              8500-000                                        88.00     466,679.72
                                                              Voided on 06/30/16
03/30/16     11664        Medicare                            Cecil & Rachel Davis - Medical Provider              8500-000                                       506.05     466,173.67
                                                              Voided on 06/11/16
03/30/16     11665        United Healthcare                   Marceil Cassidy; A-14-705017-C Stipulation           8500-000                                   18,313.87      447,859.80
03/30/16     11666        Desert Orthopaedic Center           Marceil Cassidy; A-14-705017-C Stipulation           8500-000                                       404.94     447,454.86
03/30/16     11667        Center for Surgical Intervention    Marceil Cassidy; A-14-705017-C Stipulation           8500-000                                       269.06     447,185.80
03/30/16     11668        Brian A Lemper DO                   Marceil Cassidy; A-14-705017-C Stipulation           8500-000                                       240.44     446,945.36
03/31/16       {2}        Bank of Nevada Interest             Bank of Nevada Interest                              1129-002                  306.12                          447,251.48
04/01/16                  Bank of Nevada Iolta Interest       Bank of Nevada Iolta Interest                        8500-000                                       306.12     446,945.36
04/05/16     11669        Centennial Hills Hospital Medical   Medical Provider                                     8500-000                                       100.00     446,845.36
                          Center                              Voided on 06/11/16
04/05/16     11670        Radiology Associates of Nevada      Medical Provider                                     8500-000                                       209.94     446,635.42
04/05/16     11671        Lucky Investors                     Medical Providers                                    8500-000                                    2,100.00      444,535.42
                                                              Voided on 07/23/16
04/05/16     11672        Nevada Imaging Center               Medical Provider                                     8500-000                                    1,901.37      442,634.05
                                                              Voided on 07/23/16
04/05/16     11673        Dr. TJ Allen                        Medical Provider                                     8500-000                                       141.00     442,493.05
                                                              Voided on 06/11/16
04/05/16     11674        Health Plan of Nevada               Medical Provider                                     8500-000                                       155.00     442,338.05
04/05/16     11675        Village East Drugs                  Medical Provider                                     8500-000                                       279.08     442,058.97
                                                              Voided on 06/11/16
04/05/16     11676        Industrial Pharmacy Management      Medical Provider                                     8500-000                                        65.00     441,993.97
                                                              Voided on 06/11/16
04/05/16     11677        Credit Bureau Central               Medical Provider                                     8500-000                                    1,230.40      440,763.57
                                                              Voided on 06/11/16
04/05/16     11678        Spinal Rehabilitation Centers       Medical Provider                                     8500-000                                       960.00     439,803.57
04/05/16     11679        The Pain Clinic                     Mecical Provider                                     8500-000                                       172.50     439,631.07

                                                                                                        Subtotals :                         $306.12          $31,731.22
{} Asset reference(s)                                                                                                                             Printed: 12/12/2017 12:12 PM        V.13.29
                                Case 12-15555-mkn               Doc 351                Entered 12/21/17 12:05:45                        Page 97 of 131

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                                                                                Form 2                                                                                      Page: 38

                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                  Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                         Bank Name:          Bank of Nevada
                                                                                               Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                      Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                        Separate Bond: N/A

   1            2                           3                                      4                                           5                     6                  7

 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction              T-Code              $                    $       Account Balance
04/05/16     11680        Wang Medical                    Medical Provider                                8500-000                                        75.00     439,556.07
04/05/16     11681        Escallate Collections           Medical Providers                               8500-000                                        66.75     439,489.32
                                                          Voided on 06/11/16
04/05/16     11682        Medicare                        Medical Provider                                8500-000                                    3,192.34      436,296.98
                                                          Voided on 06/11/16
04/05/16     11683        Village East Drugs              Medical Provider                                8500-000                                       371.38     435,925.60
                                                          Voided on 06/11/16
04/06/16     11684        Oasis Legal Finance             Medical Provider                                8500-000                                    2,219.60      433,706.00
                                                          Voided on 06/11/16
04/06/16     11685        Health Plan of Nevada           Medical Provider                                8500-000                                       324.00     433,382.00
04/06/16     11686        Desert Radiologists             Medical Provider                                8500-000                                       196.00     433,186.00
04/06/16     11687        Southwest Emergency Services    Medical Provider                                8500-000                                        12.78     433,173.22
                                                          Voided on 06/11/16
04/06/16     11688        Nevada Imaging Centers          Medical Provider                                8500-000                                       800.00     432,373.22
                                                          Voided on 07/23/16
04/06/16     11689        Lake Mead Radiologists          Medical Provider                                8500-000                                    4,409.90      427,963.32
                                                          Voided on 06/11/16
04/06/16     11690        Radiology Associates Nevada     Medical Provider                                8500-000                                       134.54     427,828.78
04/06/16     11691        Phillips & Lyon PLC             Medical Provider                                8500-000                                       123.58     427,705.20
                                                          Voided on 06/11/16
04/06/16     11692        Pasquale Villardi JR            Settlement funds                                8500-000                                        75.36     427,629.84
04/06/16     11693        Nevada Imaging Center           Medical Provider                                8500-000                                       141.08     427,488.76
                                                          Voided on 07/23/16
04/06/16     11694        Karla Luna-Dominguez            Settlement Proceeds                             8500-000                                    2,250.00      425,238.76
04/06/16     11695        Katherine Revalcaba-Luna        Settlement Proceeds                             8500-000                                    2,250.00      422,988.76
                                                          Voided on 06/11/16
04/06/16     11696        Karon Thedford                  Settlement Proceeds                             8500-000                                       407.00     422,581.76
                                                          Voided on 06/11/16
04/28/16     11697        Karla Luna Dominguez            Settlment Proceeds                              8500-000                                    2,250.00      420,331.76
04/29/16       {2}        Bank of Nevada Iolta Interest   Bank of Nevada Iolta Interest                   1129-002                  279.30                          420,611.06
05/02/16                  Bank of Nevada Iolta Interest   Bank of Nevada Iolta Interest                   8500-000                                       279.30     420,331.76
05/31/16       {2}        Bank of Nevada Iolta Interest   Bank of Nevada Iolta Interest                   1129-002                  293.94                          420,625.70
06/01/16                  Bank of Nevada Iolta Interest   Bank of Nevada Iolta Interest                   8500-000                                       293.94     420,331.76
06/11/16     11571        Red Rock Diagnostics, LLC       Calalay Settlement                              8500-000                                       -372.00    420,703.76
                                                          Voided: check issued on 01/27/16
06/11/16     11572        Green Valley Neck & Back        Antonio Calalay Settlement                      8500-000                                   -3,000.00      423,703.76
                                                          Voided: check issued on 01/27/16
06/11/16     11576        Austin Bean                     Austin Bean Settlement                          8500-000                                       -251.00    423,954.76

                                                                                               Subtotals :                         $573.24          $16,249.55
{} Asset reference(s)                                                                                                                    Printed: 12/12/2017 12:12 PM        V.13.29
                               Case 12-15555-mkn                Doc 351              Entered 12/21/17 12:05:45                            Page 98 of 131

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                                                                                Form 2                                                                                        Page: 39

                                                     Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Bank of Nevada
                                                                                                  Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                         3                                      4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
                                                          Voided: check issued on 01/27/16
06/11/16     11582       Brittany McGinnes                Brittany McGinnes Settlement                       8500-000                                      -512.07    424,466.83
                                                          Voided: check issued on 01/27/16
06/11/16     11585       Brittany McGinnes                Brittany McGinnes Settlement                       8500-000                                        -7.36    424,474.19
                                                          Voided: check issued on 01/27/16
06/11/16     11588       Radiology Associates             Carmela Overa Settlement                           8500-000                                       -33.00    424,507.19
                                                          Voided: check issued on 01/27/16
06/11/16     11591       Champva                          Carmela Overa Settlement                           8500-000                                      -247.82    424,755.01
                                                          Voided: check issued on 01/27/16
06/11/16     11593       Estate of Carmela Olvera         Carmela Overa Settlement                           8500-000                                      -732.08    425,487.09
                                                          Voided: check issued on 01/27/16
06/11/16     11594       Christopher M Stutte             Christopher Stutte Settlement                      8500-000                                      -735.49    426,222.58
                                                          Voided: check issued on 01/27/16
06/11/16     11597       University Medical Center        Clarissa Robles Settlement                         8500-000                                      -250.00    426,472.58
                                                          Voided: check issued on 01/27/16
06/11/16     11604       Xpress Care                      Medical Provider - Anthony Lucero                  8500-000                                      -250.00    426,722.58
                                                          Voided: check issued on 02/23/16
06/11/16     11605       Xpress Care                      Medical Provider - Brent Carlson                   8500-000                                      -618.00    427,340.58
                                                          Voided: check issued on 02/23/16
06/11/16     11606       Xpress Care                      Medical Provider - Carlos Carrion                  8500-000                                      -406.00    427,746.58
                                                          Voided: check issued on 02/23/16
06/11/16     11607       Xpress Care                      Medical Provider - Christian Cisneros              8500-000                                      -154.00    427,900.58
                                                          Voided: check issued on 02/23/16
06/11/16     11608       Xpress Care                      Medical Provider - Crystal Rodriguez               8500-000                                      -279.50    428,180.08
                                                          Voided: check issued on 02/23/16
06/11/16     11609       Xpress Care                      Medical Provider - Debra Pinkney                   8500-000                                      -465.50    428,645.58
                                                          Voided: check issued on 02/23/16
06/11/16     11610       Xpress Care                      Medical Provider - Donald Wilde                    8500-000                                      -210.00    428,855.58
                                                          Voided: check issued on 02/23/16
06/11/16     11611       Xpress Care                      Medical Provider - Marco Diaz-Guerra               8500-000                                      -301.00    429,156.58
                                                          Voided: check issued on 02/23/16
06/11/16     11612       Xpress Care                      Medical Provider - Ramon Rodriguez-Chavez          8500-000                                      -182.00    429,338.58
                                                          Voided: check issued on 02/23/16
06/11/16     11613       Xpress Care                      Medical Provider - Samantha Hames                  8500-000                                      -195.00    429,533.58
                                                          Voided: check issued on 02/23/16
06/11/16     11614       Xpress Care                      Medical Provider - Sergio Garcia                   8500-000                                      -154.00    429,687.58
                                                          Voided: check issued on 02/23/16
06/11/16     11615       Xpress Care                      Medical Provider - Victor Peraza-Mendez            8500-000                                      -125.00    429,812.58
                                                          Voided: check issued on 02/23/16
                                                                                                    Subtotals :                        $0.00           $-5,857.82
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                            Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                                   Bank Name:          Bank of Nevada
                                                                                                        Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                          3                                         4                                                  5                    6                  7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                   T-Code              $                   $       Account Balance
06/11/16     11617       Howard William Merhar                Interpleader Funds                                   8500-000                                       -22.04    429,834.62
                                                              Voided: check issued on 02/23/16
06/11/16     11620       Advanced Paincare                    Medical Provider - Michelle Theroux                  8500-000                                      -239.16    430,073.78
                                                              Voided: check issued on 03/08/16
06/11/16     11624       Industrial Pharmacy Management       Earnest Pitre-Medical Provider                       8500-000                                      -125.00    430,198.78
                                                              Voided: check issued on 03/25/16
06/11/16     11625       Anthem BCBS Partnership Plan, Inc    Eddie Sarpong - Medical Provider                     8500-000                                      -204.74    430,403.52
                                                              Voided: check issued on 03/25/16
06/11/16     11628       Escallate Collections                Isaias Monge-Bonilla - Medical Provider              8500-000                                      -240.00    430,643.52
                                                              Voided: check issued on 03/25/16
06/11/16     11635       Zenith Administrators                Lisa Marie DiBernardo - Medical Provider             8500-000                                      -824.01    431,467.53
                                                              Voided: check issued on 03/28/16
06/11/16     11638       Las Vegas Specialty Surgery Center   Paul Cho - Medical Provider                          8500-000                                  -5,268.28      436,735.81
                                                              Voided: check issued on 03/28/16
06/11/16     11642       Xpress Care - Dr. Barney             Sharon Ayers - Medical Provider                      8500-000                                      -116.00    436,851.81
                                                              Voided: check issued on 03/28/16
06/11/16     11644       Comprehensive Pain Management        Susan Rathunde - Medical Provider                    8500-000                                  -2,079.26      438,931.07
                                                              Voided: check issued on 03/29/16
06/11/16     11645       North Valley Surgery Center          Susan Rathunde - Medical Provider                    8500-000                                  -2,531.50      441,462.57
                                                              Voided: check issued on 03/29/16
06/11/16     11647       Dr. Carol Reed                       Susan Rathunde - Medical Provider                    8500-000                                      -652.00    442,114.57
                                                              Voided: check issued on 03/29/16
06/11/16     11650       Southwest Emergency Services         Teodulo Nuno-Orozco - Medical Provider               8500-000                                      -201.00    442,315.57
                                                              Voided: check issued on 03/29/16
06/11/16     11655       Allstate Financial Services          Joyce Lucero - Medical Provider                      8500-000                                       -72.00    442,387.57
                                                              Voided: check issued on 03/29/16
06/11/16     11656       Credit Bureau Central                Joyce Lucero - Medical Provider                      8500-000                                      -152.58    442,540.15
                                                              Voided: check issued on 03/29/16
06/11/16     11660       Village east drugs now cvs           Joyce Lucero - Medical Provider                      8500-000                                      -168.99    442,709.14
                         pharmacy                             Voided: check issued on 03/29/16
06/11/16     11661       Flamingo-Pecos Surgery Center        Maryann Shelton; A-09-592338-C Settlement            8500-000                                      -453.86    443,163.00
                         LLC                                  Voided: check issued on 03/30/16
06/11/16     11662       UMC Quick Care - Craig               Lana Prieto - Medical Provider                       8500-000                                        -5.00    443,168.00
                                                              Voided: check issued on 03/30/16
06/11/16     11664       Medicare                             Cecil & Rachel Davis - Medical Provider              8500-000                                      -506.05    443,674.05
                                                              Voided: check issued on 03/30/16
06/11/16     11669       Centennial Hills Hospital Medical    Medical Provider                                     8500-000                                      -100.00    443,774.05
                         Center                               Voided: check issued on 04/05/16
06/11/16     11673       Dr. TJ Allen                         Medical Provider                                     8500-000                                      -141.00    443,915.05
                                                                                                        Subtotals :                          $0.00       $-14,102.47
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                    Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                           Bank Name:          Bank of Nevada
                                                                                                 Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                          Separate Bond: N/A

   1            2                           3                                      4                                             5                    6                   7

 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction               T-Code              $                    $       Account Balance
                                                           Voided: check issued on 04/05/16
06/11/16     11675        Village East Drugs               Medical Provider                                 8500-000                                      -279.08     444,194.13
                                                           Voided: check issued on 04/05/16
06/11/16     11676        Industrial Pharmacy Management   Medical Provider                                 8500-000                                       -65.00     444,259.13
                                                           Voided: check issued on 04/05/16
06/11/16     11677        Credit Bureau Central            Medical Provider                                 8500-000                                  -1,230.40       445,489.53
                                                           Voided: check issued on 04/05/16
06/11/16     11681        Escallate Collections            Medical Providers                                8500-000                                       -66.75     445,556.28
                                                           Voided: check issued on 04/05/16
06/11/16     11682        Medicare                         Medical Provider                                 8500-000                                  -3,192.34       448,748.62
                                                           Voided: check issued on 04/05/16
06/11/16     11683        Village East Drugs               Medical Provider                                 8500-000                                      -371.38     449,120.00
                                                           Voided: check issued on 04/05/16
06/11/16     11684        Oasis Legal Finance              Medical Provider                                 8500-000                                  -2,219.60       451,339.60
                                                           Voided: check issued on 04/06/16
06/11/16     11687        Southwest Emergency Services     Medical Provider                                 8500-000                                       -12.78     451,352.38
                                                           Voided: check issued on 04/06/16
06/11/16     11689        Lake Mead Radiologists           Medical Provider                                 8500-000                                  -4,409.90       455,762.28
                                                           Voided: check issued on 04/06/16
06/11/16     11691        Phillips & Lyon PLC              Medical Provider                                 8500-000                                      -123.58     455,885.86
                                                           Voided: check issued on 04/06/16
06/11/16     11695        Katherine Revalcaba-Luna         Settlement Proceeds                              8500-000                                  -2,250.00       458,135.86
                                                           Voided: check issued on 04/06/16
06/11/16     11696        Karon Thedford                   Settlement Proceeds                              8500-000                                      -407.00     458,542.86
                                                           Voided: check issued on 04/06/16
06/30/16       {2}        Bank of Nevada Iolta Interest    Bank of Nevada Iolta Interest                    1129-002                  273.13                          458,815.99
06/30/16     11630        Account Recovery Services        Jovanna Sandoval - Medical Provider              8500-000                                       -34.86     458,850.85
                                                           Voided: check issued on 03/25/16
06/30/16     11632        Desert Inn Chiropractic Center   Justin Owens - Medical Provider                  8500-000                                  -2,500.00       461,350.85
                                                           Voided: check issued on 03/25/16
06/30/16     11633        Desert Inn Chiropractic Center   Krystle Kelly - Medical Provider                 8500-000                                  -2,300.00       463,650.85
                                                           Voided: check issued on 03/25/16
06/30/16     11636        Nevada Imaging Center            Maria Pena - Medical Provider                    8500-000                                       -50.00     463,700.85
                                                           Voided: check issued on 03/28/16
06/30/16     11639        Nevada Imaging Centers           Paul Cho - Medical Provider                      8500-000                                      -705.38     464,406.23
                                                           Voided: check issued on 03/28/16
06/30/16     11649        Susan & Roland Rathunde          Susan Rathunde - Final Settlement                8500-000                                      -271.92     464,678.15
                                                           Voided: check issued on 03/29/16


                                                                                                 Subtotals :                         $273.13       $-20,489.97
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                     Doc 351             Entered 12/21/17 12:05:45                                Page 101 of 131

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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Bank of Nevada
                                                                                                       Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                           3                                        4                                                 5                    6                   7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                   T-Code              $                    $       Account Balance
06/30/16     11651        Teodulo Nuno-Orozco                Teodulo Nuno-Orozco - Final Settlement               8500-000                                      -100.60     464,778.75
                                                             Voided: check issued on 03/29/16
06/30/16     11652        Lab Medicine Consultants           Terry Fulton - Medical Provider                      8500-000                                      -126.00     464,904.75
                                                             Voided: check issued on 03/29/16
06/30/16     11653        Dr. Rajeev Khamamkar               Thomas Chavez - Medical Provider                     8500-000                                  -1,020.00       465,924.75
                                                             Voided: check issued on 03/29/16
06/30/16     11659        Nevada Imaging Center              Joyce Lucero - Medical Provider                      8500-000                                  -1,566.60       467,491.35
                                                             Voided: check issued on 03/29/16
06/30/16     11663        UMC                                Cecil & Rachel Davis - Medical Provider              8500-000                                       -88.00     467,579.35
                                                             Voided: check issued on 03/30/16
07/01/16                  Bank of Nevada Iolta Interest      Bank of Nevada Iolta Interest                        8500-000                                      273.13      467,306.22
07/23/16     11671        Lucky Investors                    Medical Providers                                    8500-000                                  -2,100.00       469,406.22
                                                             Voided: check issued on 04/05/16
07/23/16     11672        Nevada Imaging Center              Medical Provider                                     8500-000                                  -1,901.37       471,307.59
                                                             Voided: check issued on 04/05/16
07/23/16     11688        Nevada Imaging Centers             Medical Provider                                     8500-000                                      -800.00     472,107.59
                                                             Voided: check issued on 04/06/16
07/23/16     11693        Nevada Imaging Center              Medical Provider                                     8500-000                                      -141.08     472,248.67
                                                             Voided: check issued on 04/06/16
07/26/16     11698        Venice N Yaldo-Jarmusz             Venice N Yaldo-Jarmusz funds                         8500-000                                   9,000.00       463,248.67
07/29/16       {2}        Bank of Nevada Iolta Interest      Bank of Nevada Iolta Interest                        1129-002                  262.65                          463,511.32
08/04/16                  Bank of Nevada Iolta Interest      Bank of Nevada Iolta Interest                        8500-000                                      262.65      463,248.67
08/30/16     11699        Centennial Medical Group           Sanatana Interpleader Funds                          8500-000                                  40,390.85       422,857.82
08/30/16     11700        Medicaid                           Sanatana Interpleader Funds                          8500-000                                  13,831.00       409,026.82
08/30/16     11701        Las Vegas Neurosurgery, Ortho &    Sanatana Interpleader Funds                          8500-000                                      674.13      408,352.69
                          Rehab
08/30/16     11702        Center for Surgical Intervention   Sanatana Interpleader Funds                          8500-000                                  45,297.38       363,055.31
08/30/16     11703        Brian A Lemper DO LTD              Sanatana Interpleader Funds                          8500-000                                  16,274.91       346,780.40
08/30/16     11704        Gary J LaTourette MD               Sanatana Interpleader Funds                          8500-000                                      714.69      346,065.71
08/30/16     11705        Oasis Wellness Center              Sanatana Interpleader Funds                          8500-000                                  13,194.86       332,870.85
08/30/16     11706        Comprehensive Injury Institute     Sanatana Interpleader Funds                          8500-000                                   1,006.75       331,864.10
08/30/16     11707        Matt Smith Physical Therapy        Sanatana Interpleader Funds                          8500-000                                   3,961.69       327,902.41
08/30/16     11708        Red Rock Diagnostics               Sanatana Interpleader Funds                          8500-000                                   2,242.75       325,659.66
                                                             Voided on 09/17/16
08/30/16     11709        Allied Collection Services         Sanatana Interpleader Funds                          8500-000                                      897.10      324,762.56
08/30/16     11710        Key Health Medical Solutions       Sanatana Interpleader Funds                          8500-000                                   7,104.54       317,658.02
08/30/16     11711        Sunset Neck & Back Clinic          Sanatana Interpleader Funds                          8500-000                                   2,696.29       314,961.73
08/30/16     11712        David A Rosenberg, Trustee The     Sanatana Interpleader Funds                          8500-000                                  15,703.45       299,258.28

                                                                                                       Subtotals :                         $262.65      $165,682.52
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                      Doc 351              Entered 12/21/17 12:05:45                          Page 102 of 131

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                                                    Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Bank of Nevada
                                                                                                   Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                            3                                        4                                            5                    6                   7

 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction              T-Code              $                    $       Account Balance
                          Powell Litigation Group
08/30/16     11713        Red Rock Diagnostics                Sanatana Interpleader Funds                     8500-000                                   2,242.75       297,015.53
08/31/16       {2}        Bank of Nevada Iolta Interest       Bank of Nevada Iolta Interest                   1129-002                  294.07                          297,309.60
09/01/16                  Iolta Bank of Nevada Interest       Iolta Bank of Nevada Interest                   8500-002                                      294.07      297,015.53
09/17/16     11708        Red Rock Diagnostics                Sanatana Interpleader Funds                     8500-000                                  -2,242.75       299,258.28
                                                              Voided: check issued on 08/30/16
09/30/16       {2}        Iolta Bank of Nevada Interest       Iolta Bank of Nevada Interest                   1129-002                  225.21                          299,483.49
10/03/16                  Bank of Nevada Interest             Bank of Nevada Interest                         8500-000                                      225.21      299,258.28
10/14/16       {2}        Bank of Nevada Interest             Bank of Nevada Interest                         1129-002                   80.36                          299,338.64
10/17/16                  Bank of Nevada Interest             Bank of Nevada Interest                         8500-000                                       80.36      299,258.28
10/26/16                  Summerlin Hospital Medical Center   Disbursement                                    8500-000                                       50.00      299,208.28
10/31/16       {2}        Bank of Nevada Interest             Bank of Nevada Interest                         1129-002                   97.56                          299,305.84
10/31/16                  Bank of Nevada Interest             Bank of Nevada Interest                         8500-000                                       97.56      299,208.28
11/30/16       {2}        Bank of Nevada Interest             Bank of Nevada Interest                         1129-002                  172.15                          299,380.43
11/30/16                  Bank of Nevada Interest             Bank of Nevada Interest                         8500-000                                      172.15      299,208.28
12/07/16     11714        Mary Cowly                          Case Funds                                      8500-000                                  67,182.25       232,026.03
                                                              Voided on 04/28/17
12/07/16     11715        Susan Parker                        Case Funds                                      8500-000                                  46,412.21       185,613.82
12/07/16     11716        Susan Parker                        Case Funds                                      8500-000                                  30,000.00       155,613.82
12/07/16     11717        Joseph Allison                      Case Funds                                      8500-000                                  45,000.00       110,613.82
12/07/16     11718        LaShaun Thomas                      Case Funds                                      8500-000                                  15,666.66           94,947.16
12/07/16     11719        Jose Angel Bocanegra                Case Funds                                      8500-000                                  15,000.00           79,947.16
12/07/16     11720        Nancy Limpias                       Case Funds                                      8500-000                                  10,000.00           69,947.16
                                                              Voided on 04/28/17
12/07/16     11721        Lori Owens                          Case Funds                                      8500-000                                   9,899.69           60,047.47
                                                              Voided on 04/28/17
12/07/16     11722        Paul Cho                            Case Funds                                      8500-000                                   5,973.66           54,073.81
12/07/16     11723        Susan & Roland Rathunde             Case Funds                                      8500-000                                   5,534.68           48,539.13
12/07/16     11724        Siraj Habib                         Case Funds                                      8500-000                                   5,488.70           43,050.43
12/07/16     11725        Martha Navarro                      Case Funds                                      8500-000                                   5,209.90           37,840.53
12/07/16     11726        Florence Dangelo                    Case Funds                                      8500-000                                   5,000.00           32,840.53
                                                              Voided on 04/28/17
12/07/16     11727        David Laughlin                      Case Funds                                      8500-000                                   4,142.37           28,698.16
                                                              Voided on 04/28/17
12/07/16     11728        Eleanor H St John                   Case Funds                                      8500-000                                   3,899.00           24,799.16
                                                              Voided on 04/28/17
12/07/16     11729        Jackie & Herbert Mack               Case Funds                                      8500-000                                   3,563.72           21,235.44


                                                                                                   Subtotals :                         $869.35      $278,892.19
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
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                                                  Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                       Bank Name:          Bank of Nevada
                                                                                             Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                    Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                      Separate Bond: N/A

   1            2                            3                                4                                              5                     6                  7

 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From            Description of Transaction              T-Code              $                    $       Account Balance
                                                         Voided on 04/28/17
12/07/16     11730        Valerie Johnston               Case Funds                                     8500-000                                    3,033.00          18,202.44
12/07/16     11731        Justin Owens                   Case Funds                                     8500-000                                    2,500.00          15,702.44
                                                         Voided on 04/28/17
12/07/16     11732        Krystle Kelly                  Case Funds                                     8500-000                                    2,300.00          13,402.44
                                                         Voided on 04/28/17
12/07/16     11733        Daryl Leftault                 Case Funds                                     8500-000                                    2,288.86          11,113.58
12/07/16     11734        James Johnson                  Case Funds                                     8500-000                                    2,219.60              8,893.98
                                                         Voided on 04/28/17
12/07/16     11735        Judy Fisher                    Case Funds                                     8500-000                                    2,000.00              6,893.98
12/07/16     11736        Melissa Leyba                  Case Funds                                     8500-000                                    1,467.33              5,426.65
                                                         Voided on 04/28/17
12/07/16     11737        Hernestina Villanueva          Case Funds                                     8500-000                                    1,020.19              4,406.46
                                                         Voided on 04/28/17
12/07/16     11738        Evelyn Thomas                  Case Funds                                     8500-000                                    1,000.00              3,406.46
                                                         Voided on 04/28/17
12/07/16     11739        Michael Angel                  Case Funds                                     8500-000                                    1,000.00              2,406.46
                                                         Voided on 04/28/17
12/07/16     11740        Ursula Thomas-Green            Case Funds                                     8500-000                                    1,000.00              1,406.46
                                                         Voided on 04/28/17
12/07/16     11741        Eileen Lucero                  Case Funds                                     8500-000                                    1,406.46                  0.00
                                                         Voided on 04/28/17
12/31/16       {2}        BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  1129-002                  172.78                                   172.78
                          IOLTA ACCOUNT                  ACCOUNT
12/31/16                  BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  8500-000                                       172.78                 0.00
                          IOLTA ACCOUNT                  ACCOUNT
01/31/17       {2}        BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  1280-002                  124.02                                   124.02
                          IOLTA ACCOUNT                  ACCOUNT
01/31/17                  BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  8500-000                                       124.02                 0.00
                          IOLTA ACCOUNT                  ACCOUNT
02/28/17       {2}        BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  1280-002                   71.28                                    71.28
                          IOLTA ACCOUNT                  ACCOUNT
02/28/17                  BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  8500-000                                        71.28                 0.00
                          IOLTA ACCOUNT                  ACCOUNT
03/31/17       {2}        BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  1280-002                   70.72                                    70.72
                          IOLTA ACCOUNT                  ACCOUNT
03/31/17                  BANK OF NEVADA INTEREST        BANK OF NEVADA INTEREST IOLTA                  8500-000                                        70.72                 0.00
                          IOLTA ACCOUNT                  ACCOUNT


                                                                                             Subtotals :                         $438.80          $21,674.24
{} Asset reference(s)                                                                                                                  Printed: 12/12/2017 12:12 PM        V.13.29
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                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Bank of Nevada
                                                                                                   Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                           3                                        4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction              T-Code              $                   $       Account Balance
04/25/17                 State of Nevada Office of the State   Unclaimed Property                             8500-000                                  112,569.56    -112,569.56
                         Treasurer
04/27/17                 State of Nevada Office of the State   Unclaimed property                             8500-002                                    3,563.72    -116,133.28
                         Treasurer
04/28/17     11714       Mary Cowly                            Case Funds                                     8500-000                                  -67,182.25         -48,951.03
                                                               Voided: check issued on 12/07/16
04/28/17     11720       Nancy Limpias                         Case Funds                                     8500-000                                  -10,000.00         -38,951.03
                                                               Voided: check issued on 12/07/16
04/28/17     11721       Lori Owens                            Case Funds                                     8500-000                                   -9,899.69         -29,051.34
                                                               Voided: check issued on 12/07/16
04/28/17     11726       Florence Dangelo                      Case Funds                                     8500-000                                   -5,000.00         -24,051.34
                                                               Voided: check issued on 12/07/16
04/28/17     11727       David Laughlin                        Case Funds                                     8500-000                                   -4,142.37         -19,908.97
                                                               Voided: check issued on 12/07/16
04/28/17     11728       Eleanor H St John                     Case Funds                                     8500-000                                   -3,899.00         -16,009.97
                                                               Voided: check issued on 12/07/16
04/28/17     11729       Jackie & Herbert Mack                 Case Funds                                     8500-000                                   -3,563.72         -12,446.25
                                                               Voided: check issued on 12/07/16
04/28/17     11731       Justin Owens                          Case Funds                                     8500-000                                   -2,500.00          -9,946.25
                                                               Voided: check issued on 12/07/16
04/28/17     11732       Krystle Kelly                         Case Funds                                     8500-000                                   -2,300.00          -7,646.25
                                                               Voided: check issued on 12/07/16
04/28/17     11734       James Johnson                         Case Funds                                     8500-000                                   -2,219.60          -5,426.65
                                                               Voided: check issued on 12/07/16
04/28/17     11736       Melissa Leyba                         Case Funds                                     8500-000                                   -1,467.33          -3,959.32
                                                               Voided: check issued on 12/07/16
04/28/17     11737       Hernestina Villanueva                 Case Funds                                     8500-000                                   -1,020.19          -2,939.13
                                                               Voided: check issued on 12/07/16
04/28/17     11738       Evelyn Thomas                         Case Funds                                     8500-000                                   -1,000.00          -1,939.13
                                                               Voided: check issued on 12/07/16
04/28/17     11739       Michael Angel                         Case Funds                                     8500-000                                   -1,000.00              -939.13
                                                               Voided: check issued on 12/07/16
04/28/17     11740       Ursula Thomas-Green                   Case Funds                                     8500-000                                   -1,000.00               60.87
                                                               Voided: check issued on 12/07/16
04/28/17     11741       Eileen Lucero                         Case Funds                                     8500-000                                   -1,406.46             1,467.33
                                                               Voided: check issued on 12/07/16
04/28/17                 State of Pennsylvania Secretary of    Unclaimed Property                             8500-002                                    1,467.33                 0.00
                         State


                                                                                                   Subtotals :                          $0.00                $0.00
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn            Doc 351         Entered 12/21/17 12:05:45                            Page 105 of 131

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                                                                     Form 2                                                                                       Page: 46

                                               Cash Receipts And Disbursements Record
Case Number:        12-15555                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                 Bank Name:          Bank of Nevada
                                                                                      Account:            ********53 - IOLTA Account
Taxpayer ID #: **-***9466                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                               Separate Bond: N/A

   1            2                       3                              4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                             Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From       Description of Transaction              T-Code              $                  $       Account Balance

                                                                     ACCOUNT TOTALS                                3,692,435.49         3,692,435.49                $0.00
                                                                            Less: Bank Transfers                           0.00                 0.00
                                                                     Subtotal                                      3,692,435.49         3,692,435.49
                                                                            Less: Payments to Debtors                                           0.00
                                                                     NET Receipts / Disbursements                $3,692,435.49         $3,692,435.49




{} Asset reference(s)                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351             Entered 12/21/17 12:05:45                            Page 106 of 131

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                                                                                  Form 2                                                                                      Page: 47

                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                            3                                     4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction               T-Code              $                   $       Account Balance
12/14/12                  RABOBANK MIGRATION               RABOBANK MIGRATION                                9999-000           240,653.74                            240,653.74
                          TRANSFER IN
12/15/12     10174        Cody Spencer                     Payroll 12/15/2012                                2690-000                                    1,449.67     239,204.07
12/15/12     10175        Inger Echeverria                 Payroll 12/15/2012                                2690-000                                    1,695.70     237,508.37
12/15/12     10176        StorageOne @ Grand Canyon        Inv#11459, Unit 1261, Tenant 136817               2410-000                                       208.00    237,300.37
12/27/12     10177        Michael Steadman                 Computer maintenance                              2420-000                                       400.00    236,900.37
12/27/12     10178        Legal Express                    Invoice No. 530695, 530715, 530694, 548763,       2990-000                                    1,041.00     235,859.37
                                                           530685
12/27/12     10179        Cody Spencer                     Payroll week ending 12/29/12                      2690-000                                    1,240.14     234,619.23
12/27/12     10180        Inger Echeverria                 Payroll week ending 12/29/12                      2690-000                                    1,663.08     232,956.15
12/31/12                  Rabobank, N.A.                   Bank and Technology Services Fee                  2600-000                                       321.77    232,634.38
01/03/13       {9}        Steven D. Grierson               A646349 Powell VS S Forbes                        1221-000             19,200.00                           251,834.38
01/03/13       {9}        Steven D. Grierson               A646349 Powell VS S Forbes                        1221-000             42,475.32                           294,309.70
01/08/13     10181        Paychex                          Acct #                                            2690-000                                        10.00    294,299.70
                                                           Voided on 01/08/13
01/08/13     10181        Paychex                          Acct #                                            2690-000                                       -10.00    294,309.70
                                                           Voided: check issued on 01/08/13
01/09/13     10182        Puliz Records MGT LV             Inv # 2012-12-00216 Client # Powell               2410-000                                       419.42    293,890.28
01/09/13     10183        Aetna                            Inv# G1152107 Acct# 82503012                      2690-000                                    1,278.00     292,612.28
01/09/13     10184        Nevada Employment Security       Nevada Qtr 4 2012 quarterly contribution and      2690-000                                       554.60    292,057.68
                          Division                         wage report
01/09/13     10185        United States Treasury           Qtr4 2012 941 taxes                               2690-000                                    5,059.34     286,998.34
01/10/13     10186        Cody Spencer                     Pay period ending 1/5/13                          2690-000                                       717.27    286,281.07
01/10/13     10187        Inger Echeverria                 Pay period ending 1/5/13                          2690-000                                       744.60    285,536.47
01/11/13     10188        United States Treasury           Notice CP504B Employer ID XX-XXXXXXX              2690-000                                       527.12    285,009.35
01/18/13     10189        United States Treasury           940 FUTA taxes XX-XXXXXXX                         2690-000                                       420.00    284,589.35
01/21/13     10190        International Sureties, LTD.     BOND PREMIUM PAYMENT ON LEDGER                    2300-000                                       215.79    284,373.56
                                                           BALANCE AS OF 01/21/2013 FOR CASE
                                                           #12-15555, Bond #016048576
01/24/13       {9}        Bell United Insurance Company    Claim #154-2004126 arbitration award              1221-000              6,796.85                           291,170.41
01/24/13       {9}        Steven D Grierson                A642673 D Rosenberg vs Americo                    1221-000             25,000.00                           316,170.41
01/25/13                  Paychex                          Payroll 1/25/13 Direct Deposit                                                                2,923.30     313,247.11
                                                              Payroll                         1,277.47       2690-000                                                 313,247.11
                                                              Payroll                         1,645.83       2690-000                                                 313,247.11
01/28/13       {9}        The Powell Litigation Group PC   Stephanie Vivirito attorney fees                  1221-000                 810.09                          314,057.20
01/28/13                  Paychex                          Paychex debit Taxpay                              5800-000                                    1,269.80     312,787.40
01/28/13                  Paychex                          Invoice payment                                   2690-000                                       277.26    312,510.14


                                                                                                   Subtotals :                 $334,936.00             $22,425.86
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn                      Doc 351            Entered 12/21/17 12:05:45                            Page 107 of 131

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                                                                                     Form 2                                                                                    Page: 48

                                                      Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                           3                                        4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
01/30/13     10191       StorageOne @ Grand Canyon         Unit 1261, Tenant 136817, Invoice 11655            2410-000                                       208.00    312,302.14
01/30/13     10192       Assurant Employee Benefits        Policy number 5357364                              2990-000                                       471.84    311,830.30
01/30/13     10193       Vision Service Plan NV            Acct #300078340001                                 2990-000                                        31.17    311,799.13
01/30/13     10194       Sprenz & Associates               Invoice #1114                                      2410-000                                    3,864.59     307,934.54
01/31/13                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       446.41    307,488.13
02/11/13                 Paychex                           Payroll week ending 2/2/13                                                                     3,080.67     304,407.46
                                                              Payroll                         1,794.83        2690-000                                                 304,407.46
                                                              Payroll                         1,285.84        2690-000                                                 304,407.46
02/11/13                 Paychex                           Payroll Tax Liabilities                            2690-000                                       976.73    303,430.73
02/13/13                 Paychex Reversal                  Paychex Reversal                                   2690-000                                       -277.26   303,707.99
02/13/13                 Pay Chex                          Reverse entry double posting                       2690-000                                   -3,080.67     306,788.66
02/13/13                 Paychex                           Invoice payment                                    2690-000                                       277.26    306,511.40
02/13/13                 Paychex                                                                              2690-000                                    3,080.67     303,430.73
02/18/13     10195       StorageOne @ Grand Canyon         Tenant 136817 Unit 1261 Invoice 11854              2410-000                                       208.00    303,222.73
02/20/13                 Paychex                           Invoice                                            2690-720                                        77.26    303,145.47
02/25/13     10196       Sprenz & Associates               Invoice 1115 March Rent                            2410-000                                    1,347.19     301,798.28
02/25/13     10197       Legal Express                     Invoice #530682, 530683, 537210, 530732,           2690-000                                    1,036.50     300,761.78
                                                           537203, 495748, 530717
02/25/13     10198       Assurant Employee Benefits        Policy Number 5357364 Powell                       2420-750                                       471.84    300,289.94
02/25/13     10199       Aetna Life Insurance Company      Invoice #G1344165 Triad #E23H, Account             2420-750                                    2,556.00     297,733.94
                                                           #82503012
02/26/13                 Paychex                           Tax Payment                                        2690-000                                       911.87    296,822.07
02/27/13                 Paychex                           Payroll                                            2690-000                                    2,911.97     293,910.10
02/28/13                 Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       411.08    293,499.02
02/28/13                 Paychex                           Invoice                                            2690-000                                       152.26    293,346.76
03/06/13     10200       Sprenz & Associates               Rent                                               2410-000                                    1,282.79     292,063.97
03/06/13     10201       Legal Express                     Invoice #530725                                    2990-000                                        89.50    291,974.47
03/06/13     10202       United States Treasury            Notice CP161 XX-XXXXXXX December 31, 2012 2690-000                                                505.92    291,468.55
                                                           Form 941
03/07/13     10203       Puliz Records MGT LV              Invoice # 2013-2-00226, 2013-1-00223,              2410-000                                    1,749.73     289,718.82
                                                           2012-9-00212, 2012-4-00206
03/13/13                 Paychex                           Payroll 3/8/13                                     2690-000                                    2,525.46     287,193.36
03/18/13                 Paychex                           Invoice                                            2690-000                                       227.26    286,966.10
03/21/13                 Paychex                           Payroll tax deposit                                2690-000                                       767.94    286,198.16
03/22/13     10204       StorageOne @ Grand Canyon         Unit 1261, Tenant 136817, Invoice 12043            2410-000                                       208.00    285,990.16
03/22/13                 Paychex                           Payroll                                            2690-000                                    1,794.82     284,195.34
03/25/13     10205       Vision Service Plan - (NV)        Acct#300078340001                                  2990-000                                        93.51    284,101.83

                                                                                                   Subtotals :                          $0.00           $28,408.31
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
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                                                                                 Form 2                                                                                       Page: 49

                                                      Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                          3                                       4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                  Description of Transaction              T-Code              $                  $       Account Balance
03/25/13     10206       Assurant Employee Benefits        Policey#5357364                                   2690-000                                       235.92    283,865.91
03/25/13     10207       Aetna Life Insurance Company      Invoice#G1439349, Triad#E23H,                     2690-000                                    1,611.00     282,254.91
                                                           Acct#82503012
03/25/13                 Paychex                           Payroll tax deposit                               2690-000                                       615.47    281,639.44
03/28/13                 Paychex                           Invoice                                           2690-000                                       302.26    281,337.18
03/29/13                 Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                       407.57    280,929.61
04/03/13     10208       Sprenz & Associates               Rent Invoice #1124 - April                        2410-000                                    1,288.04     279,641.57
04/04/13      {10}       United States Treasury            F-941 refund                                      1224-000              2,002.49                           281,644.06
04/05/13     10209       Puliz Records MGT LV              Storage Invoice#2013-3-00227                      2410-000                                       419.42    281,224.64
04/10/13                 Paychex                           Payroll                                           2690-000                                    2,036.04     279,188.60
04/12/13                 Paychex                           Tax Deposit                                       2690-000                                       621.74    278,566.86
04/15/13     10210       FirstComp                         Policy# WC0136403-01 Workers Comp                 2990-000                                       519.00    278,047.86
                                                           Insurance
04/16/13     10211       StorageOne @ Grand Canyon         Unit#1261, Tenant#136817, Invoice#12251           2410-000                                       208.00    277,839.86
04/19/13                 Paychex                           Invoice                                           2690-000                                       161.76    277,678.10
04/26/13     10212       Vision Service Plan - (NV)        Acct#300078340001                                 2990-000                                        22.30    277,655.80
04/26/13                 Paychex                           Payroll                                           2690-000                                    2,377.56     275,278.24
04/30/13                 Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                       431.39    274,846.85
05/02/13                 Paychex                           Taxes                                             2690-000                                       738.74    274,108.11
05/03/13                 Paychex                           Invoice                                           2690-000                                       302.26    273,805.85
05/06/13                 Paychex                           Payroll                                           2690-000                                    2,222.94     271,582.91
05/06/13                 Paychex                           Taxes                                             2690-000                                       705.65    270,877.26
05/07/13                 Paychex                           Invoice                                           2690-000                                       350.81    270,526.45
05/08/13     10213       Puliz Records MGT LV              Invoice #2013-4-00227 Client#Powell               2410-000                                       419.42    270,107.03
05/08/13     10214       Sprenz & Associates               Invoice #1126 Rent                                2410-000                                    1,290.80     268,816.23
05/09/13     10215       Legal Express                     Inv#530696; Inv#530720; Inv#530722                2990-000                                       306.50    268,509.73
05/13/13      {11}       Robert D. Vannah Chartered        Settlement proceeds                               1249-000             63,372.89                           331,882.62
05/22/13     10216       StorageOne @ Grand Canyon         Unit#1261, Tenant#136817, Invoice#12442           2410-000                                       208.00    331,674.62
05/22/13                 Paychex                           Invoice                                           2690-000                                       125.81    331,548.81
05/24/13                 Paychex                           Taxes                                             2690-000                                       783.95    330,764.86
05/24/13                 Paychex                           Payroll                                           2690-000                                    2,626.05     328,138.81
05/31/13                 Rabobank, N.A.                    Bank and Technology Services Fee                  2600-000                                       449.67    327,689.14
06/04/13     10217       Aetna Life Insurance Company      Invoice #G1569454, Triad#E23H, Account            2990-000                                       804.00    326,885.14
                                                           #82503012
06/04/13     10218       Vision Service Plan - (NV)        Account #300078340001                             2990-000                                        22.30    326,862.84
06/05/13                 Paychex                           Payroll                                           2690-000                                    2,743.68     324,119.16
06/11/13     10219       Puliz Records MGT LV              Invoice #2013-4-00227 Client#Powell               2410-000                                       419.42    323,699.74

                                                                                                  Subtotals :                   $65,375.38             $25,777.47
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351              Entered 12/21/17 12:05:45                            Page 109 of 131

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                                                   Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                          3                                       4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction               T-Code              $                   $       Account Balance
06/13/13                  Paychex                          Taxes                                              2690-000                                       840.92    322,858.82
06/18/13     10220        Sprenz & Associates              Invoice #1128                                      2410-000                                    1,285.94     321,572.88
06/18/13     10221        StorageOne @ Grand Canyon        Unit 1261, Tenant 136817, Invoice 12645            2410-000                                       208.00    321,364.88
06/18/13     10222        Aetna Life Insurance Company     Invoice #G1704663 Triad #E23H Account              2990-000                                    1,790.00     319,574.88
                                                           #82503012
06/18/13                  Paychex                          Invoice                                            2690-000                                       230.81    319,344.07
06/19/13       {9}        The Powell Litigation Group PC   Lynn Kerecman- Case Costs                          1221-000                 816.71                          320,160.78
06/19/13                  Paychex                          Payroll                                            2690-000                                    2,797.03     317,363.75
06/20/13                  Paychex                          Invoice                                            2690-000                                       305.81    317,057.94
06/25/13                  Paychex                          Taxes                                              2690-000                                       859.29    316,198.65
06/28/13                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       434.00    315,764.65
07/03/13                  Paychex                          Payroll                                            2690-000                                    2,852.19     312,912.46
07/10/13     10223        Puliz Records Management LV      Invoice #2013-6-00233 Client # Powell              2410-000                                       419.42    312,493.04
07/11/13                  Paychex                          Taxes                                              2690-000                                       856.13    311,636.91
07/15/13                  Paychex                          Invoice                                            2690-000                                       270.81    311,366.10
07/15/13                  Paychex                          Taxes                                              2690-000                                       838.84    310,527.26
07/17/13     10224        StorageOne @ Grand Canyon        Invoice #12847, Teneant 136817, Unit 1261          2410-000                                       208.00    310,319.26
07/17/13                  Paychex                          Payroll                                            2690-000                                    2,942.11     307,377.15
07/22/13       {9}        American National Property and   Atty fees for Nichole McCulloch Claim              1221-000              3,357.03                           310,734.18
                          Casualty CO.                     #0201C0512-072806-1
07/24/13     10225        Aetna Life Insurance Company     Invoice #G1841555 Triad #E23H Account              2990-000                                    1,582.00     309,152.18
                                                           #82503012
07/26/13                  Paychex                          Payroll                                            2690-000                                    2,974.91     306,177.27
07/29/13                  Paychex                          Taxes                                              2690-000                                       854.64    305,322.63
07/29/13                  Paychex                          Invoice                                            2690-000                                       170.81    305,151.82
07/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       494.24    304,657.58
08/08/13       {9}        The Powell Litigation Group PC   Ahmad Quassani - 15% Costs                         1221-000                 795.91                          305,453.49
08/08/13       {9}        The Powell Litigation Group PC   Glen & Lisa Muise - 15% Costs                      1221-000                 126.92                          305,580.41
08/08/13       {9}        The Powell Litigation Group PC   Deral Smith - 15% Costs                            1221-000                  97.60                          305,678.01
08/08/13       {9}        The Powell Litigation Group PC   Rae - Shanda Paige - 15% Costs                     1221-000                  18.92                          305,696.93
08/08/13       {9}        The Powell Litigation Group PC   Ruth Schmeglar - 15% Costs                         1221-000                 102.75                          305,799.68
08/08/13       {9}        The Powell Litigation Group PC   Steven Wyatt - 15% Costs                           1221-000                 152.16                          305,951.84
08/08/13       {9}        The Powell Litigation Group PC   John Werner - 15% Costs                            1221-000                  87.70                          306,039.54
08/08/13       {9}        The Powell Litigation Group PC   Manuel Arvarez - 15% Costs                         1221-000                 104.41                          306,143.95
08/08/13       {9}        The Powell Litigation Group PC   Renee Ramirez - 15% Costs                          1221-000                  27.75                          306,171.70
08/08/13       {9}        The Powell Litigation Group PC   Madeline James - 15% Costs                         1221-000                  81.96                          306,253.66
08/09/13     10226        Sprenz & Associates              Invoice #1132                                      2410-000                                    1,317.19     304,936.47

                                                                                                   Subtotals :                     $5,769.82            $24,533.09
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                           Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                  Bank Name:          Rabobank, N.A.
                                                                                                        Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                 Separate Bond: N/A

   1            2                            3                                           4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                      Description of Transaction               T-Code              $                   $       Account Balance
08/09/13                  Paychex                               Payroll                                            2690-000                                    3,037.16     301,899.31
08/09/13                  Paychecx                              Invoice                                            2690-000                                        80.81    301,818.50
08/09/13                  Paychex                               Taxes                                              2690-000                                       876.05    300,942.45
08/13/13                  Reversal of Deposit Rev. #57- entry   Paychex- Invoice                                   2690-000                                       -305.81   301,248.26
                          entered in twice
08/13/13                  Paychex                               Invoice                                            2690-000                                       305.81    300,942.45
08/13/13                  Paychex                               Invoice                                            2690-000                                       305.81    300,636.64
08/20/13     10227        Puliz Records Mgt LV                  Invoice #2013-7-00233 Client # Powell              2410-000                                       419.42    300,217.22
08/20/13     10228        Aetna Life Insurance Company          Invoice #G1984450 Triad #E23H Account              2990-000                                    2,499.00     297,718.22
                                                                #82503012
08/20/13     10229        Sprenz & Associates                   Invoice #1133                                      2410-000                                    1,315.08     296,403.14
08/23/13     10230        Vision Service Plan - (NV)            Account #300078340001                              2990-000                                        22.30    296,380.84
08/23/13                  Paychex                               Payroll                                            2690-000                                    3,077.18     293,303.66
08/26/13                  Paychex                               Taxes                                              2690-000                                       881.79    292,421.87
08/26/13                  Paychex                               Invoice                                            2690-000                                        80.81    292,341.06
08/29/13                  The Powell Litigation Group           Joseph Murin - Trust Proceeds                                           32,080.00                           324,421.06
               {9}                                                 Joseph Murin                     5,413.13       1221-000                                                 324,421.06
               {9}                                                 Joseph Murin payment            26,666.87       1221-000                                                 324,421.06
08/29/13     10231        Joseph Murrin                         Joseph Murrin - State Farm Settlement              5910-000                                   26,666.67     297,754.39
08/30/13                  Rabobank, N.A.                        Bank and Technology Services Fee                   2600-000                                       434.67    297,319.72
09/04/13       {9}        Robert W. Cottle LTD                  PLG Costs - Irma Alatorre                          1221-000                  37.68                          297,357.40
09/04/13       {9}        Robert W. Cottle LTD                  PLG Costs - Ivan Altorre                           1221-000                  79.81                          297,437.21
09/04/13       {9}        Robert W. Cottle LTD                  PLG Costs - Miguel Blas-Rojas                      1221-000                   6.00                          297,443.21
09/04/13       {9}        Robert W. Cottle LTD                  PLG Costs - Pia Coleman                            1221-000                 346.80                          297,790.01
09/04/13       {9}        Robert W. Cottle LTD                  PLG Costs - Susan Daniels                          1221-000                 288.79                          298,078.80
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Karen Edberg                           1221-000                  45.00                          298,123.80
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Petero Eneliko                         1221-000                 124.43                          298,248.23
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Rosalyn Eneliko                        1221-000                  12.53                          298,260.76
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Hazel Frazier                          1221-000                 454.52                          298,715.28
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Victor Gonzales-Vill                   1221-000                 279.20                          298,994.48
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Carol Hale                             1221-000                 149.87                          299,144.35
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Kemich Rodriguez                       1221-000                 306.25                          299,450.60
09/04/13       {9}        Robert W. Cottle, LTD                 PLG-Costs Arrod siores                             1221-000                  10.00                          299,460.60
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Rylan Siores                           1221-000                  10.39                          299,470.99
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Starlicia Thomas                       1221-000                 346.80                          299,817.79
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Meccasia Tompkins                      1221-000                 315.00                          300,132.79
09/04/13       {9}        Robert W. Cottle, LTD                 PLG Costs - Maria Venegas-Rodr                     1221-000                 341.55                          300,474.34

                                                                                                        Subtotals :                   $35,234.62             $39,696.75
{} Asset reference(s)                                                                                                                            Printed: 12/12/2017 12:12 PM        V.13.29
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                                                   Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                           3                                      4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction              T-Code              $                   $       Account Balance
09/04/13       {9}        Robert W. Cottle, LTD            PLG Costs - Jolysses Woods                        1221-000                 270.00                          300,744.34
09/04/13       {9}        Robert W. Cottle, LTD            PLG Costs - Jodie Panganoran                      1221-000                 602.96                          301,347.30
09/04/13       {9}        Robert W. Cottle, LTD            PLG Costs - Shannon Allen                         1221-000                 622.68                          301,969.98
09/04/13       {9}        Robert W. Cottle, LTD            PLG Fees - Shannon Allen                          1221-000              5,369.13                           307,339.11
09/04/13     10232        Cody S. Spencer                  Payment for services rendered                     2690-000                                       75.60     307,263.51
09/09/13                  Paychex                          Invoice                                           2690-000                                       80.81     307,182.70
09/09/13                  Paychex                          Taxes                                             2690-000                                      870.44     306,312.26
09/11/13       {9}        The Powell Litigation Group PC   Tricia Tennant - 15% Costs                        1221-000              1,140.01                           307,452.27
09/11/13       {9}        The Powell Litigation Group PC   Anissa Robles - Attorney Fees                     1221-000                 150.00                          307,602.27
09/11/13       {9}        The Powell Litigation Group PC   Cindy Vincich - Advanced Costs                    1221-000                  20.00                          307,622.27
09/11/13       {9}        The Powell Litigation Group PC   Pasquale Villardi - Advanced Costs                1221-000                 818.76                          308,441.03
09/11/13       {9}        The Powell Litigation Group PC   Hernestina Villanueva - Advanced Costs            1221-000                 528.51                          308,969.54
09/11/13       {9}        The Powell Litigation Group PC   Eddie Sarpong - Advanced Costs                    1221-000                 208.10                          309,177.64
09/11/13       {9}        The Powell Litigation Group PC   Susan Rathunde - Advanced Costs                   1221-000                 256.18                          309,433.82
09/11/13       {9}        The Powell Litigation Group PC   Danny Killpatrick - Advanced Costs                1221-000                  15.95                          309,449.77
09/11/13       {9}        The Powell Litigation Group PC   Mary Cowley - Advanced Costs                      1221-000                 447.56                          309,897.33
09/11/13       {9}        The Powell Litigation Group PC   Ana Miranda - Advanced Costs                      1221-000                  34.00                          309,931.33
09/11/13       {9}        The Powell Litigation Group PC   Jackie Mack - Advanced Costs                      1221-000             28,958.35                           338,889.68
09/11/13       {9}        The Powell Litigation Group PC   Nichole Anderson - Advanced Costs                 1221-000                 786.60                          339,676.28
09/11/13       {9}        The Powell Litigation Group PC   Roberta Dulfon - Advanced Costs                   1221-000                  27.75                          339,704.03
09/11/13       {9}        The Powell Litigation Group PC   Heather Dean-Murray - Advanced Costs              1221-000                 290.65                          339,994.68
09/11/13       {9}        The Powell Litigation Group PC   Sharon Ayers - Advanced Costs                     1221-000                 330.20                          340,324.88
09/11/13       {9}        The Powell Litigation Group PC   Ana Miranda - Advanced Costs                      1221-000                  40.00                          340,364.88
09/11/13       {9}        The Powell Litigation Group PC   David Laughlin - Attorney Fees                    1221-000              2,857.12                           343,222.00
09/11/13       {9}        The Powell Litigation Group PC   David Laughlin - Advanced Costs                   1221-000                 193.80                          343,415.80
09/11/13       {9}        The Powell Litigation Group PC   Shernese Omar - Advanced Costs                    1221-000                  11.58                          343,427.38
09/11/13       {9}        The Powell Litigation Group PC   Kamesha McClinton - Attorney Fees                 1221-000              1,649.21                           345,076.59
09/11/13       {9}        The Powell Litigation Group PC   Shemse Omar - Attorney Fees                       1221-000                 960.00                          346,036.59
09/11/13       {9}        The Powell Litigation Group PC   K'daya Fuller - Attorney Fees                     1221-000                 333.33                          346,369.92
09/11/13       {9}        The Powell Litigation Group PC   Kamesha McClinton - Attorney Fees                 1221-000              2,400.00                           348,769.92
09/11/13       {9}        The Powell Litigation Group PC   Ashley Bangs - Advanced Costs                     1221-000                  37.25                          348,807.17
09/11/13       {9}        The Powell Litigation Group PC   Antonio Caldwell - Advanced Costs                 1221-000                  19.75                          348,826.92
09/11/13       {9}        The Powell Litigation Group PC   Christian Jacinto - Advanced Costs                1221-000                  19.75                          348,846.67
09/11/13       {9}        The Powell Litigation Group PC   Teresa Ziegler - 15% Costs                        1221-000                  35.52                          348,882.19
09/11/13       {9}        The Powell Litigation Group PC   Krystle Kelly                                     1221-000                  29.12                          348,911.31
09/11/13       {9}        The Powell Litigation Group PC   Jerrod Gunning - 15% Costs                        1221-000              1,883.27                           350,794.58
09/11/13       {9}        The Powell Litigation Group PC   Floyd Marsden - 15% Costs                         1221-000                   1.57                          350,796.15
                                                                                                    Subtotals :                 $51,348.66             $1,026.85
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
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                                                   Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                     Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                          3                                      4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                T-Code              $                   $       Account Balance
09/11/13       {9}        The Powell Litigation Group PC   Brittany Koutsoubos - 15% Costs                   1221-000                  22.63                          350,818.78
09/11/13       {9}        The Powell Litigation Group PC   Robert Bussy - 15% Costs                          1221-000                  95.38                          350,914.16
09/11/13       {9}        The Powell Litigation Group PC   Marilyn Burton - 15% Costs                        1221-000                 107.87                          351,022.03
09/11/13       {9}        The Powell Litigation Group PC   Ricky Cannon - 15% Costs                          1221-000                   0.75                          351,022.78
09/11/13       {9}        The Powell Litigation Group PC   Leo Archambault - 15% Costs                       1221-000                   5.57                          351,028.35
09/11/13       {9}        The Powell Litigation Group PC   Rafael Gutierrez - 15% Costs                      1221-000                  71.97                          351,100.32
09/11/13       {9}        The Powell Litigation Group PC   James Bucknell - Advanced Costs                   1221-000                  82.34                          351,182.66
09/11/13       {9}        The Powell Litigation Group PC   Myong Ryals - 15% Costs                           1221-000                  60.43                          351,243.09
09/11/13       {9}        The Powell Litigation Group PC   Moniqua Whitmore - 15% Costs                      1221-000                  45.54                          351,288.63
09/11/13       {9}        The Powell Litigation Group PC   Katherine Ruvalcaba - 15% Costs                   1221-000                   3.75                          351,292.38
09/11/13       {9}        The Powell Litigation Group PC   Edgar Salazar - 15% Costs                         1221-000                  86.14                          351,378.52
09/11/13       {9}        The Powell Litigation Group PC   Keshia Rashada-David - 15% Costs                  1221-000                  51.80                          351,430.32
09/11/13       {9}        The Powell Litigation Group PC   Suzette Silvestre - 15% Costs                     1221-000                  25.55                          351,455.87
09/11/13       {9}        The Powell Litigation Group PC   Terence Kinser - 15% Costs                        1221-000                 154.04                          351,609.91
09/11/13       {9}        The Powell Litigation Group PC   Thomas Denton - 15% Costs                         1221-000                   5.04                          351,614.95
09/11/13       {9}        The Powell Litigation Group PC   Michelle Theroux - 15% Costs                      1221-000                 101.93                          351,716.88
09/11/13       {9}        The Powell Litigation Group PC   Shirley Williams - 15% Costs                      1221-000                   1.20                          351,718.08
09/11/13       {9}        The Powell Litigation Group PC   Karla Luna-Dominguez - 15% Costs                  1221-000                  96.82                          351,814.90
09/11/13       {9}        The Powell Litigation Group PC   Marlon Haynes - 15% Costs                         1221-000                 127.14                          351,942.04
09/11/13       {9}        The Powell Litigation Group PC   Diana Carnivalli - 15% Costs                      1221-000                  11.00                          351,953.04
09/11/13       {9}        The Powell Litigation Group PC   Crystal Denton - 15% Costs                        1221-000                   4.77                          351,957.81
09/11/13       {9}        The Powell Litigation Group PC   Sylvester Thomas - 15%                            1221-000                 271.45                          352,229.26
09/11/13       {9}        The Powell Litigation Group PC   Diep Woodard - 15% Costs                          1221-000                   4.11                          352,233.37
09/11/13       {9}        The Powell Litigation Group PC   Darlene Villalba-Hawkins - 15% Costs              1221-000                  41.82                          352,275.19
09/11/13       {9}        The Powell Litigation Group PC   Michele Redmond - 15% Costs                       1221-000                  50.29                          352,325.48
09/11/13       {9}        The Powell Litigation Group PC   Claudia Miramontes - 15% Costs                    1221-000                  20.87                          352,346.35
09/11/13       {9}        The Powell Litigation Group PC   Linda Webster - 15% Costs                         1221-000                   7.79                          352,354.14
09/11/13       {9}        The Powell Litigation Group PC   William Sterling - 15% Costs                      1221-000                  49.09                          352,403.23
09/11/13       {9}        The Powell Litigation Group PC   James Mead - 15% Costs                            1221-000                  83.50                          352,486.73
09/11/13       {9}        The Powell Litigation Group PC   Anthoney Lucero - 15% Costs                       1221-000                   8.07                          352,494.80
09/11/13       {9}        The Powell Litigation Group PC   Lydua Lynch - Advanced Costs                      1221-000                  42.26                          352,537.06
09/11/13       {9}        The Powell Litigation Group PC   Carolyn Castro - 15% Costs                        1221-000                  75.00                          352,612.06
09/11/13       {9}        The Powell Litigation Group PC   Justin Owens - 15% Costs                          1221-000                 112.62                          352,724.68
09/11/13       {9}        The Powell Litigation Group PC   Maria Gomez - 15% Costs                           1221-000                 136.71                          352,861.39
09/11/13       {9}        The Powell Litigation Group PC   Maria Pena - 15% Costs                            1221-000                 124.38                          352,985.77
09/11/13       {9}        The Powell Litigation Group PC   Royale Robinson - 15% Costs                       1221-000                   1.68                          352,987.45
09/11/13       {9}        The Powell Litigation Group PC   Carole Campagna - 15% Costs                       1221-000                  16.38                          353,003.83
                                                                                                  Subtotals :                     $2,207.68                $0.00
{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351             Entered 12/21/17 12:05:45                             Page 113 of 131

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                                                                                 Form 2                                                                                        Page: 54

                                                    Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                     Trustee:             David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:           Rabobank, N.A.
                                                                                                  Account:             ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:        $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                              3                                   4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction               T-Code              $                   $       Account Balance
09/11/13       {9}        The Powell Litigation Group PC   Robert Merkosky - 15% Costs                       1221-000                    2.85                          353,006.68
09/11/13       {9}        The Powell Litigation Group PC   Anabel Sevilla - 15% Costs                        1221-000                  214.65                          353,221.33
09/11/13       {9}        The Powell Litigation Group PC   James Quinn - 15% Costs                           1221-000                  595.36                          353,816.69
09/11/13       {9}        The Powell Litigation Group PC   Kevin Corbid - 15% Costs                          1221-000                   22.14                          353,838.83
09/11/13       {9}        The Powell Litigation Group PC   Diane Stuessy - 15% Costs                         1221-000                   16.41                          353,855.24
09/11/13       {9}        The Powell Litigation Group PC   Otho Ray Howard - 15% Costs                       1221-000                   27.75                          353,882.99
09/11/13       {9}        The Powell Litigation Group PC   Gerald Howell - 15% Costs                         1221-000                    0.24                          353,883.23
09/11/13       {9}        The Powell Litigation Group PC   Ana Miranda - 15% Costs                           1221-000                    6.00                          353,889.23
09/11/13       {9}        The Powell Litigation Group PC   Jackie Mack - 15% Costs                           1221-000               1,917.10                           355,806.33
09/11/13       {9}        The Powell Litigation Group PC   Heather Dean-Murray - 15% Costs                   1221-000                   48.53                          355,854.86
09/11/13       {9}        The Powell Litigation Group PC   Mae Ruth Byrd - 15% Costs                         1221-000                   46.67                          355,901.53
09/11/13       {9}        The Powell Litigation Group PC   David Laughlin - 15% Costs                        1221-000                   34.19                          355,935.72
09/11/13       {9}        The Powell Litigation Group PC   Shemese Omar - 15% Costs                          1221-000                    2.04                          355,937.76
09/12/13                  Paychex                          Payroll                                           2690-000                                     3,059.80     352,877.96
09/18/13       {9}        The Powell Litigation Group      Ann Johnson - Partial Settlement Payout           1221-000              15,000.00                           367,877.96
09/18/13     10233        Clerk of the Court               23BD17BA                                          2690-000                                     1,500.00     366,377.96
09/18/13                  Ann Johnson                      Ann Johnson - Partial Settlement Payment          8500-000                                    15,000.00     351,377.96
09/18/13                  The Powell Litigation            Stale dated checks 11131 $2857.12; 11200          1221-000             -33,370.83                           318,007.13
                                                           $960.00; 10575 595.36; 10899 $28958.35
09/30/13                  Rabobank, N.A.                   Bank and Technology Services Fee                  2600-000                                        435.99    317,571.14
10/11/13       {9}        The Powell Litigation Group      Advanced costs                                    1221-000              33,370.83                           350,941.97
10/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee                  2600-000                                        526.49    350,415.48
11/05/13     10234        Cody Spencer                     Payment for services performed - 10.5 Hours       2990-000                                        226.80    350,188.68
11/08/13     10235        Clerk of the Court               23BD17BA                                          2690-000                                        336.00    349,852.68
                                                           Voided on 11/18/13
11/08/13     10236        Clerk of the Court               23BD17BA                                          2690-000                                        500.00    349,352.68
11/11/13     10237        Legal Process Service            Summons: Complaint in Interpleader                2990-000                                     3,180.00     346,172.68
11/13/13                  Paychex                          Account fee                                       2690-000                                        179.00    345,993.68
11/15/13     10238        Sprenz & Associates              Invoice # 1136, 1135, 1134                        2410-000                                        562.33    345,431.35
11/15/13     10239        Puliz Records MGT LV             Invoice #2013-8-00236; 2013-9-00238;              2410-000                                     1,933.47     343,497.88
                                                           2013-10-00254
11/15/13     10240        Legal Express                    Invoice#573865; 573873; 530723; 530729;           2990-000                                        579.00    342,918.88
                                                           573882; 530728
11/18/13     10235        Clerk of the Court               23BD17BA                                          2690-000                                        -336.00   343,254.88
                                                           Voided: check issued on 11/08/13
11/18/13     10241        Leah Martin Law                  Wiznet Account Payment                            2700-000                                        336.00    342,918.88
11/29/13                  Rabobank, N.A.                   Bank and Technology Services Fee                  2600-000                                        468.88    342,450.00

                                                                                                     Subtotals :                 $17,933.93             $28,487.76
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351             Entered 12/21/17 12:05:45                             Page 114 of 131

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                                                                                    Form 2                                                                                     Page: 55

                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                              3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction               T-Code              $                   $       Account Balance
12/03/13     10242        Cody Spencer                     Payment for services performed - case costs        2990-000                                       594.00    341,856.00
                                                           27.5 Hours
12/03/13     10243        Cody Spencer                     Payment for services performed - case costs        2990-000                                       183.60    341,672.40
                                                           8.5 hours
12/11/13                  Paychex                          Invoice payment                                    2990-000                                        49.00    341,623.40
12/18/13     10244        Cody Spencer                     Payment for services performed - case costs        2990-000                                       410.40    341,213.00
                                                           19.0 hours
12/18/13     10245        Puliz Records MGT LV             Invoice #2013-11-00258 Client #Powell              2410-000                                       474.72    340,738.28
12/20/13     10246        Legal Process Service            Summons: Complaint in Interpleader                 2990-000                                    9,571.80     331,166.48
12/30/13     10247        Clerk of the Court               23BD17BA                                           2690-000                                       200.00    330,966.48
12/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       540.52    330,425.96
01/06/14     10248        International Sureties, LTD.     BOND PREMIUM PAYMENT ON BANK                       2300-000                                       303.74    330,122.22
                                                           BALANCE AS OF 01/06/2014 FOR CASE
                                                           #12-15555
01/13/14     10249        Cody Spencer                     Interpleader costs - Huber, Joseph 3.75 hours      2690-000                                        81.00    330,041.22
01/13/14                  Paychex                          Account fee                                        2690-000                                        49.00    329,992.22
01/14/14     10250        Puliz Records MGT LV             Invoice #2013-12-00255 Client #Powell              2410-000                                       474.72    329,517.50
01/15/14      {14}        Milee Powell and Kristen Waina   Acct #14; Payment #1; Settlement Agreement         1249-000             10,000.00                           339,517.50
                          Settlement
01/15/14                  Milee Powell and Kristen Waina   Acct #14; Payment #1, 2; Settlement                                     15,500.00                           355,017.50
                          Settlement                       agreement payment
              {14}                                            Acct #14; Payment #1;           15,000.00       1249-000                                                 355,017.50
                                                              Settlement agreement
                                                              payment
              {14}                                            Acct #14; Payment #2;               500.00      1249-000                                                 355,017.50
                                                              Settlement agreement
                                                              payment
01/15/14     10251        Legal Process Service            Summons: Complaint in Interpleader                 2990-000                                    2,122.45     352,895.05
01/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       510.01    352,385.04
02/06/14       {9}        The Powell Litigation Group PC   Shannon Harger - Case A-11-652160-C                1221-000             34,158.83                           386,543.87
                                                           Remaining fees and costs
02/07/14                  Paychex                          Year end payroll taxes                             2690-000                                        -0.02    386,543.89
02/11/14                  Paychex                          Invoice                                            2690-000                                        86.50    386,457.39
02/20/14      {14}        Milee Powell and Kristen Waina   Acct #14; Payment #3; Settlement Agreement         1249-000                 500.00                          386,957.39
                          Settlement                       Payment
02/28/14     10252        Cody Spencer                     Updating Trust Detail - 40 hours                   2990-000                                       864.00    386,093.39
02/28/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       501.02    385,592.37
03/03/14     10253        Puliz Records MGT LV             Invoice #2014-1-00260 Client #Powell               2410-000                                       474.72    385,117.65

                                                                                                    Subtotals :                  $60,158.83             $17,491.18
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351            Entered 12/21/17 12:05:45                              Page 115 of 131

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                                                   Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                              3                                   4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
03/06/14     10254        Cody Spencer                     Review file and gather case related docs - 10      2990-000                                      216.00     384,901.65
                                                           hours
03/07/14       {9}        Maier Gutierrez Ayon PLLC        Thomas Mayer - Case Costs                          1221-000             15,989.45                           400,891.10
03/11/14     10255        Clerk of the Court               23BD17BA                                           2690-000                                      500.00     400,391.10
03/13/14      {14}        Milee Powell and Kristen Waina   Acct #14; Payment #4; Payment for settlement       1249-000                 500.00                          400,891.10
                                                           agreement
03/14/14     10256        Legal Process Service            Process Service Account #A9344                     2990-000                                      500.00     400,391.10
                                                           Voided on 04/07/14
03/17/14     10257        Legal Process Service            Process Service Account #A9344; Invoice            2990-000                                   1,034.50      399,356.60
                                                           #1309039, 1311515, 1310991, 1400824,
                                                           1401193, 1401517
03/26/14     10258        Cody Spencer                     Review file and gather case related docs - 20      2990-000                                      432.00     398,924.60
                                                           hours
03/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                      549.27     398,375.33
04/07/14     10256        Legal Process Service            Process Service Account #A9344                     2990-000                                      -500.00    398,875.33
                                                           Voided: check issued on 03/14/14
04/14/14      {14}        Milee Powell                     Acct #14; Payment #5; Stipulated Payment           1249-000                 500.00                          399,375.33
04/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                      612.61     398,762.72
05/14/14      {14}        Milee Powell                     Acct #14; Payment #6; Settlement payment           1249-000                 500.00                          399,262.72
05/14/14     10259        Puliz Records MGT LV             Invoice #2014-4-00265 Client #Powell               2410-000                                      474.72     398,788.00
05/27/14     10260        Cody Spencer                     Prepare fees and costs for case payouts            2990-000                                      270.00     398,518.00
05/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                      573.78     397,944.22
06/05/14       {9}        The Powell Litigation Group PC   Case # A-12-660322-C                               1221-000             26,200.00                           424,144.22
06/06/14     10261        Puliz Records MGT LV             Invoice #2014-3-00260 Client #Powell               2410-000                                      474.72     423,669.50
06/06/14     10262        Puliz Records MGT LV             Invoice #2014-5-00259 Client #Powell               2410-000                                      474.72     423,194.78
06/12/14     10263        Cody Spencer                     Review file and gather case related docs - 10      2990-000                                      216.00     422,978.78
                                                           hours
06/13/14      {14}        Milee Powell                     Acct #14; Payment #7; Stipulated payments          1249-000                 500.00                          423,478.78
06/18/14                  IOLTA TRUST ACCOUNT              TRUST ACCOUNT BALANCE 2,079,691.38                 8500-002                                                 423,478.78
                          BALANCE 5/31/2014
06/18/14                  REVERSE IOLTA ACCOUNT            REVERSE ADJUSTMENT MEMO
                                                                                -2,079,691.38                 8500-002                                                 423,478.78
                          ENTRY
06/25/14     10264        City of San Jacinto              APN: 436-570-003; LOC: vac 7th & Overton;          2990-000                                      148.00     423,330.78
                                                           Citation #s: 13294
06/25/14     10265        City of San Jacinto              APN: 436-570-002; LOC: vac 7th & Pine St;          2990-000                                      148.00     423,182.78
                                                           Citation #s: 13293
06/25/14     10266        Cody Spencer                     Review file and gather case related docs - 10      2990-000                                      216.00     422,966.78
                                                           hours

                                                                                                     Subtotals :                 $44,189.45             $6,340.32
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351            Entered 12/21/17 12:05:45                              Page 116 of 131

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                                                    Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                            Separate Bond: N/A

   1            2                              3                                   4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
06/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       580.72    422,386.06
07/01/14     10267        Leah A. Martin, Esq.             Compensation for services rendered and for         3210-600                                   22,055.18     400,330.88
                                                           reimbursement of expenses. [Dkt. No. 190]
07/01/14     10268        Howard Kim & Associates          Claim allowed per Court Order entered                                                        269,581.72     130,749.16
                                                           7/1/2014 [Doc 191]
                                                              Claim allowed per Court       265,002.50        3210-000                                                 130,749.16
                                                              Order entered 7/1/2014
                                                              [Doc 191]
                                                              Claim allowed per Court          4,579.22       3220-000                                                 130,749.16
                                                              Order entered 7/1/2014
                                                              [Doc 191]
07/10/14      {16}        Steven Grierson                  Return of bond payment - Case No A524852           1249-000                 500.00                          131,249.16
07/14/14     10269        Puliz Records MGT LV             Invoice no 2014-6-00264                            2410-000                                       474.72    130,774.44
07/15/14      {14}        Milee Powell & Kristen Waina     Acct #14; Payment #8; Settlment payment            1249-000                 500.00                          131,274.44
07/17/14      {14}        Milee Powell and Kristen Waina   Acct #14; Payment #8; Milee Powell and             1249-000              1,833.33                           133,107.77
                          Settlement                       Kristen Waina Settlement
07/22/14       {9}        The Powell Litigation Group      Payment for fees and costs                         1221-000           186,951.67                            320,059.44
07/22/14     10270        Cody Spencer                     Review file and gather case related docs - 15      2990-000                                       324.00    319,735.44
                                                           hours
07/24/14       {9}        The Powell Litigation Group      Fees and Costs - Juan Pedro Miranda                1221-000             13,169.20                           332,904.64
                                                           Case#A589709
07/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       342.72    332,561.92
08/11/14     10271        Puliz Records MGT LV             Invoice no 2014-2-00258                            2410-000                                       474.72    332,087.20
08/14/14      {14}        Milee Powell                     Acct #14; Payment #9; Stipulation Payment          1249-000              2,333.33                           334,420.53
08/15/14     10272        Puliz Records MGT LV             Invoice no 2014-7-00268                            2410-000                                       474.72    333,945.81
08/18/14     10273        Clerk of the Court               23BD17BA                                           2690-000                                    1,000.00     332,945.81
08/19/14     10274        Cody Spencer                     Review file and gather case related docs - 19.5 2990-000                                          421.20    332,524.61
                                                           hours
08/20/14       {9}        The Powell Litigation Group      Fees and Costs for Sevilla/Santacruz Case          1221-000              6,000.00                           338,524.61
08/20/14       {9}        The Powell Litigation Group PC   Rosalyn Harrison - Fees and Costs                  1221-000             47,043.84                           385,568.45
08/29/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       656.12    384,912.33
09/10/14     10275        Puliz Records MGT LV             Invoice no 2014-8-00263                            2410-000                                       474.72    384,437.61
09/16/14      {14}        Milee Powell & Kristin Waina     Acct #14; Payment #10; Settlement payment          1249-000              2,333.33                           386,770.94
                          Settlement
09/19/14                  To Account #******9667           Transfer to pay Bank of Nevada                     9999-000                                  186,951.67     199,819.27
09/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee                   2600-000                                       884.87    198,934.40
10/01/14     10276        Cody Spencer                     Review file and gather case related docs - 16.5 2990-000                                          356.40    198,578.00
                                                           hours

                                                                                                    Subtotals :                 $260,664.70         $485,053.48
{} Asset reference(s)                                                                                                                       Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                            Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                   Bank Name:          Rabobank, N.A.
                                                                                                         Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                  Separate Bond: N/A

   1            2                              3                                      4                                                  5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                     T-Code              $                  $       Account Balance
10/15/14      {14}        Milee Powell and Kristin Waina     Acct #14; Payment #11 Settlement payment               1249-000              2,333.33                           200,911.33
10/16/14       {9}        The Powell Litigation Group PC     Adusei Fees and Costs                                  1221-000             94,977.15                           295,888.48
10/16/14     10277        Clerk of the Court                 23BD17BA                                               2690-000                                    1,000.00     294,888.48
10/16/14     10278        Puliz Records MGT LV               Invoice no 2014-9-00265                                2410-000                                       474.72    294,413.76
10/16/14     10279        Cody Spencer                       Review file and gather case related docs - 17.5 2990-000                                              378.00    294,035.76
                                                             hours
10/28/14       {9}        The Powell Litigation Group PC     Lambert - Fees and Costs                               1221-000             82,414.48                           376,450.24
10/28/14       {9}        The Powell Litigation Group        Adusei - Costs                                         1221-000              8,944.00                           385,394.24
10/28/14       {9}        The Powell Litigation Group        Thomas Bacon - Fees and Costs                          1221-000              9,000.00                           394,394.24
10/28/14       {9}        The Powell Litigation Group        Thomas Jinnett - Fees and Costs                        1221-000              6,212.84                           400,607.08
10/31/14                  Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                       446.88    400,160.20
11/07/14     10280        Cody Spencer                       Review file and gather case related docs - 18          2990-000                                       388.80    399,771.40
                                                             hours
11/10/14     10281        Puliz Records MGT LV               Invoice no 2014-10-00269                               2410-000                                       474.72    399,296.68
11/13/14       {9}        Powell Litigation Group PC         Patrick Alex Fees and Costs                            1221-000              8,235.88                           407,532.56
11/17/14      {14}        Kristin Wainscott Milee Powell     Acct #14; Payment #12; Stipulation payment             1249-000              2,333.33                           409,865.89
11/25/14       {9}        The Powell Litigation Group        Tash McLeod - Fees and Costs                           1221-000             84,248.46                           494,114.35
11/25/14     10282        Puliz Records MGT LV               Invoice no 2014-11                                     2410-000                                       474.72    493,639.63
11/28/14                  Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                       523.41    493,116.22
12/03/14     10283        BANK OF NEVADA                     Claim allowed per Court Order entered                  4210-000                                  386,481.85     106,634.37
                                                             12/1/2014, [Doc 222]
12/03/14     10284        Howard Kim & Associates            Claim allowed per Court Order entered                                                             69,333.68         37,300.69
                                                             12/3/2014, [Doc 225]
                                                                Claim allowed per Court           66,937.50         3210-000                                                     37,300.69
                                                                Order entered
                                                                12/3/2014, [Doc 225]
                                                                Claim allowed per Court               2,396.18      3220-000                                                     37,300.69
                                                                Order entered
                                                                12/3/2014, [Doc 225]
12/10/14      {14}        Milee Powell/Kristin Wainscott     Acct #14; Payment #13; Settment payment                1249-000              2,333.33                               39,634.02
12/18/14     10285        Cody Spencer                       Review file and gather case related docs - 16          2990-000                                       345.60        39,288.42
                                                             hours
12/23/14     10286        Puliz Records MGT LV               Invoice no 2014-12-00267                               2410-000                                       474.72        38,813.70
12/31/14                  Rabobank, N.A.                     Bank and Technology Services Fee                       2600-000                                       252.36        38,561.34
01/05/15     10287        International Sureties, LTD.       Bond#016048576                                         2300-000                                        43.99        38,517.35
01/08/15       {9}        Steven D. Grierson                 Peltier stipulation and order for fees                 1221-000              9,089.89                               47,607.24
01/15/15      {14}        Milee Powell & Kristin Wainscott   Acct #14; Payment #14; Stipulation Payment             1249-000              2,333.33                               49,940.57


                                                                                                          Subtotals :                 $312,456.02         $461,093.45
{} Asset reference(s)                                                                                                                             Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction               T-Code              $                  $       Account Balance
01/21/15     10288        Puliz Records MGT LV                 Invoice no 2015-01-00267                           2410-000                                       474.72        49,465.85
01/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        65.89        49,399.96
02/03/15     10289        Cody Spencer                         Review file and gather case related docs - 17      2990-000                                       367.20        49,032.76
                                                               hours
02/04/15     10290        BANK OF NEVADA                       Claim allowed per Court Order entered              4210-000                                    6,894.38         42,138.38
                                                               12/1/14, [Doc 222]
02/05/15       {9}        The Powell Litigation Group          Leyva - Interpleader Funds                         1221-000              6,894.38                               49,032.76
02/18/15      {14}        Milee Powell & Kristen Wainscott     Acct #14; Payment #15; Stipulation Payment         1249-000              2,333.33                               51,366.09
02/19/15       {9}        The Powell Litigation Group          McCulloch, Margaret - Interpleader Funds           1221-000             30,000.00                               81,366.09
02/24/15     10291        Cody Spencer                         Review file and gather case related docs - 17      2990-000                                       432.00        80,934.09
                                                               hours
02/24/15     10292        BANK OF NEVADA                       Claim allowed per Court Order entered              4210-000                                   30,000.00         50,934.09
                                                               12/1/14, [Doc 222]
02/27/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        69.67        50,864.42
03/10/15     10293        Cody Spencer                         Review file and gather case related docs -         2990-000                                       221.40        50,643.02
                                                               10.25 hours
03/11/15     10294        Puliz Records MGT LV                 Invoice no 2015-02-00273                           2410-000                                       474.72        50,168.30
03/12/15       {9}        Cigna Health and Life Insurance      return of funds                                    1221-000              1,442.04                               51,610.34
                          Company
03/16/15      {14}        Milee Powell and Kristen Waina       Acct #14; Payment #16; Payment for                 1249-000              2,333.33                               53,943.67
                          Settlement                           Settlement agreement
03/23/15     10295        Cody Spencer                         Review file and gather case related docs - 10.5 2990-000                                          226.80        53,716.87
                                                               hours
03/30/15     10296        Cody Spencer                         Review file and gather case related docs - 9.25 2990-000                                          199.80        53,517.07
                                                               hours
03/31/15                  International Sureties Bond Refund   International Sureties Bond Refund                 2300-000                                       -427.24       53,944.31
03/31/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        94.88        53,849.43
04/13/15     10297        Cody Spencer                         Review file and gather case related docs - 9       2990-000                                       194.40        53,655.03
                                                               hours
04/13/15     10298        Puliz Records MGT LV                 Invoice no 2015-03-00275                           2410-000                                       474.72        53,180.31
04/15/15      {14}        Milee Powell & Kristin Waina         Acct #14; Payment #17; Settlment Payment           1249-000              2,333.33                               55,513.64
04/17/15       {9}        The Powell Litigation Group          A-12658894-C : Slater, Bruce - Interpleader        1221-000             11,785.65                               67,299.29
                                                               Funds
04/21/15     10299        Cody Spencer                         Review file and gather case related docs - 6 &     2990-000                                       302.40        66,996.89
                                                               8 hours
04/29/15     10300        Shield Fire and Security             Invoice #10050                                     2410-000                                        40.00        66,956.89
04/29/15     10301        ASM Holdings, LLC                    Invoice for storage unit 212                       2410-000                                       300.00        66,656.89
04/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                        82.89        66,574.00

                                                                                                        Subtotals :                  $57,122.06             $40,488.63
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                       4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                   T-Code              $                   $       Account Balance
05/04/15     10302        Cody Spencer                      Review file and gather case related docs - 5         2990-000                                       108.00        66,466.00
                                                            hours
05/14/15     10303        Leah A. Martin, Esq., P.C.        Claim allowed per Court Order entered                                                            6,316.20         60,149.80
                                                            5/8/2015 [Doc 248]
                                                               Claim allowed per Court            5,705.00       3210-600                                                     60,149.80
                                                               Order entered 5/8/2015
                                                               [Doc 248]
                                                               Claim allowed per Court             611.20        3220-610                                                     60,149.80
                                                               Order entered 5/8/2015
                                                               [Doc 248]
05/14/15     10304        Puliz Records MGT LV              Invoice no 2015-04-00278                             2410-000                                       474.72        59,675.08
05/15/15      {14}        Milee Powell & Kristin Waina      Acct #14; Payment #18; Settlement agreement          1249-000              2,333.33                               62,008.41
05/20/15     10305        Cody Spencer                      Review file and gather case related docs - 18.5 2990-000                                            399.60        61,608.81
                                                            hours
05/21/15     10306        ASM Holdings, LLC                 Invoice for storage unit 212                         2410-000                                       300.00        61,308.81
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - Jodie Panganoran                          1221-000              1,333.33                               62,642.14
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - Angelo Veranco                            1221-000                 125.00                              62,767.14
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - Anthony Venegas-Ro                        1221-000                 125.00                              62,892.14
05/22/15       {9}        Robert W. Cottle LTD              PLG Costs - Melynda Montano                          1221-000                  65.00                              62,957.14
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - Melynda Montano                           1221-000                 865.87                              63,823.01
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - Roque Insong                              1221-000                 500.00                              64,323.01
05/22/15       {9}        Robert W. Cottle LTD              PLG Fees - David Vines                               1221-000             15,000.00                               79,323.01
05/26/15       {9}        The Powell Litigation Group PC    Shelton, Maryann - Interpleader Funds -              1221-000                 634.44                              79,957.45
                                                            A-09592338-C
05/27/15       {9}        The Powell Litigation Group PC    Cowley, Mary - Interpleader Funds -                  1221-000              9,414.29                               89,371.74
                                                            A-12-668237-C
05/29/15                  Rabobank, N.A.                    Bank and Technology Services Fee                     2600-000                                        95.16        89,276.58
06/10/15     10307        Puliz Records MGT LV              Invoice no 2015-05-00278                             2410-000                                       474.72        88,801.86
06/15/15      {14}        Milee Powell & Kristin Waina      Acct #14; Payment #19; Settlement payment            1249-000              2,233.33                               91,035.19
06/24/15       {9}        The Powell Litigation Group       Ann Johnson Settlement                               1221-000             68,000.00                           159,035.19
06/24/15     10308        Shield Fire and Security          Invoice #10245                                       2410-000                                        40.00    158,995.19
06/24/15     10309        ASM Holdings, LLC                 Invoice for storage unit 212                         2410-000                                       300.00    158,695.19
06/24/15     10310        Howard Kim & Associates           Claim allowed per Court Order entered                                                           57,881.55     100,813.64
                                                            5/8/2015 [Doc 247]
                                                               Claim allowed per Court         45,572.50         3210-000                                                 100,813.64
                                                               Order entered 5/8/2015
                                                               [Doc 247]
                                                               Claim allowed per Court         12,309.05         3220-000                                                 100,813.64

                                                                                                      Subtotals :                  $100,629.59             $66,389.95
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                          Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                 Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                                Separate Bond: N/A

   1            2                           3                                        4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                   T-Code              $                  $       Account Balance
                                                                Order entered 5/8/2015
                                                                [Doc 247]
06/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                      139.02     100,674.62
07/02/15     10311        Paul M. Healey & Sons CPA's Ltd.   Claim allowed per Court Order entered                3410-000                                   3,495.00          97,179.62
                                                             6/29/2015 [Doc 261]
07/13/15                  Milee Powell & Kristin Waina       Acct #14; Payment #19, 20; Settlement                                      2,333.33                               99,512.95
                          Settlement                         payment
              {14}                                              Acct #14; Payment #19;                100.00      1249-000                                                     99,512.95
                                                                Settlement payment
              {14}                                              Acct #14; Payment #20;           2,233.33         1249-000                                                     99,512.95
                                                                Settlement payment
07/15/15       {9}        The Powell Lititgation Group       Paul Caldwell, Sr., Interpleader Funds               1221-000             11,541.34                           111,054.29
07/15/15       {9}        The Powell Litigation Group        Steve Swanson - Interpleader Funds                   1221-000              7,957.30                           119,011.59
07/24/15     10312        Shield Fire and Security           Invoice #10789                                       2410-000                                       40.00     118,971.59
07/24/15     10313        ASM Holdings, LLC                  Invoice for storage unit 212                         2410-000                                      300.00     118,671.59
07/31/15       {9}        The Powell Litigation Group PC     A-15714146-C John Grantz                             1221-000              4,691.69                           123,363.28
07/31/15       {9}        The Powell Litigation Group PC     A-14-!714145-C William Brewton                       1221-000              1,727.57                           125,090.85
07/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                      156.35     124,934.50
08/14/15                  Milee Powell & Kristin Waina       Acct #14; Payment #20, 21; Settlment                                       2,333.33                           127,267.83
                                                             Payment
              {14}                                              Acct #14; Payment #20;                100.00      1249-000                                                 127,267.83
                                                                Settlment Payment
              {14}                                              Acct #14; Payment #21;           2,233.33         1249-000                                                 127,267.83
                                                                Settlment Payment
08/20/15     10314        Puliz Records MGT LV               Invoice no 2015-07-00281                             2410-000                                      474.72     126,793.11
08/20/15     10315        Shield Fire and Security           Invoice #10789                                       2410-000                                       40.00     126,753.11
08/20/15     10316        ASM Holdings, LLC                  Invoice for storage unit 212                         2410-000                                      300.00     126,453.11
08/31/15                  Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                      173.44     126,279.67
09/15/15                  Milee Powell & Kristen Waina       Acct #14; Payment #21, 22; Stipulated                                      2,333.33                           128,613.00
                                                             Payment
              {14}                                              Acct #14; Payment #21;                100.00      1249-000                                                 128,613.00
                                                                Stipulated Payment
              {14}                                              Acct #14; Payment #22;           2,233.33         1249-000                                                 128,613.00
                                                                Stipulated Payment
09/15/15     10317        Puliz Records MGT LV               Invoice no 2015-08-00280                             2410-000                                      474.72     128,138.28
09/25/15     10318        Shield Fire and Security           Invoice #                                            2410-000                                       40.00     128,098.28
09/25/15     10319        ASM Holdings, LLC                  Invoice for storage unit 212                         2410-000                                      300.00     127,798.28
09/30/15                  Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                      196.16     127,602.12

                                                                                                        Subtotals :                  $32,917.89             $6,129.41
{} Asset reference(s)                                                                                                                           Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                             Separate Bond: N/A

   1            2                           3                                       4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                  T-Code              $                   $       Account Balance
10/08/15       {9}        The Powell Litigation Group      A-12-658126-C Gonzalez, Blanca                      1221-000             31,000.00                           158,602.12
10/08/15       {9}        The Powell Lititgation Group     A-13-689177-C Tebbs, Janice                         1221-000              4,903.69                           163,505.81
10/15/15                  Milee Powell and Kristin Waina   Acct #14; Payment #22, 23; Stipulation                                    2,233.33                           165,739.14
                                                           Payment
              {14}                                            Acct #14; Payment #22;            100.00         1249-000                                                 165,739.14
                                                              Stipulation Payment
              {14}                                            Acct #14; Payment #23;          2,133.33         1249-000                                                 165,739.14
                                                              Stipulation Payment
10/22/15     10320        Puliz Records MGT LV             Invoice no 2015-09-00279                            2410-000                                      474.72     165,264.42
10/22/15     10321        Shield Fire and Security         Invoice #11375                                      2410-000                                       40.00     165,224.42
10/22/15     10322        ASM Holdings, LLC                Invoice for storage unit 212                        2410-000                                      300.00     164,924.42
10/30/15                  Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                      221.54     164,702.88
11/11/15     10323        Puliz Records MGT LV             Invoice no 2015-10-00281                            2410-000                                      474.72     164,228.16
11/17/15     10324        Puliz Records MGT LV             Invoice no 2015-6-00278                             2410-000                                      474.72     163,753.44
11/19/15     10325        Shield Fire and Security         Invoice #11634                                      2410-000                                       40.00     163,713.44
11/19/15     10326        ASM Holdings, LLC                Invoice for storage unit 212                        2410-000                                      300.00     163,413.44
11/30/15                  Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                      229.77     163,183.67
12/14/15     10327        Puliz Records MGT LV             Invoice no 2015-11-00278                            2410-000                                      474.72     162,708.95
12/21/15     10328        Shield Fire and Security         Invoice #11634                                      2410-000                                       40.00     162,668.95
                                                           Voided on 12/22/15
12/21/15     10329        ASM Holdings, LLC                Invoice for storage unit 212                        2410-000                                      300.00     162,368.95
12/22/15     10328        Shield Fire and Security         Invoice #11634                                      2410-000                                      -40.00     162,408.95
                                                           Voided: check issued on 12/21/15
12/31/15     10330        International Sureties, LTD.     BOND PREMIUM PAYMENT ON BANK                        2300-000                                      203.26     162,205.69
                                                           BALANCE AS OF 12/31/2015 FOR CASE
                                                           #12-15555, BOND # 016048576
12/31/15                  Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                      258.73     161,946.96
01/13/16     10331        Puliz Records MGT LV             Invoice no 2015-12-00275                            2410-000                                      474.72     161,472.24
01/13/16     10332        ASM Holdings, LLC                Invoice for storage unit 212                        2410-000                                      300.00     161,172.24
01/13/16     10333        Shield Fire and Security         Invoice #11634                                      2410-000                                       40.00     161,132.24
01/29/16                  Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                      224.95     160,907.29
02/01/16       {9}        The Powell Litigation Group PC   Interpleader Funds - vannucci, pamela               1221-000              2,442.24                           163,349.53
                                                           A-13-689178-C
02/01/16       {9}        The Powell Litigation Group PC   Austin Bean Settlement                              1221-000                 250.00                          163,599.53
02/01/16       {9}        The Powell Litigation Group PC   Brittany McGinnes Settlement                        1221-000                 512.07                          164,111.60
02/01/16       {9}        The Powell Litigation Group PC   Carmela Olvera Settlement                           1221-000              6,495.78                           170,607.38
02/01/16       {9}        The Powell Litigation Group PC   Clarissa Robles Settlement                          1221-000                 523.80                          171,131.18


                                                                                                    Subtotals :                   $48,360.91             $4,831.85
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                       Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                              Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                             Separate Bond: N/A

   1            2                           3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
02/01/16       {9}        The Powell Litigation Group PC    Cuc Tinder Attorney Expenses                       1221-000                  63.65                          171,194.83
02/08/16     10334        Puliz Records MGT LV              Invoice no 2016--00298                             2410-000                                       474.72    170,720.11
02/18/16     10335        Shield Fire and Security          Invoice #12330                                     2410-000                                        40.00    170,680.11
02/18/16     10336        ASM Holdings, LLC                 Invoice for storage unit 212                       2410-000                                       300.00    170,380.11
02/25/16                  Milee Powell and Kristin Waina    Acct #14; Payment #23, 24, 25; Payment for                               4,866.72                           175,246.83
                          Settlement                        settlement agreement
              {14}                                             Acct #14; Payment #23;            200.00        1249-000                                                 175,246.83
                                                               Payment for settlement
                                                               agreement
              {14}                                             Acct #14; Payment #24;          2,333.33        1249-000                                                 175,246.83
                                                               Payment for settlement
                                                               agreement
              {14}                                             Acct #14; Payment #25;          2,333.39        1249-000                                                 175,246.83
                                                               Payment for settlement
                                                               agreement
02/29/16       {9}        The Powell Litigation Group       Attorney Fees and Costs                            1221-000              5,527.11                           180,773.94
03/01/16                  Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       235.64    180,538.30
03/07/16     10337        Puliz Records MGT LV              Invoice no 2016--2-00307                           2410-000                                       474.72    180,063.58
03/17/16     10338        Shield Fire and Security          Invoice #12625                                     2410-000                                        30.00    180,033.58
                                                            Voided on 05/16/16
03/17/16     10339        ASM Holdings, LLC                 Invoice for storage unit 212                       2410-000                                       300.00    179,733.58
03/31/16                  Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       281.69    179,451.89
04/24/16     10340        Puliz Records MGT LV              Invoice no 2016--3-00310                           2410-000                                       474.72    178,977.17
04/29/16                  Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       249.02    178,728.15
05/16/16     10338        Shield Fire and Security          Invoice #12625                                     2410-000                                       -30.00    178,758.15
                                                            Voided: check issued on 03/17/16
05/16/16     10341        Puliz Records MGT LV              Invoice no 2016--4-00309                           2410-000                                       474.72    178,283.43
05/31/16                  Rabobank, N.A.                    Bank and Technology Services Fee                   2600-000                                       247.97    178,035.46
06/09/16     10342        Leah A. Martin, Esq., P.C.        Claim allowed per Court Order entered                                                          2,268.00     175,767.46
                                                            6/7/2016 [Doc 271]
                                                               Claim allowed per Court              25.50      3220-610                                                 175,767.46
                                                               Order entered 6/7/2016
                                                               [Doc 271]
                                                               Claim allowed per Court         2,242.50        3210-600                                                 175,767.46
                                                               Order entered 6/7/2016
                                                               [Doc 271]
06/09/16     10343        Howard Kim & Associates           Claim allowed per Court Order entered                                                         72,390.85     103,376.61
                                                            6/7/2016 [Doc 272]

                                                                                                     Subtotals :                  $10,457.48             $78,212.05
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
                            Case 12-15555-mkn                   Doc 351              Entered 12/21/17 12:05:45                              Page 123 of 131

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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                        Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                               Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                              Separate Bond: N/A

   1            2                           3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                   T-Code              $                  $       Account Balance
                                                              Claim allowed per Court           63,457.50       3210-000                                                 103,376.61
                                                              Order entered 6/7/2016
                                                              [Doc 272]
                                                              Claim allowed per Court            8,933.35       3220-000                                                 103,376.61
                                                              Order entered 6/7/2016
                                                              [Doc 272]
06/09/16     10344        Puliz Records MGT LV             Invoice no 2016--5-00313                             2410-000                                       474.72    102,901.89
06/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       220.41    102,681.48
07/26/16     10345        Puliz Records MGT LV             Invoice no 2016--6-00303                             2410-000                                       504.29    102,177.19
07/29/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       142.37    102,034.82
08/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       161.26    101,873.56
09/08/16     10346        Puliz Records MGT LV             Invoice no 2016--8-00310                             2410-000                                       504.29    101,369.27
09/17/16       {9}        The Powell Litigation Group PC   Santana Interpleader Funds                           1221-000             15,703.45                           117,072.72
09/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       152.71    116,920.01
10/12/16     10347        Puliz Records MGT LV             Invoice no 2016--9-00308                             2410-000                                       504.49    116,415.52
10/31/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       162.02    116,253.50
11/30/16                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       177.88    116,075.62
12/30/16                  Rabobank, N.A.                   Bank & Technology Fee                                2600-000                                       166.50    115,909.12
01/01/17     10348        International Sureties, LTD.     BOND PREMIUM PAYMENT ON BANK                         2300-000                                       278.66    115,630.46
                                                           BALANCE AS OF 01/01/2017 FOR CASE
                                                           #12-15555, Bond #016048576
01/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       177.52    115,452.94
02/28/17                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       154.99    115,297.95
03/31/17                  Rabobank, N.A.                   Bank and Technology Services Fee                     2600-000                                       171.36    115,126.59
08/11/17     10349        PULIZ RECORDS MGT LV             Dividend paid 100.00% on $5,549.39, Admin.           2410-000                                    5,549.39     109,577.20
                                                           Rent (post-petition storage fees, leases, etc.);
                                                           Reference:
08/11/17     10350        INTERNAL REVENUE SERVICE         Dividend paid 100.00% on $6,702.90; Claim#           5800-000                                    6,702.90     102,874.30
                                                           27; Filed: $6,702.90; Reference:
08/11/17     10351        CIT TECHNOLOGY FINANCING         Dividend paid 0.79% on $6,778.77; Claim# 1;          7100-000                                        54.11    102,820.19
                          SERVICES, INC                    Filed: $6,778.77; Reference:
08/11/17     10352        JEFFREY D. GROSS, M.D., INC.     Dividend paid 0.79% on $15,425.00; Claim#            7100-000                                       123.12    102,697.07
                                                           6; Filed: $15,425.00; Reference:
                                                           Stopped on 11/15/17
08/11/17     10353        PITNEY BOWES GLOBAL              Dividend paid 0.79% on $18,048.06; Claim#            7100-000                                       144.05    102,553.02
                          FINANCIAL SERVICES               7; Filed: $18,048.06; Reference:
08/11/17     10354        CENTENNIAL MEDICAL GROUP,        Dividend paid 0.79% on $59,695.48; Claim#            7100-000                                       476.47    102,076.55
                          LLP.                             9; Filed: $59,695.48; Reference:

                                                                                                      Subtotals :                  $15,703.45             $17,003.51
{} Asset reference(s)                                                                                                                         Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn                 Doc 351              Entered 12/21/17 12:05:45                            Page 124 of 131

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                                                  Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                    Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                           Bank Name:          Rabobank, N.A.
                                                                                                Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                         Separate Bond: N/A

   1            2                         3                                     4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                 T-Code              $                   $       Account Balance
08/11/17     10355       NEVADA STATE BANK              Dividend paid 0.79% on $89,976.08; Claim#          7100-000                                      718.16     101,358.39
                                                        10; Filed: $89,976.08; Reference:
08/11/17     10356       AMERICAN EXPRESS TRAVEL        Dividend paid 0.79% on $1,326.60; Claim#           7100-000                                       10.59     101,347.80
                         RELATED SERVICES CO INC        11; Filed: $1,326.60; Reference:
08/11/17     10357       PITNEY BOWES INC               Dividend paid 0.79% on $7,099.67; Claim#           7100-000                                       56.67     101,291.13
                                                        13; Filed: $7,099.67; Reference:
                                                        Stopped on 11/15/17
08/11/17     10358       RETAIL LITIGATION              Dividend paid 0.79% on $1,125.00; Claim#           7100-000                                        8.98     101,282.15
                         CONSULTANTS, LLC               14; Filed: $1,125.00; Reference:
08/11/17     10359       ELITE INVESTIGATION            Dividend paid 0.79% on $11,241.52; Claim#          7100-000                                       89.73     101,192.42
                                                        16; Filed: $11,241.52; Reference:
08/11/17     10360       RANDAZZO PARTIES, LLC          Dividend paid 0.79% on $1,396,513.90;              7100-000                                  11,146.58          90,045.84
                                                        Claim# 17; Filed: $1,396,513.90; Reference:
                                                        Stopped on 11/15/17
08/11/17     10361       GOULD AND LAMB, LLC            Dividend paid 0.79% on $2,500.00; Claim#           7100-000                                       19.95         90,025.89
                                                        19; Filed: $2,500.00; Reference:
                                                        Stopped on 11/15/17
08/11/17     10362       CHRIS PAULBICK C/O REDROCK     Dividend paid 0.79% on $89,939.34; Claim#          7100-000                                      717.87         89,308.02
                         DIAGNOSTICS, LLC               20; Filed: $89,939.34; Reference:
08/11/17     10363       David A. Rosenberg, Trustee    COMBINED CHECK FOR TRUSTEE                                                                   89,304.53                 3.49
                                                        COMPENSATION, EXPENSES AND
                                                        INTEREST
                                                           Dividend paid 100.00%            88,549.91      2100-000                                                            3.49
                                                           on $88,549.91; Claim# ;
                                                           Filed: $88,549.91
                                                           Dividend paid 100.00%              754.62       2200-000                                                            3.49
                                                           on $754.62; Claim# ;
                                                           Filed: $754.62
08/11/17     10364       U.S. Bankruptcy Court          COMBINED SMALL CHECK                                                                               3.49                0.00
                                                           Dividend paid 0.79% on                2.08      7100-000                                                            0.00
                                                           $260.06; Claim# 2;
                                                           Filed: $260.06
                                                           Dividend paid 0.79% on                0.77      7100-000                                                            0.00
                                                           $97.00; Claim# 15;
                                                           Filed: $97.00
                                                           Dividend paid 0.79% on                0.64      7100-000                                                            0.00
                                                           $80.40; Claim# 18;
                                                           Filed: $80.40
11/15/17     10352       JEFFREY D. GROSS, M.D., INC.   Dividend paid 0.79% on $15,425.00; Claim#          7100-000                                      -123.12             123.12

                                                                                                 Subtotals :                         $0.00       $101,953.43
{} Asset reference(s)                                                                                                                    Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn                 Doc 351            Entered 12/21/17 12:05:45                             Page 125 of 131

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                                                 Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                   Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                          Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9666 - Checking Account
Taxpayer ID #: **-***9466                                                                      Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                        Separate Bond: N/A

   1            2                         3                                     4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                T-Code              $                  $       Account Balance
                                                        6; Filed: $15,425.00; Reference:
                                                        Stopped: check issued on 08/11/17
11/15/17     10357       PITNEY BOWES INC               Dividend paid 0.79% on $7,099.67; Claim#          7100-000                                       -56.67             179.79
                                                        13; Filed: $7,099.67; Reference:
                                                        Stopped: check issued on 08/11/17
11/15/17     10360       RANDAZZO PARTIES, LLC          Dividend paid 0.79% on $1,396,513.90;             7100-000                                  -11,146.58         11,326.37
                                                        Claim# 17; Filed: $1,396,513.90; Reference:
                                                        Stopped: check issued on 08/11/17
11/15/17     10361       GOULD AND LAMB, LLC            Dividend paid 0.79% on $2,500.00; Claim#          7100-000                                       -19.95        11,346.32
                                                        19; Filed: $2,500.00; Reference:
                                                        Stopped: check issued on 08/11/17
11/15/17     10365       U.S. Bankruptcy Court          REISSUED CHECK FROM STALE CHECK                   7100-001                                   12,064.19              -717.87
                                                        PROCESSING
                                                        Stopped on 11/28/17
11/28/17     10365       U.S. Bankruptcy Court          REISSUED CHECK FROM STALE CHECK                   7100-001                                  -12,064.19         11,346.32
                                                        PROCESSING
                                                        Stopped: check issued on 11/15/17
11/28/17     10366       U.S. Bankruptcy Court          REISSUED CHECK FROM STALE CHECK                   7100-000                                   11,346.32                0.00
                                                        PROCESSING

                                                                              ACCOUNT TOTALS                                1,455,466.47       1,455,466.47                  $0.00
                                                                                     Less: Bank Transfers                    240,653.74             186,951.67
                                                                              Subtotal                                      1,214,812.73       1,268,514.80
                                                                                     Less: Payments to Debtors                                            0.00
                                                                              NET Receipts / Disbursements                $1,214,812.73       $1,268,514.80




{} Asset reference(s)                                                                                                                   Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn                     Doc 351            Entered 12/21/17 12:05:45                            Page 126 of 131

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                                                                                    Form 2                                                                                    Page: 67

                                                    Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                      Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                             Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9667 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                        3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                 Description of Transaction               T-Code              $                  $       Account Balance
08/08/14      {15}       Glen J Lerner Settlment Agreement   Acct #15; Payment #1                            1249-000           211,333.33                            211,333.33
09/05/14      {15}       Glen J Lerner Settlment Agreement   Acct #15; Payment #2                            1249-000           211,333.33                            422,666.66
09/19/14                 From Account #******9666            Transfer to pay Bank of Nevada                  9999-000           186,951.67                            609,618.33
09/19/14      101        BANK OF NEVADA                      Claim allowed per Court Order entered 9/19/14 4210-000                                    398,285.00     211,333.33
                                                             [Doc 206]
09/19/14      102        BANK OF NEVADA                      Claim allowed per Court Order entered 9/19/14 4210-000                                    211,333.33                0.00
                                                             [Doc 206]
10/03/14      {15}       Glen J Lerner Settlment Agreement   Acct #15; Payment #3                            1249-000           211,333.33                            211,333.33
10/08/14      103        BANK OF NEVADA                      Claim allowed per Court Order entered 9/19/14 4210-000                                    211,333.33                0.00
                                                             [Doc 206]

                                                                                 ACCOUNT TOTALS                                 820,951.66             820,951.66               $0.00
                                                                                        Less: Bank Transfers                    186,951.67                   0.00
                                                                                 Subtotal                                       633,999.99             820,951.66
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                  $633,999.99         $820,951.66




{} Asset reference(s)                                                                                                                      Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          The Bank of New York Mellon
                                                                                                      Account:            ****-******86-66 - Checking Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
05/23/12       {9}        The Powell Litigation Group PC    Cynthia Mendez - Payment of Lien                     1221-000              2,928.95                                   2,928.95
05/23/12       {9}        The Powell Litigation Group PC    Ann Johnson - Advanced Costs 5.17.07                 1221-000              3,086.24                                   6,015.19
05/23/12       {9}        The Powell Litigation Group PC    John Dunstion - Advanced Costs                       1221-000                 158.10                                  6,173.29
05/23/12       {9}        The Powell Litigation Group PC    Kathryn Gaefe - Advanced Costs                       1221-000                 500.00                                  6,673.29
05/23/12       {9}        Robert W. Cottle LTD              Reimburse costs - Pasquale Falcone                   1221-000              1,211.90                                   7,885.19
05/23/12       {9}        Robert W. Cottle, LTD             Reimburse costs - Marisella Avila-Navarette          1221-000                 296.20                                  8,181.39
05/23/12       {9}        Robert W. Cottle LTD              Reimburse costs - Derrick Nichols                    1221-000                 250.00                                  8,431.39
05/23/12       {9}        Glen J. Lerner                    Arrivas, Genieve                                     1221-000                 425.00                                  8,856.39
05/23/12       {9}        Glen J. Lerner                    Vazquez, Pedro Fabian                                1221-000                 355.00                                  9,211.39
05/23/12       {9}        Glen J. Lerner                    Matott, Mary Ellen v. Strongbox                      1221-000              1,032.20                               10,243.59
05/23/12       {9}        Glen J Lerner                     Braun, Robert                                        1221-000                 321.50                              10,565.09
05/23/12       {9}        Steven D. Grierson                A600917 Powell Litigation vs. Aargon Agency          1221-000             50,185.65                               60,750.74
                                                            Inc.
05/24/12       {1}        The Powell Litigation Group       Funds on deposit in the General Account              1129-000             11,163.13                               71,913.87
05/25/12       {9}        The Powell Litigation Group PC    Jeradina Perez-Fuentes - Attorney Fees               1221-000             14,800.00                               86,713.87
05/25/12       {9}        The Powell Litigation Group PC    Alexis Caldwell - Attorney Fees                      1221-000              2,581.30                               89,295.17
05/25/12       {9}        The Powell Litigation Group PC    Alexis Caldwell - Attorney Costs                     1221-000              4,094.55                               93,389.72
05/25/12       {9}        The Powell Litigation Group PC    Rachel Davis - Advanced Costs                        1221-000             43,853.01                           137,242.73
05/25/12       {9}        The Powell Litigation Group PC    Linda Remer - Advanced Costs                         1221-000              2,241.23                           139,483.96
05/31/12      101         Hannah Zahn                       Payroll - Powell Litigation Group - 5/14/12 -        2690-000                                   2,500.00      136,983.96
                                                            5/25/12
05/31/12      102         Cody Spencer                      Payroll - Powell Litigation Group - 5/14/12 -        2690-000                                   1,184.70      135,799.26
                                                            5/25/12
05/31/12      103         ISU Insurance Services - JPG      Workers' Compensation Annual Premium                 2690-000                                       504.00    135,295.26
05/31/12      104         Aetna                             Inv#B0063014, Triad#023H, Acct#8250312               2990-000                                   1,016.00      134,279.26
                                                            Insurance
05/31/12      105         Assurant Employee Benefits        Policy# 5357364; Dental Insurance                    2990-000                                       194.35    134,084.91
05/31/12      106         Sprenz & Associates               Cox phone and internet                               2990-000                                       175.33    133,909.58
                                                            account#0018610116900802
05/31/12      107         Vision Service Plan - (NV)        Acct #300078340001 Vision                            2990-000                                        22.59    133,886.99
05/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                     2600-000                                        39.80    133,847.19
06/01/12      108         Sprenz & Associates               June Rent                                            2410-000                                   1,200.00      132,647.19
06/01/12      109         StorageOne @ Grand Canyon         Storage rent for June                                2410-000                                       208.00    132,439.19
06/05/12       {9}        Powell Lititgation Group PC       Jaradina Perez-Fuentes - Attorney Costs              1221-000             10,024.00                           142,463.19
06/05/12       {9}        Powell Litigation Group PC        Jeradina Perez-Fuentes - Attorney Fees               1221-000             13,200.00                           155,663.19
06/05/12       {9}        The Powell Litigation Group       Frank Feldhouse - Advanced Costs                     1221-000              2,468.25                           158,131.44
06/05/12       {9}        Robert W. Cottle, Ltd             Reimburse costs - Angela Sullivan                    1221-000                 723.86                          158,855.30

                                                                                                       Subtotals :                 $165,900.07             $7,044.77
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
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                                                     Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                   Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                          Bank Name:          The Bank of New York Mellon
                                                                                                Account:            ****-******86-66 - Checking Account
Taxpayer ID #: **-***9466                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                         Separate Bond: N/A

   1            2                              3                                   4                                            5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction               T-Code              $                   $       Account Balance
06/05/12       {9}        Robert W. Cottle, Ltd.          Reimburse costs - Jerry Williams                 1221-000                 758.80                          159,614.10
06/05/12       {9}        Glen J. Lerner                  Swartz, Christin                                 1221-000                 317.50                          159,931.60
06/05/12       {9}        Law Office of James R. Cox      Lonnie Chusser                                   1221-000                  98.70                          160,030.30
06/08/12      110         David A. Rosenberg              BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                       102.90    159,927.40
                                                          BALANCE AS OF 06/08/2012 FOR CASE
                                                          #12-15555, Bond #016048576
                                                          Voided on 06/08/12
06/08/12      110         David A. Rosenberg              BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                       -102.90   160,030.30
                                                          BALANCE AS OF 06/08/2012 FOR CASE
                                                          #12-15555, Bond #016048576
                                                          Voided: check issued on 06/08/12
06/08/12      111         International Sureties, LTD.    BOND PREMIUM PAYMENT ON LEDGER                   2300-000                                       102.90    159,927.40
                                                          BALANCE AS OF 06/08/2012 FOR CASE
                                                          #12-15555, Bond #016048576
06/11/12      112         Hannah Zahn                     Payroll 5/28/2012 - 6/1/2012                     2690-000                                    1,250.00     158,677.40
06/13/12       {9}        The Powell Litigation Group     Kevin Barrett - Advanced Costs                   1221-000                   0.01                          158,677.41
06/14/12      113         Inger Echeverria                Payroll - 6/3/12 - 6/16/12                       2690-000                                    1,810.15     156,867.26
06/14/12      114         Cody Spencer                    Payroll - 6/3/12 - 6/16/12                       2690-000                                    1,540.64     155,326.62
06/20/12      115         Puliz Records MGT LV            Record Storage Invoice #2012-5-00214             2410-000                                       419.42    154,907.20
06/28/12      116         Cody Spencer                    Payroll 6/17/2012 - 6/30/2012                    2690-000                                    1,486.11     153,421.09
06/28/12      117         Inger Echeverria                Payroll 6/17/2012 - 6/30/2012                    2690-000                                    1,759.42     151,661.67
06/29/12                  The Bank of New York Mellon     Bank and Technology Services Fee                 2600-000                                       304.54    151,357.13
07/06/12       {9}        Estey & Bomberger, LLP          Riddle v. FedEx                                  1221-000            128,635.83                           279,992.96
07/06/12       {9}        Richard Harris Law Firm         Lien Precious Loving DOL 3-11-06                 1221-000              3,001.86                           282,994.82
07/06/12      118         Sprenz & Associates             July Rent, June Postage, June Phone              2410-000                                    1,598.90     281,395.92
07/06/12      119         Clerk of the Court              23BD17BA                                         2690-000                                    1,500.00     279,895.92
07/12/12      120         Cody Spencer                    Payroll 7-14-12                                  2690-000                                    1,513.44     278,382.48
07/12/12      121         Inger Echeverria                Payroll 7-14-12                                  2690-000                                    1,873.43     276,509.05
07/12/12      122         Puliz Records Mgt LV            Record keeping storage                           2410-000                                       419.42    276,089.63
07/26/12       {5}        MeadowsBank                     Funds on deposit                                 1129-000                  37.90                          276,127.53
07/26/12       {5}        The MeadowsBank                 funds on deposit                                 1129-000             11,189.91                           287,317.44
07/26/12      123         Cody Spencer                    Payroll 7/28/2012                                2690-000                                    1,549.88     285,767.56
07/26/12      124         Inger Echeverria                Payroll 7/28/2012                                2690-000                                    1,759.42     284,008.14
07/27/12      125         StorageOne @ Grand Canyon       Rent payment for July                            2410-000                                       436.00    283,572.14
07/31/12                  The Bank of New York Mellon     Bank and Technology Services Fee                 2600-000                                       522.98    283,049.16
08/09/12      126         Cody Spencer                    Payroll 8/10/12                                  2690-000                                    1,640.97     281,408.19
08/09/12      127         Inger Echeverria                Payroll 8/10/12                                  2690-000                                    1,616.92     279,791.27


                                                                                                 Subtotals :                 $144,040.51             $23,104.54
{} Asset reference(s)                                                                                                                    Printed: 12/12/2017 12:12 PM        V.13.29
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                                                    Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                         Trustee:            David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                                Bank Name:          The Bank of New York Mellon
                                                                                                      Account:            ****-******86-66 - Checking Account
Taxpayer ID #: **-***9466                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                               Separate Bond: N/A

   1            2                            3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction              T-Code              $                   $       Account Balance
08/14/12      128         Inger Echeverria                     Legal Directory reimbursement                     2690-000                                        10.00    279,781.27
08/14/12      129         City of Las Vegas Business License   P50-01908-2-140542 Powell Litigation Group        2690-000                                       625.00    279,156.27
                          Renewal                              Voided on 08/23/12
08/14/12      130         Sprenz & Associates                  August Rent                                       2410-000                                    1,325.02     277,831.25
08/14/12      131         Puliz Records MGT LV                 Inv. #2012-7-00213 Powell Litigation document 2690-000                                           419.42    277,411.83
                                                               storage
08/14/12      132         StorageOne @ Grand Canyon            August storage rent                               2410-000                                       208.00    277,203.83
08/14/12      133         Aetna                                July insurance payment                            2690-000                                    1,369.00     275,834.83
08/20/12       {9}        The Powell Litigation Group          Holly Marquardt - Attorney Fees                   1221-000             14,285.26                           290,120.09
08/20/12       {9}        Aetna                                Aetna Rebate                                      1221-000              2,839.38                           292,959.47
08/23/12      129         City of Las Vegas Business License   P50-01908-2-140542 Powell Litigation Group        2690-000                                       -625.00   293,584.47
                          Renewal                              Voided: check issued on 08/14/12
08/23/12      134         Cody Spencer                         Payroll 8-12-2012 through 8-25-2012               2690-000                                    1,477.00     292,107.47
08/23/12      135         Inger Echeverria                     Payroll 8-12-2012 through 8-25-2012               2690-000                                    1,616.92     290,490.55
08/28/12      136         Aetna                                Inv #B0316455 Acct#82503012 9/1/12 -              2690-000                                    2,554.00     287,936.55
                                                               9/30/12
08/28/12      137         VSP                                  Vision Insurance Acct #30007834001                2690-000                                        21.18    287,915.37
08/29/12      138         Assurant Employee Benefits           Policy #5357364 The Powell Lititgation Group      2690-000                                       812.90    287,102.47
08/31/12                  The Bank of New York Mellon          Bank and Technology Services Fee                  2600-000                                       604.88    286,497.59
09/06/12      139         Cody Spencer                         Payroll 8/26/12 - 9/8/2012                        2690-000                                    1,531.66     284,965.93
09/06/12      140         Inger Echeverria                     Payroll 8/26/2012 - 9/8/2012                      2690-000                                    1,787.93     283,178.00
09/07/12      141         Sprenz & Associates                  September Rent                                    2410-000                                    1,327.84     281,850.16
09/20/12      142         Cody Spencer                         Payroll 9/9 - 9/22                                2690-000                                    1,504.33     280,345.83
09/20/12      143         Inger Echeverria                     Payroll 9/9 - 9/22                                2690-000                                    1,741.02     278,604.81
09/25/12      144         StorageOne @ Grand Canyon            Tenant 136817, unit 1261, Invoice 10878           2410-000                                       208.00    278,396.81
09/28/12                  The Bank of New York Mellon          Bank and Technology Services Fee                  2600-000                                       546.20    277,850.61
10/01/12      145         Puliz Records MGT LV                 Document storage                                  2410-000                                       419.42    277,431.19
10/04/12      146         Cody S. Spencer                      Payroll 9/23/12 - 10/6/12                         2690-000                                    1,443.59     275,987.60
10/04/12      147         Inger L Echeverria                   Payroll 9/23/12 - 10/6/12                         2690-000                                    1,738.28     274,249.32
10/04/12      148         Sprenz & Associates                  October Rent                                      2410-000                                    1,286.66     272,962.66
10/04/12      149         VSP                                  Account #300078340001                             2690-000                                        31.17    272,931.49
10/04/12      150         Aetna                                Account #82503012, Invoice #B0397831              2690-000                                    1,268.00     271,663.49
10/04/12      151         Assurant Employee Benefits           Policy #5357364                                   2690-000                                       235.92    271,427.57
10/17/12       {9}        Murphy & Murphy Law Offices          Ribera PI Matter                                  1221-000                 651.53                          272,079.10
10/18/12      152         LEGAL EXPRESS                        Runner services INV#548370                        2690-000                                    3,813.07     268,266.03
10/18/12      153         Cody Spencer                         Payroll 10/7/12 - 10/20/12                        2690-000                                    1,458.78     266,807.25
10/18/12      154         Inger Echeverria                     Payroll 10/7/12 - 10/20/12                        2690-000                                    1,695.70     265,111.55

                                                                                                      Subtotals :                    $17,776.17            $32,455.89
{} Asset reference(s)                                                                                                                          Printed: 12/12/2017 12:12 PM        V.13.29
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                                                       Cash Receipts And Disbursements Record
Case Number:         12-15555                                                                     Trustee:              David A. Rosenberg, Trustee (480023)
Case Name:           THE POWELL LITIGATION GROUP, P.C.                                            Bank Name:            The Bank of New York Mellon
                                                                                                  Account:              ****-******86-66 - Checking Account
Taxpayer ID #: **-***9466                                                                         Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                           Separate Bond: N/A

   1            2                            3                                      4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
10/18/12      155         Inger Echeverria                  Office supplies                                   2990-000                                        119.07    264,992.48
10/18/12      156         Nevada Employment Security        XX-XXXXXXX Qtr-2 SUTA                             2690-000                                        483.77    264,508.71
                          Division
10/18/12      157         US Treasury                       XX-XXXXXXX Qtr-2 941 tax payment                                                               3,252.99     261,255.72
                                                               Taxes                           1,373.79       2690-000                                                  261,255.72
                                                               taxes                             876.02       2690-000                                                  261,255.72
                                                               Taxes                             204.88       2690-000                                                  261,255.72
                                                               Taxes                             593.43       2690-000                                                  261,255.72
                                                               Taxes                             204.87       2690-000                                                  261,255.72
10/18/12      158         Nevada Employment Security        XX-XXXXXXX Qtr-3 SUTA                             2690-000                                        721.51    260,534.21
                          Division
10/18/12      159         US Treasury                       XX-XXXXXXX QTR-3 941 taxes                                                                     5,256.03     255,278.18
                                                               Taxes                           2,057.32       2690-000                                                  255,278.18
                                                               Taxes                           1,491.13       2690-000                                                  255,278.18
                                                               Taxes                             348.73       2690-000                                                  255,278.18
                                                               Taxes                           1,010.12       2690-000                                                  255,278.18
                                                               Taxes                             348.73       2690-000                                                  255,278.18
10/26/12      160         StorageOne @ Grand Canyon         Unit 1261, tenant 136817, invoice 11074           2410-000                                        208.00    255,070.18
10/31/12      161         Cody Spencer                      Payroll 11/2/2012                                 2690-000                                     1,504.33     253,565.85
10/31/12      162         Inger Echeverria                  Payroll 11/2/2012                                 2690-000                                     1,695.70     251,870.15
10/31/12      163         Vision Service Plan-NV            Acct#300078340001 The Powell Litigation           2690-000                                         31.17    251,838.98
                                                            Group
10/31/12                  The Bank of New York Mellon       Bank and Technology Services Fee                  2600-000                                        610.71    251,228.27
11/05/12       {9}        Cadillac of Las Vegas West        Reissue DMV fee check                             1221-000                   39.00                          251,267.27
11/07/12      164         Puliz Records MGT LV              Inv#2012-10-00209 Powell                          2410-000                                        419.42    250,847.85
11/07/12      165         Assurant Employee Benefits        Plan#5357364 The Powell Litigation Group          2990-000                                        235.92    250,611.93
11/16/12      166         Cody Spencer                      Pay period ending 11/17/2012                      2690-000                                     1,530.13     249,081.80
11/16/12      167         Inger Echeverria                  Pay period ending 11/17/2012                      2690-000                                     1,695.70     247,386.10
11/27/12      168         StorageOne @ Grand Canyon         Tenant 136817, Unit 1261 Invoice 11263            2410-000                                        208.00    247,178.10
11/27/12      169         Aetna                             Invoice #B0551634 Acct#82503012                   2690-000                                     2,586.00     244,592.10
11/29/12      170         Cody Spencer                      Payroll ending 11/29/2012                         2690-000                                     1,404.13     243,187.97
11/29/12      171         Inger Echeverria                  Payroll ending 11/29/2012                         2690-000                                     1,630.47     241,557.50
11/30/12                  The Bank of New York Mellon       Bank and Technology Services Fee                  2600-000                                        513.41    241,044.09
12/07/12       {9}        The Powell Litigation Group       Bruce Lee - Costs                                 1221-000                   60.24                          241,104.33
12/07/12      172         Vision Service Plan - (NV)        Acct#300078340001                                 2690-000                                         31.17    241,073.16
12/07/12      173         Puliz Records Mgt LV              Inv#2012-11-00208 Client#Powell                   2410-000                                        419.42    240,653.74
12/13/12                  RABOBANK MIGRATION                TRANSFER TO 0001048002388                         9999-000                                   240,653.74                0.00

                                                                                                      Subtotals :                       $99.24        $265,210.79
{} Asset reference(s)                                                                                                                        Printed: 12/12/2017 12:12 PM        V.13.29
                           Case 12-15555-mkn                    Doc 351         Entered 12/21/17 12:05:45                              Page 131 of 131

                                                                                                                                                                            Exhibit 9


                                                                             Form 2                                                                                         Page: 72

                                               Cash Receipts And Disbursements Record
Case Number:        12-15555                                                                  Trustee:              David A. Rosenberg, Trustee (480023)
Case Name:          THE POWELL LITIGATION GROUP, P.C.                                         Bank Name:            The Bank of New York Mellon
                                                                                              Account:              ****-******86-66 - Checking Account
Taxpayer ID #: **-***9466                                                                     Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 12/12/17                                                                       Separate Bond: N/A

   1            2                       3                                      4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From               Description of Transaction                T-Code              $                  $       Account Balance
                         TRANSFER OUT                    20121213

                                                                             ACCOUNT TOTALS                                    327,815.99            327,815.99               $0.00
                                                                                    Less: Bank Transfers                             0.00            240,653.74
                                                                             Subtotal                                          327,815.99             87,162.25
                                                                                    Less: Payments to Debtors                                              0.00
                                                                             NET Receipts / Disbursements                    $327,815.99             $87,162.25

                           Net Receipts :        5,869,064.20
        Less Other Noncompensable Items :        3,692,400.53                                                                      Net             Net                  Account
                                              ————————                       TOTAL - ALL ACCOUNTS                                Receipts     Disbursements             Balances
                               Net Estate :     $2,176,663.67
                                                                             Checking # ********53                           3,692,435.49        3,692,435.49                  0.00
                                                                             Checking # ******9666                           1,214,812.73        1,268,514.80                  0.00
                                                                             Checking # ******9667                             633,999.99            820,951.66                0.00
                                                                             Checking # ****-******86-66                       327,815.99             87,162.25                0.00

                                                                                                                           $5,869,064.20       $5,869,064.20                  $0.00




{} Asset reference(s)                                                                                                                    Printed: 12/12/2017 12:12 PM        V.13.29
